              Case: 23-2882, 03/22/2024, DktEntry: 30.5, Page 1 of 218                  (1 of 218)




                            Nos. 23-2882, 23-2886, 23-3146

                    UNITED STATES COURT OF APPEALS
                        FOR THE NINTH CIRCUIT

                CENTER FOR BIOLOGICAL DIVERSITY, et al.,
                     Plaintiffs-Appellees/Plaintiffs-Appellants,
                                          and
                  ALLIANCE FOR THE WILD ROCKIES, et al.,
                         Plaintiffs-Appellees/Plaintiffs,
                                           v.
                  UNITED STATES FOREST SERVICE, et al.,
                 Defendants-Appellants/Defendants/Defendants-Appellees,
                                          and
                         KOOTENAI TRIBE OF IDAHO,
                  Intervenor-Defendant/Intervenor-Defendant-Appellant/
                              Intervenor Defendant-Appellee.

      Appeal from the United States District Court for the District of Montana
                    No. 9:22-cv-114 (Hon. Donald W. Molloy)

                       JOINT EXCERPTS OF RECORD
                             VOLUME 4 OF 10

Of Counsel:                                TODD KIM
                                           Assistant Attorney General
ELISE FOSTER
Attorney                                   THEKLA HANSEN-YOUNG
U.S. Dep’t of Agriculture                  HAYLEY A. CARPENTER
                                           ERIKA A. FURLONG
KATHRYN L. WILLIAMS-SHUCK                  JOHN P. TUSTIN
SARAH E. MCLAIN                            JACOB D. ECKER
Attorneys                                  Attorneys
U.S. Dep’t of the Interior                 Environment and Natural Resources Division
                                           U.S. Department of Justice
                                           Post Office Box 7415
                                           Washington, D.C. 20044
                                           (202) 305-0466
Case: 23-2882, 03/22/2024, DktEntry: 30.5, Page 2 of 218                  (2 of 218)




                           jacob.ecker@usdoj.gov

                           Attorneys for Federal Defendants-Appellants


                           Julie A. Weis
                           HAGLUND KELLEY LLP

                           Kris A. McLean
                           Tyson A. McLean
                           Kris A. McLean Law Firm

                           Attorneys for Defendant-Intervenor-Appellant
                           Kootenai Tribe of Idaho
                 Case: 23-2882, 03/22/2024, DktEntry: 30.5, Page 3 of 218                              (3 of 218)

 SSA for Grizzly Bear in the Lower-48 States                                         January 2021


Appendix B. Secure Habitat Background
The Interagency Grizzly Bear Committee Taskforce Report on Grizzly bear/motorized access
management was first released in 1994 and revised in 1998 (in their entirety: IGBC 1994, 1998).
Management of motorized access is one of the most influential factors affecting habitat security
for wildlife, including grizzly bears (Mattson et al. 1987; Mace and Manley 1993; USFWS 1993;
Christensen et al. 1993). The Taskforce Report recognized that by managing motorized access,
the following grizzly bear management objectives can be met (IGBC 1998, p. 1):

   •   Minimize human interactions and potential grizzly bear mortality;
   •   Minimize displacement from important habitats;
   •   Minimize habituation to humans; and
   •   Provide relatively secure habitat where energetic requirements can be met.

Historically, management of motorized use has been primarily accomplished through restriction
of certain types of motorized use on established access routes. In addition to open and total road
densities, the presence of core areas, areas free of motorized traffic and high levels of human use,
are important to the management of human access (IGBC 1998, p. 1). The Taskforce Report
recommended three parameters, with definitions and methods of measurement, to provide for a
consistent approach to motorized access management between and within grizzly bear
ecosystems: (1) open motorized route density (OMRD), (2) total motorized route density
(TMRD), and (3) core areas (IGBC 1998, p. 1). Motorized route densities are calculated using a
moving window analysis, and are reported as the percentage of the analysis area with greater
than 1 mi/mi2 open motorized routes and 2 mi/mi2 total motorized routes. Core areas are
reported as the percentage of the analysis area that are greater than 500 m (1,650 ft) from any
open motorized route or high-use non-motorized route and in place for at least 10 years. The
Taskforce did not recommend minimum size for core areas. The Taskforce Report recognized
that each ecosystem subcommittee would apply these recommendations based on ecosystem-
specific information and recommend ecosystem specific habitat conditions that should be
maintained to provide habitat security.

There is no published method to deductively calculate minimum habitat values required for a
healthy and recovered population. Grizzly bears are long-lived, opportunistic omnivores whose
food and space requirements vary depending on a multitude of environmental and behavioral
conditions and on variation in the experience and knowledge of each individual bear. Grizzly
bear home ranges overlap and change seasonally, annually, and with reproductive status. These
characteristics make the development of habitat criteria complicated. We established criteria for
the GYE and NCDE by assessing the habitat features that were compatible with a stable to
increasing grizzly bear population in the past, and then used these habitat conditions as threshold
values that must be maintained to ensure a healthy population (i.e., a “no net loss” or baseline
approach), as suggested by Nielsen et al. (2006, p. 227). Because of the inability to calculate
minimum habitat values for a recovered population, we use a “no net loss” approach by assessing
what habitat factors are compatible with a stable to increasing grizzly bear population.




                                                 300
                                                                                          FWS001365
                                               4-ER-662
                 Case: 23-2882, 03/22/2024, DktEntry: 30.5, Page 4 of 218                            (4 of 218)

 SSA for Grizzly Bear in the Lower-48 States                                       January 2021


Greater Yellowstone Ecosystem (GYE)

The Service, in cooperation with the IGBC, held a workshop in 1997 to allow interested parties
to present their ideas on the habitat needs for grizzly bear recovery and discuss proposals for
habitat-based recovery criteria. Information gathered at the workshop was considered in drafting
the habitat criteria for the Greater Yellowstone Area that were first released for public comment
in 1999. These same criteria were included in the draft Conservation Strategy that was released
for public comment in 2000. After analysis of public comment we developed the habitat
standards in the 2007 Conservation and the Recovery Plan Supplement: Habitat-based Recovery
Criteria for the Yellowstone Ecosystem.

The 1998 baseline for habitat standards was chosen because the levels of secure habitat and
developed sites on public lands remained relatively constant in the 10 years preceding 1998
(USDA FS 2004, pp. 140–141), and the selection of 1998 ensured that habitat conditions existing
at a time when the population was increasing at a rate of 4 to 7 percent per year (Schwartz et al.
2006b, p. 48) would be maintained. In addition to measures for motorized routes and secure core
habitat, as recommended in the Taskforce Report, the baseline sets measures for developed
recreation sites and livestock allotments. The overall habitat goal is to maintain habitat
conditions at or improved upon baseline conditions, with limited exceptions as set forth in the
YES Conservation Strategy (YES 2016a).

For the GYE, secure habitat refers to those areas with no motorized access that are at least
10 acres (0.31 km2 (0.016 mi2)) in size and more than 500 m (1,650 ft) from a motorized access
route (open or gated) or recurring helicopter flight line (USDA FS 2004, p. 18). Our definition
of secure habitat includes areas as small as 10 acres (0.31 km2 (0.016 mi2)) in size because both
the IGBST and YES concluded that all secure habitats are important for grizzly bears in the
GYE, regardless of size, particularly in peripheral areas. Research by Schwartz et al. (2010, p.
661) supported this conclusion and demonstrated a direct link between this definition and grizzly
bear survival in the GYE. If the minimum size of secure habitat was enlarged, the end result
would be that thousands of acres of secure habitat would no longer be considered secure and
would, therefore, not be subject to the “no net loss” standard. By using a smaller minimum
acreage requirement, we are not excluding any of the larger blocks of secure habitat. Non-
motorized trails were not excluded from secure core because research indicates that non-
motorized trails do not significantly affect grizzly bear survival, and that survival is better
explained by the absence of motorized routes (Schwartz et al. 2010a, p. 659).

Northern Continental Divide Ecosystem (NCDE)

In a study of female grizzly bears in the South Fork of the Flathead River in the NCDE, female
home ranges averaged 19 percent total road density >2 mi/mi2, 19 percent open road density >1
mi/mi2, and 68 percent core area (Manley 1993, in litt.). This level of secure core habitat was
determined to be necessary for successfully reproducing adult female grizzly bears (Manley
1993, in litt.). As a result, Amendment 19 was used as a habitat management strategy for the
Flathead National Forest (USFWS 1995, entire). Amendment 19 included no net increase in
TMRD density greater than >2 mi/mi2, no net increase in OMRD greater than >1 mi/mi2, and no
net decrease in the amount or size of security core. Furthermore, it established objectives: to

                                                 301
                                                                                        FWS001366
                                               4-ER-663
                 Case: 23-2882, 03/22/2024, DktEntry: 30.5, Page 5 of 218                           (5 of 218)

 SSA for Grizzly Bear in the Lower-48 States                                      January 2021

limit OMRD densities of >1 mi/mi2 to no more than 19 percent of a BMU subunit; to limit
TMRD densities of >2 mi/mi2 to no more than 19 percent of a BMU subunit; and to provide
security core areas that equal or exceed 60 percent of each BMU subunit in 5 years and 68
percent in 10 years.

Significant efforts made by the USFS led to the majority of the BMU subunits in the NCDE
meeting the Amendment 19 objectives. Monitoring of the NCDE grizzly bear population show
that the number of bears substantially exceed the minimum population size goal stated in the
1993 Recovery Plan (391 bears) (Service 1993, p. 62), the population is well distributed
throughout the Recovery Zone, and the population has expanded its geographic distribution well
beyond the Recovery Zone boundary (Kendall et al. 2009; Mace et al. 2012; Costello et al.
2016b), even though not every BMU subunit meets the 19-19-68 percentage objective of
Amendment 19. Based on updated NCDE grizzly bear population data and our understanding
about grizzly bear responses to human activities and management, in 2009, a Conservation
Strategy Technical Team was appointed by the NCDE Subcommittee and began to re-evaluate
habitat standards for the NCDE grizzly bear population. A draft Conservation Strategy was
released in 2013 for public comment and peer review. The NCDE Subcommittee re-assembled
the Conservation Strategy Team and finalized the Conservation Strategy in 2018. The NCDE
Conservation Strategy is periodically revised for clarifications and corrections, with the most
recent version published in 2020.

Based on an estimated growth rate for the NCDE grizzly bear population of 2–3 percent annually
from 2004–2011, the NCDE Subcommittee decided to establish habitat conditions in December
31, 2011, as a reasonable and conservative baseline that would likely support a robust, stable to
increasing grizzly bear population. In addition to measures for motorized routes and secure core
habitat, as recommended in the Taskforce Report, the baseline sets measures for developed
recreation sites and livestock allotments. The overall habitat goal is to maintain habitat
conditions at or improved upon baseline conditions, with limited exceptions as set forth in the
NCDE Conservation Strategy (NCDE Subcommittee 2020)

For the NCDE, secure core habitat is defined as those areas on Federal lands within the analysis
area more than 500 m (1,650 ft) from a motorized access route and at least 2,500 acres (10.1 km2
(3.9 mi2)) in size, and in place for 10 years (Service 2018, pp. 5, 12). The 2,500 acre (10.1 km2
(3.9 mi2)) minimum size for secure core habitat is based on the 1994 IGBC Guidelines that state
minimum size will be recovery zone specific and that “the minimum size for the core area(s) be
that area necessary to support a female grizzly bear for 24 hours of foraging.” Information and
research specific to the NCDE indicated that 83 percent of documented locations of radio-
collared females were in habitat that did not have motorized access that were usually at least
2,200 acres in size (USFWS 1997). Non-motorized trails were not excluded from secure core
because research indicates that non-motorized trails do not significantly affect grizzly bear
survival, and that survival was better explained by the absence of motorized routes (Schwartz et
al. 2010a, p. 659).




                                                 302
                                                                                        FWS001367
                                               4-ER-664
                 Case: 23-2882, 03/22/2024, DktEntry: 30.5, Page 6 of 218                          (6 of 218)

 SSA for Grizzly Bear in the Lower-48 States                                      January 2021


Cabinet-Yaak (CYE) and Selkirk Ecosystems (SE)

Wakkinen and Kasworm (1997, entire) created road density and core area maps for the CYE and
SE based on the definitions set forth in the Taskforce Report. Based on female grizzly bear
radiotelemetry data, they determined the proportion of home ranges with greater than 2 mi/mi2
total road density, greater than 1 mi/mi2 open road density, and the amount of core area are
appropriate access management standards for the CYE and SE (Wakkinen and Kasworm 1997,
p. 22). The female home ranges averaged 26 percent total road density greater than 2 mi/mi2, 33
percent open road density greater than 1 mi/mi2, and 55 percent core area. No minimum core
area size was determined because of the small sample size (Wakkinen and Kasworm 1997, p.
23). Wakkinen and Kasworm (1997, pp. 24–25) speculated that differences in the percentage of
core areas within home ranges between the NCDE and the CYE and SE may be due to the lack
of larger core areas available in the CYE and SE, different computer software to conduct the
analysis, and/or differences in levels of human use on roads between the ecosystems. The
recommendations by Wakkinen and Kasworm (1997, pp. 24–25) for OMRD, TMRD, and core
area were incorporated into the Forest Plan Amendments for the Motorized Access Management
within the Selkirk and Cabinet-Yaak Grizzly Bear Recovery Zones (USDA FS 2011b, entire).

North Cascades Ecosystem

Core areas for the North Cascades are defined as those areas greater than 500 m (1,650 ft) from
any open motorized route or high-use non-motorized route, as set forth by the Taskforce Report
(USDA FS 1997, entire). The North Cascades Ecosystem Subcommittee agreed to a phased
approach to identify and protect “core area” (USDA FS 1997, p. 1). The Federal land
management agencies agreed to manage for “no net loss” of core area until “seasonal habitat has
been defined, mapped and its availability evaluated” (USDA FS 1997, p. 3). In addition, they
identified the need to do further work to define “high use non-motorized trails” for the North
Cascades (USDA FS 1997, p. 1).

Bitterroot Ecosystem (BE)

Ecosystem specific data are not available, and motorized access and core area standards have not
yet developed for the BE.




                                                 303
                                                                                       FWS001368
                                               4-ER-665
                 Case: 23-2882, 03/22/2024, DktEntry: 30.5, Page 7 of 218                             (7 of 218)

 SSA for Grizzly Bear in the Lower-48 States                                        January 2021


Appendix C. Suitable Habitat in the GYE
For the purposes of this biological report, “suitable habitat” is considered the area within the
larger GYE ecosystem capable of supporting grizzly bear reproduction and survival now and in
the future. Suitable habitat is generally associated with mountains and forested lands that are
primarily owned and managed by Federal agencies. We defined “suitable habitat” for grizzly
bears as areas having three characteristics:

       (1) Being of adequate habitat quality and quantity to support grizzly bear reproduction
           and survival;
       (2) Being contiguous with the current distribution of GYE grizzly bears such that natural
           recolonization is possible; and
       (3) Having low mortality risk as indicated through reasonable and manageable levels of
           grizzly bear mortality.

Our definition and delineation of suitable habitat is built on the widely accepted conclusions of
extensive research that grizzly bear reproduction and survival is a function of both the biological
needs of grizzly bears and remoteness from human activities, which minimizes mortality risk for
grizzly bears (Craighead 1980, pp. 8–11; Knight 1980, pp. 1–3; Peek et al. 1987, pp. 160–161;
Merrill et al. 1999, pp. 233–235; Schwartz et al. 2010a, p. 661).

Our first criteria in defining suitable habitat involved analyzing land cover types. Mountainous
areas provide hiding cover, the topographic variation necessary to ensure a wide variety of
seasonal foods, and the steep slopes used for denning (Judd et al. 1986, pp. 114–115; Aune and
Kasworm 1989, pp. 29–58; Linnell et al. 2000, pp. 403–405). Higher elevation, mountainous
regions in the GYE (Omernik 1987, pp. 118–125; Omernik 1995, pp. 49–62; Woods et al. 1999,
entire; McGrath et al. 2002, entire; Chapman et al. 2004, entire) contain high-energy foods such
as whitebark pine seeds (Mattson and Jonkel 1990, p. 223; Mattson et al. 1991a, p. 1623) and
army cutworm moths (Mattson et al. 1991b, 2434; French et al. 1994, p. 391). For our analysis
of suitable habitat, we considered the Middle Rockies ecoregion, within which the GYE is
contained (Omernik 1987, pp. 120–121; Woods et al. 1999, entire; McGrath et al. 2002, entire;
Chapman et al. 2004, entire), to meet grizzly bear biological needs providing food, seasonal
foraging opportunities, cover, and denning areas (Mattson and Merrill 2002, p. 1125).




                                                 304
                                                                                          FWS001369
                                               4-ER-666
                     Case: 23-2882, 03/22/2024, DktEntry: 30.5, Page 8 of 218                                              (8 of 218)

 SSA for Grizzly Bear in the Lower-48 States                                                             January 2021




Figure 1. Map of the Greater Yellowstone Ecosystem (GYE). Boundaries are shown for: (1) the recovery zone; (2) the
Demographic Monitoring Area; and (3) biologically suitable habitat.

Although grizzly bears historically occurred throughout the area of the larger GYE ecosystem
(Stebler 1972, pp. 297–298), today many of these habitats are not biologically suitable for
grizzly bears. For example, we did not include drier sagebrush, prairie, or agricultural lands
within our definition of suitable habitat because these land types no longer contain adequate food
resources (i.e., bison) to support grizzly bears. While there are records of grizzly bears in eastern
Wyoming near present-day Sheridan, Casper, and Wheatland, even in the early 19th century,
indirect evidence suggests that grizzly bears were less common in these eastern prairie habitats
than in mountainous areas to the west (Rollins 1935, p. 191; Wade 1947, p. 444). Grizzly bear
presence in drier, grassland habitats was associated with rivers and streams where grizzly bears
used bison carcasses as a major food source (Burroughs 1961, pp. 57–60; Herrero 1972, pp. 224–
227; Stebler 1972, pp. 297–298; Mattson and Merrill 2002, pp. 1128–1129). Most of the short-
grass prairie on the east side of the Rocky Mountains has been converted into agricultural land
(Woods et al. 1999, entire), and high densities of traditional food sources are no longer available
due to land conversion and human occupancy of urban and rural lands. Traditional food sources
such as bison and elk have been reduced and replaced with domestic livestock such as cattle,
sheep, chickens, goats, pigs, and bee hives, which can become anthropogenic sources of prey for
grizzly bears. While food sources such as grasses and berries are abundant in some years in the
riparian zones within which the bears travel, these are not reliable every year and can only

                                                           305
                                                                                                               FWS001370
                                                      4-ER-667
                 Case: 23-2882, 03/22/2024, DktEntry: 30.5, Page 9 of 218                                 (9 of 218)

 SSA for Grizzly Bear in the Lower-48 States                                           January 2021

support a small number of bears. These nutritional constraints and the potential for human-bear
conflicts limit the potential for a self-sustaining population of grizzly bears to develop in the
prairies, although we expect some grizzly bears to live in these areas. Because wild bison herds
no longer exist in these areas, and are mainly contained within YNP in the GYE, they are no
longer capable of contributing in a meaningful way to the overall status of the GYE grizzly bear.

Bears in these peripheral areas (i.e., prairie habitats) will not establish self-sustaining, year-round
populations due to a lack of suitable habitat, land ownership patterns, and the lack of traditional,
natural grizzly bear foods (i.e., bison). Instead, bears in these peripheral areas will likely always
rely on the GYE grizzly bear population inside the DMA as a source population. Grizzly bears
in these peripheral areas are not biologically necessary to the GYE grizzly bear population and a
lack of occupancy outside the DMA boundaries in peripheral areas will not impact the resiliency
of the GYE grizzly bear population. Grizzly bear recovery in these portions of the species’
historical range is unnecessary, because there is more than enough suitable habitat to support a
viable grizzly bear population as set forth in the demographic recovery criteria.

Our second criteria in defining suitable habitat involved analyzing human-caused mortality risk,
as this can impact which habitat might be considered suitable. Some human-caused mortality is
unavoidable in a dynamic system where hundreds of bears inhabit large areas of diverse habitat
with several million human visitors and residents. The negative impacts of humans on grizzly
bear survival and habitat use are well documented (Harding and Nagy 1980, p. 278; McLellan
and Shackleton 1988, pp. 458–459; Aune and Kasworm 1989, pp. 83–103; McLellan 1989, pp.
1862–1864; McLellan and Shackleton 1989b, pp. 377–378; Mattson 1990, pp. 41–44; Mattson
and Knight 1991, pp. 9–11; Mace et al. 1996, p. 1403; McLellan et al. 1999, pp. 914–916; White
et al. 1999, p. 150; Woodroffe 2000, pp. 166–168; Boyce et al. 2001, p. 34; Johnson et al. 2004,
p. 976; Schwartz et al. 2010a, p. 661). These effects range from temporary displacement to
actual mortality. Grizzly bear persistence in the contiguous United States between 1920 and
2000 was negatively associated with human and livestock densities (Mattson and Merrill 2002,
pp. 1129–1134).

As human population densities increase, the frequency of encounters between humans and
grizzly bears also increases, resulting in more human-caused grizzly bear mortalities due to a
perceived or real threat to human life or property (Mattson et al. 1996, pp. 1014–1015).
Similarly, as livestock densities increase in habitat occupied by grizzly bears, depredations
follow. Although grizzly bears frequently coexist with cattle without depredating them, when
grizzly bears encounter domestic sheep, they usually are attracted to such flocks and depredate
the sheep (Jonkel 1980, p. 12; Knight and Judd 1983, pp. 188–189; Orme and Williams 1986, pp.
199–202; Anderson et al. 2002, pp. 252–253). If repeated depredations occur, managers either
relocate the bear or remove it (i.e., euthanize or place in an approved American Zoological
Association facility) from the population, resulting in such domestic sheep areas becoming
population sinks (areas where death rates exceed birth rates) (Knight et al. 1988, pp. 122–123).
Because urban sites and sheep allotments possess high mortality risks for grizzly bears, we did
not include these areas as suitable habitat (Knight et al. 1988, pp. 122–123). Based on 2000
census data, we defined urban areas as census blocks with human population densities of more
than 50 people per km2 (129 people per mi2) (U.S. Census Bureau 2005, entire). Cities within
the Middle Rockies ecoregion, such as West Yellowstone, Gardiner, Big Sky, and Cooke City,

                                                 306
                                                                                             FWS001371
                                               4-ER-668
                Case: 23-2882, 03/22/2024, DktEntry: 30.5, Page 10 of 218                               (10 of 218)

 SSA for Grizzly Bear in the Lower-48 States                                          January 2021

Montana, and Jackson, Wyoming, were not included as suitable habitat. There are large,
contiguous blocks of sheep allotments in peripheral areas of the ecosystem in the Wyoming
Mountain Range, the Salt River Mountain Range, and portions of the Wind River Mountain
Range on the Bridger Teton and the Targhee NFs (see Figure 1 in Appendix C).

This spatial distribution of sheep allotments on the periphery of suitable habitat results in areas
of high mortality risk to bears within these allotments and a few small, isolated patches or strips
of suitable habitat adjacent to or within sheep allotments. Due to the negative “edge effects” of
this distribution of sheep allotments on the periphery of current grizzly bear range, our analysis
did not classify linear strips and isolated patches of habitat as suitable habitat. These strips and
patches of land possess higher mortality risks for grizzly bears because of their enclosure by
and/or proximity to areas of high mortality risk. This phenomenon in which the quantity and
quality of suitable habitat is diminished because of interactions with surrounding less suitable
habitat is known as an edge effect (Lande 1988, pp. 3–4; Yahner 1988, pp. 335–337; Mills 1995,
p. 396). Edge effects are exacerbated in small habitat patches with high perimeter-to-area ratios
(i.e., those that are longer and narrower) and in wide-ranging species such as grizzly bears
because they are more likely to encounter surrounding, unsuitable habitat (Woodroffe and
Ginsberg 1998, p. 2126).

Finally, dispersal capabilities of grizzly bears were considered in our determination of which
potential habitat areas might be considered suitable. For example, because the Bighorn mountain
range is disjunct from other suitable habitat and current grizzly bear distribution, our analysis did
not classify the Bighorn Mountains as suitable habitat within the GYE. The Bighorn Mountains
comprise 6,341 km2 (2,448 mi2) of habitat that is classified as part of the Middle Rockies
ecoregion, but are separated from the current grizzly bear distribution by approximately 100 km
(60 mi) of a mosaic of private and BLM lands primarily used for agriculture, livestock grazing,
and oil and gas production (Chapman et al. 2004, entire). Although there is a possibility that
individual bears may emigrate from the GYE to the Bighorn Mountains occasionally, this
dispersal distance exceeds the average dispersal distance for both males (30 to 42 km (19 to 26
mi)) and females (10 to 14 km (6 to 9 mi)) (McLellan and Hovey 2001, p. 842; Proctor et al.
2004, p. 1108). Without constant emigrants from suitable habitat, the Bighorn Mountains will
not support a self-sustaining grizzly bear population.

Some areas that do not meet our definition of suitable habitat may still be used by grizzly bears
(Schwartz et al. 2002, p. 209; Schwartz et al. 2006b, pp. 64–66). The records of grizzly bears in
these unsuitable habitat areas are generally due to recorded human-grizzly bear conflicts or to
transient animals. These areas are defined as unsuitable due to the high risk of mortality
resulting from these human-grizzly bear conflicts. These unsuitable habitat areas may contain
grizzly bears but do not support grizzly bear reproduction or survival because bears that
repeatedly come into conflict with humans or livestock are usually either relocated or removed
from these areas.

According to the criteria in defining suitable habitat, the GYE contains approximately 46,905
km2 (18,110 mi2) of suitable grizzly bear habitat (Figure 38). The Service concluded that this
amount of suitable habitat is sufficient to meet all habitat needs of a recovered grizzly bear
population and provide ecological resiliency to the population through the availability of widely

                                                 307
                                                                                           FWS001372
                                               4-ER-669
                Case: 23-2882, 03/22/2024, DktEntry: 30.5, Page 11 of 218                            (11 of 218)

 SSA for Grizzly Bear in the Lower-48 States                                        January 2021

distributed, high-quality habitat that will allow the population to respond to environmental
changes.




                                                 308
                                                                                         FWS001373
                                               4-ER-670
                Case: 23-2882, 03/22/2024, DktEntry: 30.5, Page 12 of 218                                (12 of 218)

 SSA for Grizzly Bear in the Lower-48 States                                          January 2021


Appendix D. Methods Used to Measure Population Trends and Annual
Estimates
Wildlife managers and population ecologists monitor a number of factors to gauge the status of a
population and make scientifically informed decisions. These measures include population size,
population trend, density, and current range. While population size is a well-known and easily
understood metric, it only provides information about a population at a single point in time.
Wildlife managers often want to know how a population is changing over time and why.
As managers and technical experts review new techniques or approaches for potential adoption,
they should consider the technique’s cost, field sampling logistics, utility to managers, and the
ability to retroactively apply population estimates to previous years of data are considered.

Greater Yellowstone Ecosystem (GYE)

The IGBST uses four independent methods to estimate population trend: (1) the model-averaged
Chao2 method, which is also used to estimate population size; (2) Mark-Resight estimator (i.e.,
capture-recapture data (IGBST annual reports)); (3) population projections from known-fate
analysis (in their entirety: Schwartz et al. 2006b; IGBST 2012); and (4) population
reconstruction (minimum number of known live) based on capture and mortality records
(IGBST, unpublished data). The IGBST’s goal is to maintain a minimum of 25 adult female
grizzly bears fitted with radio collars and a similar sample of males spatially distributed
throughout the ecosystem.

Model-Averaged Chao2 Population Estimator

The model-averaged Chao2 population estimator is currently the best available science to derive
annual estimates of total population size in the GYE. The basis for the estimation is an annual
count of female grizzly bears with cubs-of-the-year, based on sightings on aerial surveys and
ground observations. Those sightings are clustered into those estimated to be from the same
family group (i.e., female with cubs-of-the-year) using a “rule set” to avoid duplicate counts,
primarily based on spatial, temporal, and litter size criteria (Knight et al. 1995). In clustering the
observations, a balance must be obtained between overestimating or underestimating the actual
number of unique females with cubs-of-the-year. The rule set was constructed to be
conservative (i.e., reduce Type I errors or mistakenly identifying sightings of the same family as
different families). Using the frequencies of sightings of unique females with cubs-of-the-year
obtained from application of the rule set, an annual estimate of the total number of females with
cubs-of-the-year is calculated using the Chao2 estimator, a bias-corrected estimator that is robust
to differences in sighting probabilities among individuals (Chao 1989; Keating et al. 2002;
Cherry et al. 2007). In the final step, the annual estimate of total number of females with cubs-
of-the-year is combined with those of previous years to assess trend. Changes in numbers of
females with cubs-of-the-year are representative of the rate of change for the entire population,
but additional process variation comes from the proportion of females that have cubs-of-the-year.

Annual estimates of females with cubs-of-the-year based on Chao2 have been reported by
IGBST since 2005, accompanied by the derivation of total population estimates. The model-

                                                 309
                                                                                            FWS001374
                                               4-ER-671
                Case: 23-2882, 03/22/2024, DktEntry: 30.5, Page 13 of 218                             (13 of 218)

 SSA for Grizzly Bear in the Lower-48 States                                        January 2021

averaged Chao2 estimates of females with cubs-of-the-year and derived total population
estimates have been applied and reported by the IGBST since 2007.

Other Methods

The known-fate analysis method is the IGBST’s primary method for estimating population trend.
The known-fate analysis method uses estimates of vital rates derived from radio-monitoring a
representative sample of grizzly bears in the GYE (e.g., see Schwartz et al. 2006b; IGBST 2012).
Those vital rates include annual survival rates for independent male and female grizzly bears,
age of first reproduction, litter size, and survival of dependent young (i.e., cubs of the year and
yearlings) that accompany their radio-marked mothers. The estimated number of unique females
with cubs-of-the-year used in the Chao2 method do not enter into those population projections
and thus represent an independent data source. However, IGBST can also estimate trend using
the Chao2-corrected annual counts of unique females with cubs. Although not a primary IGBST
method for assessing trend, the trend for this observable segment of the population (i.e., females
with cubs-of-the-year) is representative of trend for the entire population.

In order to derive an annual population estimate (rather than calculation of population trend), the
IGBST uses both the end point for the model-averaged result of the linear and quadratic
regressions of the Chao2-corrected counts, combined with vital rates estimates from the known-
fate analyses (see IGBST 2012, p. 39).

Northern Continental Divide Ecosystem (NCDE)

In the NCDE, the population trend is estimated using two methods: (1) a deterministic life table
analysis; and (2) individual-based, stochastic population modeling (Costello et al. 2016b, p. 69).
The population estimate is based on a genetic capture/recapture study conducted in 2004
(Kendall et al. 2009, entire) and subsequent estimates of population trend (Costello et al. 2016b,
p. 16). MFWP’s goal is to maintain a minimum of 25 adult female grizzly bears fitted with radio
collars and collar males as resources allow, with a goal of five of males, spatially distributed
throughout the ecosystem.

Deterministic Life Table Analysis

The deterministic life-table analysis approach involves estimates of vital rates, does not
incorporate uncertainty, and is a female-only rate. It computes the deterministic asymptomatic
rate of population growth (lambda; λ) using a standard, dynamic life table and solving iteratively
for r (i.e., the intrinsic rate of growth). Costello et al. (2016b, p. 69) estimated λ using “three
point estimates of independent female survival: (1) maximum (0.951), obtained when unknown-
fate females were censured; (2) minimum (0.943), obtained when unknown-fate females were
assumed dead; and (3) the mean of those two estimates (0.947).”

Individual-based, Stochastic Population Modeling

Individual-based, stochastic population modeling is based on vital rates of all sex/age classes and
the uncertainty associated with each vital rate. This estimate uses RISKMAN to stochastically

                                                 310
                                                                                          FWS001375
                                               4-ER-672
                Case: 23-2882, 03/22/2024, DktEntry: 30.5, Page 14 of 218                                (14 of 218)

 SSA for Grizzly Bear in the Lower-48 States                                          January 2021

model population growth based on estimated recruitment rates, dependent bear survival rates,
and independent bear survival rates for both males and females (Costello et al. 2016b, p. 69).

Genetic Capture/Recapture Population Estimate

In 2004, a noninvasive genetic sampling effort was conducted within occupied areas of the
NCDE (Kendall et al. 2009, entire). DNA data was included from hair traps, bear rubs, and
physical captures to construct individual bear encounter histories in a Huggins-Pledger closed
mark-recapture model to estimate population size. Lured hair traps were systematically
distributed using a grid of 7x7 km cells across estimated occupied areas. Placement of the hair
snare within each cell was based on evidence of bear activity, presence of natural travel routes,
seasonal vegetation characteristics, and indices of recent wildfire severity. Bears naturally rub
on trees, power poles, wooden signs and fence posts, and barbed wire fences, and thus did not
require the use of lure. Physical capture information included bears handled for research or
management or that were identified during other hair sampling studies from 1975-2007.

Cabinet-Yaak and Selkirk Ecosystems (CYE and SE)

In the CYE and SE the population trend is determined by female survival and fecundity rates
determined through radio collar monitoring (Kasworm et al. 2020a, pp. 38–40, Kasworm et al.
2020b, pp. 26–27). Due to the small population sizes in the CYE and SE, the Service attempts to
collar as many females and males as possible. Bootstrapping techniques are used to estimate
lambda and associated confidence intervals (Hovey and McLellan 1996, entire).

Annual CYE population estimates are obtained by applying the rate of growth to a 2012
population estimate (Kasworm et al 2020a, p. 40). The 2012 estimate was developed from a
mark-recapture effort using hair traps and rub trees (Kendall et al. 2016, entire). Kasworm et al.
(2020a, p. 29) also estimate a minimum number of individuals identified in annual collared bear
monitoring, captures, hair sampling, and trail camera photographs, minus any known mortality.

In the SE, population estimates are obtained by applying the rate of growth to a 2002 population
estimate (Kasworm et al. 2020b, pp. 26-27). The 2002 estimate was developed from a mark
recapture effort using hair corrals in the B.C. portion of the SE in 2002 (Proctor et al. 2007, p. 3).
Kasworm et al. (2020b, p. 19) also estimate a minimum number of individuals identified in
annual collared bear monitoring, captures, hair sampling, and trail camera photographs, minus
any known mortality.

The 1993 Recovery Plan details a method to calculate a minimum population estimate based on a
6-year average of unduplicated females with cubs to stabilize the averaged based on a 3-year
reproductive cycle. The 6-year average of females with cubs is multiplied by three to estimate
the number of adult females in the population given that on average, either 28 percent (CYE) or
33 percent (SE) of the population is made of adult females. The minimum number of females
with cubs likely underestimates the actual number because reporting efficiency of females with
cubs is estimated to be 60 percent. The proportion of adult females in the population is based on
the proportion adults to subadults in the population and the sex ratio of males to females for both
subadults and adults. The minimum population size is calculated by dividing 6-year average

                                                 311
                                                                                            FWS001376
                                               4-ER-673
                Case: 23-2882, 03/22/2024, DktEntry: 30.5, Page 15 of 218                          (15 of 218)

 SSA for Grizzly Bear in the Lower-48 States                                     January 2021

observed females with cubs by 0.6 then dividing by the adult female proportion of the population
(Service 1993, pp. 83–84, 101–102; Kasworm et al. 2020a, p. 16.; Kasworm et al. 2020b, pp.
12–13).




                                                 312
                                                                                       FWS001377
                                               4-ER-674
               Case: 23-2882, 03/22/2024, DktEntry: 30.5, Page 16 of 218                   (16 of 218)

SSA for Grizzly Bear in the Lower-48 States                                January 2021


Appendix E. Canadian Grizzly Bear Assessment

        Assessment of grizzly bears (Ursus arctos) north
        of the Canada-U.S. border and their relationship
               to populations in the lower-48 States




                                    Michael Proctor
                                   Andrea Morehouse

                      Prepared for the U.S. Fish and Wildlife Service
                     Grizzly Bear Recovery Office, Missoula, Montana

                                          January 2021



                                                313
                                                                               FWS001378
                                              4-ER-675
                     Case: 23-2882, 03/22/2024, DktEntry: 30.5, Page 17 of 218                       (17 of 218)

 SSA for Grizzly Bear in the Lower-48 States                                       January 2021


Introduction
Grizzly bears in Canada are designated nationally as ‘Special Concern’ by the Canadian
Committee on the Status of Endangered Wildlife in Canada (COSEWIC) and the federal Species
at Risk Act. This designation was made due to the bear’s North American population decline
over the past 150 years, its sensitivity to human disturbance and human-caused mortality, poor
population data across its range, a few local population declines, and extensive fragmentation in
the southern portion of its Canadian range (COSEWIC 2012). However, there is evidence of a
stable population overall across their distribution in Canada (COSEWIC 2012). There are
approximately 15,000 grizzly bears in British Columbia (B.C.), 700 in Alberta, and 13,000 north
of the 60th parallel in the Yukon, Northwest Territories, and Nunavut (Figure 1). While bears
live within generally large robust populations in northern portions of the provinces, their
populations along the periphery of their distribution in Alberta and along the Canada-U.S. border
have varying levels of conservation concern (McLellan 1998). This concern is dominated by
fragmentation creating smaller populations, conflict related mortality on their periphery in the
human-settled valleys of this mountainous landscape, and by backcountry mortalities related to
motorized access. In contrast to the grizzly bear conservation status in the lower-48 States where
their threatened status under the federal Endangered Species Act affords them significant
protection and resources for conservation management, the circumstances within Canada have
not resulted in a similar level of conservation concern for grizzly bears. Thus, the overall
conservation management is considerably less. Also, grizzly bear management is the realm of
the Provinces. Grizzly bear conservation and management within B.C. is guided by the Wildlife
Act and B.C.’s Conservation Strategy. Similarly, in Alberta, a provincial grizzly bear recovery
plan provides the basis for bear conservation and management (Alberta Environment and Parks
2016).




Figure 1: Grizzly bear distribution in western North America with
abundance estimates. Adapted from Proctor et al. (2021a).




                                                              314
                                                                                        FWS001379
                                                         4-ER-676
                Case: 23-2882, 03/22/2024, DktEntry: 30.5, Page 18 of 218                            (18 of 218)

 SSA for Grizzly Bear in the Lower-48 States                                       January 2021

The main benefit of Canadian grizzly bears to those in the lower-48 States is the provision of
genetic and demographic connectivity. Here we speak of connectivity in terms of movements
between areas that are accompanied by breeding. Genetic connectivity resists losses of genetic
diversity that usually occur in small, isolated populations and is more easily mediated by more
vagile males (Proctor et al. 2005). Demographic connectivity offers a ‘rescue’ effect for small,
isolated populations that may lose females (and reproductive capacity) through stochastic
(chance) events (e.g., disease) or through more deterministic process (e.g., excessive human-
caused mortality on the periphery of small populations) (Proctor et al. 2012, Lamb et al. 2016).
For example, the international South Selkirk population had been totally isolated for decades
(Proctor et al. 2005, 2012), but is currently experiencing increased connectivity and has been for
the past decade (Proctor et al. 2018). This population’s best opportunity for genetic and
demographic connectivity from a larger healthier population occurs with the south Purcell
Mountains of southern B.C. across the Creston Valley and B.C. Highway 3A (just north of
Bonners Ferry, Id). This same Purcell Mountain grizzly population is the nearest population to
reconnect the international Yahk/Yaak population. In fact, males have remained partially
connected across B.C Highway 3 into the Yahk/Yaak population, mediating genetic connectivity,
but demographic connectivity has been lacking (Proctor et al. 2005, 2012).

Additionally, B.C. and Alberta combined have many more bears than are in the lower-48 States,
particularly B.C. (Figure 1), which until recently, allowed a decades-long sustainable grizzly
bear hunt (McLellan et al. 2017a). In 2017, the B.C. grizzly bear hunt was halted on ethical
grounds and public opposition, not conservation concern. This fundamental difference between
bear populations in B.C and the lower-48 States has resulted in a difference in intensity of
conservation management between the two jurisdictions. However, many of the conservation
challenges present in the lower-48 States are also present in Canada, particularly for bear
populations along the Canada-U.S. border. Fragmentation from human settlement patterns,
human-caused mortality, and traffic on major highways has created small, fragmented or isolated
threatened populations in the lower-48 States (i.e., the South Selkirk, Yaak, and Cabinets
populations, Proctor et al. 2012). Canadian Highway 3, just north of the U.S.-Canada border,
and its associated settlement is responsible for much of the fragmentation of Canadian bear
populations and separates these trans-border populations from the larger Canadian grizzly bear
populations to the north (Proctor et al. 2005). In that regard, there has been much research and
conservation effort to reverse this fragmentation within Canada and some measure of success to
date. A large network of government agencies, Environmental Non-government Organizations
(ENGOs), and public interest groups from both countries are beginning to work cooperatively to
solve this problem.

The other area of enduring conservation management in Canada is the challenge the provinces
have with motorized access management, an important tool in grizzly bear conservation
management (Proctor et al. 2020). While there have been local motorized access management
plans initiated, some successfully, they have been a challenge to implement more broadly.

Here we review the research, management, conservation progress, and status of grizzly bear
populations in British Columbia and Alberta, Canada with a focus on those just north of the 49th
parallel. We briefly provide an overview of bear populations further north.



                                                 315
                                                                                        FWS001380
                                               4-ER-677
                Case: 23-2882, 03/22/2024, DktEntry: 30.5, Page 19 of 218                             (19 of 218)

 SSA for Grizzly Bear in the Lower-48 States                                        January 2021


British Columbia Overview
Most (~80 percent) of British Columbia (B.C.) is grizzly bear habitat; grizzly bears were
extirpated due to human settlement associated with excessive human-caused mortality over the
past century from the lower mainland around the metropolis of Vancouver, south-central
Okanagan valley, and a small corner in northeastern B.C. (Figure 1). Going north in B.C, the
influence of humans decreases, and grizzly bears flourish. B.C. covers ~950,000 km2 and
grizzly bears occupy ~750,000 km2. In contrast, in the lower-48 States, grizzly bears occupy a
much smaller area of approximately 55,000 km2. The ecology of B.C. is incredibly varied from
moist mountainous forests in the east, to the semi-desert Okanagan in the dry central interior, to
very wet coastal mountain forests in the west; grizzly bear habitat productivity also varies over
this range (Mowat et al. 2013).

Grizzly bears were intentionally killed in B.C. during European settlement into the early 1900s’
(McLellan 1998), and hunting went unregulated until the late 1960s when spring and fall hunts
were initiated. In the mid-1970s, a Limited Entry Hunt (LEH) was instigated in the southern
portion of the province (Peek et al. 2003). B.C. adopted a grizzly bear Conservation Strategy in
1995 (B.C. Conservation Strategy 1995), and in 1996 the LEH was extended to the entire
province with limits on the numbers of females taken (Peek et al. 2003). With a few localized
exceptions, the hunt was then sustainable for decades after the LEH was applied (McLellan et al.
2017a, Hatter et al. 2018), although concerns have been raised (Artelle et al. 2013). The biggest
challenges in managing for an accurate sustainable mortality rate, were the inability to estimate
the grizzly bear population across the province accurately and to account for unreported
mortalities. After the DNA survey method was developed in 1995 (Proctor 1995, Woods et al.
1999), reliable population estimates were carried out over portions of the province and
unreported mortality was estimated from telemetry research and hunting quotas were assessed
and adjusted accordingly. In 2017, the legal hunt was halted due to public opposition, although
First Nations are allowed to hunt for food, social, or ceremonial reasons
(https://news.gov.bc.ca/releases/2017FLNR0372-002065). It is also legal to kill a grizzly bear in
defense of life or property.

The current estimated grizzly bear population in B.C. is ~15,000, and bear densities vary from
less than 10 to greater than 400 bears/1,000 km2 (Mowat et al. 2013). Provincially, grizzly bears
are ranked as ‘Special Concern’ by the B.C Conservation Data Center and federally under the
Species at Risk Act (COSEWIC 2012, SARA 2018). While grizzly bears are internationally
designated as ‘Least Concern’ by the IUCN Red List of Threatened Species, four populations
within B.C were designated as ‘Threatened’, 3 of which span the Canada-U.S. border (North
Cascades-Critically Endangered, South Selkirk-Vulnerable, and the Yahk/Yaak-Endangered)
(McLellan et al. 2017b).

B.C.’s estimated 15,000 grizzly bears (B.C Min. FLNRORD 2020) are managed through 55
Grizzly Bear Population Units (GBPU), which were formed with natural and anthropogenic
boundaries in mind (Figure 2a). Originally GBPUs were ranked as ‘threatened’, viable’ or
‘extirpated’ based on the perceived relationship between their current bear numbers and their
potential ‘carrying capacity’ (Austin and Hamilton 2004). This system was replaced recently by
a more measurable, objective method based on principles developed by the IUCN and

                                                 316
                                                                                          FWS001381
                                               4-ER-678
                    Case: 23-2882, 03/22/2024, DktEntry: 30.5, Page 20 of 218                                                (20 of 218)

 SSA for Grizzly Bear in the Lower-48 States                                                              January 2021

implemented by a Nature Serve–based system of conservation ranking (Figure 2a, Morgan et al.
2020). Current rankings span 5 categories M1 – M5 with the highest level of conservation
concern in units labelled M1. The IUCN and Nature Serve labels are primarily designed to
assess extinction risk, but because most GBPUs in B.C. are jurisdictional units that are often
inter-connected with neighbouring units and not biologically isolated populations, their
extinction risk is generally very low. For this reason, the B.C. government refers to their status
with relative descriptors of ’conservation concern’ M1 – M5. This applies to all of B.C.s GBPUs
except a few that are biologically isolated or intensely fragmented and are separately designated
by the IUCN Red List Assessment process as mentioned above (McLellan et al. 2017b).

                       a)                                              b)




Figure 2: a) Grizzly Bear Population Units across B.C. ranked for conservation status using the Nature Serve threats
assessment protocols (Morgan et al. 2020) and, b) road density by landscape unit across British Columbia (Adapted from
Proctor et al. 2020).



The 1995 Grizzly Bear Conservation Strategy declared that B.C.’s grizzly bears would be
managed to “maintain in perpetuity the diversity and abundance of Grizzly bears and the
ecosystems on which they depend throughout British Columbia” and “to improve the
management of Grizzly bears and their interactions with humans.” In 2016, the B.C. Ministries
of Environment and Climate Change Strategy and Forests, Lands, and Natural Resource
Operations and Rural Development (FLNRORD) updated that commitment with 3 objectives:

         1. Ensure Grizzly bear populations are sustainable, including managing for genetic and
         demographic linkage;
         2. Continue to manage lands and resources for the provision of sustainable Grizzly bear
         viewing opportunities; and
         3. Where appropriate, restore the productivity, connectivity, abundance and distribution
         of Grizzly bears and their habitats.

A Provincial Grizzly Bear Management Plan has been developed and is in review as of January
2021 in response to a report tabled by the B.C Auditor General in 2017 (OAG 2017, Garth
Mowat, B.C Carnivore specialist, pers. comm.). The primary conservation concerns for grizzly



                                                            317
                                                                                                                 FWS001382
                                                       4-ER-679
                Case: 23-2882, 03/22/2024, DktEntry: 30.5, Page 21 of 218                               (21 of 218)

 SSA for Grizzly Bear in the Lower-48 States                                          January 2021

bears in B.C. include human-bear conflicts, anthropogenic habitat alteration, and loss of
connectivity.

Human-bear conflicts are responded to by the B.C. Conservation Officer Service (COS), though
this is a small part of a B.C Conservation Officer’s duties. The B.C. COS is responsible for
enforcing a wide variety of wildlife related laws and regulations including natural resource
compliance and enforcement, hunting regulations, human safety, property damage and conflict
response relative to all wildlife, including grizzly bears. The B.C. COS has detailed bear conflict
response protocols that apply a decision tree based on the type of conflict, the history of the bear,
threat level to people and property, and other factors (B.C. COS 2020a and 2020b). Responses
to human-grizzly bear conflicts vary and can include education and information sharing,
attractant management improvements and the promotion of electric fencing through ENGO
programs, translocation of grizzly bears within or (more rarely) outside their home range, or
euthanasia. On average, 44 percent of grizzly bears involved in conflicts responded to by the
B.C. COS are killed by Conservation Officers; that number rises to 61 percent when private
citizen kills are included (B.C. government data).

To help prevent human-grizzly bear conflicts, British Columbia has a province-wide
government-sanctioned WildSafe B.C. program. This program is collaboratively delivered and
includes education and community-based solutions. The program evolved from the provincial
Bear Aware program, is administered by the B.C. Conservation Foundation, and works
cooperatively with the Ministry of Environment’s Bear Smart Program and the B.C. COS.
Community based ‘specialists’ live and work within sponsoring communities to help develop
place-based conflict mitigation options; the cost of these positions is shared between WildSafe
and the sponsoring communities.

Motorized access management is known to be an important habitat management tool for grizzly
bear conservation (Mace et al. 1996, Schwartz et al. 2010, Boulanger and Stenhouse 2014, Lamb
et al. 2018. Proctor et al. 2020, 2021b). However, its use in B.C has been limited and no
province-wide or GBPU-specific targets exist (Proctor et al. 2019, Morgan et al. 2020, Figure
2b). Exceptions to this pattern are in the southeast corner of B.C. in the Flathead and South
Rockies GBPUs just north of the U.S. Glacier National Park, in southwest B.C. with a local
initiative, in the Granby-Kettle GBPU to the west of the South Selkirks (Lamb et al. 2018) and in
the privately owned Nature Conservancy of Canada Darkwoods lands within the South Selkirk
GBPU (Proctor et al. 2018, 2021b).

Finally, the loss of connectivity is an additional conservation challenge for southern B.C.’s bear
populations. B.C. Highway 3 runs east-west and bisects several GBPUs in southern B.C just
north of the Canada-U.S. border (Figure 3). The north-south mountain ranges create a series of
valleys that act as transportation and settlement corridors in the region. The combination of the
fragmentation of B.C. Highway 3 and the north-south settled valleys have left a series of isolated
or partially isolated sub-populations across the region, several of which are international sub-
populations that span the Canada-U.S. border (Figure 3). Varying amounts of conservation
management are being applied to reverse some of this fragmentation as discussed in the GBPU
summaries that follow.



                                                 318
                                                                                            FWS001383
                                               4-ER-680
                    Case: 23-2882, 03/22/2024, DktEntry: 30.5, Page 22 of 218                                                   (22 of 218)

 SSA for Grizzly Bear in the Lower-48 States                                                               January 2021




Figure 3: Fragmentation of grizzly bears, in the trans-border region spanning the Canada-U.S. border. Yellow dotted lines
represent primarily female fragmentation, but with reduced male connectivity as well. Numbers are population estimates within
these ‘biological’ subpopulations (adapted from Proctor et al. 2012).



British Columbia – U.S. border Grizzly Bear Population Units

There are 6 B.C. Grizzly Bear Population Units (GBPU) along the U.S. border that are
immediately relevant to grizzly bear recovery ones in the lower-48 States (Figure 4). Here we
review their status, research, conservation efforts, and relevance to grizzly bears in the lower-48
States.




                                                            319
                                                                                                                  FWS001384
                                                        4-ER-681
                    Case: 23-2882, 03/22/2024, DktEntry: 30.5, Page 23 of 218                         (23 of 218)

 SSA for Grizzly Bear in the Lower-48 States                                          January 2021




Figure 4: Grizzly Bear Population Units along the Canada-U.S. border in southern
British Columbia, their estimated population size, and adjacent U.S. Recovery zones
(B.C. Government 2020, Proctor et al. 2021b).

North Cascades

The North Cascade GBPU within Canada, up against the heavily human-populated lower
mainland of B.C.’s southwest, is directly north of the U.S. North Cascades Recovery Zone and is
estimated to have 6 bears within its ~9,800 km2 area; however, this estimate is not backed up by
reliable research (Figure 5, B.C. FLNRORD 2020). Between 1998 and 2003 several efforts were
made to survey this population (DNA sampling, live trapping effort, aerial survey for a
helicopter darting attempt,) with very little results beyond one DNA sample and few sightings
that included a female with offspring (North Cascades Grizzly Bear Recovery Team 2004,
McLellan et al. 2017b). This unit is designated as M1, the highest level of conservation concern,
according to B.C.’s conservation ranking assessment (Figure 2a, Morgan et al. 2020).
Approximately 20 percent of the GBPU is protected, (North Cascades Grizzly Bear Recovery
Team 2004) and road densities vary across the GPBU and outside of the large, protected areas on
the southern border; they range from 0.76 to 2.5 km/km2 (Figure 6).




                                                            320
                                                                                          FWS001385
                                                       4-ER-682
                      Case: 23-2882, 03/22/2024, DktEntry: 30.5, Page 24 of 218                                                      (24 of 218)

 SSA for Grizzly Bear in the Lower-48 States                                                                     January 2021




Figure 5: North Cascades region including the neighbouring Grizzly Bear Population Units to the northwest. The red dotted
line is a data-based approximation of the grizzly bear distribution north of that line (Apps et al. 2014). The distribution in the
North Cascades is unknown.




Figure 6: Road density classes in the North Cascade Grizzly Bear Population Unit of southwestern B.C.

The B.C. government developed a well-considered North Cascades Recovery Plan (North
Cascades Grizzly Bear Recovery Team 2004) to recover and /or recolonize this population.
Stated objectives included:

                                                               321
                                                                                                                        FWS001386
                                                          4-ER-683
                Case: 23-2882, 03/22/2024, DktEntry: 30.5, Page 25 of 218                             (25 of 218)

 SSA for Grizzly Bear in the Lower-48 States                                        January 2021



   -   conserve and enhance linkages (with the Stein Nahatlatch GBPU),
   -   augment the population genetically through the introductions of animals from other
       populations,
   -   manage habitat through motorized access controls if necessary,
   -   minimize human-bear conflicts,
   -   initiate recreation trail planning,
   -   minimize human-caused mortality of grizzly bears,
   -   cooperate with the U.S. authorities on recovery efforts, and
   -   monitor recovery progress.

The plan was never implemented due to the public’s concern for translocating bears into the area
(OAG 2017). No outreach effort was undertaken to alleviate those concerns (OAG 2017).
Recently, however, the Okanagan Nation Alliance has undertaken efforts to update this Recover
y Plan in collaboration with other First Nations, ENGOS and the B.C. government.

The North Cascade ‘population’ is totally isolated from adjacent populations (North Cascades
Grizzly Bear Recovery Team 2004). Connectivity from the east is unlikely as the nearest
population is over 100 km across the heavily human-settled Okanagan Valley (North Cascades
Grizzly Bear Recovery Team 2004, McLellan et al. 2017b). To assess connectivity from the
northwest it is useful to consider the GBPUs in that area (Figure 5). The immediately adjacent
GBPU is the recovering Stein-Nahatlatch, itself ranked M1, and estimated to have a very low
density of bears (2.9 bears/1,000km2, or 22 grizzlies, B.C. FLNRORD 2020, Morgan et al. 2020,
Apps et al. 2008, 2014) and very low genetic diversity estimated through genetic heterozygosity
(HE = 0.51, Apps et al. 2014). Both the North Cascades and Stein-Nahatlatch GBPUs are
designated as ‘Critically Endangered’ small, isolated populations by the IUCN Red List
(McLellan et al. 2017b). While the adjacent Stein-Nahatlatch GPBU is within the dispersal
distance of both male and female grizzly bears, only the northern half is occupied by grizzly
bears (Figure 5, Apps et al. 2008, 2014). The fracture that separates the North Cascades and the
Stein-Nahatlatch is significant and consists of the large Fraser River valley and canyon, the
heavily travelled Trans-Canada Highway, two railways, human settlements and other
developments.

The Stein-Nahatlatch GBPU has been completely isolated until recently when it has experienced
a few male exchanges with the South Chilcotin Ranges GBPU to the northwest, but no female
interchange has been documented (McLellan et al. 2017b). The fracture separating the Stein-
Nahatlatch from the South Chilcotin Ranges is of minimal intensity with a low volume railroad
and highway, sporadic rural settlement, and several lakes (McLellan et al. 2017b).

The South Chilcotin Ranges GBPU is the closest larger healthier population of grizzly bears (222
bears, FLNRORD 2020), known to also be increasing (McLellan et al. 2019), that would be a
source of genetic and demographic connectivity to the Stein-Nahatlatch and ultimately the North
Cascades. For natural connectivity to occur between the South Chilcotin Ranges through the
Stein-Nahatlatch and into the North Cascade GBPU, a considerable amount of population and
connectivity recovery needs to occur. Briefly, the South Chilcotin Ranges GPBU would need to
continue its recovery trajectory (a reasonable assumption given current efforts and attention), and

                                                 322
                                                                                         FWS001387
                                               4-ER-684
                Case: 23-2882, 03/22/2024, DktEntry: 30.5, Page 26 of 218                           (26 of 218)

 SSA for Grizzly Bear in the Lower-48 States                                       January 2021

the Stein-Nahatlatch would have to do the same. That, however, is a bigger challenge because
there are so few bears with limited distribution in this unit currently (McLellan et al. 2019).
Beyond these improvements, the considerable fracture separating the Stein-Nahatlatch and the
North Cascades created by the large highway, two railroads, large Fraser River, and human
settlements would have to be overcome through extensive conservation management.

Considering the low density, limited distribution, fragmentation of the Stein Nahatlatch bears
with the adjacent South Chilcotin Ranges GBPU to the north, and the severity of the fracture
separating the Stein-Nahatlatch from the North Cascades, genetic or demographic connectivity to
the North Cascades is unlikely in the near future. However, there are efforts in research and
conservation management ongoing in the region that provide long-term potential for connectivity
and recovery of the Stein-Nahatlatch and eventually the North Cascade GBPUs.

A considerable amount of conservation-oriented research has been occurring in the region to the
northwest of the North Cascade GBPU (Apps et al. 2014, McLellan and McLellan 2015,
McLellan et al. 2019), including work revealing population-level fragmentation (Apps et al.
2014) and identification of corridors across the valley fragmenting the Stein-Nahatlatch from the
South Chilcotin Ranges GBPU (Figure 5, McLellan 2018). A consortium of ENGOs, First
Nations, and the B.C. government have been working on implementing conservation solutions
similar to those shown to be working in the South Selkirk GBPU (see below, Proctor et al.
2018), including conflict reduction strategies, purchase of private connectivity properties by a
land trust, and initial motorized access management applications. A population augmentation
program for the Stein-Nahatlatch GBPU is being planned as a cooperative effort between the
B.C. Government and the local St’at’imc, NlaKa’pamux, and Simpcw First Nations
(https://www.conservationnw.org/our-work/habitat/coast-range-to-cascades/). The source of
non-salmon-dependent bears would likely come from healthy populations in central B.C. Plans
are to continue this effort for 5 years and assess progress and success.

In addition to these GBPUs is the small Hat Creek area (~1,400 km2) to the east of the Stein
Nahatlatch GBPU (Figure 5) that possibly contains reproductive females (McLellan et al.
2017b). Also adjacent to the Stein-Nahatlatch GBPU is the Garibaldi Pitt GBPU which is
possibly close to being functionally extirpated with an estimated 3 bears (FLNRORD 2020).

In summary, attaining natural or human-assisted genetic or demographic connectivity into the
North Cascade GBPU will be a challenge that currently is not being considered as a management
priority by the B.C. government (OAG 2017), but is within the long-term objectives of local First
Nations and the aforementioned Coast to Cascades Grizzly Bear Initiative. Therefore, this unit is
not considered a realistic source of bears to recolonize the U.S. North Cascades in the near
future. However, First Nations reinvigoration of recovery plans for both the North Cascades and
the Stein-Nahatlatch GBPUs in cooperation with the Coast to Cascades Grizzly Bear Initiative
and the B.C government provides some hope for conservation progress in the region and should
be of interest to authorities within the U.S. with interest in recovery of the North Cascades
international population.




                                                 323
                                                                                        FWS001388
                                               4-ER-685
                    Case: 23-2882, 03/22/2024, DktEntry: 30.5, Page 27 of 218                                                  (27 of 218)

 SSA for Grizzly Bear in the Lower-48 States                                                              January 2021


Granby-Kettle GBPU




Figure 7: Granby-Kettle Grizzly Bear Population Unit along the Canada-U.S. border immediately northwest of the U.S. South
Selkirk Recovery Zone. Habitat selection estimated by resource selection functions (green), grizzly corridors, (yellow), and
huckleberry patches (purple) are shown (Proctor et al. 2015, 2021b).

The next GBPU in the trans-border area is the Granby-Kettle unit (Figure 7), east of the
Okanagan Valley from which grizzly bears are extirpated. This unit is designated as M2, high
conservation concern, according to B.C.’s conservation ranking assessment (Figure 2a, Morgan
et al. 2020) suggesting that it is in need of conservation attention. Grizzly bears in the unit have
not been legally hunted since 1995. The biggest threats to bears in this unit are the extensive and
expanding forestry road network and its associated high ungulate hunter density and unreported
mortalities (Morgan et al. 2020), although some recent progress has been made in motorized
access management. There is limited human settlement or agriculture in the southern portion of
this GBPU (black dots in Figure 7).
A recent DNA-based population survey estimated 87 grizzly bears (95% CI = 66–108) (Lamb et
al. 2018) and represents an increase for this unit over an estimated 38 bears from a similar DNA
survey in 1997 (Lamb et al. 2018). Between 1985 and 2001, 3 provincial parks were created in
this unit encompassing 14 percent of the GBPU. In addition, two motorized access management
areas (5 percent of unit area) were created to benefit grizzly bear recovery and other conservation
goals. Lamb et al. (2018) estimated that the parks and motorized access management area
helped increase the bear density by 27 percent and that habitats with road densities less than 0.6
km/km2 had 3 times higher grizzly bears densities than habitats with road density greater than 0.6
km/km2. Even with these efforts, the open road density in this unit is 1.64 km/km2, short of a
stated goal of 0.6 km/km2 (B.C. Government Action Regulation 2004). The closest example of a
GBPU-wide access management plan in B.C. occurred in this unit in 2010 when a government
order was drafted to include a road density target, but it was only a recommendation in the final
order. It was later determined by the B.C. Forest Practices Board that these targets were not
being met in a significant number of areas primarily because they were not legally binding. This
story is detailed in the Office of the B.C. Auditor General Report (OAG 2017).



                                                            324
                                                                                                                 FWS001389
                                                       4-ER-686
                Case: 23-2882, 03/22/2024, DktEntry: 30.5, Page 28 of 218                              (28 of 218)

 SSA for Grizzly Bear in the Lower-48 States                                         January 2021

The Granby-Kettle GBPU is bisected by B.C. Highway 3 and the degree of fragmentation it
causes has not been researched. Regionally, fragmentation is mediated mainly by settlement and
mortality patterns and secondarily by traffic along Highway 3 (Proctor et al. 2012, Lamb et al.
2016). There are extensive sections along B.C. Highway 3 across this unit with no-to-minimal
human settlement, so extrapolating the results of Proctor et al. (2012), it is likely that grizzly
bear connectivity occurs across this highway to some degree as is the case with the unsettled
Highway 3 that bisects the South Selkirk GBPU (see below).

While no direct habitat quality or telemetry-based research has occurred in the Granby-Kettle
unit, Proctor et al. (2015) extrapolated their extensively evaluated resource selection function
habitat model and grizzly bear corridor predictions into much of this unit (Figure 7). Further,
Proctor et al. (2021) applied their huckleberry patch ‘important-for-grizzly-bears’ model into this
unit after satisfactory local field evaluation (Figure 7). Combined with the density surface and
road density analyses (Lamb et al. 2018) and the Proctor et al. (2015, 2021b) efforts, enough
preliminary data exists for this unit to implement targeted conservation management such as the
one attempted by the provincial government in 2010 (described above) and expand access
management to other areas within this GBPU as they have done in portions of the unit (Proctor et
al. 2020, 2021b).

In summary, the Granby-Kettle GBPU shares a 35 km border with the western edge of the
Canadian South Selkirk GBPU (Figure 7). The areas near this border within each GBPU contain
a lower density of grizzly bears relative to other portions of the GBPUs and B.C. Highways 22
and 3B and their associated human settlement likely provide a degree of fragmentation between
these two GBPUs. As such, the Granby-Kettle GBPU represents only minimal potential for
grizzly bear connectivity with the South Selkirks. Likely a better potential exists for bears within
the Granby-Kettle to be a source for bears into adjacent areas in northern Washington, although
no known population exists there now.

South Selkirk GBPU

The Canadian South Selkirk GBPU is directly north of the U.S. South Selkirk and is part of the
U.S. Recovery zone (Service 1993), although it is managed entirely by Canada (Figure 8a).
Protected areas in this GBPU include the West Arm Provincial Park (253 km2) along the
northern border of the unit and the adjacent roadless Midge Creek Wildlife Management Area
(created in 1998, 148 km2). These protected areas adjoin the 700 km2 Nature Conservancy
Canada (NCC) property, currently being managed for grizzly bear and other conservation values
(Figure 8b). This unit is designated as M2, high conservation concern, according to the B.C.’s
conservation ranking assessment (Figure 2a, Morgan et al. 2020) suggesting that it is in need of
conservation attention. Grizzly bears in the unit have not been legally hunted since 1995. The
South Selkirk subpopulation was found to be completely isolated (at the time) from adjacent
subpopulations to the north, east, and west (Proctor et al. 2005, 2012) and the IUCN Red List
assessment designated this population as ‘Vulnerable’ (McLellan et al. 2017b). Its small
population size, complete isolation (at the time), and threats assessment suggested it should be
‘Endangered’. It was designated the lesser status of ‘Vulnerable’ because of ongoing research
and effective conservation management applied by the Trans-Border Grizzly Bear Project, the
Service, and the B.C. Conservation Officer Service (Proctor et al. 2018, Kasworm et al. 2020a).

                                                 325
                                                                                          FWS001390
                                               4-ER-687
                     Case: 23-2882, 03/22/2024, DktEntry: 30.5, Page 29 of 218                                                 (29 of 218)

 SSA for Grizzly Bear in the Lower-48 States                                                                   January 2021

These cumulative efforts greatly reduced its probability of extinction. More recently, Proctor et
al. (2018) have documented increased genetic and demographic connectivity between the South
Selkirk and Purcell GBPUs (see details below).

  a)                                                        b)




Figure 8: a) South Selkirk Grizzly Bear Population Unit along the Canada-U.S. border immediately north of
the U.S. South Selkirk Recovery Zone. Habitat selection estimated by resource selection functions (green),
grizzly corridors, (yellow), and huckleberry patches (purple) are show, (Proctor et al. 2015, 2021b), and b)
protected lands in the South Selkirk Grizzly Bear Population Unit.

Threats to this population were (and still are to some degree), human-caused mortality primarily
on the periphery, extensive forestry roads on public lands and the accompanying mortality
(within Canada), and fragmentation. The Trans-border Grizzly Bear Project wrote a government
sanctioned (‘advice to government’) Recovery Management Plan (MacHutchon and Proctor
2016). The recovery targets in this plan were patterned after targets used by the Service’s
recovery of the U.S. South Selkirk Recovery Zone with several changes to reflect the Canadian
program. Most of the targets were designed to be measured in a unit-wide DNA-based
population survey and include, abundance, density with explanatory covariates, female
distribution, distribution of reproductive females, sustainable mortality rates, sex-specific
connectivity with neighboring populations and more. A DNA-based population survey is being
carried out in 2020–2021, to assess conservation status using the above metrics.

There has been a significant amount of conservation–oriented grizzly bear research in the South
Selkirks by the Trans-border Grizzly Bear Project, in partnership with the Service’s Libby
Office. A DNA-based population survey was done in 2005, which estimated the Canadian South
Selkirk unit to have 58 bears (95% CI = 50–70) (Proctor et al. 2007). A re-analysis of the same
data using the more recent Spatial Explicit Capture Recapture (SECR) methodology estimated 53
bears (95% CI = 41–68) (Proctor et al. 2021b). Forty grizzly bears were collared with GPS
telemetry between 2007–2017, the data of which were used to estimate habitat quality, important
hyperphagia food patches, connectivity corridors, female reproduction, sources and rates of
mortality, conflict management, and more (Figure 8a). Proctor et al. (2021b) identified and
mapped huckleberry patches important for grizzly bears using GPS telemetry to find the patches
and model their distribution (Figure 8a). Interestingly, they found that huckleberry patches in
areas of high road density and low proportion secure habitat were not translating into grizzly
                                                             326
                                                                                                                   FWS001391
                                                        4-ER-688
                     Case: 23-2882, 03/22/2024, DktEntry: 30.5, Page 30 of 218                                                       (30 of 218)

 SSA for Grizzly Bear in the Lower-48 States                                                                   January 2021

bear densities. For example, the average open road density in the unit is 1.1 km/km2 while the
open road density in the Nature Conservancy Canada’s land is 0.3 km/km2 attained through an
access management program on their lands. The average bear density for the entire unit is 13.1
grizzly bears/1,000 km2, while the grizzly density in the NCC Darkwoods property is 33 grizzly
bears/1,000 km2. This higher bear density in the NCC Darkwoods lands is a result of the
combination of a low road density and a higher huckleberry patch density (Figure 9a and b.
Proctor et al. 2018, 2021). Proctor et al. (2021b) found that grizzly bear densities were 2.5 times
higher in habitats less than 0.6 km/km2 open road density, relative to habitats greater than 0.6
km/km2.

  a)

                                                                       b)




Figure 9: a) An example of resource road management on Nature Conservancy of Canada lands in the South
Selkirk Mountains as a mitigation for backcountry mortality and to increase habitat effectiveness (adapted from
Proctor et al. 2018). Public access was controlled around good huckleberry patches, and this resulted in increased
female habitat use, density, and realized reproductive output (fitness). Adapted from Proctor et al. (2018), and b)
Grizzly bear density in the South Selkirk Grizzly Bear Population Unit. Red oval indicated are of highest density that
corresponds to the upper right red oval in a) where access management has been applied by the Nature Conservancy
Canada and huckleberry patch density is high (Proctor et al. 2021b).

Road density and the proportion of secure habitat (greater than 500 m from an open road) varies
across the South Selkirk GBPU. The Trans-border Grizzly Bear Project subdivided this unit
(and other GBPUs in the Purcell Mountains) into ‘Bear Management Units’ (BMUs) for the
purpose of understanding the spatial variability of these access metrics (Figure 10a and b). Note
these BMUs are not legal entities, but are used for conservation planning. This exercise exposes
local areas within these units that would benefit from access management as recommended in
Proctor et al. (2020).




                                                              327
                                                                                                                         FWS001392
                                                         4-ER-689
                       Case: 23-2882, 03/22/2024, DktEntry: 30.5, Page 31 of 218                                                  (31 of 218)

 SSA for Grizzly Bear in the Lower-48 States                                                                 January 2021


                  a)                                                 b)




Figure 10: a) Road density categories within ‘Bear Management Units’ (created by the Trans-border Grizzly Bear Project
to help understand road access, these are not legal entities) across the South Selkirk, Yahk, South Purcell and Central
Purcell Grizzly Bear Population Units in southeastern B.C. Adapted from MacHutchon and Proctor 2016). Colors are open
roads buffered by 500 m, and b) Percentage of secure habitat (> 500m form an open road) across the same Bear
Management Units.
                  a)                                                   b)




Figure 11: a) Research-identified grizzly bear corridors in the trans-border Canada-U.S. region (Yellow) connecting higher
quality habitat patches (green). The black arrows represent the best corridor option connecting the U.S. South Selkirk grizzly
bears to the larger Canadian population in the Purcell Mountains through the Creston Valley (red circle) and b) Close up of the
Creston Valley showing the best linkage habitat (red flames) in relation to connectivity land purchases by the Nature
Conservancy Canada (NCC, blue polygons, adapted from Proctor et al. 2018).

The fragmentation that originally created this previously isolated population was primarily from
B.C. Highway 3A that runs north of Creston and west to Nelson along Kootenay Lake. B.C.
Highway 3 cuts east-west through the South Selkirk unit but does not significantly fragment
grizzly bears as there is virtually no human settlement along the highway as it crosses much of
the unit (Proctor et al. 2012).


                                                             328
                                                                                                                    FWS001393
                                                        4-ER-690
                     Case: 23-2882, 03/22/2024, DktEntry: 30.5, Page 32 of 218                                                  (32 of 218)

 SSA for Grizzly Bear in the Lower-48 States                                                                January 2021

Proctor et al. (2015) identified the best options for establishing a grizzly bear corridor to a larger
population to be across the north end of the Creston Valley into the south Purcell Mountains
(Figures 11a and b). The Trans-border Grizzly Bear Project has implemented a suite of
connectivity conservation and management actions over the past decade (Proctor et al. 2018).
Activities included a cost-share electric fencing program, other attractant management activities,
a private land purchase program (i.e., purchasing lands or conservation easements within
identified corridors through the NCC and other land trust ENGOs, Figure 11b), and a non-lethal
conflict response program in conjunction with the B.C. COS - patterned after the Montana Fish
Wildlife & Parks bear management program. These activities have resulted in a decrease in
human-caused mortality in the South Selkirk GBPU relative to the previous decade (Figures 12a,
b, Proctor et al. 2018). Conversely, mortality trends in the adjacent population unit to the east
that did not receive these management activities have continued to increase (Figure 12c).



     a)                                                          b




                               c)




Figure 12: a) Conflict-related human-caused grizzly bear mortality in the Canadian South Selkirk Grizzly Bear Population
Unit prior to the instigation of connectivity mortality reduction management actions, b) mortalities after the initiation of
mortality reduction management, and c) human-caused mortality in the adjacent valley to the east where connectivity mortality
reduction management was not applied with the same intensity as in the Creston Valley area (adapted from Proctor et al.
2018).
The South Purcell population unit is the southern tip of a much larger healthier population of
approximately 600 grizzly bears (Proctor et al. 2012). The Creston Valley grizzly bear corridor
is the best option for reconnecting the U.S. South Selkirk population to a large healthy
population north of B.C. Highways 3 and 3A (Figures 7a and b). Recent research has found
increasing levels of genetic and demographic connectivity to be occurring between grizzly bears
in South Selkirk and South Purcell Mountains as a result of the above-mentioned conservation

                                                             329
                                                                                                                  FWS001394
                                                        4-ER-691
                     Case: 23-2882, 03/22/2024, DktEntry: 30.5, Page 33 of 218                                                       (33 of 218)

 SSA for Grizzly Bear in the Lower-48 States                                                                   January 2021

management actions (Figures 13 and 14, Proctor et al. 2018). Proctor et al. (2018) documented
an increase in heterozygosity, a measure of genetic diversity, from 0.54 to 0.57, and 13 of 15
microsatellite loci tested increased their number of alleles between 2005 and 2017. They also
documented an increase in the number of female and male immigrants into the Selkirk
population from the Purcell Mountains to the east (1 female prior to 2005 to 4 females by 2017,
and 0 males before 2005 to 6 males by 2017 (Figures 14a and b). They also documented
movement into the South Selkirk GBPU from the South Purcell GBPU accompanied by breeding
(Figure 13, Proctor et al. 2018). More recently the research team identified a female immigrant
into the Selkirk GBPU that bred (unpublished data).




Figure 13: Example of grizzly bear (Ursus arctos) movement and gene flow across the Creston Valley from the South Purcell
Mountains to the previously isolated South Selkirk population in the Canada-U.S. trans-border region. Example is a family
pedigree where offspring all share 1 allele from each parent across 21 loci. Lines connect offspring to their parents. Dot
locations represent each bear’s capture or sample location. In this extended family, Bob and Maeve produced offspring Cpt.
Hook who moved from the South Purcell into the South Selkirk Mountains where he mated with 5 separate females yielding six
offspring (1 of the blue dots for male offspring represents 2 offspring sampled at the same location). Adapted from Proctor et al.
2018.




                                                              330
                                                                                                                      FWS001395
                                                          4-ER-692
                    Case: 23-2882, 03/22/2024, DktEntry: 30.5, Page 34 of 218                                            (34 of 218)

 SSA for Grizzly Bear in the Lower-48 States                                                          January 2021


                 a)                                             b)




Figure 14: a) Cumulative evidence of inter-population grizzly bear (Ursus arctos) movements and gene flow (breeding
events after movements) prior to 2006 and b) after mortality reduction management was applied post-2006 in the Canada-
U.S. trans-border region of northwest Montana, northern Idaho, and southeast B.C (adapted from Proctor et al. 2018).

In summary, the Canadian South Selkirk GBPU is the most important link for the bears in the
U.S. portion of the South Selkirk Recovery Zone to be connected to a larger grizzly bear
population in Canada. This genetic and demographic connectivity has its best hope across the
Creston Valley just north of the U.S. border north of Bonners Ferry, Idaho (Proctor et al. 2015).
Recent and ongoing conservation efforts within Canada have measurably enhanced both genetic
and demographic connectivity for the South Selkirk Recovery Zone (Proctor et al. 2018),
however, the job is not complete. While progress in the right direction is apparent, sustained
efforts are needed to make these improvements permanent and to install the management
paradigms within Canadian society. This entails the B.C. Conservation Officer Service
continuing its work to apply non-lethal management to appropriate conflict bears, the
continuation of the privately run 50 percent cost-share electric fencing program, further and
improved management of deadstock in the agricultural community of the Creston Valley,
improved management (installed and maintained electric fences) of cherry orchards in the valley,
and improved management of bear attractants on dairy farms. These solutions need to be made
permanent fixtures in the way rural residents, farmers, and ranchers live and do business in the
region. These have been the goals of the Trans-border Grizzly Bear Project and while they
operate, there has been forward movement.

However, the Trans-border Grizzly Bear Project was not developed to be a permanent fixture on
this landscape. Further, while the B.C. government has been an important partner in
conservation management activities to this point in time, they are not currently prepared to be the
leader of grizzly bear conservation and management into the future. Similarly, even government
policies are not permanent and are subject to changing political climates. Facilitating
coexistence between bears and people in multi-use landscapes is a persistent challenge, and one
that requires engagement from multiple parties. Wildlife is a public good, and as such,
responsibility for both facilitating and maintaining coexistence should not fall solely on one
                                                          331
                                                                                                             FWS001396
                                                     4-ER-693
                Case: 23-2882, 03/22/2024, DktEntry: 30.5, Page 35 of 218                               (35 of 218)

 SSA for Grizzly Bear in the Lower-48 States                                          January 2021

group. As such, we look to both public and private players to continue these promising
conservation efforts.

Yahk GBPU

The Canadian Yahk GBPU is directly north of the Yaak portion of the U.S. Cabinet-Yaak
recovery zone. While the two areas are fully connected across the international border, the
Canadian Yahk, is not a part of the U.S. Cabinet-Yaak recovery zone (Figures 4 and 10).
Provincial parks in the unit amount to approximately 1 percent (28 km2) of the unit (Figure 10).
This unit is designated as M2, high conservation concern, according to B.C.’s conservation
ranking assessment (Figure 2a, Morgan et al. 2020) suggesting that it is in need of conservation
attention. Grizzly bears in the unit have not been legally hunted since 1976. The international
Yahk/Yaak subpopulation was found to be primarily female fragmented from adjacent
subpopulations to the north, east, and west (Proctor et al. 2005, 2012). The IUCN Red List
assessment designated this population as ‘Endangered’ (McLellan et al. 2017b) due to its small
population size and female fragmentation. It was not down listed to ‘Vulnerable” because at the
time, its conservation metrics were not as promising as they are today (Kasworm et al. 2020b).
In particular, the trend estimates and connectivity metrics have improved (become positive) in
recent years (Kasworm et al. 2020b, Proctor et al. 2020). These improvements reduce its
probability of extinction.

Threats to this population were (and still are to some degree), human-caused mortality primarily
on the periphery, extensive forestry roads and the accompanying mortality (within Canada), and
fragmentation. The Trans-border Grizzly Bear Project Recovery Management Plan discussed in
the South Selkirk GBPU section also covers this population unit (MacHutchon and Proctor
2016). There is a possibility of a DNA-based population survey being carried out in the near
future to assess conservation status using the metrics defined by the recovery management plan.

There has been a significant amount of conservation-oriented grizzly bear research in the Yahk
by the Trans-border Grizzly Bear Project, in partnership with the Service’s Libby Office. A
DNA-based population survey was done in 2004–2005, which estimated the Canadian Yahk unit
to have 20 bears (95% CI =16–24) (Proctor et al. 2007). A re-analysis of the same data using the
more recent Spatial Explicit Capture Recapture (SECR) methodology estimated 18 bears (95%
CI = 13–25 Proctor et al. 2021b). Grizzly bears were fitted with GPS telemetry between 2004–
2010, the data of which were used to estimate habitat quality, important hyperphagia food
patches, connectivity corridors, female reproduction, sources and rates of mortality, conflict
management, and more (Figure 15). Proctor et al. (2021b) identified and mapped huckleberry
patches-important-for-grizzly bears using their GPS telemetry to find the patches and model their
distribution (Figure 15). The average open road density in the unit is 1.6 km/km2. The average
bear density for the entire unit is 6.5 grizzly bears/1,000 km2 and is low relative to other units in
the region (Figure 10, Proctor et al. 2012, B.C. Min FLNRORD 2020). The low bear density in
the Canadian Yahk is likely related to the overall low huckleberry patch density and higher road
density (Figures 10 and 15, Proctor et al. 2021). Proctor et al. (2021b) estimated that there is
potential for increased numbers of grizzly bears in the Yahk unit through the application of
access management. Decreasing road density to the recommended target of 0.6 km/km2 has the
potential to double the numbers of bears in the Canadian Yahk (Proctor et al. 2021b).

                                                 332
                                                                                           FWS001397
                                               4-ER-694
                     Case: 23-2882, 03/22/2024, DktEntry: 30.5, Page 36 of 218                                                   (36 of 218)

 SSA for Grizzly Bear in the Lower-48 States                                                                  January 2021




Figure 15: Yahk and South Purcell Grizzly Bear Population Units along the Canada-U.S. border immediately north of the US
South Selkirk Recovery Zone. Habitat selection estimated by resource selection functions (green), grizzly corridors, (yellow),
and huckleberry patches (purple) are shown (Proctor et al. 2015, 2021b).


The fracture creating this female fragmented population is primarily from B.C. Highway 3 that
runs east-west across the Purcell Mountains. This highway and associated settlement have been
shown to limit female bears and reduce male movements (Proctor et al. 2005, 2012). Proctor et
al. (2015) identified the best options for establishing a grizzly bear corridor to a larger population
to be across B.C. Highway 3 into the South Purcell Mountains (yellow in Figure 15). As
mentioned above for the South Selkirk GPBU, the Trans-border Grizzly Bear Project has
implemented a suite of connectivity conservation management actions over the past decade.
These activities have resulted in an increase in connectivity between the Yahk and the South
Purcell population unit to the north (Figure 14, Proctor et al. 2018). The South Purcell
population unit is the southern tip of a much larger healthier population of approximately 600
grizzly bears (Proctor et al. 2012). The research-identified corridors are the best option for
reconnecting the U.S. Yaak grizzly bear population to a large healthy population north of B.C.
Highway 3 (Figures 3 and 15).




                                                              333
                                                                                                                     FWS001398
                                                         4-ER-695
                    Case: 23-2882, 03/22/2024, DktEntry: 30.5, Page 37 of 218                                                    (37 of 218)

 SSA for Grizzly Bear in the Lower-48 States                                                               January 2021




Figure 16: An example of male mediated gene flow across B.C. Highway 3 in the Purcell Mountains. Adult male Vern (red dot)
mated with females (green dots) producing various offspring (smaller dots) north and south of B.C. Highway 3. Dot location are
individual’s capture or hair sample locations.


In summary, the Yahk GPBU is in need of access controls as the road densities in this unit (1.6
km/km2) are well above the often-used target of 0.6 km/km2 (Figure 10a and 18). If this target
were adopted and met, there is the potential to double the number of bears in this GBPU (Proctor
et al. 2021b). The other arena for improved conservation management is along the eastern edge,
where human-caused mortalities have accumulated and significantly contribute to lower
abundance and fragmentation of this population (Figure 17, Proctor et al. 2018). Conflict
reduction measures have been slowly increasing in recent years in this area, so reductions in
human-caused mortality are expected. To be fair, implementing access management across the
Yahk GBPU will be a challenge due to strong public opposition and heavy industrial timber
harvest.




                                                            334
                                                                                                                  FWS001399
                                                        4-ER-696
                    Case: 23-2882, 03/22/2024, DktEntry: 30.5, Page 38 of 218                                                (38 of 218)

 SSA for Grizzly Bear in the Lower-48 States                                                              January 2021




                                                                               South
                                                                               Rockies
                                                              South
                                                   South      Purcell
                                                   Selkirk
                                                                        Yahk         Flathead


                                                                        CYE
                                                             CYE        RZ
                                                             RZ




Figure 17: Cumulative non-hunt human-caused grizzly bear mortality in the Canada-U.S. trans-border area between
1984–2017. Blue dots are front country mortalities and dark red dots are backcountry mortalities. Red is modeled
A
mortality risk.


                         a)                                              b)




Figure 18: The pattern of access management applied in the international Yahk/Yaak ecosystem a) shows the total roads in
both the U.S. and Canadian portions, and b) the U.S. portion show the open roads after access management has been applied.




                                                             335
                                                                                                                FWS001400
                                                       4-ER-697
                Case: 23-2882, 03/22/2024, DktEntry: 30.5, Page 39 of 218                            (39 of 218)

 SSA for Grizzly Bear in the Lower-48 States                                       January 2021


South Purcell GBPU

The south Purcell GBPU is directly north of the Yahk unit and still close to the U.S. border (8
km at its closest) and thus plays a role in U.S. grizzly bear recovery (Figure 15). This unit is
designated as M2, high conservation concern, according to the B.C.’s conservation ranking
assessment (Figure 2a, Morgan et al. 2020) suggesting that it needs conservation attention.
However, it is the southern edge of a larger healthier population of fully connected GBPUs
partitioned for management convenience that extends northward approximately 250 km (~150
miles) and contains an estimated 600 grizzly bears (Figure 3, Proctor et al. 2012). The M2
designation reflects threats to this population including, human-caused mortality primarily on the
periphery, and extensive forestry roads and the accompanying mortality. As such, this
population unit represents the larger population that offers genetic and demographic connectivity
to both the South Selkirk and Yahk GBPUs and their associated populations in the U.S. lower-48
States. Efforts to re-establish connectivity across B.C Highways 3 and 3A would benefit the
long-term health of the U.S. South Selkirk and Yaak grizzly bears populations (Figures 3, 4, and
14) and are ongoing (Proctor et al. 2018).

There has been substantial conservation-oriented grizzly bear research in the South Purcell unit
by the Trans-border Grizzly Bear Project, in partnership with the Service’s Libby Office. A
series of smaller DNA-based population surveys designed to assess fragmentation patterns (but
useful for population estimation) were done between 1998 and 2005, and GPS telemetry
occurred between 2004–2017. These data were used to estimate abundance, density, habitat
quality, important hyperphagia food patches, connectivity corridors, female reproduction,
sources and rates of mortality, conflict management, and more (Figure 15). Proctor et al.
(2021b) identified and mapped huckleberry patches-important-for-grizzly bears as reported
above for other GBPUs (Figure 15). The average open road density in the unit is 1.0 km/km2.
The average bear density for the entire unit is 11.9 grizzly bears/1,000 km2 with 73 bears (95%
CI = 56–96) estimated from data collected between 2001–2005 (Proctor et al. 2021b). This
estimate is also 15 years old (in 2021) and the current density of the South Purcell unit is
unknown. Grizzly bears in the unit were legally hunted up until the B.C.-wide grizzly bear hunt
closure in 2017. Occasionally, the combination of non-hunt conflict mortality and the legal hunt
exceeded total mortality limits for this population (Artelle et al. 2013). However, the hunt was
closed periodically to mitigate the excessive mortalities and allow the bear numbers to recover as
per provincial protocol (Hamilton and Austin 2004).

In summary, the South Purcell GBPU could benefit from an organized access management plan
to lower road densities particularly around the best huckleberry patches identified in Proctor et
al. (2021b). Continued and increased efforts to minimise human bear conflicts on the periphery
of this unit would also be beneficial for population recovery as well as improving its ability to
act as a source population for migrants into the Yahk and the South Selkirks. These two actions
would work to increase the potential of connectivity with the Yahk and South Selkirk
populations – and ultimately with the U.S. recovery zones of these ecosystems.




                                                 336
                                                                                         FWS001401
                                               4-ER-698
                Case: 23-2882, 03/22/2024, DktEntry: 30.5, Page 40 of 218                              (40 of 218)

 SSA for Grizzly Bear in the Lower-48 States                                         January 2021


Flathead GBPU

The Canadian Flathead GBPU is directly north of the U.S. North Continental Divide Ecosystem
(NCDE) recovery zone including portions of the U.S. Glacier National Park (Figures 4 and 19).
While the two areas are fully connected across the international border, the Canadian Flathead is
not a part of the U.S. NCDE recovery zone (Figure 4). This GBPU is designated as M2, high
conservation concern, according to B.C.’s conservation ranking assessment (Figure 2a, Morgan
et al. 2020) suggesting that it is in need of conservation attention. This concern comes from
threats and fragmentation related to conflict mortality on the unit’s periphery along B.C.
Highways 3 and 97, forestry roads, and high ungulate hunter density and the accompanying
mortality (Proctor et al. 2012, Lamb et al. 2016, McLellan et al. 2018, Morgan et al. 2020).
Human-caused mortality related to human-bear conflicts on the periphery of this unit remain a
significant issue in this unit (Figure 17, Mowat and Lamb 2016, Lamb et al. 2016, Proctor et al.
2018). With the goal of future mitigation of these human-caused mortalities, there is an ongoing
research project to identify sources of unreported mortality in the area that separates the South

Rocky, Flathead and Yahk GPBUs and to inform management actions (C. Lamb, pers. comm.).
Recently, attractant management is beginning to be pursued in earnest.
B.C. Highway 3 transverses the Rocky Mountains east to west and creates the northern boundary
of this GBPU as it does in the Purcell Mountains to the west. The big difference is that the
number of bears to the south of B.C. Highway 3 in this relatively large biological population
includes bears in B.C (~140), Alberta (~67), and Montana (~1,068) totalling more than 1,200
bears (Figure 3, Kendall et al. 2009, Proctor et al. 2012, Mace et al. 2012, Morehouse and Boyce
2016, B.C Min. of FLNRORD 2020, Costello and Roberts 2020, Service 2020). While the best
(easiest to repair) and most important link to bears in the rest of Canada occurs across B.C.
Highway 3, the relatively large size of this international population leaves it fairly secure. While
there is evidence of reduced demographic and genetic gene flow across B.C. Highway 3, males
have been mediating genetic connectivity (Proctor et al. 2005, 2012). However, development
along B.C. Highway 3 is ever increasing and the window of opportunity to establish effective
wildlife and grizzly bear corridors may be closing. Therefore, if grizzly bear connectivity is a
priority in this area, connectivity management along this transportation and settlement corridor
should be pursued.




                                                 337
                                                                                          FWS001402
                                               4-ER-699
                     Case: 23-2882, 03/22/2024, DktEntry: 30.5, Page 41 of 218                                                   (41 of 218)

 SSA for Grizzly Bear in the Lower-48 States                                                                January 2021




Figure 19: Flathead and South Rockies Grizzly Bear Population Units along the Canada-U.S. border immediately north of
the U.S. NCDE Recovery Zone. Habitat selection estimated by resource selection functions (green), grizzly corridors, (yellow),
and huckleberry patches (purple) are shown (Proctor et al. 2015, 2021).

Canadian bear researcher Dr. Bruce McLellan has been researching bears in the North Fork of
the Flathead just north of the U.S. border since the late 1970s. This is one of the most
extensively studied bear populations in North America (McLellan and Shackleton 1988,
McLellan 1989a, b, c, McLellan and Hovey 1995, 2001a, b, McLellan 2011, 2015, McLellan et
al. 2018). McLellan’s study area was the southeastern portion of the Flathead GBPU, less than
15 percent of the unit’s area. McLellan found a relatively high bear density that undulated with
huckleberry productivity roughly corresponding to each of 3 decades between 1979–1988, 1989–
1998 and 1999–2010 (McLellan 2015). He concluded that because this population was far from
human settlements, and extensive post-forest-fire-induced huckleberry patches were separated
from forestry roads in mid-to high elevation open slopes, grizzly bear densities were high
relative to other interior non-salmon grizzly bear populations (McLellan 2011, 2015, Mowat et
al. 2013). He found that densities of bears excluding independent males ranged from 16–55
bears/1,000 km2 in spite of this area receiving the highest per bear capita legal hunt rate
(McLellan 2015).

The current density of the entire GBPU is estimated to be 41 bears/1,000 km2 (140 bears, B.C.
Min of FLNRORD 2020), with an estimated average road density of 0.96 km/km2. We note,
however, that variability in this road density estimate exists due to access management (B.C.
Min. FLNRORD 2017). Of note and in contrast, the density of grizzly bears in the adjacent
Yahk GBPU is estimated to be 6.5 grizzly bears/1,000 km2, due to a lower huckleberry patch
density (30 percent of the Flathead huckleberry patch density) and higher open road density (1.6
km/km2, Proctor et al. 2021b). DNA-based surveys have been done across the Flathead GPBU
in 1997 and 2007 (Boulanger 2001, Proctor et al. 2010). A multi-method (DNA corral & rub
trees) monitoring effort has been carried out since 2007 (Mowat et al. 2013, Mowat and Lamb
2016). They found that across the entire GPBU, the population declined between 2007 and 2010
and increased again between 2010 and 2014, similar to patterns McLellan (2015) reported for his
smaller Flathead study area in the southeast portion of the unit. Grizzly bears in the unit have not
been legally hunted since the province-wide hunt closure in 2017.

                                                             338
                                                                                                                   FWS001403
                                                        4-ER-700
                Case: 23-2882, 03/22/2024, DktEntry: 30.5, Page 42 of 218                             (42 of 218)

 SSA for Grizzly Bear in the Lower-48 States                                        January 2021



There has been a significant amount of conservation research and effort related to improving
connectivity across B.C. Highway 3 separating the Flathead and South Rocky GBPUs (Apps et
al. 1997, Apps et al. 2007, Chetkiewicz and Boyce 2009, Clevenger et al. 2010, Proctor et al.
2012, 2015, Lamb et al. 2016, Lee et al. 2019). As a result of this attention, a spectrum of
groups and government agencies are working to improve wildlife connectivity (including grizzly
bears) across B.C. Highway 3 in the Rocky Mountains. Efforts include private land conservation
by land trusts within identified linkage corridors, conflict mitigation efforts through WildSafe
B.C. and the B.C. COS, and recent updated mitigation planning (Lee et al. 2019). A wildlife
fencing program is being initiated to funnel wildlife into existing small highway crossing
structures and underpasses and a larger wildlife crossing structure is being planned (C. Lamb,
pers. comm.). Although, to our knowledge, there are no empirical data evaluating connectivity
as a result of these activities, we believe they are likely positive initiatives for grizzly bear
connectivity in this region.

South Rockies GBPU

North of B.C. Highway 3 in the Rocky Mountains is the South Rockies GBPU (Figure 4 and 19).
This unit is designated as M2, high conservation concern, according to B.C.’s conservation
ranking assessment (Figure 2a, Morgan et al. 2020) suggesting that it is in need of conservation
attention. However, it is also the southern edge of a large area of contiguous grizzly bear habitat
that extends 150–175 km (~100 miles) north to the Trans-Canada Highway 1 (Figure 2). As
such, this population unit offers genetic and demographic connectivity to bears south of B.C
Highway 3. The M2 designation reflects threats to this population including, human-caused
mortality primarily on the periphery, and along B.C. Highway 43 that extends north into the unit
to Elkford, B.C., extensive forestry roads, high ungulate hunter density and the accompanying
mortality.

The South Rocky grizzly bear density is estimated to be 21 bears/1,000 km2 (170 bears, B.C
FLNRORD 2020). Many of the research and conservation efforts mentioned in the Flathead
GBPU section above also apply to this unit as B.C. Highway 3 separates the two units and many
efforts work to mitigate the human disturbance from this transportation settlement corridor
(mentioned above). Grizzly bears in the unit were legally hunted up until the B.C.-wide grizzly
bear hunt closure in 2017. As in the South Purcell GBPU, occasionally the combination of non-
hunt conflict mortality and the legal hunt exceeded total mortality limits for this population
(Artelle et al. 2013, Mowat and Lamb 2016). However, the hunt was closed periodically to
mitigate the excessive mortalities and allow the bear numbers to recover as per provincial
protocol (Hamilton and Austin 2004). The area continues to have significant human-caused
mortality issues (Figures 12 and 17, Lamb et al. 2016, Mowat and Lamb 2016, Proctor et al.
2018). Provincial protected areas account for ~500 km2 or 6 percent in the northern portion of
the GPBU.

The area has several large coal mines (Figure 20) and as a result of conservation concerns a
Cumulative Effects Management Framework has been instigated and is currently a cooperative
effort between the B.C. FLNRORD and the Ktunaxa Nation Council to inform natural resource
decisions (https://www2.gov.bc.ca/gov/content/environment/natural-resource-

                                                 339
                                                                                         FWS001404
                                               4-ER-701
                    Case: 23-2882, 03/22/2024, DktEntry: 30.5, Page 43 of 218                         (43 of 218)

 SSA for Grizzly Bear in the Lower-48 States                                         January 2021


stewardship/cumulative-effects-framework/regional-assessments/kootenay-boundary/elk-valley-
cemf).

In summary, the conservation situation of the combined Flathead and South Rockies GBPUs is
dominated by the fact that south of B.C. Highway 3, the biological population including bears
from B.C., Alberta, and the U.S. number more than1,200 bears, many of which live in protected
areas. In both Canada and the U.S., bears in the Rocky Mountains north and south of B.C.
Highway 3 represent a potential source of bears for the Yahk/Yaak populations. In that regard,
both efforts to minimize conflict-related human-caused mortality on the periphery of these
GBPUs is warranted. All indications suggest that there is significant room for improvement in
this regard. Also, road management is warranted in some areas to allow survival of inter-
population migrants.




Figure 20: Coal mines in the Flathead Elk Valleys in southeast British Columbia.


British Columbia

Summary

Connectivity
While perfect evidence is often lacking, it appears that connectivity across B.C. Highway 3 and
3A across southern B.C. is increasing, at least in some locations (Tables 1, 2). This is not likely
the case in the North Cascades or the Granby Kettle GBPUs, but that possibility exists in the
Granby-Kettle if population numbers continue to expand within that GPBU as they have over
past 2 decades (Lamb et al. 2018). Highway 3 in the Granby-Kettle has virtually no human-
settlement and likely would allow grizzly bear permeability. However, for this to occur it might
require a unit-wide motorized access management plan be implemented that allowed for
increased numbers of bears (OAG 2017, Proctor et al. 2021b).


                                                           340
                                                                                          FWS001405
                                                       4-ER-702
                     Case: 23-2882, 03/22/2024, DktEntry: 30.5, Page 44 of 218                                                (44 of 218)

    SSA for Grizzly Bear in the Lower-48 States                                                            January 2021


Connectivity to U.S. grizzly bear populations has the most to gain from the Canadian portions of
the South Selkirk and Yaak Recovery zones. For this to be realized, connectivity must be further
improved across B.C. Highways 3 and 3A, to the larger Purcell grizzly bear population to the
north. Connectivity into the South Selkirks across B.C. Highway 3A and across B.C. Highway 3
into the Canadian Yahk (fully connected to the CYE RZ) from the South Purcell Mountains is
increasing (Proctor et al. 2018), and challenges predicting the future aside, is likely to continue
improving. The same can be said for connectivity across B.C. Highway 3 in the Rocky
Mountains north of the NCDE. Higher densities of bears in that area provide more possibilities
for enhanced connectivity, but continued efforts to reduce human-caused mortality should be a
priority. In other words, while the connectivity situation in Canada is improving, more work is
required.

Table 1: Summary of trends in connectivity and abundance of Grizzly Bear Population Units in Southern B.C just north of the
U.S. border.


                                             Trend
          GBPU                   Connectivity                     Abundance
     North Cascades                   No                              No
     Granby Kettle1                Unknown                        Increasing
     South Selkirk2               Increasing                      Increasing
     Yahk2                        Increasing                      Unknown
     Flathead3              Unk, possibly increasing                Stable
1
  Lamb et al. (2018)
2
  Proctor et al. (2018)
3
  McLellan (2015)


Table 2: Summary of conservation management being applied within Grizzly Bear Population Units in southern B.C. just north
of the U.S. border (access mgt refers to motorized management)

                             Conservation management to
                                                                                      Specific mgt actions
                                      improve:
                                                                              Non-lethal
                                                                                                Access Attractant
          GBPU            Connectivity          Population size                 conflict
                                                                                                 mgt      mgt
                                                                               response
     North Cascades             No                   No                           No              No            No
     Granby Kettle              No             Some access mgt                   Some            Some           Yes
     South Selkirk              Yes              Considerable                     Yes            Some           Yes
     Yahk                       Yes                 Some                          Yes             No            Yes
     Flathead                  Some            Some access mgt                   Some            Some           Yes




                                                            341
                                                                                                                  FWS001406
                                                        4-ER-703
                Case: 23-2882, 03/22/2024, DktEntry: 30.5, Page 45 of 218                              (45 of 218)

 SSA for Grizzly Bear in the Lower-48 States                                         January 2021


Abundance

Minimizing human-caused mortality and maintaining stable grizzly bear populations in Canada
is also beneficial for the shared international populations. We summarize grizzly bear abundance
trends in Table 1. There has been no recovery of grizzly bears in the North Cascades in the past
20 years. The Granby-Kettle has experienced a significant increase in bears in the past 20 years
and further increases may require a unit-wide motorized access management plan (Lamb et al.
2018). Preliminary indications are that bears in the Canadian South Selkirk population are
increasing (Kasworm et al. 2020a) and human-caused mortality is on a downward trend (Proctor
et al. 2018). Further increases may also require more widespread access management beyond
NCC lands within this unit (MacHutchon and Proctor 2016, Proctor et al. 2020, 2021b). An
ongoing DNA survey (began in 2020) will verify this within 2021. The population trend in the
Canadian Yahk is less clear, except that the international Yahk/Yaak has recently shown to be
increasing – how much of that is due to Canadian bears is uncertain. Road densities remain
relatively high in the Canadian Yahk and this is where conservation effort needs to focus in this
population (Proctor et al. 2020, 2021). The Flathead has a relative high density of bears, relative
to neighbouring GBPUs, and has undulated over the decades around what might be considered a
stable mean over time (McLellan 2015).

Motorized Access Management

Managing backcountry motorized vehicle access remains a challenge in B.C. While several
localised motorized access management plans are being implemented (mentioned above), none
of them have set targets to meet. Further, despite compelling evidence detailing the benefits of
motorized access management to grizzly bear conservation and continued recommendations by
scientists to implement a robust motorized access management plan (e.g., Boulanger and
Stenhouse 2014, Lamb et al. 2018, Proctor et al. 2020, Proctor et al. 2021b), there is currently no
region-wide plan – nor are there plans to develop one (Garth Mowat, B.C. Provincial Large
Carnivore Specialist, FLRNORD, pers. comm.). Overcoming public resistance to motorized
vehicle closures on a regional scale is challenging, particularly in the absence of pertinent
legislation (OAG 2017).

To further work on motorized access management, the Trans-border Grizzly Bear Project is
currently working on an analysis wherein they will use their recent huckleberry ‘patches-
important-for-grizzly-bears’ model (Proctor et al. 2021b) as the basis for the development of a
proposed motorized access management plan that optimizes the benefit to grizzly bear while
simultaneously minimizing inconvenience to people. This work is informed by the literature
review in Proctor et al. (2020) and recent results of Proctor et al. (2021b) that demonstrate that
huckleberry patches in areas of high road density do not contribute significantly to bear densities.
They will use the results of this new project as the basis for conversations with government
officials with the goal of furthering the completion of motorized access controls in the South
Selkirk, Yahk, and South Purcell GBPUs.

One final note, it is clear from the situation in British Columbia that the U.S. recovery
ecosystems would benefit significantly from continued cooperation and collaboration with
researchers, ENGOs, First Nations, and governments in Canada, but Canadian populations are

                                                 342
                                                                                          FWS001407
                                               4-ER-704
                Case: 23-2882, 03/22/2024, DktEntry: 30.5, Page 46 of 218                            (46 of 218)

 SSA for Grizzly Bear in the Lower-48 States                                       January 2021


not a panacea for recovery of populations in the U.S. along the Canadian border. The Yahk and
South Selkirk populations are small physically as a result of mountain valleys and human
transportation and settlement patterns. These physical limitations necessitate that these small
populations become and remain connected to adjacent and larger populations over the long-term.
That connectivity will not likely be a free flow of bears, but rather a limited number of
individuals that move and survive through the human-dominated landscapes that make up the
fractures. Thus, while it is essential that the smaller U.S. populations remain connected to
Canadian populations, that connectivity is a hedge against loses of genetic diversity, an
opportunity for natural demographic rescue and augmentation, and, in the extreme, a resistance
against extirpation. The ultimate health of the bears in U.S. ecosystems, and those in Canada
also requires that they be healthy populations internally, attained through minimized human-
caused mortality and good habitat management.

Alberta Overview
Alberta is the eastern edge of grizzly bear distribution in western Canada (excluding territories
north of the 60th parallel) (COSEWIC 2012). Primary grizzly bear habitat includes the Rocky
Mountain and Foothills Natural Regions as well as the Central Mixwood Subregion of the Boreal
Forest Natural Region (COSEWIC 2012). Alberta grizzly bears were first designated as a fur-
bearer in 1928, but that changed the subsequent year (1929) when they became a big game
animal (Festa-Bianchet 2010). More stringent hunting regulations were established in the 1960s
and by 1988 a draw system and hunting quotas were in place (Festa-Bianchet 2010). In 2002,
Alberta’s Endangered Species Conservation Committee recommended that grizzly bears be
designated as Threatened on the basis of the species’ small population size, slow reproductive
rate, increasing human activity in grizzly bear habitats, and limited immigration from
populations outside of Alberta (Alberta Sustainable Resource Development 2008). That
recommendation, however, was not accepted by the Minister of Sustainable Resource
Development (Festa-Bianchet 2010). A recovery team was appointed, a recovery plan was
developed, and from 2004 through 2008, a series of DNA-based population inventories occurred
across the province (Alberta Sustainable Resource Development 2008, Festa-Bianchet 2010).
Also during this time period, a moratorium on grizzly bear hunting was established in 2006
(Festa-Bianchet 2010); the moratorium continues to be in place at the time of this document,
although First Nation subsistence hunting is still allowed. Grizzly bears were listed as
Threatened under Alberta’s Wildlife Act in June 2010 (Alberta Environment and Parks 2016).
The 2010 grizzly bear status assessment estimates the current total population of grizzly bears in
Alberta as 691 plus additional bears in portions Banff and Jasper National Parks (Festa-Bianchet
2010). This estimate is based on the 2004–2008 DNA inventory data, habitat modelling, and
expert opinion.

In 2016, Alberta Environment and Parks drafted an updated grizzly bear recovery plan (Alberta
Environment and Parks 2016). Although the updated plan has not yet been approved by the
Minister, it guides current grizzly bear management in the province. Alberta is divided into six
different bear management areas (BMA, Alberta Environment and Parks 2016). Each BMA is
further divided into a Recovery Zone and a Support Zone (Figure 21a, Alberta Environment and
Parks 2016). The Recovery Zone is the area in which the province intends to recover grizzly
bears, while the Support Zone is intended to allow for grizzly bears whose home ranges are not

                                                 343
                                                                                        FWS001408
                                               4-ER-705
                    Case: 23-2882, 03/22/2024, DktEntry: 30.5, Page 47 of 218                                                (47 of 218)

 SSA for Grizzly Bear in the Lower-48 States                                                            January 2021

entirely within the Recovery Zone; management of bear attractants and other sources of human-
wildlife conflict in the Support Zone are completed with the intent of supporting the grizzly bear
population in the Recovery Zone (Alberta Environment and Parks 2016). Within the Recovery
Zone, there are Core and Secondary Zones which inform Recovery Zone management (Figure
21b, Alberta Environment and Parks 2016). The new plan also identifies Habitat Linkage Zones
which identify highway corridors where there is a risk of populations becoming more isolated
over time (Alberta Environment and Parks 2016). Updated DNA-based population inventories
were completed cross the province from 2011–2018; some density and abundance estimates have
been released and others are still forthcoming. Updated population estimates for some BMAs
suggest a population increase (Stenhouse et al. 2015, Morehouse and Boyce 2016). Because an
updated provincial estimate has not yet been completed, the population estimate of 691 (plus
additional bears in the mountain National Parks) currently guides grizzly bear management
(Alberta Environment and Parks 2016). Threats to grizzly bears across the province include
anthropogenic habitat alteration, loss of connectivity, and human-caused grizzly bear mortality
(Alberta Environment and Parks 2016).

  a                                           b                                           c




Figure 21: Grizzly Bear Management Areas (BMAs), (b) Core and Secondary habitats (adapted from Nielsen et al. 2009), and (c)
Road density categories by Grizzly Bear Watershed Units across 7 BMAs in western Alberta (AEP 2016, adapted from Proctor et al.
2020).
Like many areas of North America, the anthropogenic habitat alteration caused by roads is a
primary concern for grizzly bears in Alberta. Roads allow humans motorized access into high-
quality grizzly bear habitat (Nielson et al. 2004, Schwartz et al. 2006), and human-related causes
are the primary source of grizzly bear mortality across North America, even in unhunted
landscapes (Peek et al. 1987, McLellan et al. 1999, Benn and Herrero 2002, Garshelis et al.
2005, Schwartz et al. 2006, McLellan 2015, Proctor et al. 2020). Increased road densities are
linked to changes in bear movements, distributions, and behaviour; increased mortality risk; and
decreased survival and reproduction (Roever et al. 2008, Northrup et al. 2012a, Boulanger et al.
2013, Boulanger and Stenhouse 2014). While road density itself is related to grizzly bear
survival, traffic volume is also likely to influence bear behaviour and mortality risk (Northrup et
al. 2012a, Boulanger and Stenhouse 2014). For example, in southwestern Alberta, grizzly bears
use private agricultural lands that have a high road density but lower human use relative to the
multi-use public lands (Northrup et al. 2012a). In Alberta, demographic models have suggested
a road density threshold of 0.75 km/km2 below which the survival of female grizzly bears with
                                                           344
                                                                                                               FWS001409
                                                      4-ER-706
                Case: 23-2882, 03/22/2024, DktEntry: 30.5, Page 48 of 218                               (48 of 218)

 SSA for Grizzly Bear in the Lower-48 States                                           January 2021

cubs is reduced (Boulanger and Stenhouse 2014). The current recommended road density
thresholds within Alberta’s draft recovery plan are 0.6 km/km2 in the Core Zone and 0.75
km/km2 in the Secondary Zone (Figure 21c, Alberta Environment and Parks 2016), but there are
regional differences in the enactment of these recommendations and there is no province-wide
mandate requiring their implementation. Additionally, there is a lack of clarity in terms of what
constitutes a closed or restricted road that should be excluded from open-road density
calculations (Proctor et al. 2020). Further, most BMAs have at least some grizzly bear
watershed units that exceed these recommendations (Figure 21c, Alberta Environment and Parks
2016, Proctor et al. 2020). Habitat alteration in the form of linear features can also impact
grizzly bears. Linear features developed for oil and gas exploration often become recreational
trails over time, used by off highway vehicles (OHVs). Ladle’s (2017) work suggests that some
bears respond negatively to high levels of OHV use on trails. Although closing or restricting
motorized access in high quality bear habitat has been identified as a powerful tool in grizzly
bear management (Mace et al. 1996, Roever et al. 2010, Schwartz et al. 2010, Northrup et al.
2012a, Boulanger and Stenhouse 2014, Proctor et al. 2020), there is not currently a provincial
motorized access management plan. Access management planning is part of Regional Land Use
Plans and it is through that framework that any future motorized access management will be
implemented (Alberta Environment and Parks 2016). Although portions of Alberta’s BMAs are
subject to varying motorized access management plans as part of a protected area designation or
a Public Land Use Zone, these plans do not necessarily include the recommended grizzly bear
road density thresholds (Alberta Environment and Parks 2016). Indeed, one of the recommended
recovery actions within the current draft recovery plan is that grizzly bear road density thresholds
be incorporated into regional access management planning (Alberta Environment and Parks
2016).

Loss of connectivity between grizzly bear populations is also a concern at the provincial level.
Proctor et al. (2012) demonstrated that major east-west highways in Alberta have resulted in
differentiation in the genetic structure of bear populations; this genetic separation is greater than
the effect of the continental divide separating Alberta and British Columbia. Highway 1 which
bisects Banff National Park and Highway 3 through the Crowsnest Pass are particularly
problematic (Proctor et al. 2012). To address the connectivity concern for wildlife, Banff
National Park has installed 6 overpasses and 38 underpasses since 1996 (Ford et al. 2010).
Research has shown both male and female grizzly bears use these highway crossing structures
and there is evidence of bidirectional gene flow across the highway (Sawaya et al. 2014). In
southwestern Alberta, Highway 3 bisects several small communities that collectively make up
the Crowsnest Pass. Several groups are currently working collaboratively to try and develop
crossings structures for Highway 3 (https://y2y.net/work/hot-projects/highway-3-wildlife-
friendly/). To date, Alberta Transportation has installed jump-outs and wildlife fencing in the
Crowsnest Pass. An underpass and wildlife fencing along Hwy 3 near Rock Creek in
southwestern Alberta is included in the 2020 provincial highway budget and both projects are
currently in the design stage (Alberta Government 2020). Additionally, there are several
attractant management initiatives in the Crowsnest Pass lead primarily by the Crowsnest Pass
BearSmart (discussed in more detail below).

Human-caused grizzly bear mortality also threatens grizzly bear populations in Alberta.
Provincially, the greatest sources of human-caused mortality in order of prevalence are poaching,

                                                 345
                                                                                            FWS001410
                                               4-ER-707
                Case: 23-2882, 03/22/2024, DktEntry: 30.5, Page 49 of 218                                (49 of 218)

 SSA for Grizzly Bear in the Lower-48 States                                          January 2021

accidental collisions with highway vehicles or trains, self-defence kills, and misidentification of
a grizzly bear as a black bear by hunters (Alberta Environment and Parks 2016). Grizzly bear
mortality due to trains is particularly problematic in the mountain parks (St. Clair et al. 2020).
Current provincial recovery objectives are to ensure that the known human-caused mortality rate
for grizzly bears is less than or equal to 4 percent of which the female morality rate is less than or
equal to 1.2 percent for all BMAs except for the southwestern corner of Alberta (BMA 5 and 6)
were the known morality rate is less than or equal to 6 percent and less than or equal to 1.8
percent for female grizzly bears (Alberta Environment and Parks 2016).

Human-grizzly bear conflicts remain a challenge and can result in grizzly bears being
translocated or killed. Within Alberta, when an individual has a complaint regarding grizzly
bears, they have the option of reporting it to the Fish and Wildlife division of the provincial
government. The details of the event are recorded as a text summary in a provincial occurrence
database. Complaints are investigated by trained government staff. The government response to
grizzly bear occurrences is guided by the provincial grizzly bear response guide (Alberta
Government 2016). In most situations, if the bear is not an immediate threat to humans,
preventative action is the first response (Alberta Government 2016). Preventative responses can
include any of the following: area closure/motorized access restrictions, monitoring, providing
educational materials, attractant removal, electric fencing, hazing or aversive conditioning, or
hard release of capture bears (Alberta Government 2016). Four main criteria are used to
determine the government’s response to human-bear conflict, including: age, sex, and
reproductive status of the bear, location of the incident (e.g., Recovery Zone vs. Support Zone),
the bear’s behaviour, and the bear’s known conflict history (Alberta Government 2016).
Captured bears can be relocated within the same BMA, relocated outside of the BMA, or
euthanized. In the case of orphaned cubs, retention in captivity is also an option (Alberta
Government 2016). Provincially, captured bears were translocated out of the BMA 87 percent of
the time (Alberta Environment and Parks 2016).

South of Highway 3 – BMA 6

BMA 6 is bounded by Highway 3 to the north, British Columbia to the west, Montana to the
south, and the approximate edge of grizzly bear habitat to the east (Figure 22). Protected lands
in this area include Waterton Lakes National Park, Castle Provincial Park, Castle Wildland
Provincial Park, and Beauvais Lakes Provincial Park. The remainder of the public lands are
crown land under the jurisdiction of the Alberta government. The Recovery Zone in BMA 6 is
1,814 km2, while the Support Zone is 1,774 km2. The Support Zone consists almost exclusively
of privately owned lands, which are used predominately for agriculture – both livestock and crop
production (Statistics Canada 2006). On the north end of BMA 6 is a Habitat Linkage Zone
encompassing the Highway 3 region that divides BMA 5 and BMA 6. Southwestern Alberta is
known for its strong winds, and there is a sharp transition from mountainous terrain in the west
to prairies and agricultural lands in the east; there are limited foothills.

The grizzly bear population in Alberta’s BMA 6 is contiguous with Montana’s NCDE grizzly
bear population as well as British Columbia’s Flathead grizzly bear population. The most
current density estimates for males in this BMA are 8.0/1,000 km2 in the Recovery Zone and 7.1
male/1,000 km2 in the Support Zone (Morehouse and Boyce 2016). For females, density

                                                 346
                                                                                            FWS001411
                                               4-ER-708
                    Case: 23-2882, 03/22/2024, DktEntry: 30.5, Page 50 of 218                                             (50 of 218)

 SSA for Grizzly Bear in the Lower-48 States                                                            January 2021

estimates are 12.4/1,000 km2 in the Recovery Zone and 10.0/1,000 km2 in the Support Zone
(Morehouse and Boyce 2016). The expected abundance of resident grizzly bears in BMA 6 is
67.4 (Morehouse and Boyce 2016). These numbers represent a 4 percent per year increase from
the previous BMA 6 abundance estimate of 51 grizzly bears (Alberta Grizzly Bear Inventory
Team 2008, Morehouse and Boyce 2016). It should be noted, however, that the methods were
not identical between the 2007 and 2014 abundance estimates (Alberta Grizzly Bear Inventory
Team 2008, Morehouse and Boyce 2016). BMA 6 is a small portion of a much larger ecological
population and Morehouse and Boyce (2016) estimated that approximately 172 grizzly bears use
the area each year. The area was also sampled in 1997 in conjunction with an additional DNA
grid north of Highway 3 (Mowat and Strobeck 2000). The Mowat and Strobeck (2000)
abundance was 74 bears (95% CI = 60–100), but the grid sampled a larger area, and the
estimates are not directly comparable.




Figure 22: Grizzly bear management unit north of the Canada-U.S. border in southwest Alberta relative to the NCDE
Recovery zone.


The Recovery Zone of BMA 6 is a multi-use landscape where uses include oil and gas
development, forestry operations, cattle grazing, and several recreational activities (e.g., hiking,
mountain biking, camping, OHV use, skiing, etc.). Much of the Recovery Zone has recently
(2017) been designated as the Castle Parks (Figure 22, Castle Wildland Provincial Park and
Castle Provincial Park), which is likely positive for bears as much of the area within the
Recovery Zone has been identified as high-quality habitat for grizzly bears (Nielsen et al. 2009,
Northrup et al. 2012b, Farr et al. 2017). Indeed, the Recovery Zone of BMA 6 contains areas of
high habitat productivity, including several species of fruiting bear foods (Braid and Nielsen
2015). Although the road density at the watershed scale in the Castle region is relatively low

                                                          347
                                                                                                              FWS001412
                                                      4-ER-709
                Case: 23-2882, 03/22/2024, DktEntry: 30.5, Page 51 of 218                              (51 of 218)

 SSA for Grizzly Bear in the Lower-48 States                                         January 2021

(average 0.2 km/km2) and below the suggested grizzly bear threshold of 0.6 km/km2 (Farr et al.
2017), the total average linear footprint density (including off road vehicle trails) of 2.0 km/km2
is over two times higher than that found in other parks of Alberta (Farr et al. 2017). The Castle
Management Plan states that it will, “Monitor recreational trail use and, if necessary, limit
density and frequency of use to minimize stressors on grizzly bears” (Alberta Environment and
Parks 2018). Specific road density thresholds, however, are not included within the plan.
Within the entirety of BMA 6, 37.5 percent (3 out of 8) grizzly bear watershed units in the Core
Zone have road densities that exceed the recommended road density of 0. 6 km/ km2. Further,
this area has high traffic volumes, and traffic patterns have caused a distinct behaviour shift in
grizzly bears with bear use of areas near roads and crossing of roads occurring at night when
traffic is low (Northrup et al. 2012a, b). As an example of the juxtaposition of good habitat and
mortality risk, Braid and Nielsen (2015) identified both source-like habitats (i.e., areas with high
habitat productivity and low mortality risk) and sink-like habitats (i.e., areas with high habitat
productivity and high mortality risk). They then used simulated annealing to prioritize these
sites and identify areas where future development should be limited and road-related mortality
risk should be mitigated (Braid and Nielsen 2015). Many of these high priority sites are within
the Recovery Zone (Braid and Nielsen 2015). Thus, while the Recovery Region contains
important bear habitat, it is not without challenges.

Outside of the Recovery Zone, the Habitat Linkage zone identifies the area of southwestern
Alberta where there is a need to maintain or enhance the ability of grizzly bears to move between
adjacent BMAs. As noted in the Alberta overview, Highway 3, which bisects the towns of the
Crowsnest Pass, represents a barrier to movement for grizzly bears in this region (Proctor et al.
2012). Indeed, genetic work has revealed a limited number of bears cross the highway.
Population inventory work occurred in the adjacent BMA 5 (north of Highway 3) in 2014
(northern half of BMA 5) and 2016 (southern half of BMA 5). Out of the more than 300
genotypes that were detected in the BMA 5 and BMA 6 inventory work, there were 9 bears (6 M,
3 F) that were detected both north and south of Highway 3 (Morehouse 2018). Of these 9 bears,
2 of them were translocated into BMA 5 from BMA 6 because of conflicts (Morehouse 2018). It
is possible that additional bears were translocated between the BMAs and no hair samples were
collected; some of the redetections are unlikely as natural movements (Morehouse 2018).

To help address the connectivity issue for grizzly bear, Chetkiewsicz and Boyce (2009)
developed resource selection functions for grizzly bears in the Crowsnest and found that grizzly
bear habitat selection was positively associated with greenness in all seasons and soil wetness
and proximity to water in the summer – and both of these variables were associated with grizzly
bear forage. Using these RSFs and least cost path analysis Chetkiewsicz and Boyce (2009)
suggested potential highway crossing zones for the Crowsnest Pass. Highway 3 is a barrier for
not only grizzly bears, but numerous wildlife species (Apps et al. 2007), and several
organizations are working together to try and implement crossing structures (Clevenger et al.
2010).

In BMA 6, the Support Zone is almost exclusively private lands and there is extensive overlap
between grizzly bear home ranges and human land uses (Figure 23, Northup et al. 2012b, Farr et
al. 2017). The private lands of BMA 6 contain favourable grizzly bear habitat and often have
lower human use than the adjacent public lands (Northrup et al. 2012, Northrup et al. 2012b).

                                                 348
                                                                                           FWS001413
                                               4-ER-710
                    Case: 23-2882, 03/22/2024, DktEntry: 30.5, Page 52 of 218                                                 (52 of 218)

 SSA for Grizzly Bear in the Lower-48 States                                                               January 2021

However, several attractants exist and the propensity for conflict is higher on private lands
(Northrup et al. 2012b). Indeed, much of the private land within BMA 6 has been identified as
an ecological trap for grizzly bears (Northrup et al. 2012). While human-grizzly bear conflicts
are a concern across the province, southwestern Alberta is a hotspot (Alberta Environment and
Parks 2016, Morehouse and Boyce 2017a). Most grizzly bear incidents in the area are related to
some sort of attractant and the primary attractants for grizzly bears are grain and dead livestock
(Morehouse and Boyce 2017a). Depredation of livestock is also a concern and depredation
events have been increasing in recent years (Morehouse et al. 2018, Morehouse et al. 2020).
Grizzly bear occurrences have also been spreading eastward over the last decade and grizzly
bears now occur on prairie habitats outside of the provincially designated BMA boundaries
(Figure 23, Morehouse and Boyce 2017a). Research also suggests that conflict behaviours might
be being passed down from females to their offspring, potentially exacerbating the human-bear
conflict problem (Morehouse et al. 2016). As a result of conflicts, grizzly bears can be
translocated according to the grizzly bear response guidelines (Alberta Government 2016).
Between 2009 and 2013, 42 grizzly bears were captured and translocated outside of BMA 6 – the
highest number for the province for that time period (Alberta Environment and Parks 2016).


                                                                         b)


            a)




                                                                         c)




Figure 23: Increasing use of agricultural lands by grizzly bears to the east of the Rocky Mountains and foothills in
southwest Alberta. Occurrence records (i.e., complaint data) show an eastward expansion over time (a, c). Photo (b)
provided by Lyle Lester, Alberta Solicitor General. Adapted from Morehouse and Boyce (2017).



There are several initiatives in BMA 6 to try and mitigate or reduce human-grizzly bear conflicts
including the Crowsnest Pass BearSmart program, the provincial intercept-feeding program, and
the Waterton Biosphere Reserve’s Carnivores and Communities Program. The Crowsnest Pass
BearSmart Program is part of Alberta’s provincial BearSmart effort, which aims to provide
Albertans with the necessary information to make safe decisions while in bear country, keep
bears safe, prevent bear encounters, and reduce bear-caused property damage

                                                            349
                                                                                                                  FWS001414
                                                        4-ER-711
                Case: 23-2882, 03/22/2024, DktEntry: 30.5, Page 53 of 218                            (53 of 218)

 SSA for Grizzly Bear in the Lower-48 States                                       January 2021

(https://www.alberta.ca/alberta-bearsmart-program-overview.aspx). Garbage is one of the
primary attractants in the Crowsnest Pass (Morehouse and Boyce 2017a). Although most
human-bear conflicts in the Crowsnest Pass are related to black bears, grizzly bears are present
as well (Morehouse and Boyce 2017a). The program works on several attractant management
initiatives including attractant removal for seniors and other individuals unable to remove
attractants such as apples or fruit trees, bear-resistant garbage cans for loan, and partnerships
with municipal governments to develop bylaws aimed at assisting and enforcing the reduction of
attractants (www.cnpbearsmart.com).

Specific to BMA 6, was the intercept feeding program wherein the provincial government slung
road-killed ungulate carcasses into remote high elevation areas where grizzly bears were likely to
encounter them once they emerged from hibernation. The program began in 1998 with the goal
of reducing grizzly bear depredation of livestock during the spring calving season. Typically,
two carcass drops occurred each year, once in mid-March and once in mid-April. Morehouse
and Boyce (2017b) evaluated the program using non-invasive genetic sampling, remotely-
triggered trail cameras, and provincial complaint records. They found that the program was used
largely by male grizzly bears and that grizzly bear depredation of livestock did not decrease
during the intercept-feeding program nor did it increase after the program was suspended
(Morehouse and Boyce 2017b). Annual operating costs for the program were estimated to be
$43,850 CAD with an initial $19,000 CAD investment (Morehouse and Boyce 2017b). Thus,
their results suggested that other mitigation efforts such as electric fencing of calving pastures
might be a more cost-effective long-term solution (Morehouse and Boyce 2017b).

Perhaps the most active human-bear conflict mitigation initiative in BMA 6 is the Waterton
Biosphere Reserve’s (WBR) Carnivores and Communities Program (CACP). The program
works with landowners, farmers, ranchers and rural residents to advance its goal of supporting
coexistence between people and large carnivores. The program began in 2009 and the Alberta
government is one of its primary funders and partners. The CACP has three primary on-the-
ground initiatives: deadstock removal, cost-shared attractant management projects, and bear
safety workshops. The deadstock removal program provides a direct service to livestock
producers whereby livestock carcasses are picked up and completely removed from the property.
Cost-shared attractant management projects are things such as electric fencing, bear-resistant
grain bin doors, and upgraded grain storage that restrict bear access to agricultural attractants.
Grain and deadstock are the primary bear attractants in this area (Morehouse and Boyce 2017a).

Finally, bear safety workshops have been developed in partnership with the Alberta government
to specifically target farm and ranch families. The efficacy of the CACP was recently evaluated
using a social survey and review of complaint records; both attractant and deadstock-based
grizzly bear incidents changed from increasing to decreasing after the implementation of the
CACP program in 2009; livestock depredation by grizzly bears, however, remains a challenge
(Figure 24, Morehouse et al. 2020).




                                                 350
                                                                                         FWS001415
                                               4-ER-712
                     Case: 23-2882, 03/22/2024, DktEntry: 30.5, Page 54 of 218                                            (54 of 218)

 SSA for Grizzly Bear in the Lower-48 States                                                          January 2021




                a)                                                                     b)




Figure 24: Reported grizzly bear attractant (a) and livestock (b) incidents before and after the implementation of conflict
reduction management by th Waterton Biosphere Reserve’s Carnivores and Communities Program (CACP) in southern
Alberta which started in 2009. Adapted from Morehouse e al. (2020).


Yukon, Northwest Territories, and Nunavut
There are approximately 11,500–14,000 grizzly bears within Canada north of the 60th parallel in
North America (Figure 1. Yukon, 6,000–7,000, Northwest Territories 4,000–5,000, Nunavut
1,500–2,000, COSEWIC 2012). Grizzly bear populations in this region are generally sustainable
and appear to be expanding north into the islands of the Arctic Ocean (Figure 1, McLellan et al.
2017b). Bears are legally hunted in several local jurisdictions where habitat productivity is
sufficient for a sustainable hunt (Yukon Conservation and Management Plan Working Group
2019). While human population densities are very low relative to southern Canada, grizzly bears
are still susceptible to human disturbance and conflict mortality. As such, each territory has
conflict reduction and human safety guidelines for living and working with bears (Yukon
Conservation and Management Plan Working Group 2019, NWT,
https://www.enr.gov.nt.ca/en/services/bear-safety). The distance between the bears in the lower-
48 States and these northern populations is such that there is no link between them in terms of
connectivity, genetic or demographic (Proctor et al. 2012).

Alaska
Grizzly bears, or brown bears as they are often called in Alaska, occupy most of Alaska except
several islands along the southeast coast, the furthest portions of the Aleutian Island chain, and
the lower reaches of the Yukon River in extreme southwest Alaska (Figure 1). Grizzly bear
densities in Alaska range widely from more than 175 bears/1,000 km2 in coastal populations
where salmon are the primary food, to less than 40 bears/1,000km2 in interior populations, to less
than 7 bears/1,000km2 in northern coastal plains areas (Miller & Schoen 1999). This variation in
                                                          351
                                                                                                             FWS001416
                                                     4-ER-713
                Case: 23-2882, 03/22/2024, DktEntry: 30.5, Page 55 of 218                              (55 of 218)

 SSA for Grizzly Bear in the Lower-48 States                                         January 2021

bear density is thought to be related to a region’s bear food productivity (Hilderbrand et al. 1999,
2019, Mowat et al. 2013). Alaska has the largest grizzly bear population of any jurisdiction in
North America (Figure 1, Miller and Schoen 1999). While a state-wide rigorous estimate of
abundance is not available, manager and expert-derived estimates suggest there may be between
25,000 – 39,000 bears and, state-wide, the population is considered to be stable in abundance and
distribution (Miller and Schoen 1999). That said, there are localized issues with conflict and
hunt controversies (Peirce and Van Daele 2006, Miller et al. 2017).

Alaska is home to the only other sub-species of brown bear in North America – the bears of
Kodiak Island (Ursus arctos middendorffi), of which there are an estimated 3,500 (Rausch 1963,
Talbot and Shields 1996, Paetkau et al. 1998a and b, Alaska Department of Fish and Game
https://www.adfg.alaska.gov/index.cfm?adfg=brownbear.trivia). Kodiak’s brown bears have
been isolated from the mainland for approximately 12,000 years and have a relative low genetic
diversity but show no negative population attributes due to inbreeding depression (Paetkau et al.
1998a and b).




                                                 352
                                                                                          FWS001417
                                               4-ER-714
                Case: 23-2882, 03/22/2024, DktEntry: 30.5, Page 56 of 218                        (56 of 218)

 SSA for Grizzly Bear in the Lower-48 States                                    January 2021


Literature Cited
Alberta Environment and Parks. 2016. Alberta Grizzly Bear (Ursus arctos) Draft Recovery Plan.
    Alberta Environment and Parks, Alberta Species at Risk Recovery Plan No. 38. Edmonton,
    AB.

Alberta Environment and Parks. 2018. Castle Management Plan: Castle Provincial Park and
    Castle Wildland Provincial Park. Available at:
    https://www.albertaparks.ca/media/6494620/castle_management_plan.pdf. Accessed 29
    January 2021.

Alberta Government. 2016. Grizzly bear response guide. Alberta Environment and Parks, Fish
    and Wildlife, no. 1. ISBN 978-1-4601-2714-8. Available at:
    https://open.alberta.ca/dataset/34f0b200-0df7-4b3c-8752-cdca6fcbe560/resource/28450e52-
    4d54-4804-8493-5050c71c5ac9/download/grizzlybearresponseguide-2016.pdf. Accessed 15
    December 2020.

Alberta Government. 2020. 2020 provincial construction program highway and water
    management projects. Available at: https://www.alberta.ca/assets/documents/trans-2020-
    provincial-construction-program.pdf. Accessed 27 January 2021.

Alberta Grizzly Bear Inventory Team. 2008. Grizzly bear population and density estimates for
    Alberta bear management unit 6 and British Columbia management units 4-1, 4-2, and 4-23
    (2007). Report prepared for the Alberta Sustainable Resource Development, Fish and
    Wildlife Division, British Columbia Ministry of Forests and Range, British Columbia
    Ministry of Environment, and Parks Canada. Integrated Ecological Research, Nelson,
    Canada.

Alberta Sustainable Resource Development. 2008. Alberta Grizzly Bear Recovery Plan 2008–
    2013. Alberta Sustainable Resource Development, Fish and Wildlife Division, Alberta
    Species at Risk Recovery Plan No. 15, Edmonton, Alberta, Canada.

Apps, C. D. 1997. Identification of grizzly bear linkage zones along the Highway 3 corridor of
   southeast British Columbia and southwest Alberta. Ministry of Environment, Victoria, B.C.,
   and World Wildlife Fund Canada, Toronto, ON.

Apps, C. D., J. L. Weaver, P. C. Paquet, B. Bateman, and B. N. McLellan. 2007. Carnivores in
   the southern Canadian Rockies: core areas and connectivity across the Crowsnest Highway.
   Wildlife Conservation Society Canada Conservation Report No. 3. Toronto, Ontario,
   Canada.

Apps, C., D. Paetkau, S. Rochetta, A. Hamilton, B. Bateman, and B. McLellan. 2008. Grizzly
   bear population density and distribution in the southern Coast Ranges: Year 4progress and
   data summary. Aspen Wildlife Research and Ministry of Environment, Victoria, British
   Columbia.


                                                 353
                                                                                     FWS001418
                                               4-ER-715
                Case: 23-2882, 03/22/2024, DktEntry: 30.5, Page 57 of 218                          (57 of 218)

 SSA for Grizzly Bear in the Lower-48 States                                      January 2021

Apps, C., D. Paetkau, B. McLellan, A. Hamilton, and B. Bateman. 2014. Grizzly bear population
   abundance, distribution, and connectivity across British Columbia’s southern Coast Ranges.
   Version 2.2. Aspen Wildlife Research and Ministry of Environment, Victoria, British
   Columbia.

Artelle, K. A., S. C. Anderson, A. B Cooper., P. C. Paquet, J. D. Reynolds, and C. T. Darimont.
    2013. Confronting uncertainty in wildlife management: performance of grizzly bear
    management. PlosOne 8: e78041. doi:10.1371/journal.pone.0078041

Austin, M. A., and A. N. Hamilton. 2004. A review of grizzly bear harvest management in
    British Columbia. B.C. Ministry of Environment. Victoria. B.C.
    https://www2.gov.bc.ca/assets/gov/environment/plants-animals-and-ecosystems/wildlife-
    wildlife-habitat/grizzly-bears/grizzly_harvest_review.pdf Accessed 27 January 2021.

B.C. Conservation Strategy 1995. A future for the Grizzly: British Columbia Grizzly Bear
    Conservation Strategy. B.C. Ministry of Environment, Lands and Parks. Victoria. B.C.
    https://www2.gov.bc.ca/assets/gov/environment/plants-animals-and-ecosystems/wildlife-
    wildlife-habitat/grizzly-bears/futureforgrizzly1995.pdf Accessed 27 January 2021.

B.C. Government Action Regulation. 2004. (B.C. Regulation 582/2004; General Wildlife
    Measures #8- 373), RD rule for grizzly bears for the Kettle–Granby GBPU.

B.C. COS. 2020a. Human-grizzly bear (family unit) conflict response strategy). B.C.
    Conservation Officer Service, Victoria B.C.
    https://www2.gov.bc.ca/assets/gov/environment/natural-resource-policy-legislation/fish-
    and-wildlife-policy/response_guidelines_grizzly_bear_family_unit.pdf Accessed 27 January
    2021.

B.C. COS. 2020b. Human-grizzly bear (single) conflict response strategy). B.C. Conservation
    Officer Service, Victoria B.C. https://www2.gov.bc.ca/assets/gov/environment/natural-
    resource-policy-legislation/fish-and-wildlife-
    policy/response_guidelines_grizzly_bear_single.pdf Accessed 27 January 2021.

B.C. Min. FLNRORD 2017. Outdoor Access Guide. RDEK Area, Fernie, Sparwood, Elkford.
    B.C. Min, of Forests, Lands, Natural Resource Operations and Rural Development.
    Cranbrook B.C.
    http://www.env.gov.bc.ca/kootenay/eco/reports/Outdoor%20Access%20Guide%202017.pdf
    Accessed 27 January 2021.

B.C. Min. FLNRORD. 2020. British Columbia grizzly bear population estimate for 2018. B.C.
    Ministry of Forests, Lands, Natural Resource Operation, and Rural Development. Victoria,
    B.C. https://www2.gov.bc.ca/assets/gov/environment/plants-animals-and-
    ecosystems/wildlife-wildlife-habitat/grizzly-
    bears/grizzly_bear_pop_est_report_2018_final.pdf Accessed 27 January 2021.




                                                 354
                                                                                       FWS001419
                                               4-ER-716
                Case: 23-2882, 03/22/2024, DktEntry: 30.5, Page 58 of 218                               (58 of 218)

 SSA for Grizzly Bear in the Lower-48 States                                          January 2021

Benn, B., and S. Herrero. 2002. Grizzly bear mortality and human access in Banff and Yoho
   National Parks, 1971–98. Ursus 13:213–221.

Boulanger, J. 2001. Analysis of the 1997 Elk Valley and Flathead Valley DNA ark-recaoture
   grizzly bear inventory projects, 2001 revision. B.C. Ministry of Environment, Lands, and
   Parks, Victoria British Columbia.

Boulanger, J., M. Cattet, S. E. Nielsen, G. Stenhouse, and Jerome Cranston. 2013. Use of multi-
   state models to explore relationships between changes in body condition, habitat and
   survival of grizzly bears Ursus arctos horribilis. Wildlife Biology 19:274–288.

Boulanger, J., and G. B. Stenhouse. 2014. The impact of roads on the demography of grizzly
   bears in Alberta. PlosOne 9(12): e115535. Doi:10.137/journal.pone.0115535.

Braid, A. C. R., and S. E. Nielsen. 2015. Prioritizing sites for protection and restoration of
    grizzly bears in southwestern Alberta, Canada. PLOS ONE 10: e0132501.

Chetkiewicz, C. L. B., and M. S. Boyce. 2009. Use of resource selection functions to identify
    conservation corridors. Journal of Applied Ecology 46:1036–1047.

Clevenger, A., C. Apps, T. Lee, M. Quinn, D. Paton, D. Poulton, and R. Ament. 2010. Highway
    3: Transportation mitigation for wildlife and connectivity in the crown of the continent
    ecosystem. https://www.rockies.ca/files/reports/H3%20Final%20Report%200607_June8.pdf
    Accessed 15 December 2020.

COSEWIC. 2012. COSEWIC assessment and status report on the Grizzly Bear Ursus arctos in
   Canada. Committee on the Status of Endangered Wildlife in Canada. Ottawa. xiv + 84 pp.
   (www.registrelepsararegistry. gc.ca/default_e.cfm). https://www.canada.ca/en/environment-
   climate-change/services/species-risk-public-registry/cosewic-assessments-status-
   reports/grizzly-bear.html. Accessed 26 January 2021.

Costello, C. M., and L. Roberts. 2020. Northern Continental Divide Ecosystem grizzly bear
    population monitoring annual report, 2019. Montana Fish, Wildlife & Parks, Kalispell,
    Montana, USA.

Farr, D., A. Braid, A. Janz, B. Sarchuk, S. Slater, A. Sztaba, G. Stenhouse, A. Morehouse, and
    M. Wheatley. 2017. Ecological response to human activities in southwestern Alberta:
    Scientific assessment and synthesis. Alberta Environment and Parks, Government of
    Alberta. ISBN No. 978-4601-350-2.

Festa-Bianchet, M. 2010. Status of the grizzly bear (Ursus arctos) in Alberta: Update 2010.
    Alberta Sustainable Resource Development. Wildlife Status Report No. 37, Edmonton,
    Alberta, Canada.

Ford, A. T., A. P. Clevenger, and K. Rettie. 2010. The Banff Wildlife Crossing Project: – An
    international public-private partnership. Pages 157–172 in Safe passages: highways, wildlife

                                                 355
                                                                                            FWS001420
                                               4-ER-717
                Case: 23-2882, 03/22/2024, DktEntry: 30.5, Page 59 of 218                               (59 of 218)

 SSA for Grizzly Bear in the Lower-48 States                                       January 2021

    and habitat connectivity. J. Beckmann, A. P. Clevenger, M. Juijser, and J. Hilty (eds). Island
    Press, Washington D.C., USA.

Garshelis, D. L., M. L. Gibeau, and S. Herrero. 2005. Grizzly bear demographics in and around
    Banff National Park and Kananaskis Country. Journal of Wildlife Management 69:277–297.

Hamilton, A. N., and M. A. Austin. 2004. Grizzly bear harvest management in British Columbia:
   background report. B.C. Ministry of Environment, Lands and Parks. Victoria. B.C.
   http://citeseerx.ist.psu.edu/viewdoc/download?doi=10.1.1.396.1546&rep=rep1&type=pdf
   Accessed 27 January 2021.

Hatter, I. W., G. Mowat, and B. N. McLellan. 2018. Statistical population reconstruction to
    evaluate grizzly bear trends in British Columbia, Canada. Ursus 29: 1–12.

Hilderbrand, G. V., C. C. Schwartz, C. T. Robbins, M. E. Jacoby, T. A. Hanley, S. M. Arthur,
    and C. Servheen. 1999. The importance of meat, particularly salmon, to body size,
    population productivity, and conservation of North American brown bears. Canadian Journal
    of Zoology 77:132–138.

Hilderbrand, G. V., D. D. Gustine. K. Joly, B. Mangipane, W. Leacock, M. D. Cameron, M. S.
    Sorum, L. Sl. Mangipane. and J. A. Erienbach. 2019. Influence of maternal body size,
    condition, and age on recruitment of four brown bear populations. Ursus 29:111–118.

Kasworm, W. F., T. G. Radandt, J. E. Teisberg, A. Welander, T. Vent, M. Proctor, H. Cooley,
   and J. Fortin-Noreus. 2020a. Selkirk Mountains grizzly bear recovery area 2019 research
   and monitoring progress report. U.S. Fish and Wildlife Service, Missoula, Montana.
   https://www.fws.gov/mountain-
   prairie/es/species/mammals/grizzly/Selkirk2019annualreport.pdf Accessed 27 January 2021.

Kasworm, W. F., J. E. Teisberg, T. Vent, A. Welander, M. Proctor, H. Cooley, and J. Fortin-
   Noreus. 2020b. Cabinet-Yaak grizzly bear recovery area 2019 research and monitoring
   progress report. U.S. Fish and Wildlife Service, Missoula, Montana.
   https://www.fws.gov/mountain-
   prairie/es/species/mammals/grizzly/CabYaak2019annualreport.pdf Accessed 27 January
   2021.

Kendall, K. C., J. B. Stetz, J. Boulanger, A. C. Macleod, D. Paetkau, and G. C. White. 2009.
   Demography and genetic structure of a recovering grizzly bear population. Journal of
   Wildlife Management 73:3–17.

Ladle, A. 2017. Grizzly bear response to linear features and human recreational activity.
    Dissertation, University of Alberta, Edmonton, Canada.

Lamb C. T., G. Mowat, B. N. McLellan, S. E. Nielsen, and S. Boutin. 2016. Forbidden fruit:
   human settlement and abundant fruit create an ecological trap for an apex predator. Journal
   of Applied Ecology 86:55–65

                                                 356
                                                                                            FWS001421
                                               4-ER-718
                Case: 23-2882, 03/22/2024, DktEntry: 30.5, Page 60 of 218                          (60 of 218)

 SSA for Grizzly Bear in the Lower-48 States                                      January 2021



Lamb, C. T., G. Mowat, A. Reid, L. Smit, M. Proctor, B. N. McLellan, S. E. Nielsen, and S.
   Boutin. 2018. Effects of habitat quality and access management on the density of a
   recovering grizzly bear population. Journal of Applied Ecology 55:1406–1417.

Lee, T., A. P. Clevenger, and C. Lamb. 2019. Amendment: Highway 3 transportation mitigation
    for wildlife and connectivity in the Elk Valley of British Columbia. Miistakis Institute.
    Mount Royal University, Calgary, AB.

Mace, R. D., J. S. Waller, T. L. Manley, L. J. Lyon, and H. Zuring. 1996. Relationships among
   grizzly bears, roads, and habitat use in the Swan Mountains, Montana. Journal of Applied
   Ecology 33:1395–1404.

Mace, R. D., D. W. Carney, T. Chilton-Radant, S. A. Courville, M. A. Haroldson, R. B. Harris, J.
   Jonkel, B. McLellan, M. Madel, T. L. Manley, C. C. Schwartz, C. Servheen, G. Stenhouse,
   J. S. Waller, and E. Wenum. 2012. Grizzly bear population vital rates and trend in the
   Northern Continental Divide Ecosystem, Montana. Journal of Wildlife Management
   76:119–128.

MacHutchon, A. G., and M. F. Proctor. 2016. Management Plan for the Yahk and South Selkirk
   Grizzly Bear (Ursus arctos) Sub-Populations, British Columbia. Trans-Border Grizzly Bear
   Project, Kaslo, B.C. 84 pp.

McLellan, B. N., and D. M Shackleton. 1988. Grizzly bears and resource-extraction industries:
   effects of roads on behaviour, habitat use, and demography. Canadian Journal of Zoology
   25:451–460.

McLellan, B. N. 1989a. Dynamics of a grizzly bear population during a period of industrial
   resource extraction. I. Density and age–sex composition. Canadian Journal of Zoology
   67:1856–1860.

McLellan, B. N. 1989b. Dynamics of a grizzly bear population during a period of industrial
   resource extraction. II. Mortality rates and causes of death. Canadian Journal of Zoology
   67:1861–1864.

McLellan, B.N. 1989c. Population dynamics of grizzly bears during a period of resource
   extraction development. III. Natality and rate of change. Canadian Journal of Zoology
   67:1865–1868.

McLellan, B. N. 1998. Maintaining viability of brown bears along the southern fringe of their
   distribution. Ursus 10:607–611.

McLellan, B. N., F. W. Hovey, R. D. Mace, J. G. Woods, D. W. Carney, M. L. Gibeau, W. L.
   Wakkinen, and W. F. Kasworm. 1999. Rates and causes of grizzly bear mortality in the
   interior mountains of British Columbia, Alberta, Montana, Washington, and Idaho. Journal
   of Wildlife Management 63:911–920.

                                                 357
                                                                                       FWS001422
                                               4-ER-719
                Case: 23-2882, 03/22/2024, DktEntry: 30.5, Page 61 of 218                          (61 of 218)

 SSA for Grizzly Bear in the Lower-48 States                                      January 2021



McLellan, B. N. and F. W. Hovey. 1995. The diet of grizzly bears in the Flathead River drainage
   of southeastern British Columbia. Canadian Journal of Zoology 73:704–712.

McLellan, B. N., and F. W. Hovey. 2001a. Habitats selected by grizzly bears in multiple use
   landscapes. Journal of Wildlife Management 65:92–99.

McLellan, B. N., and F. W. Hovey. 2001b. Natal dispersal of grizzly bears. Canadian Journal of
   Zoology 79:838–844.

McLellan, B. N. 2011. Implications of a high-energy and low-protein diet on the body
   composition, fitness, and competitive anilities of black (Ursus americanus) and grizzly
   (Ursus arctos) bears. Canadian Journal of Zoology 89:546–558.

McLellan, B. N. 2015. Some mechanisms underlying variation on vital rates on grizzly bear in
   an industrial landscape. Journal of Wildlife Management 79:749–765.

McLellan, B. N., G. Mowat, A. N. Hamilton, and I Hatter. 2017a. Sustainability of the grizzly
   bear hunt in British Columbia, Canada. Journal of Wildlife Management 81:218–229.

McLellan, B. N., M. F. Proctor, D. Huber, D. and S. Michel. 2017b. Ursus arctos (amended
   version of 2017 assessment). The IUCN Red List of Threatened Species 2017:
   e.T41688A121229971. https://www.iucnredlist.org/species/41688/121229971. To access -
   click Population in Detail/Supplemental Information.

McLellan, M. L. 2018. Habitat Connectivity Mapping between the Stein-Nahatlatch and
   Southern Chilcotin Grizzly Bear Populations. Conservation Northwest. Seattle, WA.

McLellan, M. L., and B. N. McLellan. 2015.Effect of season and high ambient temperature on
   activity levels and patterns of grizzly bear (Ursus arctos). PlosOne 10: e0117734.
   doi:10.1371/journal.

McLellan, M. L., B. N. McLellan, R. Sollmann. C. T. Lamb, C. D. Apps, and H. U. Wittmer.
   2019. Divergent population trends following the cessation of legal grizzly bear hunting in
   southwestern British Columbia, Canada. Biological Conservation 233:247–254.

McLellan, B. N., G. Mowat, and C. T. Lamb. 2018. Estimating unrecorded human-caused
   mortalities of grizzly bears in the Flathead valley, British Columbia, Canada. PeerJ 6:e5781;
   DOI 10.7717/peerj.5781.

Miller, S. D. and J. Schoen. 1999. Status and management of the brown bear in Alaska. In Bears:
    status survey and conservation action plan, pp. 40–46. Eds. Servheen, C., Herrero, S. &
    Peyton, B. Gland: IUCN/SSC Bear and Polar Bear Specialist Groups, International Union
    for the Conservation of Nature.




                                                 358
                                                                                       FWS001423
                                               4-ER-720
                Case: 23-2882, 03/22/2024, DktEntry: 30.5, Page 62 of 218                           (62 of 218)

 SSA for Grizzly Bear in the Lower-48 States                                      January 2021

Miller, S. D., J. W. Schoen, and C. C. Schwartz. 2017. Trends in brown bear reduction efforts in
    Alaska, 1980–2017. Ursus 28:135–149.

Morehouse, A. T., and M. S. Boyce. 2016. Grizzly bears without borders: spatially explicit
   capture-recapture in southwestern Alberta. Journal of Wildlife Management 80:1152–1166.

Morehouse, A. T., and M. S. Boyce. 2017a. Troublemaking carnivores: conflicts with humans in
   a diverse assemblage of large carnivores. Ecology and Society 22:4
   https://doi.org/10.5751/ES-09415-220304

Morehouse, A. T., and M. S. Boyce. 2017b. Evaluation of intercept feeding to reduce livestock
   depredation by grizzly bears. Ursus 28:66–80.

Morehouse, A. T., T. A. Graves, N. Mikle, and M. S. Boyce. 2016. Nature vs. Nurture: evidence
   for social learning of conflict behaviour in grizzly bears. PLOS ONE 11:e0165425.

Morehouse, A. T., J. Tigner, and M. S. Boyce. 2018. Coexistence with large carnivores
   supported by a predator-compensation program. Environmental Management 61:719–731.

Morehouse, A. T. 2018. Spatially explicit capture-recapture estimates of grizzly bear density and
   abundance in Alberta’s Bear Management Area 5. Report prepared for Alberta Environment
   and Parks. https://www.watertonbiosphere.com/wp-content/uploads/2019/06/BMA-5-
   Report-FINAL-VERSION_11June18.pdf Accessed 15 December 2020.

Morehouse, A. T., C. Hughes, N. Manners, J. Bectell, and T. Bruder. 2020. Carnivores and
   Communities: a case study of human-carnivore conflict mitigation in southwestern Alberta.
   Frontiers in Ecology and Evolution. https://doi.org/10.3389/fevo.2020.00002

Morgan, D., M. Proctor, G. Mowat, B McLellan, T. Hamilton, and L. Turney. 2020.
   Conservation ranking of grizzly bear population units – 2019. Ministry of Environment and
   Climate Change Strategy, Victoria, B.C. 37pp. B.C. Ministry of Forests Lands and Natural
   Resource Operations. Victoria, B.C. https://www2.gov.bc.ca/assets/gov/environment/plants-
   animals-and-ecosystems/wildlife-wildlife-habitat/grizzly-bears/bc_gbpu_2019_ranking.pdf
   Accessed 27 January 2021.

Mowat, G., and C. Strobeck. 2000. Estimating population size of grizzly bears using hair
   capture, DNA profiling, and mark-recapture analysis. Journal of Wildlife Management
   64:183–193.

Mowat, G., and C. T. Lamb. 2016. Population status of the South Rockies and Flathead grizzly
   bear populations in British Columbia, 2006–2014. B.C. Ministry of Forests Lands and
   Natural Resource Operations. Nelson, B.C.
   https://www.researchgate.net/publication/302934739_Population_status_of_the_South_Roc
   kies_and_Flathead_grizzly_bear_populations_in_British_Columbia_2006-
   2014/link/5735fe0608ae9f741b29ca91/download Accessed 27 January 2021.



                                                 359
                                                                                        FWS001424
                                               4-ER-721
                Case: 23-2882, 03/22/2024, DktEntry: 30.5, Page 63 of 218                              (63 of 218)

 SSA for Grizzly Bear in the Lower-48 States                                         January 2021

Mowat,G., M. Efford, B. McLellan, and S. Nielsen. 2013. South Rockies & Flathead grizzly
   bear monitoring final report 2006–2011. B.C. Ministry of Forests Lands and Natural
   Resource Operations. Nelson, B.C.
   https://www.researchgate.net/publication/322687150_South_Rockies_Flathead_Grizzly_Be
   ar_Monitoring_Final_Report_2006-2011 Accessed 27 January 2021.

Mowat, G., D. C. Heard and C. J. Schwarz. 2013. Predicting grizzly bear density in western
   North America. PLoS One. 8(12): e82757.

Nielsen, S. E., J. Cranston, and G. B. Stenhouse. 2009. Identification of priority areas for grizzly
    bear conservation and recovery in Alberta, Canada. Journal of Conservation Planning 5:38–
    60.

Nielsen, S. E., S. Herrero, M. S. Boyce, R. D. Mace, B. Benn, M. L. Gibeau, and S. Jevons.
    2004. Modelling the spatial distribution of human-caused grizzly bear mortalities in the
    Central Rockies Ecosystem of Canada. Biological Conservation 120:101–113.

North Cascades Grizzly Bear Recovery Team. 2004. Recovery plan for grizzly bears in the North
    Cascades of British Columbia. B.C. Ministry of Environment. Victoria, B.C.
    http://www.env.gov.bc.ca/wld/documents/recovery/ncgb_rp0101.pdf Accessed 27 January
    2021.

Northrup, J. M., J. Pitt, T. B. Muhly, G. B. Stenhouse, M. Musiani, and M. S. Boyce. 2012a.
    Vehicle traffic shapes grizzly bear behaviour on a multiple-use landscape. Journal of
    Applied Ecology 49:1159–1167.

Northrup, J. M., G. B. Stenhouse, and M. S. Boyce. 2012b. Agricultural lands as ecological traps
    for grizzly bears. Animal Conservation 15:369–377.

OAG 2017. An independent audit of grizzly bear management. Office of the Auditor General of
  British Columbia Victoria, B.C.
  https://www.bcauditor.com/sites/default/files/publications/reports/FINAL_Grizzly_Bear_Ma
  nagement.pdf Accessed 27 January 2021.

Paetkau, D. H., G. F. Shields, and C. Strobeck. 1998a. Gene flow between insular, coastal and
    interior populations of brown bears in Alaska. Molecular Ecology 7:1283–1292.

Paetkau, D., L. P. Waits, P. L. Clarkson, L. Craighead, E. Vyse, R. Ward, and C. Strobeck.
    1998b. Variation in genetic diversity across the range of North American brown bears.
    Conservation Biology 12:418–429.

Peek, J., J. Beecham, D. Garshelis, S. Miller, and D. Strickland. 2003. Management of grizzly
    bears in British Columbia: A review by an independent scientific panel. B.C. Ministry of
    Water, Lands and Air Protection. Government of British Columbia, Victoria, B.C.




                                                 360
                                                                                           FWS001425
                                               4-ER-722
                Case: 23-2882, 03/22/2024, DktEntry: 30.5, Page 64 of 218                             (64 of 218)

 SSA for Grizzly Bear in the Lower-48 States                                      January 2021

Peek, J. M., M. R. Pelton, H. D. Picton, J. W. Schoen, and P. Zager. 1987. Grizzly bear
    conservation and management: a review. Wildlife Society Bulletin 15:160–169.

Peirce, K. N., and L. J. Van Daele. 2006. Use of a garbage dump by brown bears in Dillingham,
    Alaska. Ursus 17:165–177.

Proctor, M. 1995. DNA fingerprints from black bear hair as a basis for mark-recapture
    population estimation. Directed studies in ecology. University College of the Okanagan,
    Kelowna, British Columbia, Canada.

Proctor, M., B.N. McLellan, C. Strobeck, and R. Barclay. 2005. Genetic analysis reveals
    demographic fragmentation of grizzly bears yielding vulnerably small populations.
    Proceedings of the Royal Society, London 272:2409–2416.

Proctor, M., J. Boulanger, S. Nielsen, C. Servheen, W. Kasworm, T. Radandt and D. Paetkau.
    2007. Abundance and density of Central Purcell, South Purcell, Yaak, and south Selkirk
    grizzly bear population units in southeast British Columbia. British Columbia Ministry of
    Environment, Nelson, B.C.

Proctor, M.F, B.N. McLellan, J. Boulanger, C. Apps, G, Mowat, D, Paetkau, and G. Stenhouse.
    2010. Ecological investigations of Canadian grizzly bears using hair-snagged DNA, 1995–
    2005. Ursus. 21:169–188.

Proctor, M. F., D. Paetkau, B. N. McLellan, G. B. Stenhouse, K. C. Kendall, R. D. Mace, W. F.
    Kasworm, C. Servheen, C. L. Lausen, M. L. Gibeau, W. L. Wakkinen, M. A. Haroldson, G.
    Mowat, C. D. Apps, L. M. Ciarniello, R. M. R. Barclay, M. S. Boyce, C. C. Schwartz, and
    C. Strobeck. 2012. Population fragmentation and inter-ecosystem movements of grizzly
    bears in western Canada and the northern United States. Wildlife Monographs 180:1–46.

Proctor, M. F., S. E. Nielsen, W. F. Kasworm, C. Servheen, T. G. Radandt, A. G. MacHutchon,
    and M. S. Boyce. 2015. Grizzly bear connectivity mapping in the Canada-US trans-border
    region. Journal of Wildlife Management 79:554–55.

Proctor, M. F., W. F. Kasworm, K. M. Annis, A. G. MacHutchon, J. E. Teisberg, T. G. Radandt,
    C. Servheen. 2018. Conservation of threatened Canada-USA trans-border grizzly bears
    linked to comprehensive conflict reduction. Human Wildlife Interactions 12:248–272.

Proctor, M. F., B. N. McLellan, G. B. Stenhouse, G. Mowat, C. T. Lamb, and M. Boyce. 2020.
    The effects of roads and motorized human access on grizzly bear populations in British
    Columbia and Alberta, Canada. Ursus 30e2:6–19.

Proctor, M. F., T. Dutta, B N. McLellan, S. Garica-Rangel, D. Paetkau, R. R. Swaisgood, and A.
    Zedrosser. 2021a. Managing for interpopulation connectivity of the World’s Bear Species.
    In Eds. V. Penteriani and M. Melletti, Bears of the World, Ecology, Conservation and
    Management (pp. 317–337). Cambridge University Press. Cambridge, U.K.



                                                 361
                                                                                          FWS001426
                                               4-ER-723
                Case: 23-2882, 03/22/2024, DktEntry: 30.5, Page 65 of 218                             (65 of 218)

 SSA for Grizzly Bear in the Lower-48 States                                      January 2021

Proctor, M. F., C. T. Lamb, J. Boulanger, A. G. MacHutchon, W; F. Kasworm, D. Paetkau, M.
    Boyce, and C. Servheen. 2021b. The dance of berries and bullets: the influence of food
    resources and mortality risk on grizzly bear population in southeastern British Columbia. In
    review.

Rausch, R. L. 1963. Geographic variation in size of North American brown bears, Ursus arctos
   L., as indicated by condylobasal length. Canadian Journal of Zoology 41:33–45.

Roever, C. L., M. S., and G. B. Stenhouse. 2008. Grizzly bears and foresty I: Road vegetation
   and placement as an attractant to grizzly bears. Forest Ecology and Management 256:1253–
   1261.

Roever, C. L., M. S. Boyce, and G. B. Stenhouse. 2010. Grizzly bear movements relative to
   roads: application of step selection functions. Ecography 33:1113–1122.

SARA 2018. Species at Risk Public Registry. https://wildlife-species.canada.ca/species-
   riskregistry/species/speciesDetails_e.cfm?sid=1195. Accessed 27 January 2021.

Sawaya, M. A., S. T. Kalinowski, and A. P. Clevenger. 2014. Genetic connectivity for two bear
   species at wildlife crossing structures in Banff National Park. Proceedings of the Royal
   Society B 281: https://doi.org/10.1098/rspb.2013.1705

Schwartz, C. C., M. A. Haroldson, and G. C. White. 2010. Hazards affecting grizzly bear
   survival in the Greater Yellowstone Ecosystem. Journal of Wildlife Management 74:654–
   667.

Schwartz, C. C., M. A. Haroldson, G. C. White, R. B. Harris, S. Cherry, K. A. Keating, D.
   Moody, and C. Servheen. 2006. Temporal, spatial, and environmental influences on the
   demographics of grizzly bears in the Greater Yellowstone Ecosystem. Wildlife Monographs
   161:1–68.

St. Clair, C. C., J. Whittington, A. Forshner, A. Gangadharan, and D. N. Laskin. 2020. Railway
     mortality for several mammal species increases with train speed, proximity to water, and
     track curvature. Scientific Reports 10: https://doi.org/10.1038/s41598-020-77321-6

Statistics Canada. 2006. 2006 Community profiles: Pincher Creek No. 9, Municipal district.
     www.statcan.gc.ca.

Stenhouse, G. B., J. Boulanger, M. Efford, S. Rovang, T. McKay, A. Sorensen, and K. Graham.
    2015. 67
. Report prepared for Weyerhaeuser Ltd., West Fraser Mills Ltd, Alberta Environment and Parks,
    and Jasper National Park.
Talbot, S. L., and G. F. Shields. 1996. Phylogeography of brown bears (Ursus arctos) of Alaska
    and Paraphyly within Urisdae. Molecular Phylogenetics and Evolution 5:477–494.




                                                 362
                                                                                          FWS001427
                                               4-ER-724
                Case: 23-2882, 03/22/2024, DktEntry: 30.5, Page 66 of 218                           (66 of 218)

 SSA for Grizzly Bear in the Lower-48 States                                      January 2021

U.S. Fish and Wildlife Service. 1993. Grizzly bear recovery plan. U.S. Fish and Wildlife Service,
    Missoula, Montana.

U.S. Fish and Wildlife Service. 2020. Grizzly bear recovery program, 2020. Annual report.
    Grizzly Bear Recovery Program, U.S. Fish and Wildlife Service. University of Montana,
    Missoula, Mt. https://www.fws.gov/mountain-
    prairie/es/species/mammals/grizzly/2019%20GB%20Annual%20Report_Final.pdf Accessed
    27 January 2021.

Woods, J. G., D. Paetkau, D. Lewis, B. N. McLellan, M. Proctor, and C. Strobeck. 1999. Genetic
   tagging free-ranging black and brown bears. Wildlife Society Bulletin. 27:616–627.

Yukon Grizzly Bear Conservation and Management Plan Working Group. 2019. A conservation
   plan for grizzly bears (Ursus arctos) in Yukon. Government of Yukon, Department of
   Environment, Whitehorse, Yukon.




                                                 363
                                                                                       FWS001428
                                               4-ER-725
                 Case: 23-2882, 03/22/2024, DktEntry: 30.5, Page 67 of 218                           (67 of 218)

 SSA for Grizzly Bear in the Lower-48 States                                       January 2021


Appendix F. Winter Recreation
Grizzly bears are easily awakened in the den (Schwartz et al. 2003a, p. 567), and it is important
to consider the potential impact from winter recreation. Disturbance of grizzly bears in the den
can result in cub abandonment or early den exit, which could kill a grizzly (if they leave before
food is readily available). However, information regarding impacts of winter recreation on
grizzly bears is limited. We found no studies in the peer-reviewed literature documenting the
effects of snowmobile use on any denning bear species and no records of litter abandonment by
grizzly bears in the lower-48 States due to snowmobiling; the information that is available is
based on opportunistic sightings and small sample sizes (in their entirety: Service 2002; Hegg et
al. 2010). The one documented observation of snowmobiling at a known den site in the lower-
48 States found the bear did not abandon its den, even though snowmobiles were operating
directly on top of it (Hegg et al. 2010, p. 26). This, however, is only an opportunistic
observation and is based on a sample size of one. We found no records of litter abandonment or
den abandonment by grizzly bears in the lower-48 States due to snowmobiling activity (in their
entirety: Service 2002; Hegg et al. 2010; Roberts 2018, in litt.).

Swenson et al. (1997, entire) monitored 13 male and female grizzly bears in Scandinavia for at
least 5 winters each and documented 18 instances of den abandonment, 12 of which were related
to human activities. Four of these instances were hunting related (i.e., gunshots fired within 100
m (328 ft) of the den), two occurred after “forestry activity at the den site,” one had moose and
dog tracks within 10 m (33 ft) of a den, one had dog tracks at the den site, one had ski tracks
within 80 to 90 m (262 to 295 ft) from a den, one had an excavation machine working within 75
m (246 ft) of a den, and two were categorized as “human related” without further details
(Swenson et al. 1997, p. 37). Swenson et al. (1997) found that most den abandonment (72
percent) occurred early in the season before pregnant females give birth. However, there still
may be a reproductive cost of these early den abandonments: 60 percent (sample size of 5) of
female bears that abandoned a den site before giving birth lost at least one cub whereas only 6
percent (sample size of 36) of pregnant females that did not abandon their dens lost a cub in or
near their den (Swenson et al. 1997, p. 37).

There are no data or information suggesting winter recreational use is negatively affecting
grizzly bear populations in the lower-48 States, yet because the potential for disturbance and
impacts to reproductive success exists, monitoring will continue to support adaptive management
decisions about winter recreation use in areas where disturbance is documented or likely to
occur.

Inside the GYE

In the GYE, the one documented observation of snowmobile use at a known den site found the
bear did not abandon its den, even though snowmobiles were operating directly on top of it
(Hegg et al. 2010, p. 26). Additionally, monitoring of den occupancy for 3 years on the Gallatin
NF in Montana did not document any den abandonment (USDA FS 2006c, entire). In one rare
instance of possible den disturbance, four backcountry skiers in GTNP reported seeing a collared
grizzly bear close to where he had been denned three weeks earlier based on VHF locations from
flights (Gustine 2019, in litt.). Of the 479 grizzly bear mortalities that occurred between 2002

                                                 364
                                                                                         FWS001429
                                               4-ER-726
                Case: 23-2882, 03/22/2024, DktEntry: 30.5, Page 68 of 218                             (68 of 218)

 SSA for Grizzly Bear in the Lower-48 States                                        January 2021

and 2018, only 2 occurred between 1 December and 28 February. One of the mortalities was a
radio-collared, 20-year-old male that died in January from natural causes in YNP, most likely
from maladies associated with old age. The second mortality was a collared individual that
likely died in an avalanche.

The Forest Plan Amendment includes guidance that, inside the recovery zone, localized area
restrictions are to be used to mitigate any conflicts during denning or after bear emergence in the
spring. Bears tend to den in remote areas with characteristics that are not conducive to
snowmobiling (i.e., steep, forested habitats). Suitable denning habitat is well distributed on the
forests, and much of the general grizzly bear denning habitat identified in the Forest Plan
Amendment Final EIS as being open to snowmobiling is not actually used by snowmobiles
because of its steep and forested nature (USDA FS 2006a, p. 92). For example, 85.2 percent of
the known dens in the GYE are located in areas where snowmobile use does not occur and, of
the 13.9 percent of dens that do occur in areas open to snowmobiling, only 0.8 percent are
classified as high potential for snowmobile use (Haroldson 2017, in litt.).

Inside the NCDE

Bears tend to den in remote areas with characteristics that are not conducive to snowmobiling
(i.e., steep, forested habitats). Suitable denning habitat is well distributed on the forests, and
under current forest plans, approximately 6 percent of USFS lands are both open for
snowmobiling and are modeled denning habitat (Ake 2019b, in litt.). Forest Plans within the
NCDE include direction that, inside the recovery zone, there will be no net increase in the area or
miles or routes designated for over-snow vehicle use during the den emergence period (USDA
FS 2018a, p. 181; USDA FS 2018b, p. 15). This measure will reduce the potential impacts to
females with cubs whom have high energetic costs and often spend several days to a few weeks
near the den after emergence. In addition, snowmobiling is not allowed inside Glacier National
Park or in designated Wilderness on USFS lands, which constitutes approximately 34 percent of
the recovery zone.

Inside the CYE, SE, BE, and North Cascades

There have been no documented cases of grizzly bears abandoning dens as a result of
snowmobiling or other winter recreational activities in the CYE or SE (Kasworm 2018a, in litt.).
The BE and North Cascades have not had a known population in recent decades.




                                                 365
                                                                                          FWS001430
                                               4-ER-727
                     Case: 23-2882, 03/22/2024, DktEntry: 30.5, Page 69 of 218                                                  (69 of 218)

 SSA for Grizzly Bear in the Lower-48 States                                                              January 2021


Appendix G. Pre-2002 Grizzly Bear Mortality Summary
Table 1. Causes of grizzly bear mortalities in the GYE 1980–2001. This table includes all known and probable mortalities of
independent-age bears and dependent young, as displayed in parenthesis (), inside and outside the demographic monitoring area
(DMA).



                                   GYE Grizzly Bear Mortality, 1980–2001
                                                       Inside DMA                               Outside DMA
 Cause of mortalities (all sources)          Number of Avg./      Percent             Number       Avg./     Percent
                                             mortalities year     total               of           year      total
                                                                                      mortalitie
                                                                                      s
 Natural                                     17 (27)         0.8 (1.2)   9 (51)       0 (0)        0.0 (0.0) 0 (0)
 Undetermined                                17 (3)          0.8 (0.1)   9 (6)        1 (0)        0.0 (0.0) 10 (0)
 Human-caused                                147 (23)        6.7 (1.0)   81 (43)      9 (2)        0.4 (0.1) 90 (100)
 Total mortalities                           181 (53)        8.2 (2.4)                10 (2)       0.5 (0.1)

 Human-caused mortalities                    Number of       Avg./       Percent      Number         Avg./        Percent
                                             mortalities     year        of           of             year         of
                                                                         human-       mortalitie                  human-
                                                                         caused       s                           caused
 Accidental
   Automobile collision                      5 (2)           0.2 (0.3)   3 (9)        0 (0)          0.0 (0.0)    0 (0)
   Capture related                           5 (5)           0.2 (0.2)   3 (22)       0 (0)          0.0 (0.0)    0 (0)
   Drowning                                  0 (0)           0.0 (0.0)   0 (0)        0 (0)          0.0 (0.0)    0 (0)
   Poisoning                                 0 (0)           0.0 (0.0)   0 (0)        0 (0)          0.0 (0.0)    0 (0)
   Electrocuted                              5 (0)           0.2 (0.0)   3 (0)        0 (0)          0.0 (0.0)    0 (0)
 Defense of life                             39 (7)          1.8 (0.3)   27 (30)      1 (0)          <0.1         11 (0)
                                                                                                     (0.0)
  Illegal *                                36 (3)         1.6 (0.1) 24 (13)      0 (0)               0.0 (0.0)0 (0)
  Management removal
      Site conflicts/Human safety**        42 (6)         2.0 (0.3) 31 (26)      8 (2)           0.4 (0.1)    89 (100)
      Injured or diseased bear             0 (0)          0.0 (0.0) 0 (0)        0 (0)           0.0 (0.0)    0 (0)
      Livestock depredation                3 (0)          0.1 (0.0) 2 (0)        6 (0)           0.3 (0.0)    67 (0)
  Mistaken identification***               12 (0)         0.5 (0.0) 8 (0)        0 (0)           0.0 (0.0)    0 (0)
* Illegal includes poaching, malicious, and defense of property kills.
** Site conflicts/human safety include anthropogenic food and property damage related management removals in
the front- and backcountry.
***Mistaken identification includes grizzly bear kills over bait. Four instances of bears killed over bait are
included.




                                                            366
                                                                                                                 FWS001431
                                                        4-ER-728
                     Case: 23-2882, 03/22/2024, DktEntry: 30.5, Page 70 of 218                                                  (70 of 218)

 SSA for Grizzly Bear in the Lower-48 States                                                              January 2021

Table 2. Causes of grizzly bear mortalities in the NCDE 1980–2001. This table includes all known and probable mortalities of
independent-age bears and dependent young, as displayed in parenthesis (), inside and outside the demographic monitoring area
(DMA).


                                  NCDE Grizzly Bear Mortality, 1980–2001
                                                        Inside DMA                             Outside DMA
 Cause of mortalities (all sources)       Number of       Avg./ year     Percent     Number of Avg./        Percent
                                          mortalities                    total       mortalities year       total
 Natural                                  10 (12)         0.4 (0.4)      3 (15)      0 (0)        0.0 (0.0) 0 (0)
 Undetermined                             8 (2)           0.3 (<0.1)     2 (2)       0 (0)        0.0 (0.0) 0 (0)
 Human-caused                             357 (68)        13.2 (2.5)     95 (83)     7 (0)        0.3 (0.0) 100 (0)
 Total mortalities                        375 (82)        13.9 (3.0)                 7 (0)        0.3 (0.0)

 Human-caused mortalities                 Number of       Avg./ year     Percent     Number of       Avg./        Percent
                                          mortalities                    of          mortalities     year         of
                                                                         human-                                   human-
                                                                         caused                                   caused
 Accidental
   Automobile collision                   5 (1)           0.2 (<0.1)     1 (2)       0 (0)           0.0 (0.0)    0 (0)
   Capture related                        11 (7)          0.4 (0.3)      3 (10)      0 (0)           0.0 (0.0)    0 (0)
   Drowning                               0 (0)           0.0 (0.0)      0 (0)       0 (0)           0.0 (0.0)    0 (0)
   Poisoning                              2 (0)           <0.1 (0)       <1 (0)      1 (0)           <0.1         14 (0)
                                                                                                     (0.0)
     Train collision                      15 (15)         0.6 (0.6)      4 (22)      0 (0)           0.0 (0.0)    0 (0)
 Defense of life                          23 (3)          0.9 (0.1)      6 (4)       0 (0)           0.0 (0.0)    0 (0)
 Illegal *                                78 (17)         2.9 90.6)      22 (25)     2 (0)           <0.1         29 (0)
                                                                                                     (0.0)
 Legal hunting                           124 (6)       4.6 (0.2)       35 (9)  0 (0)                 0.0 (0.0)
                                                                                                      0 (0)
 Management removal
     Augmentation**                      0 (0)         0.0 (0.0)       0 (0)   0 (0)       0.0 (0.0)  0 (0)
     Site conflicts/Human                54 (13)       2.0 (0.5)       15 (19) 0 (0)       0.0 (0.0)  0 (0)
 safety***
     Injured or diseased bear            1 (1)         <0.1 (<0.1) <1 (2)      0 (0)       0.0 (0.0)  0 (0)
     Livestock depredation               19 (2)        0.7 (<0.1)      5 (3)   3 (0)       0.1 (0)    43 (0)
 Mistaken identification                 22 (2)        0.8 (<0.1)      6 (3)   1 (0)       <0.1 (0)   14 (0)
 Unknown                                 3 (1)         0.1 (<0.1)      <1 (2)  0 (0)       0.0 (0.0)  0 (0)
* Illegal includes poaching, malicious, and defense of property kills.
** When bears are relocated from the NCDE to augment the CYE population, they are counted as mortalities in the
NCDE.
*** Site conflicts include both anthropogenic food and property damage related management removals. Human
safety includes incidents in both the front and backcountry.




                                                            367
                                                                                                                 FWS001432
                                                        4-ER-729
                    Case: 23-2882, 03/22/2024, DktEntry: 30.5, Page 71 of 218                                                 (71 of 218)

 SSA for Grizzly Bear in the Lower-48 States                                                                  January 2021

Table 3. Causes of known and probably grizzly bear mortalities from 1982 to 2001 in the CYE and the U.S. portion of the SE.
Mortalities in the CYE and SE include apply within the recovery zone plus a 10-mile buffer, excluding Canada.



                             CYE and SE Grizzly Bear Mortality, 1982–2001
                                                             CYE                                       SE
                                             Number of       Avg./      Percent       Number of       Avg./       Percent
   Cause of mortalities (all sources)
                                             mortalities     year        total        mortalities     year         total
 Natural                                         7            0.4         33              3            0.2          19
 Unknown/undetermined                            1           <0.1          5              1           <0.1           6
 Human-caused                                   13            0.7         62             12            0.6          75
 Total mortalities                              21            1.1                        16            0.8
                                                                Percent of                                       Percent of
                                             Number of       Avg./             Number of              Avg./
 Human-caused mortalities*                                       human-                                           human-
                                             mortalities     year              mortalities            year
                                                                  caused                                          caused
 Accidental                                     2       0.1         15              0                   0.0          0
 Defense of life                                2       0.1         15              0                   0.0          0
 Illegal poaching                               3       0.2         23              4                   0.2         33
 Management removal                             1      <0.1          8              0                   0.0          0
 Mistaken identification                        3       0.2         23              2                   0.1         17
 Unknown**                                      2       0.1         15              6                   0.3         50
* Orphaned dependent offspring were classified according to cause of death of their mother.
** Includes mortalities that are under investigation.



In addition, there were two known human-caused mortalities inside the lower-48 States outside
of these areas; one unknown and one mistaken identification.




                                                            368
                                                                                                                  FWS001433
                                                        4-ER-730
        Case: 23-2882, 03/22/2024, DktEntry: 30.5, Page 72 of 218               (72 of 218)




   CABINET-YAAK GRIZZLY BEAR
  RECOVERY AREA 2020 RESEARCH
AND MONITORING PROGRESS REPORT




                        PREPARED BY
 WAYNE F. KASWORM, THOMAS G. RADANDT, JUSTIN E. TEISBERG, TYLER
  VENT, ALEX WELANDER, MICHAEL PROCTOR, HILARY COOLEY, AND
                  JENNIFER K. FORTIN-NOREUS
                             2021

           UNITED STATES FISH AND WILDLIFE SERVICE
        GRIZZLY BEAR RECOVERY COORDINATOR'S OFFICE
         UNIVERSITY OF MONTANA, MAIN HALL ROOM 309
                  MISSOULA, MONTANA 59812
                        (406) 243-4903


                                   1
                                                                    FWS001445
                               4-ER-731
                Case: 23-2882, 03/22/2024, DktEntry: 30.5, Page 73 of 218                            (73 of 218)




 This annual report is cumulative and represents data collected, reanalyzed and summarized
 annually since the inception of this monitoring program in 1983. Information in this report
 supersedes previous reports. Please obtain permission prior to citation. Cite as follows:
 Kasworm, W. F., T. G. Radandt, J. E. Teisberg, T. Vent, A. Welander, M. Proctor, H.
 Cooley and J. K. Fortin-Noreus. 2021. Cabinet-Yaak grizzly bear recovery area 2020
 research and monitoring progress report. U.S. Fish and Wildlife Service, Missoula,
 Montana. 108 pp.

ABSTRACT
         Eleven grizzly bears were monitored with radio-collars during portions of 2020.
Research monitoring included four females (three adults and one subadults) and seven males
(one adult and six subadults) in the Cabinet-Yaak Ecosystem (CYE). Two subadult males and a
subadult female were from the Cabinet Mountains augmentation program. One subadult male
bear was collared for conflict management purposes. Grizzly bear monitoring and research has
been ongoing in the Cabinet Mountains since 1983 and in the Yaak River since 1986. Eighty-
two individual resident bears were captured and monitored through telemetry in the two areas
from 1983–2020. Research in the Cabinet Mountains indicated that only a small population
remained as of 1988. Concern over persistence of grizzly bear populations within this area
resulted in a pilot program in 1990 that tested population augmentation techniques. Four
subadult female bears with no history of conflicts with humans were captured in southeast
British Columbia for release in the Cabinet Mountains during 1990–1994. Three of four
transplanted bears remained within the target area for at least one year. Hair snag sampling
and DNA analysis during 2000–2004 identified one of the original transplanted bears. The
animal was a 2-year-old female when released in 1993. Genetic analysis conducted in 2005
identified at least three first-generation offspring and two second-generation offspring from this
individual. Success of the augmentation test program prompted additional augmentation in
cooperation with Montana Fish, Wildlife, and Parks (MFWP). Ten female bears and eight male
bears were moved from the Flathead River to the Cabinet Mountains during 2005–2020. Four
of these individuals died during their first year from human related causes. Two were illegally
shot, one was struck by a train, and one was killed in self-defense. Eight bears left the target
area for augmentation, but three returned.
         Numbers of females with cubs in the CYE varied from 2–5 per year and averaged 3.3
per year, 2015–2020. Thirteen of 22 bear management units (BMUs) had sightings of females
with young. Human caused mortality averaged 1.5 bears per year (0.5 female and 1.0 male),
2015–2020. Nine grizzly bears (3 females and 6 males) died due to known or probable human
causes during 2015–2020, including 3 adult females (2 under investigation, 1 self-defense), 2
adult males (1 under investigation and 1 management), 4 subadult males (1 each self-defense,
human under investigation, mis-identification, and poaching).
         Using all methods (capture, collared individuals, rub tree DNA, corral DNA, opportune
DNA sampling, photos, credible observations), we detected a minimum 50 individual grizzly
bears alive and in the CYE grizzly bear population at some point during 2019. Five of these
bears were known dead. Twenty-three bears were detected in the Cabinets (16 male, 7 female).
Twenty-seven bears were detected in the Yaak (16 male, 7 female, 4 unknown sex).
         Sex- and age-specific survival and reproductive rates yielded an estimated finite rate of
increase () of 1.017 (95% C.I. = 0.935–1.090) for 1983–2020 using Booter software with the
unpaired litter size and birth interval option. Finite rate of population change was an annual
1.7% for 1983–2020. The probability that the population was stable or increasing was 60%.
         Berry counts indicated above average production for huckleberry, buffaloberry, and
mountain ash and average production for serviceberry during 2020.


                                                2
                                                                                        FWS001446
                                           4-ER-732
                       Case: 23-2882, 03/22/2024, DktEntry: 30.5, Page 74 of 218                                                               (74 of 218)




TABLE OF CONTENTS                                                                                                                PAGE
ABSTRACT ................................................................................................................................ 2
INTRODUCTION ....................................................................................................................... 5
OBJECTIVES ............................................................................................................................ 6
   A. Cabinet Mountains Population Augmentation:................................................................... 6
   B. Recovery Zone Research and Monitoring: ........................................................................ 6
STUDY AREA ............................................................................................................................ 7
METHODS ................................................................................................................................. 9
   Grizzly Bear Observations and Mortality ................................................................................ 9
   Survival and Mortality Calculations ......................................................................................... 9
   Reproduction.........................................................................................................................10
   Population Growth Rate ........................................................................................................10
   Capture and Marking .............................................................................................................12
   Hair Sampling for DNA Analysis ............................................................................................13
   Radio Monitoring ...................................................................................................................14
   Scat analysis .........................................................................................................................14
   Isotope analysis ....................................................................................................................15
   Berry Production ...................................................................................................................15
   Body Condition ......................................................................................................................16
RESULTS AND DISCUSSION ..................................................................................................16
   Grizzly Bear Observations and Recovery Plan Targets .........................................................16
   Cabinet Mountains Population Augmentation ........................................................................25
   Cabinet-Yaak Hair Sampling and DNA Analysis ....................................................................28
   Grizzly Bear Genetic Sample Summary ................................................................................31
   Grizzly Bear Movements and Gene Flow Within and Between Recovery Areas ....................34
   Known Grizzly Bear Mortality ................................................................................................35
   Grizzly Bear Survival, Reproduction, Population Trend, and Population Estimate .................38
       Grizzly Bear Survival and Cause-Specific Mortality ...........................................................38
       Augmentation Grizzly Bear Survival and Cause-Specific Mortality ....................................39
       Management Grizzly Bear Survival and Cause-Specific Mortality......................................39
       Grizzly Bear Reproduction.................................................................................................39
       Population Trend ...............................................................................................................41
       Population Estimate ..........................................................................................................42
   Capture and Marking .............................................................................................................43
       Cabinet Mountains ............................................................................................................43

                                                                    3

                                                                                                                              FWS001447
                                                             4-ER-733
                        Case: 23-2882, 03/22/2024, DktEntry: 30.5, Page 75 of 218                                                                    (75 of 218)




       Yaak River, Purcell Mountains South of BC Highway 3 .....................................................43
       Salish Mountains ...............................................................................................................43
       Moyie River and Goat River Valleys North of Highway 3, British Columbia .......................43
   Grizzly Bear Monitoring and Home Ranges...........................................................................48
   Grizzly Bear Denning Chronology .........................................................................................51
   Grizzly Bear Habitat Analysis ................................................................................................54
   Grizzly Bear Use by Elevation ...............................................................................................54
   Grizzly Bear Use by Aspect ...................................................................................................55
   Grizzly Bear Spring Habitat Description ................................................................................56
   Inter-ecosystem Isotope Analysis ..........................................................................................57
   Food Habits from Scat Analysis ............................................................................................58
   Berry Production ...................................................................................................................59
       Huckleberry .......................................................................................................................61
       Serviceberry ......................................................................................................................61
       Mountain Ash ....................................................................................................................62
       Buffaloberry .......................................................................................................................63
   Body Condition ......................................................................................................................63
ACKNOWLEDGMENTS............................................................................................................65
LITERATURE CITED ................................................................................................................66
PUBLICATIONS OR REPORTS INVOLVING THIS RESEARCH PROGRAM ..........................69
APPENDIX Table 1. Mortality assignment of augmentation bears removed from one recovery
area and released in another target recovery area. ...................................................................72
APPENDIX Table 2. Known historic grizzly bear mortality pre-dating project monitoring, in or
near the Cabinet-Yaak recovery zone and the Yahk grizzly bear population unit in British
Columbia, 1949–1978. ..............................................................................................................73
APPENDIX Table 3. Movement and gene flow to or from the Cabinet-Yaak recovery area. .....74
APPENDIX 4. Grizzly Bear Home Ranges ................................................................................75
APPENDIX 5. Fine scale habitat modeling for the South Selkirk and Cabinet-Yaak ecosystems
...............................................................................................................................................103




                                                                        4

                                                                                                                                    FWS001448
                                                                4-ER-734
                Case: 23-2882, 03/22/2024, DktEntry: 30.5, Page 76 of 218                                 (76 of 218)




INTRODUCTION
         Grizzly bear (Ursus arctos) populations south of Canada are currently listed as
Threatened under the terms of the 1973 Endangered Species Act (16 U.S.C. 1531-1543). In
1993 a revised Recovery Plan for grizzly bears was adopted to aid the recovery of this species
within ecosystems that they or their habitat occupy (USFWS 1993). Seven areas were
identified in the Recovery Plan, one of which was the Cabinet-Yaak Grizzly Bear Recovery Zone
(CYE) of extreme northwestern Montana and northeast Idaho (Fig. 1). This area lies directly
south of Canada and encompasses approximately 6800 km2. The Kootenai River bisects the
CYE, with grizzly bear habitat within the Cabinet Mountains to the south and the Yaak River
drainage to the north (Fig. 2). The degree of grizzly bear movement between the two portions
was believed to be minimal but several movements by males into the Cabinet Mountains from
the Yaak River and the Selkirk Mountains have occurred since 2012.




 Figure 1. Grizzly bear recovery areas in the U.S., southern British Columbia, and Alberta, Canada.


        Research on resident grizzly bears began south of the Kootenai River during the late
1970's. Erickson (1978) reported the results of a survey he conducted for bears and their sign
in the Cabinet Mountains and concluded the population consisted of approximately a dozen
animals. A trapping effort in 1979 and 1980 in the same area failed to capture a grizzly bear,
but a female and yearling were observed (Thier 1981). In 1983 trapping efforts were resumed
and intensified (Kasworm and Manley 1988). Three individual grizzly bears were captured and
radio-collared during 1983–1987. Minimal reproduction was observed during the period and the
population was believed to be declining toward extinction. To reverse this trend, a formal plan
was proposed in 1987 to augment the Cabinet Mountains portion of the population with subadult
female bears from outside the area (USFWS 1990, Servheen et al. 1987).
        Two approaches for augmenting grizzly bears were proposed. The first involved
transplanting adult or subadult grizzly bears from other areas of similar habitat to the Cabinet

                                                   5

                                                                                              FWS001449
                                             4-ER-735
                Case: 23-2882, 03/22/2024, DktEntry: 30.5, Page 77 of 218                             (77 of 218)




Mountains. Transplants would involve bears from remote areas that would have no history of
conflict with humans. The use of subadult females was recommended because of their smaller
home ranges and potential reproductive contribution. The second approach relied on the cross
fostering of grizzly bear cubs to American black bear (Ursus americanus) females. Under this
approach, grizzly bear cubs from zoos would be placed in the maternal dens of black bear
females during March or April. The fostering of orphaned black bear cubs to surrogate black
bear females has been used successfully in several areas (Alt and Beecham 1984, Alt 1984).
         During public review of the augmentation program, many concerns were expressed
which included human safety, conflicts with other land-uses, and long-term grizzly bear
population goals. A citizen’s involvement committee was formed to aid information exchange
between the public and the agencies. Representatives of several local organizations donated
their time to further this purpose. The first product of this group was a question-and-answer
brochure regarding grizzly bears in the CYE. This brochure was mailed to all box holders in
Lincoln and Sanders counties. In response to concerns expressed by the committee, the
augmentation proposal was modified to eliminate cross fostering and to reduce total numbers of
transplanted bears to four individuals over five years. The beginning date of augmentation was
also postponed for one year to allow additional public information and education programs.
         Prior to 1986, little work was conducted on grizzly bears in the Yaak River portion of the
CYE. Bears that used the area were thought to be largely transitory from Canada. However, a
black bear study in the Yaak River drainage in 1986 and 1987 resulted in the capture and radio-
collaring of five individual grizzly bears (Thier 1990). The Yaak River area has traditionally been
an important source of timber for area mills, with timber harvesting the dominant use of the
area. A pine beetle (Dendroctonus ponderosae) epidemic began in the mid 1970's. Large
stands of lodgepole pine (Pinus contorta) were infected, which resulted in an accelerated
timber-harvesting program with clearcutting the dominant silvicultural technique. A concern of
environmental degradation, as well as the effects of timber harvesting on the local grizzly bear
population, prompted a lawsuit against the Forest Service by a local citizen's group in 1983
(USFS 1989). To obtain additional information on the population status and habitat needs of
grizzly bears using the area, the U.S. Forest Service and Montana Fish, Wildlife and Parks
(MFWP) cooperated with the U.S. Fish and Wildlife Service (USFWS) initiating a long-term
study. Field work began in June of 1989.
         A population viability analysis recommended four areas of emphasis in future
management for recovery of this population (Proctor et al. 2004). Those recommendations
included: reducing human caused mortality, implementing population augmentation in the
Cabinet Mountains, enhancing population interchange by improving internal and external
population linkage, and motorized access management on public lands to reduce mortality risk
and habitat displacement. Recovery efforts have and will continue to emphasize these
recommendations.


OBJECTIVES

A. Cabinet Mountains Population Augmentation:
       Test grizzly bear augmentation techniques in the Cabinet Mountains to determine if
transplanted bears will remain in the area of release and ultimately contribute to the population
through reproduction.

B. Recovery Zone Research and Monitoring:
1. Document grizzly bear distribution in the CYE.
2. Describe and monitor the grizzly bear population in terms of reproductive success, age
       structure, mortality causes, population trend, and population estimates and report this
                                                6

                                                                                         FWS001450
                                           4-ER-736
                Case: 23-2882, 03/22/2024, DktEntry: 30.5, Page 78 of 218                             (78 of 218)




        information through the grizzly bear recovery plan monitoring process.
3. Determine habitat use and movement patterns of grizzly bears. Determine habitat preference
        by season and assess the relationship between human-altered habitats such as logged
        areas and grizzly bear habitat use. Evaluate grizzly bear movement permeability of the
        Kootenai River valley between the Cabinet Mountains and the Yaak River drainage and
        across the Moyie River Valley in British Columbia.
4. Determine the relationship between human activity and grizzly bear habitat use through the
        identification of areas used more or less than expected in relation to ongoing timber
        management activities, open and closed roads, and human residences.
5. Identify mortality sources and management techniques to limit human-caused mortality of
         grizzly bears.
6. Conduct black bear studies incidental to grizzly bear investigations to determine interspecific
        relations. Data on black bear densities, reproduction, mortality, movements, habitat-use,
        and food habits relative to grizzly bears will be gathered and analyzed.


STUDY AREA

        The CYE (48o N, 116o W)
encompasses approximately 6,800 km2
of northwest Montana and northern
Idaho (Fig. 2). The Cabinet Mountains
constitute about 58% of the CYE and
lie south of the Kootenai River. The
Yaak River portion borders Canadian
grizzly populations to the north. There
are two potential linkage areas
between the Yaak and the Cabinets –
one between Libby and Troy and one
between Troy and the Idaho border.
Prior to 2012 we were unable to
document any grizzly bear movement
between these areas or grizzly bear
use within these linkage zones;
however, since that time we have
documented several instances of male
bears moving from the Selkirk
Mountains or the Yaak River into the
Cabinet Mountains. Approximately
90% of the recovery area is on public
land administered by the Kootenai,
Lolo, and Panhandle National Forests.
Plum Creek Timber Company Inc. and
Stimson Corp. are the main
corporations holding a significant
amount of land in the area. Individual
ownership exists primarily along major
rivers, and there are numerous
patented mining claims along the
Cabinet Mountains Wilderness
boundary. The Cabinet Mountains             Figure 2. Cabinet-Yaak grizzly bear recovery zone.
                                                7

                                                                                          FWS001451
                                           4-ER-737
                Case: 23-2882, 03/22/2024, DktEntry: 30.5, Page 79 of 218                           (79 of 218)




Wilderness encompasses 381 km2 of higher elevations of the study area in the Cabinet
Mountains. Bonners Ferry, Libby, Noxon, Sandpoint, Troy, Thompson Falls, and Trout Creek
are the primary communities adjacent to the Cabinet Mountains.
         Elevations in the Cabinet Mountains range from 610 m along the Kootenai River to 2,664
m at Snowshoe Peak. The area has a Pacific maritime climate characterized by short, warm
summers and heavy, wet winter snowfalls. Lower, drier slopes support stands of ponderosa
pine (Pinus ponderosa) and Douglas-fir (Pseudotsuga menziesii), whereas grand fir (Abies
grandis), western red cedar (Thuja plicata), and western hemlock (Tsuga heterophylla)
dominate lower elevation moist sites. Subalpine fir (Abies lasiocarpa), spruce (Picea spp.), and
mountain hemlock (Tsuga mertensiana) dominate stands between 1,500 m and timberline.
Mixed coniferous and deciduous tree stands are interspersed with riparian shrub fields and wet
meadows along major drainages. Huckleberry (Vaccinium spp.) and mixed shrub fields are
partially a result of wildfires that occurred in 1910 and 1929 and more recent stand replacing
fires. Fire suppression has reduced wildfires as a natural force creating or maintaining berry-
producing shrub fields.
         The Yaak River drainage lies in the extreme northwestern corner of Montana,
northeastern Idaho, and southern British Columbia and is bounded on the east and south by
Lake Koocanusa and the Kootenai River, to the west by the Moyie River, and to the north by the
international boundary. Two north-south trending mountain ranges dominate the landscape -
the McGillivray range in the east and the Purcell range to the west. Topography is varied, with
rugged, alpine glaciated peaks present in the Northwest Peaks Scenic Area. Rounded peaks
and ridges cover most of the remaining area, a result of continental glaciation. Coniferous
forests dominate, with cutting units the primary source of diversity. Much of the Yaak River is
low gradient and the river tends to meander, creating lush riparian zones and meadows.
Elevations range from 550 m at the confluence of the Kootenai and Moyie Rivers to 2348 m
atop Northwest Peak. Vegetation is diverse, with an overstory of western hemlock and western
red cedar the indicated climax species on much of the study area. Ponderosa pine and
Douglas-fir are common at lower elevations on south and west slopes. Subalpine fir and spruce
dominate the upper elevations and cirque basins. Large stands of lodgepole pine and western
larch (Larix occidentalis) occur at mid and upper elevations and are largely the result of
extensive wildfires in the past. In recent decades, several stand altering fires have occurred in
the Yaak River. Additionally, the Kootenai and Idaho Panhandle National Forests have
implemented prescribed fire to promote grizzly bear habitat in recent years.
         Understory and non-forested habitats include graminoid parks consisting primarily of
fescue (Festuca spp.) and bluebunch wheatgrass (Agropyron spicatum), which occur at
moderate to high elevations. Riparian shrub fields of red-osier dogwood (Cornus stolonifera)
and hawthorn (Crataegus douglasii) are prevalent along major drainages. Buffaloberry
(Shepherdia canadensis) is common under stands of open lodgepole pine while serviceberry
(Amelanchier alnifolia) and chokecherry (Prunus virginiana) prevail on drier, rockier sites.
Huckleberry shrub fields are often found under open timber canopies adjacent to graminoid
parks, in old burns, in cutting units, and intermixed with beargrass (Xerophyllum tenax). Recent
wildfires at upper elevations have had more influence on habitat in the CYE. An outbreak of
pine bark beetles resulted in logging large areas at lower elevations during the 1980's. Large
portions of upper elevations had been logged earlier in response to a spruce bark beetle
(Dendroctonus obesus) epidemic.
         During 1990–1994, Cabinet Mountains population augmentation trapping was conducted
in the upper North Fork of the Flathead River drainage and the Wigwam River drainage in
southeast British Columbia, approximately 10–40 km north of the U.S. border. Trapping was
also conducted south of the international border in the North Fork of the Flathead River in 1992.
Since 2005, augmentation trapping has occurred south of the international border in the
Flathead River drainage.
                                               8

                                                                                       FWS001452
                                           4-ER-738
                Case: 23-2882, 03/22/2024, DktEntry: 30.5, Page 80 of 218                              (80 of 218)




METHODS

         This annual report is cumulative and represents almost all data collected since the
inception of this monitoring program since 1983. New information collected or made available
to this study was incorporated into summaries and may change previous results.

Grizzly Bear Observations and Mortality
         All grizzly bear observations and reports of sign (tracks, digs, etc.) by study personnel
and the public were recorded. Grizzly bear sighting forms were sent to a variety of field
personnel from different agencies to maximize the number of reports received. Sightings of
grizzly bears were rated 1–5 with 5 being the best quality and 1 being the poorest. General
definitions of categories are presented below, but it was difficult to describe all circumstances
under which sightings were reported. Only sightings receiving ratings of 4 or 5 were judged
credible for use in reports. Sightings that rate 1 or 2 may not be recorded in the database.

5 - Highest quality reports typically from study personnel or highly qualified observers. Sightings
not obtained by highly qualified observers must have physical evidence such as pictures, track
measurements, hair, or sightings of marked bears where marks are accurately described.

4 - Good quality reports that provide credible, convincing descriptions of grizzly bears or their
sign. Typically, these reports include a physical description of the animal mentioning several
characteristics. Observer had sufficient time and was close enough or had binoculars to aid
identification. Observer demonstrates sufficient knowledge of characteristics to be regarded as
a credible observer. Background or experience of observer may influence credibility.

3 - Moderate quality reports that do not provide convincing descriptions of grizzly bears.
Reports may mention one or two characteristics, but the observer does not demonstrate
sufficient knowledge of characteristics to make a reliable identification. Observer may have
gotten a quick glimpse of the bear or been too far away for a good quality observation.

2 - Lower quality observations that provide little description of the bear other than the observer’s
judgment that it was a grizzly bear.

1 - Lowest quality observations of animals that may not have been grizzly bears. This category
may also involve secondhand reports from someone other than the observer.

        Reported grizzly bear mortality includes all bears known to have died within the U.S. and
within 16 km of the international border in Canada. Many bears collared in the U.S. have home
ranges that extend into Canada. Mortality occurring in this area within Canada can affect
calculations for U.S. populations. All radio collared bear mortality was reported regardless of
location in the U.S. or Canada.

Survival and Mortality Calculations
        Survival rates for all age classes except cubs were calculated by use of the Kaplan-
Meier procedure as modified for staggered entry of animals (Pollock et al. 1989, Wakkinen and
Kasworm 2004). Assumptions of this method include: marked individuals were representative
of the population, individuals had independent probabilities of survival, capture and radio
collaring did not affect future survival, censoring mechanisms were random, a time origin could
be defined, and newly collared animals had the same survival function as previously collared
animals. Censoring was defined as radio-collared animals lost due to radio failure, radio loss, or
emigration of the animal from the study area. Kaplan-Meier estimates may differ slightly from
                                                  9

                                                                                           FWS001453
                                            4-ER-739
                 Case: 23-2882, 03/22/2024, DktEntry: 30.5, Page 81 of 218                            (81 of 218)




Booter survival estimates used in the trend calculation. Survival rates were calculated
separately for native, augmentation, and management bears because of biases associated with
the unknown proportion of management bears in the population and known differences in
survival functions.
        Our time origin for each bear began at capture. If a bear changed age classification
while radio-collared (i.e., subadult to adult), the change occurred on the first of February (the
assigned birth date of all bears). Weekly intervals were used in the Kaplan-Meier procedure
during which survival rates were assumed constant. No mortality was observed during the
denning season. Animals were intermittently added to the sample over the study. Mortality
dates were established based on radio telemetry, collar retrieval, and mortality site inspection.
Radio failure dates were estimated using the last radiolocation date when the animal was alive.
        Cub recruitment rates to 1 year of age were estimated as: {1 - (cub mortalities / total
cubs observed)}, based on observations of radio-collared females (Hovey and McLellan 1996).
Mortality was assumed when a cub disappeared or if the mother died. Cubs were defined as
bears < 1.0-year-old.
        Use of known human-caused mortality counts probably results in under-estimates of
total human-caused mortality. Numerous mortalities were reported only because animals wore
a radio-collar at the time of death. The public reporting rate of bears wearing radio-collars can
be used to develop a correction factor to estimate unreported mortality (Cherry et al. 2002). The
correction factor was not applied to natural mortality, management removals, mortality of radio-
collared bears, or bears that died of unknown causes. All radioed bears used to develop the
unreported mortality correction were >2 years-old and died from human related causes.
        Cabinet Mountains augmentation individuals were counted as mortalities when removed
from the Northern Continental Divide Ecosystem and are not counted again as mortalities in the
CYE if they die during their first year (Appendix Table T2). Mortalities in Canada are not
counted toward recovery goals (USFWS 1993) even though bears initially marked within the
CYE have died in Canada. Bears originating in Canada that die in the US are counted.

Reproduction
        Reproduction data was gathered through observations of radio-collared females with
offspring and genetics data analyzed for maternity relationships. Because of possible
undocumented neonatal loss of cubs, no determination of litter size was made if an observation
was made in late summer or fall. Inter-birth interval was defined as length of time between
subsequent births. Age of first parturition was determined by presence or lack of cubs from
observations of aged radio-collared bears and maternity relationships in genetics data from
known age individuals.

Population Growth Rate
       We used the software program Booter 1.0 (© F. Hovey, Simon Fraser University,
Burnaby, B.C.) to estimate the finite rate of increase (, or lambda) for the study area’s grizzly
bear populations. The estimate of  was based on adult and subadult female survival, yearling
and cub survival, age at first parturition, reproductive rate, and maximum age of reproduction.
       Booter uses the following revised Lotka equation (Hovey and McLellan 1996), which
assumes a stable age distribution:

(1)   0 = a - Sa a-1 - ScSySsa-2 m[1 - (Sa / )w-a+1],

where Sa, Ss, Sy, and Sc are adult female, subadult female, yearling, and cub survival rates,
respectively, a = age of first parturition, m = rate of reproduction, and w = maximum age.
Booter calculates annual survival rates with a seasonal hazard function estimated from

                                                     10

                                                                                          FWS001454
                                                4-ER-740
                   Case: 23-2882, 03/22/2024, DktEntry: 30.5, Page 82 of 218                           (82 of 218)




censored telemetry collected through all years of monitoring in calculation of . This technique
was used on adults, subadults, and yearlings. Point estimates and confidence intervals may be
slightly different from those produced by Kaplan-Meier techniques (differences in Tables 14 and
15). Survival rate for each class was calculated as:

             k
(2)   Si =  e -Lj(Dij- Tij)
           j=1

where Si is survival of age class i, k is the number of seasons, Dij is the number of recorded
deaths for age class i in season j, Tij is the number of days observed by radio telemetry, and Lj
is the length of season j in days. Cub survival rates were estimated by 1 - (cub mortalities / total
cubs born), based on observations of radio-collared females. Intervals were based on the
following season definitions: spring (1 April - 31 May), summer (1 June - 31 August), autumn (1
September - 30 November), and winter (1 December - 31 March). Intervals were defined by
seasons when survival rates were assumed constant and corresponded with traditional spring
and autumn hunting seasons and the denning season.
         Booter provides several options to calculate a reproductive rate (m) and we selected
three to provide a range of variation (McLellan 1989). The default calculation requires a
reproductive rate for each bear based upon the number of cubs produced divided by the
number of years monitored. We input this number for each adult female for which we had at
least one litter size and at least three successive years of radio monitoring, captures, or
observations to determine reproductive data. We ran the model with this data and produced a
trend calculation. Among other options, Booter allows use of paired or unpaired litter size and
birth interval data with sample size restricted to the number of females. If paired data is
selected, only those bears with both a known litter size and associated inter-birth interval are
used. The unpaired option allows the use of bears from which accurate counts of cubs were not
obtained but interval was known, for instances where litter size was known but radio failure or
death limited knowledge of intervals. To calculate reproductive rates under both these options,
the following formula was used (from Booter 1.0):

                               p

                          L
                           j =1
                                   ij



                   n
(3)   m =         
                  i =1
                           k

                          B
                           j =1
                                   IJ




                               n

where n = number of females; j = observations of litter size (L) or inter-birth interval (B) for
female i; p = number of observations of L for female i; and k = number of observations of B for
female i. Note k and p may or may not be equal. Cub sex ratio was assumed to be 50:50 and
maximum age of female reproduction (w) was set at 27 years (Schwartz et al. 2003). Average
annual exponential rate of increase was calculated as r = loge  (Caughley 1977).
       Bears captured and relocated to the Cabinet Mountains as part of population
augmentation were not included in the population trend calculation (Appendix Table T1). None
of these animals had any prior history of nuisance activity. Bears captured initially as objects of

                                                11

                                                                                          FWS001455
                                            4-ER-741
                Case: 23-2882, 03/22/2024, DktEntry: 30.5, Page 83 of 218                             (83 of 218)




conflict captures were not included. Several native bears that were captured as part of a
preemptive move to avoid nuisance activity were included. Currently collared bears that
became management bears while wearing a collar were included.

Capture and Marking
         Capture and handling of bears followed an approved Animal Use Protocol through the
University of Montana, Missoula, MT (061-14CSCFC111714 and 040-20HCCFC-092420).
Capture of black bears and grizzly bears was performed under state permits 2020-066-W and
federal permit TE704930-2. Bears were captured with leg-hold snares following the techniques
described by Johnson and Pelton (1980) and Jonkel (1993). Snares were manufactured in
house following the Aldrich Snare Co. (Clallam Bay, WA) design and consist of 6.5 mm braided
steel aircraft cable. Bears were immobilized with either Telazol (tiletamine hydrochloride and
zolazepam hydrochloride), a mixture of Ketaset (ketamine hydrochloride) and Rompun (xylazine
hydrochloride), a mixture of Telazol and Dexmedetomidine, or a combination of Telazol and
Rompun. Yohimbine and Atipamezole were the primary antagonists for Rompun and
Dexmedetomidine. Drugs were administered intramuscularly with a syringe mounted on a pole
(jab-stick), homemade blowgun, modified air pistol, or cartridge powered dart gun. Immobilized
bears were measured, weighed, and a first premolar tooth was extracted for age determination
(Stoneberg and Jonkel 1966). Blood, tissue and/or hair samples were taken from most bears
for genetic and food use studies. Immobilized bears were given oxygen at a rate of 2–3 liters
per minute. Recovering bears were dosed with Atropine and Diazepam.
         All grizzly bears (including management bears captured at conflict sites) and some adult
black bears (≥ 4.0 years old) were fitted with radio collars or ear tag transmitters when captured.
Some bears were collared with Global Positioning System (GPS) radio collars. Collars were
manufactured by Telonics® (Mesa, AZ) and ear tag transmitters were manufactured by
Advanced Telemetry Systems® (Isanti, MN). To prevent permanent attachment, a canvas
spacer was placed in the collars so that they would drop off in 1–3 years (Hellgren et al. 1988).
         Trapping efforts were typically conducted from May through September. In 1986–1987,
snares were placed in areas where black bear captures were maximized on a defined study
area of 214 km2 (Thier 1990). Snares were placed over a broader area during 1989–1994 to
maximize grizzly bear captures. Trap sites were usually located within 200 m of an open road
to allow vehicle access. Beginning in 1995, an effort was made to capture and re-collar known
grizzly bears in the Yaak River and augmentation bears in the Cabinet Mountains. In 2003,
trapping was initiated in the Salish Mountains south of Eureka, Montana to investigate bear
movements in the intervening area between the Northern Continental Divide and CYE recovery
zones. Trapping was conducted along Highway 2 in northwest Montana and along Highway 3
in southeast British Columbia to collar bears with GPS radio collars during 2004–2010. During
2011, trapping was initiated along Highway 95 near McArthur Lake in northern Idaho and along
Interstate 90 near Lookout Pass in Montana and Idaho. All four studies were designed to
examine bear population connectivity across river valleys with highways and human habitation.
Highway 2, 95, and I-90 studies utilized black bears as surrogates for grizzly bears because of
the small number of grizzly bears in the valley. The Highway 3 effort in British Columbia
collared grizzly bears and black bears. Much of the trapping effort in the Yaak and Cabinet
Mountains areas involved the use of horses on backcountry trails and closed logging roads.
Traps were checked daily. Bait consisted primarily of road-killed ungulates.
         Trapping for population augmentation was conducted in the North Fork of the Flathead
River in British Columbia during 1990–1994. Only female grizzly bears < 6 years old (or prior to
first reproduction) and > 35 kg were deemed suitable for transplant. Other captured grizzly
bears were released with collaring to aid an ongoing BC bear study. Capture efforts for bears
transplanted in 2005–2020 occurred primarily in the North Fork and South Fork of the Flathead
River in the US by MFWP. No suitable bears were captured in 1991, 2007, 2017, or 2020.
                                                12

                                                                                         FWS001456
                                            4-ER-742
                 Case: 23-2882, 03/22/2024, DktEntry: 30.5, Page 84 of 218                                (84 of 218)




Hair Sampling for DNA Analysis
        This project originally sought evidence of grizzly bears in the Cabinet Mountains using
DNA to understand the fates of four bears transplanted during 1990–1994. The program used
genetic information from hair-snagging with remote-camera photo verification to identify
transplanted bears or their offspring living in the Cabinet Mountains. Since then, sampling has
expanded into the Yaak drainage and project objectives now include: observations of females
with young, sex ratio of captured bears, relatedness as well as genetic diversity measures of
captured bears, and evidence of interpopulation movements of individuals.
        Sampling occurred from May–October of 2002–2020 in the CYE in Idaho and Montana
following standard hair snagging techniques (Woods et al. 1999). Sampling sites were
established based on location of previous sightings, sign, and radio telemetry from bears in the
CYE. A 5 km x 5 km grid (25 km2) was used to distribute sample sites across the Cabinet
Mountains in 2003 (n =184). Each grid cell contained a single sample point near the center of
the cell. Actual site location was modified on the basis of access to the site and habitat quality
near the site. Sites were baited with 2 liters of a blood and fish mixture to attract bears across a
barbwire perimeter placed to snag hair. Sites were deployed for 2 weeks prior to hair collection.
One third of sites were sampled during each of the months of June, July, and August. Sample
sites were stratified by elevation with lowest elevation sites sampled in June and highest
elevation sites sampled in August. Trail cameras were used at some sites. Hair was collected
and labeled to indicate: number and color of hairs, site location, date, and barb number. These
data aided sorting hair to minimize lab costs. Solid black hairs were judged to be from black
bears and not analyzed further. Samples collected as a part of this effort and other hair
samples collected in previous years either from known grizzly bears or samples that outwardly
appeared to be grizzly bear were sent to Wildlife Genetics International Laboratory in Nelson,
British Columbia for DNA extraction and genotyping. Hairs visually identified as black bear hair
by technicians at the Laboratory were not processed and hairs processed and determined to be
black bear were not genotyped. Dr. Michael Proctor (Birchdale Ecological) is a cooperator on
this project and assisted with genetic interpretations. He has previously analyzed genetic
samples from the Yaak portion of this recovery zone (Proctor 2003). Hair snag sampling effort
during 2012 was altered and reduced to avoid conflicts with a US Geological Survey (USGS)
study to estimate CYE grizzly bear population size (Kendall et al. 2015). USGS was concerned
that our sample sites might influence capture success at their sites.
        The USGS study established and sampled 1,373 rub trees across the CYE during 2012.
The study made preliminary data available regarding the success of this effort by providing us
coordinates of all trees and those trees that produced grizzly bear samples. Sites that produced
grizzly bear hair and adjacent sites that were easily sampled in conjunction with successful sites
were resampled 2–4 times during 2013–2020. Collected hairs were evaluated by study
personnel and samples not judged to be probable black bear were sent to Wildlife Genetics
International Laboratory in Nelson, British Columbia for DNA extraction and genotyping.
        Movements of radio collared bears, multiple locations of genetically marked bears, and
maternity/paternity analysis were typically used to identify migrants between various bear
populations. In the absence of this type of data, we used methods as applied in Proctor et al.
(2005) and further used in Proctor et al. (2012) where program GeneClass uses an algorithm to
assign a probability of being a migrant by translating log ratio of assignment to each population
into probabilities with thresholds using realistic Type I error rates (Piry et al. 2004, Paetkau et al.
2004). The use of TYPE I error rate in this algorithm is important as it allows researchers to
differentiate true migrants from those who might appear as migrants by chance. A bear is
determined to be a migrant when it has a very high probability of being born in a population
other than the one it was captured in, but also when it is beyond the number of ‘putative
migrants’ who cross assign by chance (the TYPE I error rate). For more detailed treatment of
this process see Proctor et al. (2005).
                                                  13

                                                                                             FWS001457
                                             4-ER-743
                Case: 23-2882, 03/22/2024, DktEntry: 30.5, Page 85 of 218                               (85 of 218)




        We used bears that were DNA sampled prior to 2006, after which population interchange
increased and reduced precision in determining population of origin. More specifically, we used
a sample of bears from each population: the South Selkirk (n = 49), Yahk (n = 33, south of
Highway 3) and South Purcells (n = 23, north of BC Highway 3) where we were certain of their
origin. This contained 2 sets of bears,
    • those captured prior to 2005 as this is when we determined inter-population exchange
        started to increase (Proctor et al. 2018) and
    • those whose population of origin was known because the offspring were in a perfectly
        matched triad: mother – father – offspring where the offspring shared an allele at each of
        21 loci with each parent and the parents were captured prior to 2005.

        Then we added individual bear suspected of being migrants into the analysis dataset, to
assess what their probability of origin was, relative to bears of known origin. Migrants we
determined to be real had the highest log ratios, of all ‘putative’ migrants and they were beyond
the number of expected ‘chance migrants’ (the TYPE I error rate). For example, using an alpha
value of 0.01 means that 1 in 100 of samples would appear as a migrant by chance alone, and
thus would not be real. So, if our analysis identified 4 migrants in a sample of 100 bears, we
could then conclude that 3 were likely real migrants as 1 was a migrant by chance (the TYPE I
error rate). We would then take the 3 putative migrants with the greatest log ratio and
probability of being a migrant and call them real migrants. In practice, the log ratios of these real
migrants typically reflect probabilities that are 100–10000 times higher probabilities being a
migrant than a resident.

Radio Monitoring
         Attempts were made to obtain aerial radiolocations on all instrumented grizzly bears at
least once each week during the 7–8 month period in which they were active. GPS collars
attempted a location fix every 1–2 hours. Collar releases were programmed to drop in early
October for retrieval. Expected collar life varied from 1–3 field seasons over the course of the
study depending upon model of collar and programming. Augmentation bears were monitored
daily following release for at least the first two weeks and usually three times per week
following. In addition, efforts were made to obtain as many ground locations as possible on all
bears, usually by triangulating from a vehicle. Life home ranges (minimum convex polygons;
Hayne 1959) were calculated for grizzly bears during the study period. We generated home
range polygons using ArcMap 10.
         Grizzly and black bears were collared with GPS collars during 2004–2010 to study
movements across the Moyie River Valley and Highway 3 in British Columbia. Black bears
were tested for their potential to act as surrogates that would predict grizzly bear movements.
Collars attempted locations every 1–2 hours depending on configuration and data were stored
within the collar. Weekly aircraft radio monitoring was conducted to check for mortality signals
and approximate location. From 2004 to 2007, black bears were fitted with similar GPS radio
collars to study movements across the Kootenai River Valley and Highway 2 in Montana, as
part of linkage monitoring between the Yaak River and Cabinet Mountains. In 2008–2012, black
bears were fitted with GPS collars in the Yaak River study area and along the Clark Fork River
on the south end of the Cabinet Mountains study area.

Scat analysis
        Bear scats were collected, tagged, and either dried or frozen. We only considered scats
associated with definite grizzly bear sign (tracks, hair, and radio location of instrumented bear)
as from grizzly bears. Food habits analysis was completed by William Callaghan (Florence,
MT) and Kevin Frey (Bozeman, MT). Samples were rinsed with hot and cold water over 2
different size mesh screens (0.40 and 0.24 cm). The retained contents were identified to
                                                 14

                                                                                           FWS001458
                                            4-ER-744
                Case: 23-2882, 03/22/2024, DktEntry: 30.5, Page 86 of 218                              (86 of 218)




species with the aid of microscopes. We recorded plant part and visually estimated percent
volume. We corrected scat volumes with correction factors that incorporate different
digestibilities of various food items (Hewitt and Robbins 1996).

Isotope analysis
        Hair samples from known age, captured grizzly bears were collected and analyzed for
stable isotopic ratios. Stable isotope signatures indicate source of assimilated (i.e., digested)
diet of grizzly bears. Nitrogen stable isotope ratios (15N) indicate trophic level of the animal; an
increased amount of ingested animal matter yields higher nitrogen isotope ratios while lower
values tie to more plant-based diets. In our ecosystem, carbon isotope signatures vary
depending on the amount of native C3 vs. C4 plant matter ingested. Corn, a C4 plant, has
elevated 13C/12C ratios relative to native C3 plants. Because much of the human food stream is
composed of corn, carbon stable isotope signatures allow for verification or identification of
human food conditioned bears.
        Hair samples were rinsed with a 2:1 chloroform:methanol solution to remove surface
contaminants. Samples were then ground in a ball mill to homogenize the sample. Powdered
hair was then weighed and sealed in tin boats. Isotope ratios of δ13C and δ15N were assessed
by continuous flow methods using an elemental analyzer (ECS 4010, Costech Analytical,
Valencia, California) and a mass spectrometer (Delta PlusXP, Thermofinnigan, Bremen,
Germany) (Brenna et al. 1997, Qi et al. 2003).

Berry Production
        Quantitative comparisons of annual fluctuations and site-specific influences on fruit
production of huckleberry and buffaloberry were made using methods similar to those
established in Glacier National Park (Kendall 1986). Transect line origins were marked by a
painted tree or by surveyors’ ribbon. A specific azimuth was followed from the origin through
homogenous habitat. At 0.5 m intervals, a 0.04 m2 frame (2 x 2 decimeter) was placed on the
ground or held over shrubs and all fruits and pedicels within the perimeter of the frame were
counted. If no portion of a plant was intercepted, the frame was advanced at 0.5 m intervals
and empty frames were counted. Fifty frames containing the desired species were counted on
each transect. Timbered shrub fields and mixed shrub cutting units were the primary sampling
areas to examine the influence of timber harvesting on berry production within a variety of
aspects and elevations. Notes on berry phenology, berry size, and plant condition were
recorded. Service berry, mountain ash, and buffaloberry production was estimated from 10
marked plants at several sites scattered across the recovery area. Since 1989 several sites
have been added or relocated to achieve goals for geographic distribution. Some transects were
eliminated because plant succession or fire had affected production. Monitoring goals identified
an annual trend of berry production and did not include documenting the effects of succession.
        Huckleberry sampling began in 1989 at 11 transect sites. Fifteen sites were sampled in
2020. Buffaloberry sampling began in 1990 at 5 sites. Due to the dioecious (separate male and
female plants) nature of buffaloberry all frame count transects were dropped in 2007 in favor of
marking 10 plants per site and counting the berries on marked plants. Two sites were sampled
in 2020. Serviceberry productivity was estimated by counting berries on 10 marked plants at 5
sample sites beginning in 1990. Five sites were sampled in 2020. In 2001, three new plots
were established to document berry production of mountain ash (Sorbus scopulina). Ten plants
were permanently marked at each site for berry counts, similar to the serviceberry plots.
Production counts occurred at 3 sites in 2020.
        Temperature and relative humidity data recorders (LogTag®, Auckland, New Zealand)
were placed at sites beginning in 2011. These devices record conditions at 90 minute intervals
and will be retrieved, downloaded, and replaced at annual intervals. We used a berries/plot or
berries/plant calculation as an index of berry productivity. Transects were treated as the
                                                 15

                                                                                           FWS001459
                                            4-ER-745
                Case: 23-2882, 03/22/2024, DktEntry: 30.5, Page 87 of 218                           (87 of 218)




independent observation unit. For each year observed, mean numbers of berries/plant
(berries/plot) were used as our transect productivity indices. For each year, we indicate whether
berry productivity is above average (annual 95% confidence interval falls above study-wide
mean), average (confidence interval encompasses the study-wide mean), or below average
(confidence interval falls below study-wide mean).

Body Condition
         Field measurements and bioelectric impedance analysis (BIA) of captured bears allows
us to estimate body condition of grizzly bears in the Cabinet-Yaak (Farley and Robbins 1994).
More specifically, these methods allow for estimation of body fat content, an important indicator
of quality of food resources and a predictor of cub production for adult females. We attempted
estimation on captured bears, characterized by sex-age class, reproductive status, area of
capture, and management status. ANOVA and post-hoc Tukey-HSD tests were performed to
test for differences in body fat content across factors (management status, sex, and month of
capture). Body condition (primarily, body fat content) of reproductive-aged females offers an
indirect metric of whether females were of a physiological condition that supports cub production
(Robbins et al. 2012).


RESULTS AND DISCUSSION

         Research and monitoring with telemetry and full-time personnel were present since 1983
and therefore this date represents the most intense period of data collection. All tables and
calculations are updated when new information becomes available. For instance, genetic
analysis determined the sex of a previously unknown mortality (2012) and a bear originally
identified as a probable mortality (2003) was removed when genetic evidence later indicated
that the bear survived that incident. Covid-19 protocols reduced the monitoring effort
substantially during 2020.

Grizzly Bear Observations and Recovery Plan Targets
        Grizzly bear observations and mortality from public and agency sightings or records
were appended to databases. These databases include information from the U.S. and Canada.
The file includes over 1,900 credible sightings, tracks, scats, digs, hair, and trail camera
photographs dating from 1960 (Fig. 3) and over 135 mortalities dating from 1949 (Table 1,
Appendix Table 2, Fig. 3). Credible sightings were those rating 4 or 5 on the 5-point scale (see
page 9). Sixty-three instances of grizzly bear mortality were detected inside or within 16 km of
the CYE during 1982–2020 (Table 1). Sixty-three credible sightings were reported to this study
that rated 4 or 5 (most credible) during 2020. Forty-five of these sightings occurred in the Yaak
portion of the CYE and 18 sightings occurred in the Cabinet Mountains portion of the CYE
(Table 2 and Fig. 3). Sightings of females with young or mortalities that occur outside the
recovery zone are counted in the closest BMU. Two grizzly bear cubs believed dead in 2018
when their mother was killed were found to be alive in 2019 and were removed from the
mortality list.

Recovery Target 1: 6 females with cubs over a running 6-year average both inside the recovery
zone and within a 10-mile area immediately surrounding the recovery zone.
Fourteen credible sightings of a female with cubs occurred during 2020 in Bear Management
Units (BMUs) 5, 6, 11, 12, 13, 14, and 15 (Tables 2, 3, 4, 5, Fig. 4 and 5). There appeared to
be 5 unduplicated females with cubs in the recovery area or within 10 miles during 2020.
Thirteen credible sightings of a female with yearlings or 2-year-olds occurred in BMU 6, 11, 13,
14, 15, 16, 17, and 18. Unduplicated sightings of females with cubs (excluding Canada) varied
                                               16

                                                                                        FWS001460
                                           4-ER-746
                      Case: 23-2882, 03/22/2024, DktEntry: 30.5, Page 88 of 218                                                  (88 of 218)




from 2–5 per year and averaged 3.3 per year from 2015–2020 (Tables 3, 4). This target has not
been met.

Recovery Target 2: 18 of 22 BMU’s occupied by females with young from a running 6-year sum
of verified evidence.
         Thirteen of 22 BMUs in the recovery zone had sightings of females with young (cubs,
yearlings, or 2-year-olds) during 2015–2020 (Figs. 4, 5, Table 6). Occupied BMUs were: 2, 4, 5,
6, 8, 11, 12, 13, 14, 15, 16, 17, and 18. This target has not been met.

Recovery Target 3: The running 6-year average of known, human-caused mortality should not
exceed 4 percent of the population estimate based on the most recent 3-year sum of females
with cubs. No more than 30 percent shall be females. These mortality limits cannot be
exceeded during any 2 consecutive years for recovery to be achieved.
        Two known or probable human caused mortalities occurred during 2020. A subadult
male was killed by a black bear hunter through mistaken identity. The bear had a neck snare
around it’s neck that may have ultimately killed the bear had it not been shot. The second bear
was an adult female that is under investigation by enforcement authorities. Two grizzly bear
cubs believed dead in 2018 when their mother was killed were found to be alive in 2019 and
were removed from the mortality list. Nine known or probable human caused mortalities of
grizzly bears have occurred in or within 10 miles of the CYE in the U.S. during 2015–2020
(Table 1), including 3 females (BMUs 5, 11, 14) and 6 males (BMUs 2, 12, 13, 17, and 19).
These mortalities included three adult females (two under investigation and a self-defense), one
adult male (management) and five subadult males (self-defense, poaching, mistaken identity,
and two human caused under investigation). We estimated minimum population size by
dividing observed females with cubs during 2018–2020 (12) minus any human-caused adult
female mortality (3) by 0.6 (sightability correction factor as specified in the recovery plan) then
divide the resulting dividend by 0.284 (adult female proportion of population, as specified in the
recovery plan) (Tables 3, 4) (USFWS 1993). This resulted in a minimum population of 53
individuals. The recovery plan stated; “any attempt to use this parameter to indicate trends or
precise population size would be an invalid use of these data”. Applying the 4% mortality limit to
the minimum calculated population resulted in a total mortality limit of 2.1 bears per year. The
female limit is 0.6 females per year (30% of 2.1). Average annual human caused mortality for
2015–2020 was 1.5 bears/year and 0.5 females/year. The mortality levels for total bears and
females were less than the calculated limit during 2015–2020. The recovery plan established a
goal of zero human-caused mortality for this recovery zone due to the initial low number of
bears, however it also stated “In reality, this goal may not be realized because human bear
conflicts are likely to occur at some level within the ecosystem.” Therefore, even if the goal of
zero mortality is not met, it is important to evaluate the targets to determine if we are making
progress towards recovery. During the 2015–2020 reporting period, total and female mortality
met the target. All tables and calculations were updated as new information becomes available.


Table 1. Known and probable grizzly bear mortality in or within 16 km of the Cabinet-Yaak grizzly bear
recovery zone (including Canada). Includes all radio collared bears regardless of location, 1982–2020.
                                                                                                    Open
                                                                                                             Public
 Mortality Date   Tag #     Sex   Age   Mortality Cause                        Location             Road                Owner1
                                                                                                             Reported
                                                                                                    <500 m
 October, 1982    None      M     AD    Human, Poaching                        Grouse Creek, ID     No       Yes        USFS
 October, 1984    None      Unk   Unk   Human, Mistaken Identity, Black bear   Harvey Creek, ID     Yes      Yes        USFS
 9/21/1985        14        M     AD    Human, Self Defense                    Lyons Gulch, MT      No       Yes        USFS
 7/14/1986        106 cub   Unk   Cub   Natural                                Burnt Creek, MT      Unk      No         USFS
 10/25/1987       None      F     Cub   Human, Mistaken Identity, Elk          Flattail Creek, MT   No       Yes        USFS

                                                                 17

                                                                                                                   FWS001461
                                                          4-ER-747
                     Case: 23-2882, 03/22/2024, DktEntry: 30.5, Page 89 of 218                                                          (89 of 218)




                                                                                                           Open
                                                                                                                    Public
Mortality Date   Tag #     Sex   Age     Mortality Cause                        Location                   Road                Owner1
                                                                                                                    Reported
                                                                                                           <500 m
5/29/19881       134       M     AD      Human, Legal Hunter kill               Moyie River, BC            Yes      Yes        BC
10/31/1988       None      F     AD      Human, Self Defense                    Seventeen Mile Creek, MT   No       Yes        USFS
7/6/1989         129       F     3       Human, Research                        Burnt Creek, MT            Yes      No         USFS
1990             192       M     2       Human, Poaching                        Poverty Creek, MT          Yes      Yes        USFS
1992             678       F     37      Unknown                                Trail Creek, MT            No       Yes        USFS
7/22/1993        2582      F     7       Natural                                Libby Creek, MT            No       No         USFS
7/22/1993        258-cub   Unk   Cub     Natural                                Libby Creek, MT            No       No         USFS
10/4/19951       None      M     AD      Human, Management                      Ryan Creek, BC             Yes      Yes        PRIV
5/6/1996         302       M     3       Human, Undetermined                    Dodge Creek, MT            Yes      No         USFS
October, 19961   355       M     AD      Human, Undetermined                    Gold Creek, BC             Yes      No         BC
June? 1997       None      M     AD      Human, Poaching                        Libby Creek, MT            Unk      Yes        PRIV
6/4/1999         106       F     21      Natural, Conspecific                   Seventeen Mile Creek, MT   No       No         USFS
6/4/1999         106-cub   M     Cub     Natural, Conspecific                   Seventeen Mile Creek, MT   No       No         USFS
6/4/1999         106-cub   F     Cub     Natural, Conspecific                   Seventeen Mile Creek, MT   No       No         USFS
10/12/19991      596       F     2       Human, Self Defense                    Hart Creek, BC             Yes      Yes        BC
11/15/1999       358       M     15      Human, Management                      Yaak River, MT             Yes      Yes        PRIV
6/1/20001        538-cub   Unk   Cub     Natural                                Hawkins Creek, BC          Unk      No         BC
6/1/20001        538-cub   Unk   Cub     Natural                                Hawkins Creek, BC          Unk      No         BC
7/1/2000         303-cub   Unk   Cub     Natural                                Fowler Creek, MT           Unk      No         USFS
11/15/2000       592       F     3       Human, Undetermined                    Pete Creek MT              Yes      No         USFS
5/5/2001         None      F     1       Human, Mistaken Identity, Black Bear   Spread Creek, MT           Yes      Yes        USFS
6/18/20011       538-cub   Unk   Cub     Natural                                Cold Creek, BC             Unk      No         BC
6/18/20011       538-cub   Unk   Cub     Natural                                Cold Creek, BC             Unk      No         BC
9/6/2001         128       M     18      Human, Undetermined                    Swamp Creek, MT3           Yes      No         PRIV
October, 2001    None      F     AD      Human, Train collision                 Elk Creek, MT              Yes      Yes        MRL
6/24/20021       None      Unk   Unk     Human, Mistaken Identity, Hounds       Bloom Creek, BC            Yes      Yes        BC
7/1/2002         577       F     1       Natural                                Marten Creek, MT           Yes      No         USFS
10/28/2002       None      F     4       Human, Undetermined                    Porcupine Creek, MT        Yes      Yes        USFS
11/18/2002       353/584   F     7       Human, Poaching                        Yaak River, MT             Yes      Yes        PRIV
11/18/2002       None      F     Cub     Human, Poaching                        Yaak River, MT             Yes      Yes        PRIV
11/18/2002       None      Unk   Cub     Human, Poaching                        Yaak River, MT             Yes      No         PRIV
10/15/20041      None      F     AD      Human, Management                      Newgate, BC                Yes      Yes        PRIV
2005?            363       M     14      Human, Undetermined                    Curley Creek, MT           Yes      Yes        PRIV
10/9/2005        694       F     2       Human, Undetermined                    Pipe Creek, MT             Yes      No         PCT
10/9/2005        None      F     2       Human, Train collision                 Government Creek, MT       Yes      Yes        MRL
10/19/2005       668       M     3       Human, Mistaken Identity, Black bear   Yaak River, MT             Yes      Yes        PRIV
5/28/20061       None      F     4       Human, Research                        Cold Creek, BC             Yes      No         BC
6/1/20061        292       F     5       Human, Management                      Moyie River, BC            Yes      Yes        PRIV
9/22/2007        354       F     11      Human, Self Defense                    Canuck Creek, MT           Yes      Yes        USFS
9/24/2008        ?         M     3       Human, Under Investigation             Fishtrap Creek, MT         Yes      Yes        PCT
10/20/20082      790       F     3       Human, Poaching                        Clark Fork River. MT       Yes      Yes        PRIV
10/20/20082      635       F     4       Human, Train collision                 Clark Fork River. MT       Yes      Yes        MRL
11/15/20081      651       M     13      Human, Mistaken Identity, Wolf Trap    NF Yahk River, BC          Yes      Yes        BC
6/5/2009         675-cub   Unk   Cub     Natural                                Copper Creek, ID           Unk      No         USFS
6/5/2009         675-cub   Unk   Cub     Natural                                Copper Creek, ID           Unk      No         USFS
6/7/20093        None      M     3-4     Human, Mistaken Identity, Black bear   Bentley Creek, ID3         Yes      Yes        PRIV
11/1/2009        286       F     Adult   Human, Self Defense                    EF Bull River, MT          No       Yes        USFS
6/25/2010        675-cub   Unk   Cub     Natural                                American Creek, MT         Unk      No         USFS
7/7/2010         303-cub   Unk   Cub     Natural                                Bearfite Creek, MT         Unk      No         USFS
9/6/20101        1374      M     2       Human, Under Investigation             Hawkins Creek, BC          Yes      No         BC
9/24/20101       None      M     2       Human, Wolf Trap, Selkirk Relocation   Cold Creek, BC             Yes      Yes        BC
10/11/2010       None      M     AD      Human, Under Investigation             Pine Creek, MT             No       Yes        USFS
2011             None      F     1       Unknown                                EF Rock Creek, MT          No       Yes        USFS
9/16/2011        None      M     AD      Human, Mistaken Identity               Faro Creek, MT             No       Yes        USFS
11/13/2011       799       M     4       Human, Mistaken Identity               Cherry Creek, MT           Yes      Yes        USFS
11/24/2011       732       M     3       Human, Defense of life                 Pipe Creek, MT             Yes      Yes        PRIV
November 2011    342       M     19      Human, Under Investigation             Little Creek, MT           Yes      Yes        PRIV

                                                                  18

                                                                                                                          FWS001462
                                                           4-ER-748
                          Case: 23-2882, 03/22/2024, DktEntry: 30.5, Page 90 of 218                                                                                (90 of 218)




                                                                                                                             Open
                                                                                                                                           Public
 Mortality Date      Tag #        Sex     Age      Mortality Cause                             Location                      Road                         Owner1
                                                                                                                                           Reported
                                                                                                                             <500 m
  5/18/2012           None          F      AD      Human, Under Investigation                   Mission Creek, ID            Yes           Yes            USFS
  5/18/ 2012          None          M      Cub     Human, Under Investigation                   Mission Creek, ID            Yes           Yes            USFS
  October 20121       5381          M      8       Human, Management                            Duck Creek, BC               Yes           Yes            PRIV
  10/26/2014          79575279 M           6       Human, Self defense                          Little Thompson River, MT Yes              Yes            PRIV
  5/15/20151          552-ygl       Unk 1          Natural                                      Linklater Creek, BC          Unk           No             BC
  5/23/20152          921           F      3       Natural                                      NF Ross Creek, MT            No            No             USFS
  5/24/2015           None          M      4?      Human, Poaching                              Yaak River, MT               Yes           Yes            USFS
  8/12/2015           818           M      2       Human, Self Defense                          Moyie River, ID              Yes           Yes            PRIV
  9/30/20152          924           M      2       Human, Mistaken Identity                     Beaver Creek, ID3            Yes           Yes            PRIV
  10/11/2015          1001          M      6       Human, Under Investigation                   Grouse Creek, ID             Yes           No             PRIV
  9/1/20171           922           M      5       Human, Self defense                          Porthill Creek, BC           Yes           Yes            BC
  4/16/2018           821           M      4       Unknown probable                             Pine Creek, MT               Yes           Yes            PRIV
  5/21/2018           9077          M      3       Human, Under Investigation                   Bristow Creek, MT            Yes           No             USFS
  9/5/2018            810           F      15      Human, Under Investigation                   Spruce Creek, ID             Yes           No             USFS
  5/24/2019           None          Unk Cub        Natural                                      Skin Creek, MT               No            No             USFS
  5/24/2019           None          Unk Cub        Natural                                      Skin Creek, MT               No            No             USFS
  8/2/2019            None          F      Adult Human, Self Defense                            EF Bull River, MT            No            Yes            USFS
  11/10/2019          770           M      25      Human, Management                            Libby Creek, MT              Yes           Yes            PRIV
  5/22/20201          675           F      18      Human, Self Defense                          Cold Creek, BC               Yes           Yes            BC
  8/31/2020           BC 4-121      M      3       Human, Mistaken Identity                     Deer Creek, ID               No            Yes            USFS
  11/19/2020          729           F      10      Human, Under Investigation                   Clay Creek, MT               Yes           No             PRIV
1The recovery plan (USFWS 1993) specifies that human-caused mortality or female with young sightings from Canada will not be counted toward recovery goals

in the CYGBRZ. BC – British Columbia, MRL – Montana Rail Link, PRIV – Individual Private, PCT – Plum Creek Timber Company, USFS – U.S. Forest Service.
2Bears transplanted to the Cabinet Mountains under the population augmentation program were counted as mortalities in their place of origin and are not counted

toward recovery goals in this recovery zone.
3Bear Killed more than 10 miles outside recovery zone in the US and not counted in recovery calculations.




                                                                             19

                                                                                                                                               FWS001463
                                                                      4-ER-749
                       Case: 23-2882, 03/22/2024, DktEntry: 30.5, Page 91 of 218                                                          (91 of 218)




Table 2. Credible grizzly bear sightings, credible female with young sightings, and known human caused
mortality by bear management unit (BMU) or area, 2020.
                           2020            2020          2020 Sightings of    2020 Sightings of       2020 Sightings of        2020
                        Credible        Sightings of       Females with         Females with            Females with          Human
                       Grizzly Bear    Females with           Cubs             Yearlings or 2-       Yearlings or 2 year-     Caused
    BMU OR AREA         Sightings      Cubs (Total)       (Unduplicated)      year-olds (Total)      olds (unduplicated)      Mortality
    1                       1                0                  0                     0                       0                  0
    2                       2                0                  0                     0                       0                  0
    3                       0                0                  0                     0                       0                  0
    4                       2                1                  1                     0                       0                  0
    5                       7                1                  1                     3                       1                  0
    6                       0                0                  0                     0                       0                  0
    7                       0                0                  0                     0                       0                  0
    8                       0                0                  0                     0                       0                  0
    9                       1                0                  0                     0                       0                  0
    10                      0                0                  0                     0                       0                  0
    11                      9                1                  0                     3                       0                  1
    12                      9                2                  1                     0                       0                  0
    13                      10               2                  1                     1                       1                  1
    14                      2                1                  0                     1                       0                  0
    15                      2                1                  0                     1                       0                  0
    16                      4                0                  0                     1                       0                  0
    17                      1                0                  0                     1                       1                  0
    18                      0                0                  0                     1                       0                  0
    19                      1                0                  0                     0                       1                  0
    20                      0                0                  0                     0                       0                  0
    21                      0                0                  0                     0                       0                  0
    22                      0                0                  0                     0                       0                  0
    BC Yahk GBPU            1                0                  0                     1                       0                  1
    Cabinet Face            2                2                  0                     0                       0                  0
    Deer Ridge              2                1                  0                     0                       0                  0
    Fisher                  1                0                  0                     0                       0                  0
    South Clark Fork        0                0                  0                     0                       0                  0
    Troy                    2                0                  0                     0                       0                  0
    West Kootenai           4                2                  1                     0                       0                  0
    2020 TOTAL              63              14                  5                    13                       4                  3

1
 Credible sightings are those rated 4 or 5 on a 5 point scale (see methods).
2
 Sightings may duplicate the same animal in different locations. Only the first sighting of a duplicated female with cubs is counted
toward total females (Table 3), however subsequent sighting contribute toward occupancy (Table 8).
3
 Areas in Canada outside of Cabinet-Yaak recovery zone that do not count toward recovery goals.
4
 Areas with portions <16 km outside the Cabinet-Yaak recovery zone that do not count toward recovery goals.




                                                                  20

                                                                                                                            FWS001464
                                                            4-ER-750
               Case: 23-2882, 03/22/2024, DktEntry: 30.5, Page 92 of 218                               (92 of 218)




Figure 3. Grizzly bear observations (1959–2020) and known or probable mortalities from all causes
(1949–2020) in and around the Cabinet-Yaak recovery area.



                                                21

                                                                                           FWS001465
                                            4-ER-751
                         Case: 23-2882, 03/22/2024, DktEntry: 30.5, Page 93 of 218                                                         (93 of 218)




Table 3. Status of the Cabinet-Yaak recovery zone during 2015–2020 in relation to the demographic
recovery targets from the grizzly bear recovery plan (USFWS 1993).
     Recovery Criteria                                                             Target                       2015–2020
     Females w/cubs (6-yr avg)                                                       6                              3.3 (20/6)
     Human Caused Mortality limit (4% of minimum estimate)1                          2.1                       1.5 (6 yr avg)
     Female Human Caused mortality limit (30% of total mortality)1                   0.6                       0.5 (6 yr avg)
     Distribution of females w/young                                               18 of 22                         13 of 22
1
 The grizzly bear recovery plan states ”Because of low estimated population and uncertainty in estimates, the current human-
caused mortality goal to facilitate recovery of the population is zero. In reality, this goal may not be realized because human bear
conflicts are likely to occur at some level within the ecosystem”.



Table 4. Annual Cabinet-Yaak recovery zone (excluding Canada) grizzly bear unduplicated counts of
females with cubs (FWC’s) and known human-caused mortality, 1993–2020.
                          ANNUAL         ANNUAL                                              30% ALL       TOTAL              FEMALE
                                                        ANNUAL          4% TOTAL
                          HUMAN          HUMAN                                               FEMALE        HUMAN              HUMAN
                                                        HUMAN            HUMAN
            ANNUAL        CAUSED         CAUSED                                              HUMAN        CAUSED             CAUSED
    YEAR                                                CAUSED           CAUSED
             FWC'S         ADULT           ALL                                               CAUSED      MORTALITY          MORTALITY
                                                         TOTAL          MORTALITY
                          FEMALE         FEMALE                                             MORTALITY      6 YEAR             6 YEAR
                                                       MORTALITY          LIMIT1
                         MORTALITY      MORTALITY                                             LIMIT1      AVERAGE            AVERAGE
    1993        2             0              0                0              0.9               0.3            0.5                0.3
    1994        1             0              0                0              0.9               0.3            0.3                0.2
    1995        1             0              0                0              0.9               0.3            0.2                0.0
    1996        1             0              0                1              0.7               0.2            0.2                0.0
    1997        3             0              0                1              1.2               0.4            0.3                0.0
    1998        0             0              0                0              0.9               0.3            0.3                0.0
    1999        0             0              0                1              0.7               0.2            0.5                0.0
    2000        2             0              1                1              0.5               0.1            0.7                0.2
    2001        1             1              2                2              0.5               0.1            1.0                0.5
    2002        4             1              4                4              1.2               0.4            1.5                1.2
    2003        2             0              0                0              1.2               0.4            1.3                1.2
    2004        1             0              0                0              1.4               0.4            1.3                1.2
    2005        1             0              2                4              0.9               0.3            1.8                1.5
    2006        1             0              0                0              0.7               0.2            1.7                1.3
    2007        4             1              1                1              1.2               0.4            1.5                1.2
    2008        3             0              0                1              1.6               0.5            1.0                0.5
    2009        2             1              1                1              1.6               0.5            1.2                0.7
    2010        4             0              0                1              1.9               0.6            1.3                0.7
    2011        1             0              0                4              1.4               0.4            1.3                0.3
    2012        3             1              1                2              1.6               0.5            1.7                0.5
    2013        2             0              0                0              1.2               0.4            1.5                0.3
    2014        3             0              0                1              1.6               0.5            1.5                0.3
    2015        2             0              0                3              1.6               0.5            1.8                0.2
    2016        3             0              0                0              1.9               0.6            1.7                0.2
    2017        3             0              0                0              1.9               0.6            1.0                0.2
    2018        5             1              2                4              2.3               0.7            1.3                0.3
    2019        2             1              1                2              1.9               0.6            1.7                0.5
    2020        5             1              1                2              2.1               0.6            1.5                0.5




                                                                  22

                                                                                                                               FWS001466
                                                            4-ER-752
              Case: 23-2882, 03/22/2024, DktEntry: 30.5, Page 94 of 218                            (94 of 218)




Figure 4. Female with young occupancy and known or probable mortality within Bear Management
Units (BMUs) in the Cabinet-Yaak recovery zone 2015–2020. (FWY is occupancy of a female with
young and sex of any mortality is in parentheses).

                                              23

                                                                                       FWS001467
                                          4-ER-753
                      Case: 23-2882, 03/22/2024, DktEntry: 30.5, Page 95 of 218                                                  (95 of 218)




Table 5. Credible observations of females with young in or within 10 miles of the Cabinet-Yaak recovery
zone, 1988–2020. Canadian credible observations shown in parentheses.
                Total credible1                                 Unduplicated females     Unduplicated adult
                                      Unduplicated females                                                    Minimum probable
   Year       sightings females                                   with yearlings or 2-    females without
                                            with cubs                                                           adult females2
                  with young                                           year-olds              young
   1990                9                         1                         2                     0                    3
   1991                4                         1                         1                     1                    2
   1992                8                         1                         5                     1                    6
   1993                6                         2                         1                     0                    3
   1994                5                         1                         2                     0                    3
   1995                8                         1                         2                     0                    3
   1996                5                         1                         1                     0                    2
   1997              14 (1)                      3                         4                     0                    7
   1998              6 (1)                       0                       2 (1)                   2                  2 (1)
   1999                2                         0                         2                     3                    2
   2000              6 (1)                     2 (1)                       1                     0                  3 (1)
   2001              5 (2)                     1 (1)                       3                     0                  4 (1)
   2002              10 (1)                    4 (1)                       1                     0                  5 (1)
   2003               11                         2                         4                     0                    6
   2004               11                         1                         4                     0                    5
   2005              10 (1)                      1                       4 (1)                   1                  5 (1)
   2006              7 (1)                     2 (1)                       2                     1                  4 (1)
   2007               17                         4                         2                     2                    6
   2008              7 (1)                     3 (1)                       3                     1                  6 (1)
   2009              5 (0)                     2 (0)                     2 (0)                   1                  4 (0)
   2010              14 (0)                    4 (0)                     2 (0)                   1                  6 (0)
   2011              4 (0)                     1 (0)                     1 (0)                   1                  2 (0)
   2012              12 (0)                    3 (0)                     3 (0)                   0                  6 (0)
   2013              9 (0)                     2 (0)                     5 (0)                   0                  7 (0)
   2014              20 (1)                    3 (0)                     3 (0)                   1                  7 (0)
   2015              19 (1)                    2 (0)                     5 (0)                   2                  9 (0)
   2016              11 (0)                    3 (0)                     3 (0)                   2                  8 (0)
   2017              8 (0)                     3 (0)                     3 (0)                   2                  8 (0)
   2018              20 (0)                    5 (0)                     2 (0)                   1                  8 (0)
   2019              10 (0)                    2 (0)                     5 (0)                   1                  8 (0)
   2020              14 (1)                    5 (0)                     4 (0)                   1                 10 (0)
1
 Credible sightings are those rated 4 or 5 on a 5 point scale (see page 8).
2
 Minimum does not count females detected by mortality.




                            Cabinet-Yaak Females with Cubs
      6
      5
      4
      3
      2
      1
      0


                                                       Yaak        Cabinets


  Figure 5. Credible observations of females with cubs in or within 10 miles of the Cabinet-Yaak
  recovery zone (excluding Canada), 1988–2020. Credible sightings rated 4 or 5 on a 5 point scale.


                                                                 24

                                                                                                                     FWS001468
                                                           4-ER-754
                                    Case: 23-2882, 03/22/2024, DktEntry: 30.5, Page 96 of 218                                                                                                                                                                                                                                                        (96 of 218)




Table 6. Occupancy of bear management units by grizzly bear females with young in the Cabinet-Yaak
recovery zone 1990–2020.




                                                                                       7 - SILVER BUTTE




                                                                                                                                                                                                                              16 - E FORK YAAK




                                                                                                                                                                                                                                                                                                                  21 - SCOTCHMAN
                                                                                                                                                                                                                                                                                               20 - N LIGHTNING



                                                                                                                                                                                                                                                                                                                                   22 - MT HEADLEY
                     2 - SNOWSHOE




                                                                                                                                                                                                                                                 17 - BIG CREEK
                                                                                                                                                       11 - RODERICK
                                                                                                          8 - VERMILION

                                                                                                                          9 - CALLAHAN




                                                                                                                                                                                                                                                                  18 - BOULDER
                                                                         6 - WANLESS




                                                                                                                                                                                                 14 - NW PEAK
                                                                                                                                                                       12 - NEWTON




                                                                                                                                                                                                                                                                                 19 - GROUSE
                                                                                                                                                                                                                15 - GARVER
                                                          5 - ST. PAUL




                                                                                                                                         10 - PULPIT
         1 - CEDAR




                                                                                                                                                                                     13 - KENO
                                    3 - SPAR

  1988    N            N             N         4 - BULL
                                                N           N              N              N                 N               N              N             Y               N            N            N              N              N                 N                N              N              N                 N                 N
  1989    N            N             N          Y           N              N              Y                 N               N              N             Y               N            Y            Y              Y              N                 N                N              N              N                 N                 N
  1990    N            Y             N          N           N              N              N                 Y               N              N             Y               Y            N            Y              Y              N                 N                N              N              N                 N                 Y
  1991    N            N             N          N           N              N              N                 N               N              N             Y               N            N            N              N              N                 Y                N              N              N                 N                 N
  1992    N            N             N          N           N              Y              N                 N               N              N             Y               N            Y            Y              N              N                 Y                N              N              Y                 N                 N
  1993    N            N             N          N           Y              Y              N                 N               N              N             Y               N            N            N              N              N                 Y                N              N              N                 N                 N
  1994    N            N             N          N           N              N              N                 N               N              N             Y               N            N            Y              Y              N                 N                N              N              Y                 N                 N
  1995    N            N             N          N           N              N              N                 N               N              N             Y               N            N            Y              Y              N                 N                N              N              N                 N                 N
  1996    N            N             N          N           N              Y              N                 N               N              N             Y               Y            Y            N              N              N                 N                N              N              N                 N                 N
  1997    N            Y             N          Y           N              Y              Y                 N               N              N             Y               N            N            Y              Y              Y                 N                N              N              N                 Y                 N
  1998    N            N             N          N           N              N              N                 N               N              N             N               N            N            N              Y              Y                 N                N              N              N                 N                 N
  1999    N            N             N          N           N              N              N                 N               N              N             Y               N            N            N              Y              N                 N                N              N              N                 N                 N
  2000    N            N             N          N           Y              N              N                 N               N              N             Y               N            N            N              N              N                 Y                N              N              N                 N                 N
  2001    N            N             N          N           N              N              N                 N               N              N             Y               N            Y            N              N              N                 Y                N              N              N                 N                 N
  2002    N            Y             N          N           N              N              N                 N               N              N             Y               Y            Y            Y              Y              N                 Y                N              N              N                 N                 N
  2003    N            Y             N          N           Y              Y              N                 N               N              N             N               N            Y            N              N              Y                 N                Y              N              N                 Y                 N
  2004    N            Y             N          N           Y              Y              N                 N               N              N             Y               N            N            N              N              N                 Y                N              N              N                 N                 N
  2005    N            N             N          Y           Y              Y              N                 N               N              N             N               N            N            N              N              N                 Y                N              N              N                 N                 N
  2006    N            Y             N          N           Y              N              N                 N               N              N             N               N            N            N              N              Y                 N                N              N              N                 N                 N
  2007    N            N             Y          Y           Y              Y              N                 N               N              N             Y               N            Y            Y              N              N                 Y                N              N              N                 N                 N
  2008    N            N             N          N           Y              N              N                 N               N              N             N               N            N            N              N              Y                 N                Y              N              N                 N                 N
  2009    N            N             N          Y           Y              N              N                 N               N              N             N               N            N            Y              N              N                 N                N              N              N                 N                 N
  2010    N            N             Y          N           Y              N              Y                 N               N              N             Y               N            Y            Y              N              N                 Y                N              N              N                 N                 N
  2011    N            N             N          N           Y              N              N                 N               N              N             Y               N            N            N              Y              N                 Y                N              N              N                 N                 N
  2012    N            Y             N          N           Y              N              N                 N               N              N             Y               N            N            N              N              Y                 Y                N              N              N                 N                 N
  2013    N            N             N          N           Y              Y              N                 N               N              N             Y               N            N            Y              Y              Y                 Y                N              N              N                 N                 N
  2014    N            N             N          N           Y              Y              N                 N               N              N             N               N            Y            Y              Y              Y                 Y                N              N              N                 N                 N
  2015    N            N             N          N           Y              N              N                 N               N              N             N               Y            Y            Y              Y              Y                 Y                N              N              N                 N                 N
  2016    N            N             N          N           Y              N              N                 Y               N              N             Y               N            Y            Y              N              Y                 Y                N              N              N                 N                 N
  2017    N            N             N          N           Y              Y              N                 N               N              N             N               N            N            N              N              Y                 Y                N              N              N                 N                 N
  2018    N            N             N          N           Y              Y              N                 N               N              N             N               Y            Y            Y              N              N                 N                N              N              N                 N                 N
  2019    N            N             N          Y           Y              N              N                 N               N              N             Y               Y            N            N              N              N                 Y                N              N              N                 N                 N
  2020    N            Y             N          Y           Y              N              N                 N               N              N             Y               Y            Y            Y              Y              Y                 Y                N              Y              N                 N                 N



Cabinet Mountains Population Augmentation
       No bears were transported into the Cabinet Mountains during 2020. None of the bears
captured in the Flathead drainage met our criteria for suitable candidate bears. One captured
female had a conflict history that made her unsuitable.
       Three bears were monitored during 2020, including a two year-old male released in
2018, a two year-old female released in 2019, and a three year-old male also released in 2019.
       Bear 927was released in 2018 and monitored through early August of 2020. He was
released in the West Cabinet Mountains but moved south of the Clark Fork River in July before
being photographed at a black bear bait site on private property in late August of 2018.
Landowner concerns prompted Idaho Fish and Game to capture the bear and it was released in
the East Cabinet Mountains near the Wilderness. The bear returned to the area south of the
Clark Fork River but did not revisit the bait site and spent most of September and October in
Montana where black bear baiting is not allowed. The bear moved north of the Clark Fork River
in November and denned in the West Cabinet Mountains in 2018. In late March of 2019, he
emerged from his den and moved south, crossing the Clark Fork River in late April. He
                                                                                                                                                 25

                                                                                                                                                                                                                                                                                                       FWS001469
                                                                                                                                  4-ER-755
                Case: 23-2882, 03/22/2024, DktEntry: 30.5, Page 97 of 218                            (97 of 218)




continued south crossing Interstate 90 (I-90) in early June and US Highway 12 in early July. He
spent much of July, August, and early September in the Selway Bitterroot Wilderness before
returning to the Cabinet Mountains Wilderness where he denned in mid-December (Figure 6).
This is the first confirmed instance of a grizzly bear in the Selway-Bitterroot Wilderness in over
50 years. He emerged from his den in April of 2020 and moved northeast into the Whitefish
Range east of Eureka, MT where he spent the summer prior to losing his radio collar in early
August. The collar was retrieved and downloaded to provide some additional location data that
was not transmitted through the Iridium system. One of the major features crossed during his
movements south and north was the crossing of I-90. On the southbound leg of his route, he
crossed this divided highway about 1 km east of DeBorgia, MT and on the northbound leg
crossed approximately 4 km west of St. Regis, MT. Both crossings appeared to occur in an
area of the divided highway where vegetation occurred in the median between the two lanes of
traffic providing some degree of cover. Both crossings occurred during the hours of darkness.




             Figure 6. Movements of male augmentation bear 927, 2018-2020.
                                                26

                                                                                         FWS001470
                                           4-ER-756
                    Case: 23-2882, 03/22/2024, DktEntry: 30.5, Page 98 of 218                                              (98 of 218)




        The female released in 2019 remained in the West Cabinet Mountains prior to denning
approximately 4 miles west of her release site. During 2020 she continued her movement
patterns in the West Cabinet Mountains on both side of the Idaho and Montana border. The
male bear released in 2019 initially moved north and spent much of the summer just north of the
Kootenai River before returning to the West Cabinets in early October. The bear was observed
numerous times by landowners northwest of Clark Fork, ID, before moving to the Cabinet
Mountains Wilderness to den in mid-December of 2019. After his emergence in 2020 he was
sighted by several residents in the Lake Creek drainage before moving north and once again
crossed the Kootenai River and then Koocanusa Reservoir while moving to the east through the
Salish Range. In early June he was shot and killed at a farm northwest of Whitefish, MT. That
incident is under investigation.
        In summary, four female grizzly bears were captured in the Flathead River of British
Columbia and released in the Cabinet Mountains from 1990–1994 (Table 7). Twenty-two
different grizzly bears were captured during 840 trap-nights to obtain the 4 subadult females.
Capture rates were 1 grizzly bear/38 trap-nights and 1 suitable subadult female/210 trap-nights.
One transplanted bear and her cub died of unknown causes one year after release. The
remaining three bears were monitored until collars dropped. The program was designed to
determine if transplanted bears would remain in the target area and ultimately contribute to the
population through reproduction. Three of four transplanted bears remained in the target area
for more than one year. One of the transplanted bears produced a cub but had likely bred prior
to translocation and did not satisfy our criteria for reproduction with resident males. One other
female was known to have reproduced. In 2005 the augmentation program was reinitiated
through capture by MFWP personnel and monitoring by this project. During 2005–2020, 10
female and 8 male grizzly bears were released in the Cabinet Mountains (Table 7).
         Of 22 bears released through 2020, eight are known to have left the target area (one
was recaptured and brought back, two returned in the same year, and one returned a year after
leaving), three were killed within 4 months of release, one was killed within 10 months of
release, and one was killed 16 years after release. One animal was known to have produced at
least 10 first-generation offspring, 16 second-generation offspring, and one third-generation
offspring. Another female was known to have produced three offspring and a male was known
to have produced one offspring. See the genetic results portion of this report for more details.


Table 7. Sex, age, capture date, capture location, release location, and fate of augmentation
grizzly bears moved to the Cabinet Mountains, 1990–2020.
                                                      Cabinet Mtns
                     Capture
 Bear   Sex   Age                Capture Location     Release         Fate
                      date
                                                      Location
 218    F      5     7/21/1990   NF Flathead R, BC    EF Bull River   Den Cabinet Mtns 1990, Lost collar Aug. 1991,
                                                                      observed July 1992.
 258    F      6     7/21/1992   NF Flathead R, BC    EF Bull River   Den Cabinet Mtns 1992 Produced 1 cub 1993,
                                                                      Natural mortality July 1993.
 286    F      2     7/14/1993   NF Flathead R, BC    EF Bull River   Den Cabinet Mtns 1993–95 Lost collar at den Apr.
                                                                      1995, hair snag 2004–2009, self-defense mortality
                                                                      November 2009.
 311    F      3     7/12/1994   NF Flathead R, BC    EF Bull River   Lost collar July 1994, recaptured Oct. 1995 south
                                                                      of Eureka, MT, released EF Bull River, Signal lost
                                                                      Nov. 1995.
 A1     F     7-8    9/30/2005   NF Flathead R, MT    Spar Lake       Den West Cabinet Mtns 2005–06, Lost collar Sept.
                                                                      2007.
 782    F      2     8/17/2006   SF Flathead R, MT    Spar Lake       Den West Cabinet Mtns 2006–07, Lost collar Aug.
                                                                      2008.

                                                         27

                                                                                                              FWS001471
                                                     4-ER-757
                    Case: 23-2882, 03/22/2024, DktEntry: 30.5, Page 99 of 218                                              (99 of 218)




                                                      Cabinet Mtns
                     Capture
 Bear   Sex   Age                Capture Location     Release          Fate
                      date
                                                      Location
 635    F      4     7/23/2008   Stillwater R, MT     EF Bull River    Killed by train near Heron, MT Oct. 2008.
 790    F      3      8/7/2008   Swan R, MT           EF Bull River    Illegally killed near Noxon, MT Oct. 2008.
 715    F     10     9/17/2009   NF Flathead R, MT    Spar Lake        Den West Cabinet Mtns 2009–10, returned to NF
                                                                       Flathead R, May 2010. Lost collar June 2010.
 713    M      5     7/18/2010   NF Flathead R, MT    Spar Lake        Den Cabinet Mtns 2010, Lost collar Sept. 2011.
 714    F      4     7/24/2010   NF Flathead R, MT    Silverbutte Cr   Returned to NF Flathead July 2010. Lost collar
                                                                       Oct. 2013.
 725    F      2     7/25/2011   MF Flathead R, MT    Spar Lake        Moved to Glacier National Park, Sept. 2011 den,
                                                                       returned to Cabinet Mtns Aug. 2012 and den,
                                                                       moved to Glacier National Park and returned to
                                                                       Cabinet Mtns, lost collar Oct. 2013
 723    M      2     8/18/2011   Whitefish R, MT      Spar Lake        Den Cabinet Mtns 2011. Lost collar June 2012.
 918    M      2      7/6/2012   Whitefish R, MT      EF Bull River    Den Cabinet Mtns 2012–-13. Lost collar Oct. 2014.
 919    M      4     7/30/2013   NF Flathead R, MT    Spar Lake        Den Cabinet Mtns 2013. Lost collar Aug. 2014.
 920    F      2     6/18/2014   NF Flathead R, MT    Spar Lake        Den Cabinet Mtns 2014–15.
 921    F      2     6/18/2014   NF Flathead R, MT    Spar Lake        Den West Cabinet Mtns 2014. Died of unknown
                                                                       cause May 2015.
 924    M      2     7/25/2015   SF Flathead R, MT    Spar Lake        Mistaken identity mortality Sept. 2015
 926    M      3     7/25/2016   SF Flathead R, MT    Spar Lake        Den Cabinet Mtns 2016. Lost collar July 2017
 927    M      2     7/20/2018   NF Flathead R, MT    Spar Lake        Den West Cabinet Mtns 2018 and Cabinet Mtns
                                                                       2019, lost collar August 2020
 923    F      2     7/12/2019   NF Flathead R, MT    Spar Lake        Den West Cabinet Mtns 2019 and 2020
 892    M      3     7/14/2019   NF Flathead R, MT    Spar Lake        Den Cabinet Mtns 2019, killed June of 2020 near
                                                                       Whitefish, MT




Cabinet-Yaak Hair Sampling and DNA Analysis
        Hair snag sampling occurred at barb wire corrals baited with a scent lure during 2000–
2020 (Table 8 and Fig. 7). Sampling occurred from May–October but varied within years. Sites
were selected based on prior grizzly bear telemetry, sightings, and access. Remote cameras
supplemented hair snagging at most sites and were useful in identifying family groups and
approximate ages of sampled bears. Genetic analysis from 2020 field collected samples is not
yet complete; we will report on these results in the 2021 report. In 2002, study personnel
assisted a MFWP black bear population estimate effort that sampled 285 sites in the Yaak River
portion of the CYE. During 2003, 184 sites on a 5 km2 grid were sampled on 4,300 km2 in the
Cabinet Mountains portion of the CYE. In 2009, 98 sites were sampled south of the Clark Fork
River. In 2012, United States Geological Survey (USGS) researchers completed an ecosystem-
wide mark-recapture population estimate using DNA from hair collected at more than 850
corrals. Other years had much lower numbers of sampled sites. Collectively, USFWS, USGS,
and MFWP crews have sampled 2,085 corral traps from 2000–2020 (Table 8 and Fig. 7).
Through 2019, corral traps alone were successful during six percent of site visits and provided
hair from at least 74 grizzly bears.




                                                         28

                                                                                                              FWS001472
                                                     4-ER-758
                         Case: 23-2882, 03/22/2024, DktEntry: 30.5, Page 100 of 218                                                                            (100 of 218)




Table 8. Hair snagging corrals and success in the Cabinet-Yaak study area, 2000–2020. DNA
genetic results not yet complete for 2020 samples.
                         Sessions        Sessions         Individual
            Number      with grizzly    with grizzly        grizzly
            of corral      bear         bear photos          bear
  Year     sessions1     DNA(%2)        or DNA(%2)        genotypes          BMUs with grizzly bear pictures or hair                          Comments
  2000         1              0               0              0
  2001         3              0               0              0
  2002        319           9 (3)          10 (3)            9         BMUs 2, 5, 6, 12, 14, 16, 17
  2003        184           1 (1)           1 (1)            1         BMUs 5, 6
  2004        14           2 (14)          2 (14)            3         BMU 5
  2005        17            1 (6)          2 (12)            1         BMU 5
  2006        19           3 (16)          3 (16)            3         BMUs 3, 5, 7
  2007        36           4 (11)          5 (14)            9         BMUs 5, 11, 13                                        Female with young BMU 5
  2008        21            1 (5)           1 (5)            1         BMU 5
  2009        125           2 (2)           4 (3)            4         BMUs 5, 6, 9                                          Female with young BMU 5
  2010        27           3 (11)          4 (15)            5         BMUs 3, 5, 6                                          Female with young BMU 5
  2011        72           9 (13)          12 (17)           13        BMUs 3, 4, 5, 6, 11, 13, 14, 15, 16, 17               Female with young BMU 16
  2012        854          48 (6)          48 (6)            29        BMUs 1, 2, 3, 4, 5, 6, 7, 8, 9, 10, 11, 12, 13, 14,
                                                                       15, 16, 17, 18, 20
  2013         5           2 (40)          2 (40)             2        BMUs 2, 3, 5, 6, 7, 11, 13, 14, 15, 16, 17            Female with young BMU 6
  2014        41            3 (7)           8 (7)             4        BMUs 1, 2, 3, 5, 6, 11, 12, 13, 14, 15, 16, 17, 19    Female with young BMU 13
  2015        72           5 (7)           12 (17)            7        BMUs 2, 3, 4, 5, 6, 10, 11, 12, 13, 14, 15, 16, 17    Female with young BMU 13
                                                                                                                             Female with cubs BMU 5
  2016        39           6 (15)          9 (23)            10        BMUs 2, 3, 5, 6, 7, 10, 11, 13, 14, 15, 16, 17, 19    Female with young BMU 13, 5
                                                                                                                             Female with cub BMU 16
  2017        92          18 (20)          18 (20)           18        BMUs 1, 2, 3, 5, 6, 7, 9, 10, 11, 12, 13, 14, 15,     Female with cubs BMU 5
                                                                       16, 17                                                Female with young BMU 5
  2018        55          13 (24)          16 (29)           17        BMUs 1, 2, 3, 5, 6, 7, 10, 11, 12, 13, 14, 15, 16,    Female with cubs BMU 5, 13, 14
                                                                       17                                                    Female with young BMU 6
  2019        49           6(12)          11 (22)             6        BMUs 4, 5, 6, 8, 10, 13                               Female with young BMU 13
  2020        40             --           13 (33)3            --       BMUs 5, 11, 12, 13, 14, 16                            Female with cubs BMU 12
                                                                                                                             Female with young BMU 11,13, 16
  Total      2085         136 (7)          181 (9)           744
1Some corral sites were deployed for multiple sessions per year. A “session” is typically 3-4 weeks long and defined as the interval between site set-up and

revisits to collect samples and photos.
2Percent success at all corral sessions
3Sites with photos only. Awaiting 2020 genetic results.
4Some individuals captured multiple times among years.




          In 2020, we collected 415 samples from 453 visits to 346 individual rub trees (Table 9).
Samples were evaluated during cataloging and 269 were judged to be black bears (based on
solid black coloration), leaving 146 to be sent to Wildlife Genetics International Laboratory in
Nelson, British Columbia for DNA extraction and genotyping. Lab analysis on 2020 samples is
still in progress, and we will report on results in the 2021 report. From 2013–2019, we
genetically identified 79 individual grizzly bears (50 males, 29 females) from 15,803 samples
collected via rub effort alone.




                                                                               29

                                                                                                                                                   FWS001473
                                                                        4-ER-759
              Case: 23-2882, 03/22/2024, DktEntry: 30.5, Page 101 of 218                              (101 of 218)




Figure 7. Location of hair snag sample sites in the Cabinet-Yaak Ecosystem study area, 2013–2020.
Sites with grizzly bear DNA are identified (2013–2019).


                                               30

                                                                                          FWS001474
                                           4-ER-760
                            Case: 23-2882, 03/22/2024, DktEntry: 30.5, Page 102 of 218                                                        (102 of 218)




Table 9. Grizzly bear hair rubs and success in the Cabinet-Yaak study area, 2012–2020.
          Number of       Number of         Number of     Number of    Individual
 Year        rubs      samples collected samples sent to  rubs with   grizzly bear Males                                          Females
           checked4         (%GB1)         Lab (%GB1)    grizzly DNA  genotypes
  20122       1376            8356 (2)        4639 (3)        85           33       19                                              14
  2013         488            1038 (6)        480 (12)        33           17        9                                               8
  2014         583            1894 (7)        708 (19)        50           24       14                                              10
  2015         693            2258 (6)        617 (22)        76           30       20                                              10
  2016         780            3781 (5)       1049 (19)        90           29       18                                              11
  2017         836           2958 (13)        676 (55)       147           38       24                                              14
  2018         782            2267 (8)        481 (38)        96           37       23                                              14
  2019         845            2167 (7)        440 (33)        85           30       25                                               5
  2020         346            415 (--)        146 (--)         --           --       --                                              --
  Total3      16964          24719 (6)       9090 (15)       3344         875       575                                             305
1 Percentage of samples yielding a grizzly bear DNA genotype.

2 2012 results from USGS population estimation study (Kendall et al. 2016). 2013-20 efforts are from USFWS coordinated efforts.

3Totals are through 2019.   2020 genetic results from the lab are not yet complete.
4 Unique rub locations. Some rub locations visited multiple times among years.

5Some individuals captured multiple times among years.




Grizzly Bear Genetic Sample Summary
       We provide data leading up to and including 2019 as 2020 sample results have not been
completed by the laboratory. Using all methods (capture, collared individuals, all sources of
DNA sampling, photos, credible observations), we detected a minimum of 50 individual grizzly
bears alive and in the CYE grizzly bear population at some point during 2019. Five of these
bears were known dead by end of 2019. Twenty-three bears were detected in the Cabinets (16
male, 7 female). Twenty-seven bears were detected in the Yaak (16 male, 7 female, 4 unknown
sex).
       Captures, genotypes, and observations of grizzly bears by study personnel in the CYE
study area were summarized during 1986–2019. Individuals not radio-collared or genotyped
were conservatively separated by size, age, location, coloration, or reproductive status.
Conservative classification of sightings may result in unique individuals being documented as
one individual. Individual status or relationships may change with new information.
       Two hundred twenty-one individuals were identified within the CYE study area during
1986–2019 (192 bears captured or genotyped and 29 unmarked individuals observed). Fifty
were known to be alive during 2019.
       We determined parent-offspring relationships of Yaak grizzly bears using sample
genotypes from 1986–2019. A majority of our detected sample in the Yaak descends from
female grizzly bear 106 (Figure 8). She produced five known litters, and her matrilines tie to 58
known first, second, and third generation offspring. In 2018, we identified her first fourth
generation offspring, male Y38004M, presumed dead in 2019. In 2019, two more fourth
generation cubs were detected (cub-of-the-year offspring of female 842). Both died in 2019
(natural mortality). Since 1986, we have genetically detected 41 female grizzly bears in the US
Yaak and BC Yahk, 28 (68%) of which are direct maternal descendants of bear 106. Since
2014, all female bears detected in the US Yaak are her maternal descendants. In 2015–2019,
we detected 1 daughter, 7 granddaughters, and 5 great-granddaughters of 106.




                                                                                 31

                                                                                                                                  FWS001475
                                                                         4-ER-761
                 Case: 23-2882, 03/22/2024, DktEntry: 30.5, Page 103 of 218                                    (103 of 218)




Figure 8. Most likely pedigree displaying matrilineal ancestry of female grizzly bear 106 in the Yaak
River, 1986–2019. Squares indicate males and circles represent females. Lines indicate a parent-
offspring relationship. F0 is the initial generation, F1 the first generation, F2 the second generation, and
F3 the third generation. Numbers along lines indicate when the descendant litter was produced.



         Claws from a grizzly bear were discovered in Baree Creek of the Cabinet Mountains in
1993. Analysis of DNA from these claws matched bear 678 originally captured in the Cabinet
Mountains in 1983 when 28 years old. Tissue present on the claws suggested that she died no
earlier than 1992. Bear 678 would have been at least 37 years old at the estimated time of
death. Pedigree analysis also indicated that the three bears captured in the Cabinet Mountains
from 1983–1988 were a triad with bear 680 being the offspring of bears 678 and 14.
         The Cabinet Mountains population was estimated to be 15 bears or fewer in 1988 on the
basis of independent tracks, sightings, and expert opinion (Kasworm and Manley 1988).
However, lack of resident bears identified since 1989 suggests the population was well below
15 individuals. Genetic samples from the Cabinet Mountains (1983–2019) were determined to
originate from 76 different grizzly bears. Three of these were from captures during 1983–1988,
21 were from augmentation bears during 1990–2019 (1 augmentation bear 218 genetically
unmarked), and 54 from captures, mortalities, or hair snagging during 1997–2019.
         One of these genotypes identified by hair snagging was from grizzly bear 286. She was
released in the Cabinet Mountains as part of population augmentation in 1993 as a 2-year-old
(Kasworm et al. 2007). She was 13 years old when the first hair sample was obtained during
2004. Pedigree analysis indicates she has produced at least 10 first generation offspring, 22
second generation offspring, and 4 third generation offspring. Six of those first-generation
offspring were females, and all 6 are known to have reproduced (Fig. 9). Bear 286 was killed in
a self-defense incident with a hunter in November of 2009.
         The augmentation effort appears to be the primary reason grizzly bears remain and are
increasing in the Cabinet Mountains. Only 15 genotyped bears not known to be augmentation

                                                     32

                                                                                                   FWS001476
                                                4-ER-762
                 Case: 23-2882, 03/22/2024, DktEntry: 30.5, Page 104 of 218                                      (104 of 218)




bears or their offspring have been identified in the Cabinet Mountains since 1990 and seven are
known dead. The following describes each individual and fate. Two are adult males that bred
with 286 to produce first generation of augmentation offspring. Four are a family group (adult
female with 3 cubs) identified south of the Clark Fork River in 2002. The adult female and one
of the young are known dead. Three are males with past human-bear conflict histories in the
Northern Continental Divide population (NCDE) to the northeast and subsequently traveled to
the CYE in 2014–2018, including: 1) an adult male killed in self-defense in the Little Thompson
River in 2014, 2) a subadult male caught in Flathead Valley in spring of 2016, traveled to
Cabinets fall 2016 or spring 2017, and traveled back toward NCDE and died by poaching in May
2017, 3) subadult male caught spring 2018 between the NCDE and Cabinets, relocated into the
Yaak and soon thereafter died by human-cause (under investigation) in May 2018. One bear
was a subadult male captured near Thompson Falls in 2011 in an incident involving livestock
depredation, unknown status thereafter. Two bears were male migrants from the Selkirk
Mountains: 1) identified in 2012, who is now known to have moved back to the Selkirks before
breeding, has bred and remains in Selkirks in 2018, 2) a collared subadult male with movement
in 2018 but lost collar in fall 2018. One bear was a subadult male migrant from the NCDE with
no conflict history, caught in 2019 in Cabinets, and spent much time in the Salish range before
casting collar, fate unknown. The remaining two bears were adult males born in 2008 and 2009
in the Yaak and identified in the Cabinets in 2016 and 2019.




Figure 9. Most likely pedigree resulting from translocated female grizzly bears 286 and 782 in the Cabinet
Mountains, 1993–2019. Squares indicate males and circles represent females. Lines indicate a parent-
offspring relationship. F0 is the initial generation, F1 is the first generation of offspring for translocated
females 286 or 782 and male 723, F2 is the second generation and F3 is the third generation.



                                                     33

                                                                                                    FWS001477
                                                 4-ER-763
                Case: 23-2882, 03/22/2024, DktEntry: 30.5, Page 105 of 218                                 (105 of 218)




Grizzly Bear Movements and Gene Flow Within and Between Recovery Areas
        Population linkage is a goal of the CYE recovery plan (USFWS 1993). The population
goal of approximately 100 animals requires genetic connectivity to maintain genetic health over
time. Movement data from telemetry or genetic methods may be a precursor of linkage, but
gene flow through reproduction by immigrant individuals is the best measure of connectivity.
        Capture, telemetry, and genetic data were analyzed to evaluate movement and
subsequent reproduction resulting in gene flow into and out of the CYE. Forty-one grizzly bears
were identified as immigrants, emigrants, or offspring of immigrants to the CYE from 1983–2019
(Appendix Table T4). While movement and gene flow out of the CYE may benefit other
populations, gene flow into the CYE is most beneficial to genetic health. Seventeen individuals
(14 males and 3 females) are known to have moved into the CYE from adjacent populations;
however, eight of these were killed, removed, or emigrated out of the CYE prior to any known
gene flow (Figure 10). Ten of these immigrants originated from the North Purcells (3 known
mortalities), five from the NCDE (three known mortalities), and two from the South Selkirks (one
known mortality). Gene flow has been identified through reproduction by three immigrants from
the North Purcells (two males and one female) resulting in 4 offspring in the CYE.




Figure 10. Known immigration or emigration events (blue and pink lines) and gene flow (black stars) in
the Cabinet-Yaak, 1988–2020
                                                   34

                                                                                               FWS001478
                                              4-ER-764
                         Case: 23-2882, 03/22/2024, DktEntry: 30.5, Page 106 of 218                                              (106 of 218)




Known Grizzly Bear Mortality
        There were three instances of known or probable grizzly bear mortality in or within 16 km
of the CYE (including BC) during 2020 (one subadult male and two adult females). The
subadult male mortality was the result of mistaken identity by a black bear hunter. This animal
had a wire neck snare around the neck that may have ultimately killed the bear later in life. One
adult female died as a result of self-defense (BC) and another is human caused, but under
investigation. Two cubs classified as mortalities in 2018 when their mother was killed, were
removed from the mortality list after it was determined that they survived into 2019 based on
photographic and genetic evidence. Sixty-four instances of known and probable grizzly bear
mortality from all causes were detected inside or near the CYE (excluding Canada) during
1982–2020 (Tables 1 and 10, Fig. 11). Forty-six were human caused, 15 were natural mortality,
and 3 were unknown cause. There were 19 instances of known grizzly bear mortality in Canada
within 16 km of the CYE in the Yahk and South Purcell population units from 1982–2020
(Tables 1 and 10, Fig. 11). Fourteen were human-caused and 5 were natural mortalities.


Table 10. Cause, timing, and location of known and probable grizzly bear mortality in or within 16 km of
the Cabinet-Yaak recovery zone (including Canada), 1982–2020. Radio collared bears included
regardless of mortality location.
                                                                 Mortality cause
  Country/ age / sex /   Defense Legal Hound Management Mistaken                     Trap    Vehicle Unknown,
 season / ownership       of life Hunt hunting removal   identity Natural Poaching predation collision human Unknown     Total
 U.S.
 Age / sex
 Adult female              4                                                  2         1         1   3         1         12
 Subadult female                                                              1         1     1   2   3                   8
 Adult male                2                           2            1                   2             4                   11
 Subadult male             2                                        5                   2             4         1         14
 Yearling                                                           1         1                                 1         3
 Cub                                                                1         9         2             3                   15
 Unknown                                                            1                                                     1
 Total                     7                           1            9        13         8     1   3   17        3         64
 Season1
 Spring                                                             1         3         1             4         1         10
 Summer                    1                                        1        10         1     1                           14
 Autumn                    7                           2            7                   5         3   12                  36
 Unknown                                                                                1             1         2         4
 Ownership
 US Private                3                           2            2                   5         3   6         1         22
 US Public                 5                                        7        13         3     1       11        2         42

 Canada
 Adult female                1                            2                                                               3
 Subadult female             1                                                                1                           2
 Adult male                  1       1                    2           1                               1                   6
 Subadult male                                            1                                           1                   2
 Yearling                                                                       1                                         1
 Cub                                                                            4                                         4
 Unknown                                      1                                                                           1
 Total                       3       1        1           5           1         5             1       2                   19
 Season1
 Spring                      1       1                    1                     1             1                           5
 Summer                                       1           1                     4                                         6
 Autumn                      2                            3           1                               2                   8
 Unknown
 Ownership
 BC Private                                               4                                                               4
 BC Public                   3       1        1           1           1         5             1       2                   15
1Spring = April 1 – May 31, Summer = June 1 – August 31, Autumn = September 1 – November 30



                                                                        35

                                                                                                                    FWS001479
                                                                 4-ER-765
               Case: 23-2882, 03/22/2024, DktEntry: 30.5, Page 107 of 218                             (107 of 218)




         Sixty-four percent (16 of 25) of known human-caused mortalities occurring on the US
National Forests were <500m of an open road from 1982–2020. Thirty-six percent (9 of 25) of
known human-caused mortalities occurring on National Forests were located within core habitat
(area greater than 500m from an open or gated road).
         Mortality rates were examined by breaking the data into periods of increase (1982–1998,
2007–2020) and decrease (1999–2006) in population trend. From 1982–1998, 16 instances of
known mortality occurred in the U.S. and Canada, with 12 (75%) of these mortalities being
human-caused (Table 1). The annual rate of known human-caused mortality was 0.71
mortalities per year. Twenty-seven instances of known mortality occurred during 1999–2006
with 18 (67%) of these human-caused. Annual rate of known human-caused mortality was 2.25
per year. Forty instances of known mortality occurred from 2007–2020 with 30 (75%) of these
human-caused. Annual rate of known human-caused mortality was 2.073 per year. Though the
rate of known human caused mortality was similar between the two most recent time periods, it
is important to consider the rate of female mortality. The loss of females is the most critical
factor affecting the trend because of their reproductive contribution to current and future growth.
The rate of known female mortality was 0.29 and human caused female mortality was 0.18
during 1982–1998. Both total known female and human-caused female mortality rate increased
from 1982–1998 to 1999–2006 periods. Total known female mortality rate decreased from 1.88
during 1999–2006 to 0.79 during 2007–2020 and known human-caused female mortality rate
decreased from 1.5 to 0.57. This decline of female mortality is largely responsible for the
improving population trend from 2007–2020 (Pages 39–42). Efforts to detect mortality were
probably lowest during 1982–1998 because of fewer collared bears and less personnel
presence in the Yaak portion of the recovery zone. Comparisons involving the two most recent
time periods represent more similar amounts of effort to detect mortality.
         The increase in total known mortality beginning in 1999 may be linked to poor food
production during 1998–2004 (Fig. 11). Huckleberry production during these years was about
half the long-term average. Poor berry production years can be expected at various times, but
in this case, there were several successive years of poor production. Huckleberries are the
major source of late summer food that enables bears to accumulate sufficient fat to survive the
denning period and females to produce and nurture cubs. Poor nutrition may not allow females
to produce cubs in the following year and cause females to travel further for food, exposing
young to greater risk of mortality from conflicts with humans, predators, or accidental deaths.
One female bear lost litters of 2 cubs each during spring of 2000 and 2001. Another mortality
incident involved a female with 2 cubs that appeared to have been killed by another bear in
1999. The effect of cub mortality may be greatest in succeeding years when some of these
animals might have been recruited to the reproductive segment of the population.




                                                36

                                                                                         FWS001480
                                           4-ER-766
                                      Case: 23-2882, 03/22/2024, DktEntry: 30.5, Page 108 of 218                                                   (108 of 218)




                                  8                                                                                   4




                                                                                                                          Mean huckleberries per
   Known grizzly bear mortality

                                  6                                                                                   3




                                                                                                                                  plot
                                  4                                                                                   2


                                  2                                                                                   1


                                  0                                                                                   0

                                                   Known Mortality                       Mean berry count
 Figure 11. Known grizzly bear annual mortality from all causes in or within 16 km of the Cabinet-Yaak
 recovery zone (including Canada) and all radio-collared bears by cause, 1982–2020 and huckleberry
 production counts, 1989–2020.




         Using counts of known human-caused mortality probably under-estimates total human-
caused mortality. Numerous mortalities identified by this study were reported only because
animals wore a radio-collar at death. The public reporting rate of bears wearing radio-collars
can be used to develop a correction factor to estimate unreported mortality (Cherry et al. 2002).
Correction factors were not applied to natural mortality, management removals, mortality of
radio-collared bears or bears that died of unknown causes (Table 11). All radioed bears used to
develop the unreported mortality correction were >2 years-old and died from human related
causes. Twenty-three radio-collared bears died from human causes during 1982–2019. Eleven
of these were reported by the public (55%) and 9 were unreported (45%). The Bayesian
statistical analysis described by Cherry et al. (2002) was used to calculate unreported mortality
in 3 year running periods in the Yellowstone ecosystem, but samples sizes in the CYE are much
smaller, so we grouped data based on the cumulative population trend (ʎ, Fig. 11). The
unreported estimate added 24 mortalities to the 83 known mortalities from 1982–2020. The
unreported estimate includes bears killed in BC which are not counted in recovery criteria
(USFWS 1993).



Table 11. Annual human-caused grizzly bear mortality in or within 16 km of the Cabinet-Yaak recovery
zone (including Canada) and estimates of unreported mortality, 1982–2020 (including all radio-collared
bears regardless of mortality location).
                                      Population              Management      Radio       Unknown    Public    Unreported
    Years                               trend       Natural   or research    monitored     cause    reported    estimate             Total
  1982-1998                           Improving        3           2            4            1         6            5                 21
  1999-2006                           Declining        9           4            7            0         7            6                 33
  2007-2020                           Improving        8           3            11           2         16          13                 53
    Total                                             20           9            22           3         29          24                107

                                                                            37

                                                                                                                      FWS001481
                                                                     4-ER-767
                       Case: 23-2882, 03/22/2024, DktEntry: 30.5, Page 109 of 218                                                                        (109 of 218)




Grizzly Bear Survival, Reproduction, Population Trend, and Population Estimate
       This report segment updates information on survival rates, cause-specific mortality, and
population trend following the methods used in Wakkinen and Kasworm (2004).

Grizzly Bear Survival and Cause-Specific Mortality
        Kaplan-Meier survival and cause-specific mortality rates were calculated for 6 sex and
age classes of native grizzly bears from 1983–2019 (Table 12). We calculated survival and
mortality rates for augmentation and management bears separately (see below).


Table 12. Survival and cause-specific mortality rates of native grizzly bear sex and age classes based on
censored telemetry data in the Cabinet–Yaak recovery zone, 1983–2020.
                                                                  Demographic parameters and mortality rates

 Parameter                     Adult female            Adult male      Subadult female     Subadult male           Yearling                Cub
 Individuals / bear-years       17 / 50.6               28 / 38.4          20 / 25.3          24 /19.1             33 / 16.4             46 / 46a
 Survivalb (95% CI)        0.923 (0.852–0.994) 0.898 (0.804-0.991) 0.849 (0.711–0.987)   0.842 (0.683-01.0)    0.892 (0.748–1.0)   0.652 (0.497–0.787)
 Mortality rate by cause
   Legal Hunt Canada                 0                   0.029                 0                 0                    0                    0
   Natural                        0.020                     0                  0                 0                  0.108                0.304
   Defense of life                   0                   0.026              0.037             0.0370                  0                    0
   Mistaken ID                       0                      0                  0                 0                    0                    0
   Poaching                      0.03619                    0                  0              0.049                   0                  0.043
   Trap predation                    0                      0               0.042                0                    0                    0
   Unknown human                  0.020                  0.047              0.073             0.071                   0
aCub survival based on counts of individuals alive and dead.
bKaplan-Meier survival estimate which may differ from BOOTER survival estimate.




         Mortality rates of all sex and age classes of resident non-management radio-collared
grizzly bears ≥2 years old were summarized by cause and location of death (Table 13). Rates
were categorized by public or private land and human or natural causes. Rates were further
stratified by death locations in BC or U.S. and broken into three time periods. The three periods
(1983–1998, 1999–2006, and 2007–2020) correspond to a period of population increase
followed by a period of decline followed by a period of increase in long term population trend ().
Grizzly bear survival of all sex and age classes decreased from 0.899 during 1983–1998 to
0.792 during 1999–2006 and then rose to 0.924 during 2007–2020. Some of this decrease in
the 1999–2006 period could be attributed to an increase in natural mortality probably related to
poor berry production during 1998–2004. Mortality on private lands in the U.S. increased during
this period, suggesting that bears were searching more widely for foods to replace the low berry
crop. Several mortalities occurring during 1999–2006 were associated with sanitation issues on
private lands. Declines in mortality rate on private lands beginning in 2007 correspond to and
may be the result of the initiation of the MFWP bear management specialist position. Several
deaths of management bears occurred on private lands but were not included in this calculation
due to capture biases (traps were set only once a conflict occurred and removed after capture).
Point estimates for human-caused mortality occurring on public lands in the U.S. and BC
decreased from 1983–1998 to 1999–2006 and again from 1999–2006 to 2007–2020. This
apparent decrease in mortality rates on public lands from 1983–1998 to 1999–2006 is
particularly noteworthy given the increase in overall mortality rates. Implementation of access
management on U.S. public lands could be a factor in this apparent decline.




                                                                        38

                                                                                                                                        FWS001482
                                                                  4-ER-768
                  Case: 23-2882, 03/22/2024, DktEntry: 30.5, Page 110 of 218                                   (110 of 218)




Table 13. Survival and cause-specific mortality rates of native radio-collared grizzly bears ≥2 years old by
location of death based on censored telemetry data in the Cabinet–Yaak recovery zone, 1983–2020.
Parameter                                    1983–1998               1999–2006              2007–2020
Individuals / bear-years                      23 / 48.9               21 / 20.3              44 / 59.6
Survivalb (95% CI)                       0.899 (0.819–0.979)     0.792 (0.634–0.950)    0.924 (0.857–0.991)
Mortality rate by location and cause
  Public / natural                                0                     0.059                    0
  U.S. public / human                           0.061                   0.036                  0.031
  U.S. private / human                            0                     0.075                  0.045
  B.C. public / human                           0.040                   0.038                    0
  B.C. private / human                            0                       0                      0




Augmentation Grizzly Bear Survival and Cause-Specific Mortality
        Kaplan-Meier survival rates were calculated for 22 augmentation grizzly bears from
1990–2020. Fourteen female and eight male bears ranged in age from 2–10. Survival was
calculated based on release week for each individual, as the common starting point and
progressing by week until death or censor. Bears that left the target area were censored during
that week from the survival calculation to obtain survival rates indicative of CYGBE conditions.
Four females are known to have left the target area, but one returned while radio collared. Four
females are known to have died within the target area. None of the augmentation males died
within the target area. Four are known to have left the target area and two are known to have
died outside the target area. All known female and male mortality occurred within the first-year
post release.
        First year annual survival rate for augmentation females was 0.600 (95% CI=0.296–
0.904, n =14) with a natural mortality, a poaching, a train collision, and an unknown cause. The
natural mortality occurred during spring, the unknown mortality occurred during summer, and
the poaching, mistaken identity, and train mortality occurred during autumn. The female that
died of unknown cause produced a cub before her death and it is assumed the cub died.
Female survival for all years radio monitored was 0.746 (95% CI=0.555–0.936, n =14. No males
died within the target area during their first year though two males were known to have died
outside the target area (mistaken identification and a self-defense). Male survival for all years
radio monitored was 0.771 (95% CI=0.531–1.0 n =8.

Management Grizzly Bear Survival and Cause-Specific Mortality
        Kaplan-Meier survival rates were calculated for 16 management grizzly bears captured
at conflict sites from 2003–2019. Fourteen bears were males and two were females aged 2–25.
None of the females died during monitoring. Male survival rate was 0.479 (95% CI=0.265–
0.694, n =14) with an instance of mistaken identity, a self-defense, two management removals,
and one unknown but human-caused mortality among 16 radio-collared bears monitored for 8.3
bear-years. Two mortalities occurred during spring and four occurred during autumn.

Grizzly Bear Reproduction
         Reproductive parameters originated from all bears monitored 1983–2020. Mean age of
first parturition among native grizzly bears was 6.3 years (95% CI=5.9–6.7, n =14, Table 14).
Five bears used in the calculation were radio-collared from ages 2–8. One individual was
captured with a cub at age 6 years old. We assumed this was a first reproductive event given
her age. Eight other first ages of reproduction were established through genetic parentage
analysis and known age of offspring. Twenty-nine litters comprised of 62 cubs were observed
through both monitoring radio-collared bears and known genetic parentage analysis paired with
remote camera observation, for a mean litter size of 2.14 (95% CI=1.95–2.33, n =29, Table 14).

                                                     39

                                                                                                  FWS001483
                                                4-ER-769
                  Case: 23-2882, 03/22/2024, DktEntry: 30.5, Page 111 of 218                                                 (111 of 218)




Twenty-five reproductive intervals were determined through monitoring radio-collared bears and
known genetic parentage analysis paired with remote camera observation (Table 14). Mean
inter-birth interval was calculated as 2.84 years (95% CI=2.41–3.27, n =24). Booter software
provides several options to calculate reproductive rate (m) and we selected unpaired litter size
and birth interval data with sample size restricted to the number of females. The unpaired
option allows use of bears from which accurate counts of cubs were not obtained but interval
was known, or instances where litter size was known but radio failure or death limited
knowledge of birth interval. Estimated reproductive rate using the unpaired option was 0.361
female cubs/year/adult female (95% CI=0.286–0.467, n =12 adult females, Table 15). Sex ratio
of cubs born was assumed to be 1:1. Reproductive rates do not include augmentation bears.


Table 14. Grizzly bear reproductive data from the Cabinet-Yaak 1983–2020.
 Bear   Year   Age at first   Reproductive   Cubs   Cubs (relationship and fate, if known)
               reproduction   Interval¹
 106    1986                       2          2     1 dead in 1986, ♀ 129 dead in 1989
 106    1988                       3          3     ♂ 192 dead in 1991, ♂ 193, ♀ 206
 106    1991                       2          2     2 cubs 1 male other unknown sex and fate
 106    1993                       2          2     ♂ 302 dead in 1996, ♀ 303
 106    1995                       4          2     ♀ 353 dead in 2002, ♀ 354 dead in 2007
 106    1999                                  2     ♀ 106 and 2 cubs dead in 1999
 206    1994        6              3          2     ♀ 505
 206    1997                                  2     ♀ 596 dead in 1999, ♀ 592 dead in 2000
 538    1997        6              3                1 yearling separated from ♀ 538 in 1998
 538    2000                       1          2     2 cubs dead in 2000
 538    2001                       1          2     2 cubs dead in 2001
 538    2002                                  2     2 cubs of unknown sex and fate
 303    2000        7              3          2     1 cub dead in 2000, ♀ 552
 303    2003                       4                At least 2 cubs
 303    2007                       3
 303    2010                                  3     1 cub dead in 2010
 303    2013                                        Observed with courting male in May 2014
 303    2016                                        1 yearling observed in 2016
 354    2000        5              3                Genetic data indicated reproduction of at least two cubs in 2000
 354    2003                       3                At least 2 cubs
 354    2006                                        At least 2 cubs
 353    2002        7                         3     ♀ 353 dead in 2002, 3 cubs (1 female) all assumed dead in 2002
 772    2003        6              4                Genetic data indicated reproduction of at least one cub in 2003
 772    2007                                  2     ♀ 789, ♂ 791
 675    2009        7              1          2     2 cubs dead in 2009
 675    2010                                  1     1 cub dead in 2010
 552    2011                       3          2     ♀ 2011049122, ♂ 2011049118
 552    2014                                  3     3 cubs, 2 males and one of unknown sex
 784    2013        7                               At least 2 cubs
 784    2018                                        At least one cub
 810    2010        7              4                At least one cub
 810    2014                                  2     2 cubs observed at camera site, August 2014
 810    2018                                  2     2 cubs observed June 2018
 820    2009        6              4                At least one cub
 820    2013                                  2     2 cubs ♀ 842, ♂ 818, 818 dead in 2015
 820    2018                       5          2     2 cubs observed July 2018
 831    2004        7              3                At least 1 cub
 831    2007                                  2     2 cubs ♂ 799 and ♀ C20072F

                                                           40

                                                                                                                 FWS001484
                                                     4-ER-770
                    Case: 23-2882, 03/22/2024, DktEntry: 30.5, Page 112 of 218                                 (112 of 218)




  Bear   Year    Age at first   Reproductive       Cubs   Cubs (relationship and fate, if known)
                 reproduction   Interval¹
  831    2012                                       3     3 cubs, ♂ 839, ♀ 900933, ♀ 925063
  831    2017                                       3     Photo with 3 cubs July 2017
  731    2013          6               3                  At least one cub ♂ 17139
  731    2016                                             At least one cub ♀Y29503F
  822    2018          5               2            1     one cub ♂ Y38004M. Photo June 2018
  822    2020                                       2     2 cubs observed July
  842    2019          6               1            2     2 cubs dead in 2019
  842    2020                                       2     2 cubs observed October
¹Number of years from birth to subsequent birth.




Population Trend
         Approximately 95% of the survival data and 85% of the reproductive data used in
population trend calculations came from bears monitored in the Yaak River portion of this
population, hence this result is most indicative of that portion of the recovery area. However,
only the Kootenai River divides the Cabinet Mountains from the Yaak River and the trend
produced from this data would appear to be applicable to the entire population of native bears in
the absence of population augmentation. We have no data to suggest that mortality or
reproductive rates are different between the Yaak River and the Cabinet Mountains. The
Cabinet Mountains portion of the population was estimated to be <15 in 1988 (Kasworm and
Manley 1988) and subsequent lack of identification of resident bears through genetic techniques
would suggest the population was possibly 5–10. Population augmentation has added 22 bears
into this population since 1990 and a mark recapture population estimate from 2012 indicated
the population was 22–24 individuals (Kendall et al. 2016). These data indicate the Cabinet
Mountains population has increased by 2–4 times since 1988, but this increase is largely a
product of the augmentation effort with reproduction from that segment.
         The estimated finite rate of increase () for 1983–2020 using Booter software with the
unpaired litter size and birth interval data option was 1.017 (95% CI=0.935–1.090, Table 15).
Finite rate of change over the same period was an annual 1.7% (Caughley 1977). Subadult
female survival and adult female survival accounted for most of the uncertainty in , with
reproductive rate, yearling survival, cub survival, and age at first parturition contributing much
smaller amounts. The sample sizes available to calculate population trend are small and
yielded wide confidence intervals around our estimate of trend (i.e., ). The probability that the
population was stable or increasing was 67%. Utilizing the entire survival and reproductive data
set from 1983–2020 is partially the product of small sample sizes but also produces the effect of
smoothing the data over time and results in a more conservative estimate of population trend.
         Finite rates of increase calculated for the period 1983–1998 ( = 1.067) suggested an
increasing population (Wakkinen and Kasworm 2004). Lack of mortality in specific sex-age
classes limited calculations for many time periods other than those shown here (Fig. 12).
Annual survival rates for adult and subadult females were 0.948 and 0.901 respectively, during
1983–1998, and then declined to 0.926 and 0.740 for the period of 1983–2006, respectively.
Cumulative lambda calculations reached the lowest point in 2006 (Fig. 12). Human-caused
mortality has accounted for much of this decline in annual survival rates and population trend.
Improved adult female survival and subadult female survival rates resulted in an improving
population trend estimate since 2006. Improving survival by reducing human-caused mortality
is crucial for recovery of this population (Proctor et al. 2004).



                                                                 41

                                                                                                   FWS001485
                                                           4-ER-771
                                         Case: 23-2882, 03/22/2024, DktEntry: 30.5, Page 113 of 218                                        (113 of 218)




Table 15. Booter unpaired method estimated annual survival rates, age at first parturition, reproductive
rates, and population trend of native grizzly bears in the Cabinet–Yaak recovery zone, 1983–2020.
    Parameter                                 Sample size             Estimate (95% CI)               SE                  Variance (%)a
    Adult female survival (Sa)
                           b
                                                 17 / 50.2c
                                                                     0.925 (0.833–0.985)             0.040                     33.7
    Subadult female survivalb (Ss)               20 / 25.1c          0.847 (0.692–0.965)             0.073                     51.4
    Yearling survivalb (Sy)                      33 / 16.3c           0.885 (0.725–1.0)              0.074                      2.7
    Cub survivalb (Sc)d                            46/46             0.652 (0.500–0.783)             0.072                      4.6
    Age first parturition (a)                        14                  6.3 (5.9–6.6)               0.186                      0.5
    Maximum age (w)                                Fixed                       27
    Unpaired Reproductive rate (m)  e
                                                 16/25/28f         0.405360 (0.326–0.536)            0.055                      7.1
    Unpaired Lambda ()                   5000 bootstrap runs        1.017 (0.935–1.090)             0.040
a
   Percent of lambda explained by each parameter
b
  Booter survival calculation which may differ from Kaplan-Meier estimates in Table 13.
c
  individuals / bear-years
d
  Cub survival based on counts of individuals alive and dead
e
  Number of female cubs produced/year/adult female. Sex ratio assumed to be 1:1.
f
  Sample size for individual reproductive adult females / sample size for birth interval / sample size for litter size from Table 14.




                                 16.0
  Percent change in population




                                 12.0
                                  8.0
                                  4.0
                                  0.0
                                  -4.0
                                  -8.0
                                 -12.0
                                 -16.0
                                 -20.0
                                 -24.0




  Figure 12. Point estimate and 95% confidence intervals for cumulative annual calculation of
  population rate of change for native grizzly bears in the Cabinet-Yaak recovery area, 1983–2020.
  Each entry represents the annual rate of change from 1983 to that date.



Population Estimate

        During 2012, USGS used mark-recapture techniques to estimate the CYE grizzly bear
population at 48–50 (95% CI = 44–62) (Kendall et al. 2016). Using the midpoint of this estimate
(49), the calculated rate of increase (1.7%), results in a gain of 7 bears through 2020 to a
population of 56. The augmentation program added 8 bears since 2012 but four of those have
either left the target area or are known dead. Based on this information, a population estimate
of about 60 bears would seem reasonable.
                                                                    42

                                                                                                                               FWS001486
                                                                4-ER-772
               Case: 23-2882, 03/22/2024, DktEntry: 30.5, Page 114 of 218                            (114 of 218)




Capture and Marking
        Three grizzly bears were captured within the Cabinet and Yaak study area (2 adult
females and 1 subadult male) during 2020. All were captured for research monitoring. Ninety-
six individual grizzly bears have been captured 148 times as part of this monitoring program
since 1983 (Tables 16 and 17). One-hundred twenty-three captures occurred for research
purposes and 24 captures occurred for management purposes.

Cabinet Mountains
        Research trapping was conducted in the Cabinet Mountains portion of the CYE from
1983–1987. Three adult grizzly bears were captured during this effort (1 female and 2 males).
No trapping occurred from 1988–1994 as effort was directed toward the Yaak River. In 1995 an
effort was initiated to recapture augmentation bears to determine success of the program and
capture any native bears in the Cabinet Mountains. During 1983–2020, 7,715 research trap-
nights were expended to capture 13 known individual grizzly bears and 319 individual black
bears (Table 16 and 17, Fig. 13). Rates of capture by individual were 1 grizzly bear/593 trap-
nights and 1 black bear/24 trap-nights. A trap-night was defined as one site with one or more
snares set for one night. One augmentation bear was captured during subsequent trapping
efforts

Yaak River, Purcell Mountains South of BC Highway 3
        Trapping was conducted in the Yaak portion of the CYE during 1986–1987 as part of a
black bear graduate study (Thier 1990). Research trapping was continued from 1989–2020 by
USFWS. One-hundred twelve captures of 59 individual grizzly bears and 542 captures of 457
individual black bears were made during 11,738 trap-nights during 1986–2020 (Tables 16 and
17, Fig. 13). Rates of capture by individual were 1 grizzly bear/196 trap-nights and 1 black
bear/25 trap-nights. Trapping effort was concentrated in home ranges of known bears during
1995–2020 to recapture adult females with known histories. Much of the effort involved using
horses and bicycles in areas inaccessible to vehicles, such as trails and closed roads.

 Salish Mountains
        Trapping occurred in the Salish Mountains, south of Eureka, Montana, in 2003. An adult
female grizzly bear (5 years old), and 5 black bears were captured during 63 trap-nights of effort
(Tables 16, 17).

Moyie River and Goat River Valleys North of Highway 3, British Columbia
        Eight grizzly bears and 32 black bears were captured in the Moyie and Goat River
valleys north of Highway 3 in BC in 2004–2008 (Table 16 and Fig. 13). Trapping was
conducted in cooperation with M. Proctor (Birchdale Ecological Consultants, Kaslo, BC) and BC
Ministry of Environment. Rates of capture by individual were 1 grizzly bear/32 trap-nights and 1
black bear/8 trap-nights.




                                               43

                                                                                        FWS001487
                                           4-ER-773
                        Case: 23-2882, 03/22/2024, DktEntry: 30.5, Page 115 of 218                                         (115 of 218)




Table 16. Research capture effort and success for grizzly bears and black bears within study areas,
1983–2020.
                                            Trap-          Grizzly Bear       Black Bear       Trap-nights /   Trap-nights /
Area / Year(s)                              nights          Captures           Captures        Grizzly Bear     Black Bear
Cabinet Mountains,1983–2020
 Total Captures                              7715                 16             437                  482           18
 Individuals¹                                7715                 13             319                  593           24

Salish Mountains, 2003¹                          63               1               5                   63            13

Yaak River South Hwy 3, 1986–20
 Total Captures                             11738                 112            549                  105           21
 Individuals¹                               11738                  60            463                  196           25

Purcells N. Hwy 3, BC 2004–09
 Total Captures                                  390              10             37                   39            11
 Individuals¹                                    390              9              32                   43            12
1
    Only captures of individual bears included. Recaptures are not included in summary.



Table 17. Grizzly bear capture information from the Cabinet-Yaak and Purcell populations, 1983–2020.
Multiple captures of a single bear in a single year are not included.
    Bear      Capture     Sex   Age      Mass kg       Location                        Capture Type
              Date              (Est.)   (Est.)
    678        6/29/83    F     28        86           Bear Cr., MT                    Research
    680        6/19/84    M     11       (181)         Libby Cr., MT                   Research
    680        5/12/85    M     12       (181)         Bear Cr., MT                    Research
    678        6/01/85    F     30       79            Cherry Cr., MT                  Research
    14         6/19/85    M     27       (159)         Cherry Cr., MT                  Research
    101        4/30/86    M     (8)      (171)         N Fk 17 Mile Cr., MT            Research
    678        5/21/86    F     31       65            Cherry Cr., MT                  Research
    106        5/23/86    F     8        92            Otis Cr., MT                    Research
    128        5/10/87    M     4        (114)         Lang Cr., MT                    Research
    129        5/20/87    F     1        32            Pheasant Cr., MT                Research
    106        6/20/87    F     9        (91)          Grizzly Cr., MT                 Research
    134        6/24/87    M     8        (181)         Otis Cr., MT                    Research
    129        7/06/89    F     3        (80)          Grizzly Cr., MT                 Research
    192       10/14/89    M     1        90            Large Cr., MT                   Research
    193       10/14/89    M     1        79            Large Cr., MT                   Research
    193        6/03/90    M     2        77            Burnt Cr., MT                   Research
    206        6/03/90    F     2        70            Burnt Cr., MT                   Research
    106        9/25/90    F     12       (136)         Burnt Cr., MT                   Research
    206        5/24/91    F     3        77            Burnt Cr., MT                   Research
    244        6/17/92    M     6        140           Yaak R., MT                     Research
    106        9/04/92    F     14       144           Burnt Cr., MT                   Research
    34         6/26/93    F     (15)     158           Spread Cr., MT                  Research
    206       10/06/93    F     5        (159)         Pete Cr., MT                    Research
    505        9/14/94    F     Cub      45            Jungle Cr., MT                  Research
    302       10/07/94    M     1        95            Cool Cr., MT                    Research
    303       10/07/94    F     1        113           Cool Cr., MT                    Research
    106        9/20/95    F     17       (169)         Cool Cr., MT                    Research
    353        9/20/95    F     Cub      43            Cool Cr., MT                    Research
    354        9/20/95    F     Cub      47            Cool Cr., MT                    Research
    302        9/24/95    M     2        113           Cool Cr., MT                    Research
    342        5/22/96    M     4        (146)         Zulu Cr., MT                    Research
    363        5/27/96    M     4        (158)         Zulu Cr., MT                    Research
    303        5/27/96    F     3        (113)         Zulu Cr., MT                    Research

                                                                  44

                                                                                                               FWS001488
                                                           4-ER-774
                 Case: 23-2882, 03/22/2024, DktEntry: 30.5, Page 116 of 218                                          (116 of 218)




Bear   Capture     Sex   Age      Mass kg   Location                        Capture Type
       Date              (Est.)   (Est.)
355     9/12/96    M     (6)      (203)     Rampike Cr., MT                 Research
358     9/22/96    M     8        (225)     Pete Cr., MT                    Research
353     9/23/96    F     1        83        Cool Cr., MT                    Research
354     9/23/96    F     1        88        Cool Cr., MT                    Research
384     6/12/97    M     7        (248)     Zulu Cr., MT                    Research
128     6/15/97    M     14       (270)     Cool Cr., MT                    Research
386     6/20/97    M     5        (180)     Zulu Cr., MT                    Research
363     6/26/97    M     5        (180)     Cool Cr., MT                    Research
538     9/25/97    F     6        (135)     Rampike Cr., MT                 Research
354     9/27/97    F     2        99        Burnt Cr., MT                   Research
354     8/20/98    F     3        (90)      Cool Cr., MT                    Research
106     8/29/98    F     20       (146)     Burnt Cr., MT                   Research
363     8/30/98    M     6        (203)     Burnt Cr., MT                   Research
342     9/17/98    M     6        (203)     Clay Cr., MT                    Research
303     9/21/98    F     5        (113)     Clay Cr., MT                    Research
592     8/17/99    F     2        (91)      Pete Cr., MT                    Research
596     8/23/99    F     2        (91)      French Cr., MT                  Research
358    11/15/99    M     11       279       Yaak R., MT                     Management, open freezer, killed goats
538     7/16/00    F     9        (171)     Moyie River, BC                 Research
552     7/16/01    F     1        (36)      Copeland Cr., MT                Research
577     5/22/02    F     1        23        Elk Cr., MT                     Management, pre-emptive move
578     5/22/02    M     1        23        Elk Cr., MT                     Management, pre-emptive move
579     5/22/02    M     1        30        Elk Cr., MT                     Management, pre-emptive move
353     6/15/02    F     7        (136)     Burnt Cr., MT                   Research
651     9/25/02    M     7        (227)     Spread Cr., MT                  Research
787     5/17/03    M     3        71        Deer Cr. ID                     Management, garbage feeding
342     5/23/03    M     11       (227)     Burnt Cr., MT                   Research
648     8/18/03    F     5        (159)     McGuire Cr., MT, Salish Mtns.   Research
244     9/25/03    M     17       (205)     N Fk Hellroaring Cr., MT        Research
10      6/17/04    F     11       (159)     Irishman C., BC                 Research
11      6/20/04    M     7        (205)     Irishman C., BC                 Research
12      7/22/04    F     11       (148)     Irishman C., BC                 Research
576    10/21/04    M     2        (114)     Young Cr., MT                   Management, garbage feeding
675    10/22/04    F     2        100       Young Cr., MT                   Management, pre-emptive move
677     5/13/05    M     6        105       Canuck Cr., BC                  Research
688     6/13/05    M     3        93        EF Kidd Cr., BC                 Research
576     6/17/05    M     3        133       Teepee Cr., BC                  Research
690     6/17/05    F     1        52        EF Kidd Cr., BC                 Research
17      6/18/05    M     8        175       Norge Pass, BC                  Research
2       6/20/05    M     7+       209       EF Kidd Cr., BC                 Research
292      7/6/05    F     4        (114)     Mission Cr., ID                 Research
694     7/15/05    F     2        73        Kelsey Cr., MT                  Research
770     9/20/05    M     11       (250)     Chippewa Cr., MT                Research
M1      10/4/05    M     (2)      (80)      Pipe Cr., MT                    Management, garbage feeding
668    10/11/05    M     3        120       Yaak R., MT                     Management, garbage feeding
103     5/23/06    M     3        125       Canuck Cr., BC                  Research
---     5/28/06    F     4        (125)     Cold Cr., BC (Trap predation)   Research
5381     6/6/06    M     4        (200)     Hellroaring Cr., ID             Research
651     6/28/06    M     11       198       Cold Cr., BC                    Research
780     9/22/06    M     6        (250)     S Fk Callahan Cr., MT           Research
130     6/18/07    F     26       113       Arrow Cr., BC                   Research
131     6/28/07    F     (5)      (80)      Arrow Cr., BC                   Research
784     9/23/07    F     1        (80)      Spread Cr., MT                  Research
772     9/18/07    F     10       116       Pilgrim Cr., MT                 Management, fruit trees
789     9/18/07    F     Cub      36        Pilgrim Cr., MT                 Management, fruit trees
791     9/18/07    M     Cub      39        Pilgrim Cr., MT                 Management, fruit trees
785    10/15/07    F     1        75        Pete Cr., MT                    Research

                                                       45

                                                                                                        FWS001489
                                                4-ER-775
                 Case: 23-2882, 03/22/2024, DktEntry: 30.5, Page 117 of 218                                  (117 of 218)




Bear   Capture     Sex   Age      Mass kg   Location                 Capture Type
       Date              (Est.)   (Est.)
675     5/23/09    F     7        89        Elmer Cr. BC             Research
784     7/24/09    F     3        (136)     Hensley Cr., MT          Research
731     9/17/09    F     2        (125)     Fowler Cr., MT           Research
5381   11/21/09    M     4        (273)     Kidd Cr., BC             Research
799     5/21/10    M     3        (102)     Rock Cr., MT             Research
737     7/21/10    M     4        129       Messler Cr., MT          Research
1374    8/30/10    M     2        98        Young Cr., MT            Management, garbage feeding
726     5/24/11    M     2        77        Meadow Cr., MT           Research
722     5/31/11    M     12       261       Otis Cr., MT             Research
729     6/18/11    F     1        33        Beulah Cr., MT           Research
724     7/13/11    M     2        159       Graves Cr., MT           Management, killed pigs
732    10/27/11    M     5        139       Otis Cr., MT             Management, killed chickens
729     6/26/12    F     2        (80)      Pipe Cr., MT             Research
737     9/19/12    M     6        (159)     Basin Cr., MT            Research
552     9/24/12    F     12       (136)     Basin Cr., MT            Research
826     6/28/13    M     (5)      (136)     Pipe Cr., MT             Research
303     7/23/13    F     20       132       Pipe Cr., MT             Research
831     6/21/14    F     14       81        Libby Cr., MT            Research
807     6/24/14    M     4        111       Canuck Cr., ID           Research
808     6/27/14    M     4        130       Spruce Cr., ID           Research
722     8/21/14    M     15       (182)     Hellroaring Cr., MT      Research
835     8/24/14    M     19       185       Hellroaring Cr., MT      Research
836     9/19/14    F     1        75        Hellroaring Cr., MT      Research
837     9/29/14    M     6        (227)     Hellroaring Cr., MT      Research
729     5/19/15    F     5        107       Cool Cr., MT             Research
839     6/19/15    M     4        78        Bear Cr., MT             Research
810     7/16/15    F     12       120       Hellroaring Cr., MT      Research
818     7/18/15    M     2        82        Meadow Cr., MT           Research
820     8/20/15    F     12       149       Hellroaring Cr., MT      Research
726     10/5/15    M     6        227       Libby Cr., MT            Management, beehives
836     7/18/16    F     3        87        Hellroaring Cr., MT      Research
822     8/15/16    F     3        92        Hellroaring Cr., MT      Research
824     8/18/16    M     (12)     197       Hellroaring Cr., MT      Research
9811    8/19/16    M     (2)      (91)      Hellroaring Cr., MT      Research
821     8/27/16    M     2        127       Hellroaring Cr., MT      Research
853     9/21/16    M     5        120       Boulder Cr., MT          Research
722     9/29/16    M     17       238       17 Mile Cr., MT          Management, pigs and chickens
922    10/10/16    M     2        130       Upper Yaak R., MT        Management, chicken feed
726     6/18/17    M     8        (195+)    Beulah Cr., MT           Research
1026    6/21/17    F     2        63        Upper Yaak R., MT        Management, habituated
1028    6/21/17    F     2        64        Upper Yaak R., MT        Management, habituated
861     6/25/17    M     2        55        Bear Cr., MT             Research
840     6/26/17    F     2        53        Cruien Cr., MT           Research
842     7/25/17    F     4        93        Fourth of July Cr., MT   Research
810     9/18/17    F     14       150       Hellroaring Cr., MT      Research
9077    4/30/18    M     (3)      112       Thompson R., MT          Management
927      9/5/18    M     (2)      92        Dry Cr., ID              Management, Black Bear Bait Station
722     9/23/18    M     19       238       Hellroaring Cr., MT      Research
844     6/22/19    M     (3)      122       Pipe Cr, MT              Research
866     6/25/19    M     (3)      134       Bear Cr, MT              Research
835     7/23/19    M     24       175       Canuck Cr, MT            Research
822     7/25/19    F     6        109       Canuck Cr, MT            Research
770    10/11/19    M     25       207       Bear Cr,MT               Management, Livestock feed
930     6/23/20    M     2        78        Whitetail Cr.,MT         Research
784     7/24/20    F     14       115       Hellroaring Cr.,MT       Research
729     9/21/20    F     10       158       Burnt Cr.,MT             Research



                                                       46

                                                                                                 FWS001490
                                                4-ER-776
              Case: 23-2882, 03/22/2024, DktEntry: 30.5, Page 118 of 218                               (118 of 218)




Figure 13. Trap site locations in the Cabinet-Yaak study areas 1983–2020. Red dots represent sites
with ≥ one grizzly bear capture.

                                                47

                                                                                           FWS001491
                                           4-ER-777
                 Case: 23-2882, 03/22/2024, DktEntry: 30.5, Page 119 of 218                                      (119 of 218)




Grizzly Bear Monitoring and Home Ranges
        Ten grizzly bears were monitored with radio-collars during portions of 2020. Research
monitoring included three females (two adults and one subadult) and four males (three adult
and two subadults) in the CYE. Two subadult males and a subadult female were from the
Cabinet Mountains augmentation program. One adult male bear was collared for conflict
management purposes.
        Aerial telemetry locations and GPS collar locations were used to calculate home ranges.
The convex polygon life ranges were computed for bears monitored during 1983–2020 (Table
18 and Appendix 4 Figs. A1-A108). Resident, non-augmentation bears with life range estimates
for bears with ≥ 5 months of telemetry were used to calculate basic statistics. Adult male life
range averaged 2,105 km2 (95% CI ± 507, n = 35) and adult female life range averaged 687 km2
(95% CI ± 186, n = 21) using the minimum convex polygon estimator.
        Young female bears typically utilize home ranges adjacent to or a part of their mother’s
home range. The minimum convex polygon estimator for bear 106 was 852 km2 during her
1986–1999 lifetime (Fig. 14). Her home range was smallest during the five years that she had
cubs. Four known female offspring of bear 106 established home ranges around their maternal
range (Fig. 14). Bear 206 has established a home range adjacent to and north of her mother's
home range. Bear 303 has established a home range east of her mother’s home range and
female 354 may have established her home range west of her mothers. Bear 353 lived within
her mother’s old range, before her death. Second-generation female offspring of 106 occupied
habitats east and west of first-generation offspring. In recent years, third-generation females
have established home ranges south of second-generation females (Fig. 14).
        Home ranges of collared grizzly bears overlap extensively on a yearly and lifetime basis.
However, bears typically utilize the same space at different times. Male home ranges overlap
several females to increase breeding potential, but males and females consort only during the
brief period of courtship and breeding. Adult male bears, whose home ranges overlap, seldom
use the same habitat at the same time to avoid conflict.


Table 18. Home range sizes of native (independent or family groups) and transplanted grizzly bears in the
Cabinet-Yaak recovery zone, Purcell Mountains and Salish Mountains 1983–2020.
                                                       Number     100% Convex
                                                                                  Area of use
 Bear    Sex   Age (Est)     Years       Collar Type   of fixes   polygon (km2)
  678     F     28-34       1983-89         VHF             173       658         Cabinet Mtns, MT
  680     M     11-12       1984-85         VHF             75        1,947       Cabinet Mtns, MT
   14     M       27         1985           VHF             23        589         Cabinet Mtns, MT
  101     M       8          1986           VHF             38        787         Yaak River, MT
  106     F      8-20       1986-99         VHF             379       852         Yaak River, MT
  128     M      4-14       1987-97         VHF             204       2,895       Yaak River, MT
  129     F       1-3       1987-89         VHF             42         60         Yaak River, MT
  134     M       8-9       1987-88         VHF             20        594         Yaak River, MT
  192     M       2          1990           VHF             10        574         Yaak River, MT
  193     M       2          1990           VHF             34        642         Yaak River, MT
  206     F       2-7       1990-95         VHF             208       1,332       Yaak River, MT
  2181    F       5-6       1990-91         VHF             95        541         Cabinet Mtns, MT
  244     M      6-18       1992-04         VHF             158       1,406       Yaak River, MT
  2581    F       6-7       1992-93         VHF             54        400         Cabinet Mtns, MT
  2861    F       2-3       1993-94         VHF             82        266         Cabinet Mtns, MT
  3111    F       3-4       1994-95         VHF             16        209         Cabinet Mtns, MT
  302     M       1-3       1994-96         VHF             60        514         Yaak River, MT


                                                       48

                                                                                                     FWS001492
                                                4-ER-778
                Case: 23-2882, 03/22/2024, DktEntry: 30.5, Page 120 of 218                                                           (120 of 218)




                                                           Number     100% Convex
                                                                                      Area of use
Bear    Sex   Age (Est)        Years         Collar Type   of fixes   polygon (km2)
  303    F      1-22      1994-01, 2011-16   GPS & VHF      12,177         605        Yaak River, MT
 342    M       4-12          1996-04           VHF             134       1,653       Yaak River, MT
 355    M        (6)           1996             VHF             5         N/A         Yaak River, MT & BC
 358    M       8-10          1996-98           VHF             55        1,442       Yaak River, MT & BC
 363    M        4-7          1996-99           VHF             120       538         Yaak River, MT
 386    M        5-6          1997-98           VHF             29        1,895       Yaak River, MT
 354    F        2-4          1997-99           VHF             70        537         Yaak River, MT
 538    F       6-11          1997-02           VHF             232       835         Yaak River, MT & BC
 592    F        2-3          1999-00           VHF             59        471         Yaak River, MT & BC
 596    F        2             1999             VHF             10        283         Yaak River, MT & BC
 552    F       1-15       2001, 2012-15     GPS & VHF      1,431         1,210       Yaak River, MT
 577    F        1             2002             VHF             11         2          Cabinet Mtns, MT
 578    M        1             2002             VHF             3         N/A         Cabinet Mtns, MT
 579    M        1             2002             VHF             10         5          Cabinet Mtns, MT
 353    F        7             2002             VHF             37        119         Yaak River, MT
 651    M       7-11        2002-03,06       GPS & VHF      1,827         1,004       Yaak River, MT & BC
 7872   M        3-4          2003-04           VHF             84        1,862       Yaak River, MT
 648    F        5-7          2003-05           VHF             85        948         Salish Mtns, MT
 5762   M        3-4          2005-06        GPS & VHF      2,290         1,320       Yaak River, MT & BC
 675    F        2-8          2004-10        GPS & VHF      1,827         714         Yaak River, MT & BC
  10    F        11            2004             GPS         1,977         176         Moyie River, BC
  11    M        7             2004             GPS             894       1,453       Moyie River, BC
  12    F        11            2004             GPS         1,612         333         Moyie River, BC
  17    M        8             2005             GPS         1,903         3,074       Yaak River, MT & BC
 677    M        6             2005             GPS             519       3,361       Yaak River, MT & BC
 688    M        3-4          2005-06           GPS         3,421         1,544       Moyie & Goat River, BC
 694    F        2             2005             VHF             11         89         Yaak River, MT
 292    F        4             2005             GPS         7,062         253         Moyie & Goat River, BC & ID
 770    M     11-12,25      2005-06,19       VHF & GPS      1039          524         Cabinet Mtns, MT
  2     M       (7-9)         2005-06           GPS         1,337         2,860       Moyie / Yahk, BC
  A11   F      (8-10)         2005-07           VHF             73        725         Cabinet Mtns, MT
 7821   F        2-5          2006-08           GPS         1,126         1,932       Cabinet Mtns, MT
 780    M        6-8          2006-08           VHF             56        1,374       Cabinet Mtns, MT
 103    M        2-4          2006-07           GPS         4,872         6,545       Kootenai, & Pend Oreille River, BC, ID, & WA
 5381   M        4-5          2006-07           GPS         11,491        1,949       Moyie & Goat River, BC & ID
 130    F      26-27          2007-08           GPS         3,986         281         Goat River, BC
 131    F        (5)          2007-08           GPS         3,270         276         Goat River, BC
 784    F      1-3,16       2007-09,20          GPS         2311          611         Yaak River, MT
 785    F        1-2          2007-08           GPS             362       207         Yaak River, MT
 772    F        10            2007             VHF             14        446         Cabinet Mtns, MT
 6351   F        4             2008             GPS             285       451         Cabinet Mtns, MT
 7901   F        3             2008             GPS             227       423         Cabinet Mtns, MT
 7151   F      (10-11)        2009-10           GPS             437       6,666       Cabinet Mtns, MT
 731    F        2-4          2009-11           GPS         1,652         852         Yaak River, MT
 799    M        2-4          2010-11           GPS         1,422         805         Cabinet Mtns, MT
 7131   M        5-6          2010-11        GPS & VHF          562       5,999       Cabinet Mtns, MT
 7141   F        5-6          2010-12           GPS         1,684         2,389       Cabinet Mtns & Flathead, MT
 737    M        4-7          2010-13        GPS & VHF      1,626         2,667       Yaak River, MT & BC
 1374   M        2             2010             GPS             14        381         Yaak River, MT & BC
 7222   M      12-19          2011-19           GPS         3523          4,282       Yaak River, MT & BC
 7231   M        1-3          2011-12           GPS             430       1,063       Cabinet Mtns, MT

                                                           49

                                                                                                                      FWS001493
                                                    4-ER-779
                           Case: 23-2882, 03/22/2024, DktEntry: 30.5, Page 121 of 218                                                             (121 of 218)




                                                                       Number     100% Convex
                                                                                                  Area of use
 Bear        Sex       Age (Est)          Years          Collar Type   of fixes   polygon (km2)
  7242        M          1-3             2011-12            VHF           29           873        Cabinet Mtns, MT
   7251       F             2-4          2011-13            GPS         3,194         3,314       Cabinet Mtns & Flathead, MT
   726        M            2-3,6-8    2011-12,15-17         GPS         6,335         3,751       Kootenai & Yaak River, MT
   729        F            1-7,10    2011-13, 15-17,20      GPS         17,952        560         Yaak River, MT
   7322       M              5             2011             GPS             875       458         Yaak River, MT
   9181       M             2-4          2012-14            GPS         1,192         587         Cabinet Mtns, MT
   826        M              -5            2013             GPS             164       1,820       Yaak& Kootenai River, MT & BC
   9191       M             4-5          2013-14            GPS             792       2974        Cabinet Mtns, MT
   808        M             4-5          2014-15            GPS         1,273         1,722       Yaak River, MT
   831        F           14               2014             GPS             434       218         Cabinet Mtns, MT
                       12-14,17-
   835        M                       2014-16,19-20         GPS         3361         4,4298       Yaak River, MT
                          18
   836        F           1-4            2014--17           GPS         3,772         1,816       Yaak River, MT
   837        M             6-8          2014-16            GPS         1,173         1,553       Yaak River, MT
   9201       F             3-5          2014-16            GPS         5,108         913         Cabinet Mtns, MT
   9211       F             2-3          2014-15            GPS         2,033         259         Cabinet Mtns, MT
   810        F        12,14-15        2015,2017-18         GPS         3,150         413         Yaak River, MT
   818        M              2             2015             GPS             461       225         Yaak River, MT
   839        M             3-4          2015-16         GPS & VHF      2,595         6,819       Cabinet & Whitefish Mtns, MT
   820        F            12-14         2015-18            GPS         2,537         295         Yaak River, MT
   9241       M              2             2015             GPS             741       2,068       Cabinet Mtns, MT
   1001       M              6             2015             GPS         1,352         1,357       Selkirk Mtns, BC
   807        M             4-7          2014-17            GPS         2,568         3,319       Selkirk Mtns, ID&Yaak River, MT
   821        M             2-3          2016-17            GPS         2,467         4,405       Yaak River, MT
   822        F             3,6-7       2016,19-20          GPS         2930          1144        Yaak River, MT
   824        M            (12-13)       2016-14            GPS             455       884         Yaak River, MT & BC
   853        M             5-6          2016-17            GPS             938       736         Kootenay River, BC
   9811       M             (2-4)        2016-18            GPS         3,135         1,210       Moyie River, MT,ID,BC
   9222       M             4-5          2016-17            GPS             938       2,148       Kootenai Rr., ID Yaak Rr, MT
   9261       M             4-5          2016-17            GPS         2,834         3,328       Cabinet Mtns, MT
   840        F             2-4          2017-19            GPS         2987          627         Pipe Cr., MT
   842        F             4-6          2017-19            GPS        2776           753         Yaak River, MT
   861        M             2-4          2017-19            GPS         2,376         669         Cabinet Mtns, MT
  10262       F              2             2017             GPS         3,435         1,556       Creston Valley, BC Yaak Rr., MT
  10282       F              2             2017             GPS         1,639         708         Yaak Rr.,MT St. Mary’s Rr. ,BC
   9271       M             2-4          2018-20            GPS         9011         29583        Cabinet & Bitterroot Mtns, MT, ID
  90772       M              (3)           2018             GPS             193       1,155       Cabinet Mtns, Yaak River, MT
   1006       M             2-3          2017-18            GPS         1,921         8,092       Selkirk & Cabinet Mtns, Yaak River MT
   844        M             4-5)         2019-20            GPS         4082          5448        Yaak and Kootenai Rr.,MT
   866        M             4-5          2019-20            GPS         3038          3758        Salish & Cabinet Mtns, MT
   8921       M              (3)         2019-20            GPS         1845          5127        Cabinet Mtns ID, MT & Kootenai Rv., MT
   9231       F        2                 2019-20            GPS         1781          681         Cabinet Mtns ID & MT
   930        M              2             2020             GPS         1004          583         Yaak River, MT
1Augmentation bears.

2Management bears.




                                                                       50

                                                                                                                                      FWS001494
                                                                4-ER-780
               Case: 23-2882, 03/22/2024, DktEntry: 30.5, Page 122 of 218                         (122 of 218)




Figure 14. Generational home ranges of female grizzly bears in the Yaak River descended from
bear 106, 1986–2020.



Grizzly Bear Denning Chronology
        We summarized den entry and exit dates of radio-collared grizzly bears using primarily
VHF and GPS location data (1983–2020). Radio-collars deployed since the late 2000s include
an activity monitoring device (i.e., accelerometer), which allows an additional, more detailed
assessment of den entrance and exit and activity during the denning period.
        Den entry dates (n = 129) ranged from the third week of October to the last week of
December. Ninety-five percent (122) of entries occurred between the 4th week of October and
the 3rd week of December (Fig. 15). Grizzly bears in the Cabinet Mountains (median entry in 2nd
week of November) entered dens 2 weeks earlier than bears in the Yaak River drainage
(median entry during 4th week of November). Males generally entered dens later than females.
Female-offspring family groups tended to enter dens later than independent adult females (Fig.
16). By December 1, 39% of Cabinet and Yaak grizzly bears had not yet entered winter dens
(22% females and 61% of males, Fig. 17).

                                              51

                                                                                      FWS001495
                                          4-ER-781
                Case: 23-2882, 03/22/2024, DktEntry: 30.5, Page 123 of 218                                  (123 of 218)




Figure 15. Month and week of den entry for male and female radio-collared grizzly bears in the Cabinet-
Yaak grizzly bear recovery zone, 1983–2020.




Figure 16. Month and week of den entry for adult female, radio-collared grizzly bears in the Cabinet-Yaak
grizzly bear recovery zone, 1983–2020.




                                                   52

                                                                                               FWS001496
                                              4-ER-782
                 Case: 23-2882, 03/22/2024, DktEntry: 30.5, Page 124 of 218                                  (124 of 218)




Figure 17. Cumulative proportion of den entries for female and male, radio-collared grizzly bears in the
Cabinet-Yaak grizzly bear recovery zone, by month and week, 1983–2020.


        Den exit dates (n = 121) ranged from the first week of March to the third week of May
(Fig. 18). Ninety-six percent (116) of exit dates occurred from the 2nd week of March through
the 2nd week of May. Grizzly bears in the Cabinet Mountains generally exited dens one week
later than bears in the Yaak river drainage. Males tended to exit dens two weeks earlier than
females. Sixty-nine percent of den exits occurred during the month of April. By May 1, 13% of
Cabinet and Yaak grizzly bears were still in dens, well over half of which were females with
cubs. Females with cubs generally exit dens later than other adult females (median exit during
1st week of May; Fig. 19). All adult females with cubs remained at dens until at least April 15.




Figure 18. Month and week of den exit for male and female radio-collared grizzly bears in the Cabinet-
Yaak grizzly bear recovery zone, 1983–2020.
                                                    53

                                                                                                 FWS001497
                                               4-ER-783
                 Case: 23-2882, 03/22/2024, DktEntry: 30.5, Page 125 of 218                                  (125 of 218)




Figure 19. Month and week of den exit for adult female, radio-collared grizzly bears (with and without
cubs) in the Cabinet-Yaak grizzly bear recovery zone, 1983–2020.


Grizzly Bear Habitat Analysis
        Resource selection functions were utilized to develop seasonal habitat use maps for the
Cabinet-Yaak and Selkirk Mountains recovery area zones and surrounding area based on
telemetry locations collected from 2004–2015. See Appendix 5 for methodology and maps.
The following habitat analysis will discuss both recovery areas.

Grizzly Bear Use by Elevation
         Differences in elevation between the Cabinet-Yaak and Selkirk Mountains are reflected
in individual bear’s radio location data (GPS &VHF) from both areas. To account for differences
in sample size between VHF and GPS collared bears, monthly mean elevation for each bear
was first calculated. These means were then averaged. Only bears with at least four locations
per month were utilized. Grizzly bears in all three study areas exhibited the same general
pattern of elevation use (Figure 20). In spring, bears are at lower elevations accessing early
green vegetation. As the year progresses, bears move to higher elevations to utilize a variety of
berry species. Yaak River bear’s decrease in elevation during October and November
correspond to the Montana general hunting season. Bears may be utilizing wounded animals
and gut piles. Selkirk bears do show an increase in meat consumption later in the year, but by
the first week of November 50% of bears have entered dens and may not have the ability to
respond to the presence of this protein source. The difference in Idaho and Montana’s hunt
season structure may account for some of the differences in fall elevation use.




                                                    54

                                                                                                 FWS001498
                                               4-ER-784
                Case: 23-2882, 03/22/2024, DktEntry: 30.5, Page 126 of 218                              (126 of 218)




Figure 20. Mean monthly use of elevation for bears in the Cabinet Mountains (n = 9) from 1983–2020,
the Yaak River (n = 58) from 1986–2020, and the Selkirk Mountains (n = 93) from 1986–2020 for VHF
and GPS collared bears. Error bars represent 95% CI.



Grizzly Bear Use by Aspect
        Annual grizzly bear VHF and GPS location summary indicates that Cabinet bears (n =
9,801) utilize north facing slopes more so than bears in other study areas (Figure 21). Bears in
the Yaak River (n = 121,676) and Selkirk (n = 84,640) exhibit similar use of aspect, using east
the most and north the least.
        Bear dens in the Yaak River (n = 97) and Selkirk study area (n = 93) occurred on east
facing slopes more than other aspects (Figure 22). Yaak River bear dens occurred on north
slopes more than other study areas. Cabinet bear dens (n = 40) utilized east and south facing
slopes to the same degree and north facing slopes the least. These differences may be a result
of varying topography among study areas and where snowpack is present.




                                                 55

                                                                                            FWS001499
                                             4-ER-785
                Case: 23-2882, 03/22/2024, DktEntry: 30.5, Page 127 of 218                                (127 of 218)




Figure 21. Yearly proportional use of aspect for grizzly bear VHF and GPS locations in the Yaak River
from 1986–2020, the Cabinet Mountains from 1986–2020, and the Selkirk Mountains from 1986–2020.




Figure 23. Aspect of grizzly bear dens in the Yaak River from 1986–2020, the Cabinet Mountains from
1983–2020, and the Selkirk Mountains from 1986–2020.


Grizzly Bear Spring Habitat Description
        After den emergence in spring, bears seek sites that melt snow early and produce green
vegetation. These sites can often overlap with ungulate winter range and provide winterkill
carrion. Spring habitat use in both study areas (April and May) indicated use of low elevation
                                                  56

                                                                                              FWS001500
                                              4-ER-786
               Case: 23-2882, 03/22/2024, DktEntry: 30.5, Page 128 of 218                            (128 of 218)




sites. Cabinet Mountain radio locations indicated most use below 1,600 m with primary use of
southerly facing snow chutes, alder shrub fields, grassy sidehill parks, and closed timber. Yaak
River radio locations indicated most use below 1,400 m with primary use of closed timber,
timbered shrub fields, cutting units, and grassy sidehill parks on virtually all aspects. Lower
elevation of the Yaak River area may allow snow to melt and vegetation to green-up earlier.

Inter-ecosystem Isotope Analysis
         We are using isotope analysis to compare grizzly bear food use (plant vs. animal matter)
between ecosystems, among sex-age classes, and across management status. Samples
currently analyzed are only from grizzly bears of known sex and age. The majority of samples
come from capture events; future analysis will include samples from known grizzly bears at hair
rub and hair corral sites. To date, we have obtained carbon (δ13C) and nitrogen (δ15N) isotope
ratios from 237 grizzly bear hair and blood samples between 1984 and 2015 from the CYE and
Selkirk ecosystems. Across the Selkirk and CYE ecosystems, adult males consume slightly
more animal matter (22%) than adult females (14%) and subadults (13%). Adult females in the
Yaak River consume higher proportions of animal matter (22%) than do adult females in the
Cabinets (10%) and the Selkirks (6%).
         We estimate that 14% of the annual diet of Cabinet Mountain grizzly bears (n =19 hair
samples from non-management bears) is derived from animal matter. Adult males had slightly
higher δ15N stable isotope signatures (4.2‰) than adult females (3.1‰), indicating greater use
of available animal matter (24% vs. 10% animal matter, respectively).
         Yaak grizzly bear diets contained nearly 22% animal matter (n = 84 hair samples). Adult
female use of animal matter varied widely; δ15N and diet values ranged as low as 2.3‰ (~6%
animal matter) to as high as 7.2‰ (~80% animal matter).
         Sampled grizzly bears in the Selkirk ecosystem consumed less animal matter than
Cabinet and Yaak bears (12%; n =36 hair samples). Diets of non-management, adult female
bears include only 7% animal matter. However, one adult female captured in a management
incident in the Creston Valley fed on animal matter at a rate of 82%. We suspect bears such as
her likely gain meat from bone piles or dead livestock at nearby dairy operations.
         Across ecosystems, management bears had slightly higher proportions of meat (26%) in
assimilated diets than research bears (17%). Management bears did not necessarily have
higher δ13C signatures as would indicate a more corn-based or anthropogenic food source (-
23‰ for both research and management bears). In fact, highest δ13C in our dataset came from
a research female caught in Corn Creek of the Creston Valley, BC in 2008. By all indications,
she likely fed extensively on corn from nearby fields without human conflict.
         By analyzing different hair types that initiate growth at different times of the year, we
have observed increases in proportion of animal matter in bear diets as they transition from
summer months (diet estimated from guard hairs) to fall months (diet from underfur). Previous
studies have emphasized the importance of splitting these hair types due to temporal
differences in growing period (Jones et al. 2006). We currently have 45 bear capture events
with paired guard hair and underfur samples collected at capture. In all cases, grizzly bears
have either 1) the same dietary meat proportion in summer vs. fall or 2) have higher amounts of
meat in their fall diet. On average, grizzly bears meat consumption nearly doubles from
summer to fall (10.7% summer to 17.6% fall). Fall shifts toward meat use were not isolated to a
specific sex-age class. Larger shifts include: an adult male (4327) shifting from 31% meat in
summer to 82% meat in fall, an adult female (mortality 5/18/2012) consuming 14% in spring,
then 38% in the fall, and a subadult female grizzly (675) with a summer diet consisting of 6%
meat and fall diet of 16% meat. We suspect that wounding loss and gut piles from hunted
ungulates contribute to observed increases in meat use by grizzly bears in fall months.


                                               57

                                                                                        FWS001501
                                           4-ER-787
                Case: 23-2882, 03/22/2024, DktEntry: 30.5, Page 129 of 218                                 (129 of 218)




Food Habits from Scat Analysis
         Grizzly bear scats (n =180) were collected in the Cabinet Mountains between 1981 and
1992. Graminoids (grasses and sedges) were consumed frequently (43% of scats) by grizzly
bears in May. Additionally, meat, presumably from winter-killed deer and moose, accounted for
40% of all dry matter consumed in April and May (Fig. 24). In June, the use of forbs increased
markedly, yet grasses and sedges were still a dominant food category. Cow parsnip
(Heracleum lanatum), clover (Trifolium spp.), and dandelion (Taraxacum officinale) were
commonly used in June; over half (52%) of scats in June included parts of at least one of these
three forbs. By July, forbs (mainly Heracleum) comprised 32% of dry matter consumed by
grizzly bears. Only 8% of dry matter consumed in July came from grasses and sedges;
graminoids begin to cure in July and provide far less digestible nutrition. Grizzly bears began to
feed upon berries (huckleberry and whortleberry [Vaccinium spp.], serviceberry [Amelanchier
alnifolia]) and insects (mainly ants) in July. Food habits during August and September were
dominated by use of berries (Vaccinium spp., in particular), yet September habits include an
increased use of animal matter. Unlike black bears, grizzly bears targeted animal matter (deer,
elk, moose) in October. We suspect hunter-discarded gut piles or other remains account for a
fair amount of the available animal meat. Fall regrowth of forbs (mainly clover) and graminoids
contributed 25% of dry matter consumed by sampled grizzly bears in October. Mammal and
berries (i.e., the most calorie-dense foods available) in fall constitute 64% of total dry matter
consumed annually by grizzly bears.




Figure 24. Monthly percent of total dry matter of foods consumed by grizzly bears in the Cabinet
Mountains and Yaak River, 1981–1992.


        Black bear scats (n =618) were collected between 1984 and 1992. Relative use of foods
was quite similar to that of grizzly bears between April and August (Fig. 25). However, black
bear food habits in September and October were quite different from grizzly bears. Black bears
tend to use berries (Vaccinium spp., Sorbus spp. [mountain-ash], Amelanchier alnifolia, and
Arctostaphylos spp. [bear berry]) more frequently as fall progresses (percent dry matter
consumed, August = 74%; September = 82%; October = 91%). In October, black bears fed
heavily on mountain-ash. In contrast, grizzly bears increase relative dry matter consumption of
                                                   58

                                                                                               FWS001502
                                              4-ER-788
                Case: 23-2882, 03/22/2024, DktEntry: 30.5, Page 130 of 218                                   (130 of 218)




animal meat in fall months (August = 12%, September = 24%; October = 68%). We suggest
this difference in food use may be explained by either 1) early den entrance dates for black
bears (i.e., den entrance before open of big game hunting season), 2) higher energetic demand
of larger grizzly bears (i.e., consumption of calorie-dense foods is metabolically preferred by
larger bears; Welch et al. 1997), 3) interspecific exclusion of black bears by grizzly bears (i.e.,
exploitative competition), and/or 4) differences in risk behavior between the two species. On an
annual basis, black bears consumed less high-quality, calorie-dense foods (meat and berries;
42%) relative to lower-quality foods such as graminoids and forbs (46%).




Figure 25. Monthly percent of total dry matter of foods consumed by black bears in the Cabinet
Mountains and Yaak River, 1984–1992.



Berry Production
         Huckleberry, Buffaloberry, and mountain ash production during 2020 was greater than
the long-term average. Serviceberry production was similar to the long-term average. Because
of its relatively far-ranging distribution in the CYE and life history of inhabiting larger areas (e.g.,
shrub fields) when compared with other berry-producing plants, huckleberries appear to provide
a greater amount of food for bears in the CYE. However, serviceberry and mountain ash may
provide significant secondary food sources in some years when huckleberry crops have failed
(e.g., 2001 and 2003). Mountain ash may be particularly valuable to bears in years of low food
production because the berries persist and remain on the plants until after frost and leaf drop.
Low berry counts for all three of these species would prove most detrimental for bears
attempting to store fat for winter denning (e.g., 2002, 2004, and 2015). Because of its sparse
distribution, buffalo berries appear to be the least-available berry food for grizzly bears in the
CYE. Below-average production among all species surveyed occurred in 1992, 1998–2000,
2002, 2004, and 2015. The 2015 berry season marked the first time we have observed below
average counts for all four berry species in one year. Sampling sites for each species were
selected to best represent landscape level variation of geography, elevation, aspect, and
overstory canopy (Fig. 26).
         Fluctuations in berry production in the CYE may be influenced by climatic variables.
Holden et al. (2012) found huckleberry production in the CYE to be highest in years with cool
                                                   59

                                                                                                 FWS001503
                                              4-ER-789
                Case: 23-2882, 03/22/2024, DktEntry: 30.5, Page 131 of 218                                  (131 of 218)




springs and high July diurnal temperature ranges. Serviceberry production was also highest in
years with cool springs and high winter snowpack. Future changes in climate may influence the
availability of these foods to CYE grizzly bears.




Figure 26. Locations of all serviceberry, buffaloberry, mountain ash, and huckleberry sampling sites
within the CYE study area, 1989–2020. Some locations show multiple berry species sites in close
proximity.

                                                   60

                                                                                                FWS001504
                                               4-ER-790
                Case: 23-2882, 03/22/2024, DktEntry: 30.5, Page 132 of 218                                  (132 of 218)




Huckleberry
        We evaluated berry production at a median number of 18 (range=11–23) huckleberry
transects per year within the CYE study area from 1989–2020 (Fig. 27). During this study
period, the mean number of berries per plot was 1.8 (95% CI ± 0.12). Mean annual berry
counts between 1989 and 2020 ranged from 0.5–3.4. Statistically below-average berry counts
occurred in 11 years while above average counts occurred in eight years. Highest mean annual
counts occurred in 2014. Based upon these production indices at sampled sites, the 9-year
period from 1997–2005 was a prolonged stretch of years without above average annual
huckleberry production; more recent mean annual counts since 2006 average 108% higher than
during the 1997–2005 period (1.1 berries per plot higher). Of interest is whether lower- and
higher-than-average production influences population reproduction and survival.




Figure 27. Mean berries per plant (± 95% confidence interval) for huckleberry transects in the Cabinet-
Yaak, 1989–2020. Horizontal line indicates study-wide mean production, 1989–2020.




Serviceberry
        We evaluated berry production at a median number of six (range = 5–7) serviceberry
transects per year from 1990 to 2020 (Fig. 28). The overall mean berry count per plant was 107
(95% CI ± 22) during the study. Mean berry counts per plant ranged from 12 to 355 during the
25+ year index. Statistically below-average counts occurred during 13 years and above
average counts occurred only in a single year, 1997. Considering the entirety of the data, the
past sixteen years have been particularly less productive (2005–2020; 72 berries per plant)
when compared to the first 15 (150 berries per plant from 1990–2004).




                                                   61

                                                                                                FWS001505
                                               4-ER-791
                Case: 23-2882, 03/22/2024, DktEntry: 30.5, Page 133 of 218                                  (133 of 218)




Figure 28. Mean berries per plant (± 95% confidence interval) for serviceberry transects in the Cabinet-
Yaak, 1990–2020. Horizontal line indicates study-wide mean production, 1990–20120.




Mountain Ash
        Three sites were evaluated for mountain ash production each year, from 2001 to 2020
(Fig. 29). Total mean berry count was 168 berries per plant (95% CI ± 48). Statistically below-
average production occurred in six years while above average production occurred in 2 years.




Figure 29. Mean berries per plant (± 95% confidence interval) for mountain ash transects in the Cabinet-
Yaak, 2001–2020. Horizontal line indicates study-wide mean production, 2001–2020.

                                                   62

                                                                                                FWS001506
                                               4-ER-792
                Case: 23-2882, 03/22/2024, DktEntry: 30.5, Page 134 of 218                                  (134 of 218)




Buffaloberry
        Five buffaloberry transects (5 plants at each transect) were evaluated during 1990–1999
and 2002–2003. No sites were sampled during 2004–2006. One new transect (10 plants) was
established in 2007 and was the only transect sampled. Another transect (10 plants) was
added in 2008. These two transects were evaluated in 2008–2020. A median of 2.5 sites were
evaluated annually (range 1–5) between 1990 and 2020. Mean berry count per plant from all
transects was 181 (95% CI ± 45) during the study period. Mean berry counts ranged between
15 to 627 berries per plant from 1990 to 2020 (Fig. 30), with statistically below-average counts
in nine years and above-average counts occurred in four years.




Figure 30. Mean berries per plant (± 95% confidence interval) for buffaloberry transects in the Cabinet-
Yaak, 1990–2020. Horizontal line indicates study-wide mean production, 1990–2020.


Body Condition
        We estimated body fat content of Cabinet-Yaak and Selkirk (CYS) grizzly bears at 99
independent capture instances, May through November 2010–19. We assessed whether body
fat content of CYS grizzly bears differed by sex (56 males, 43 females), capture type (76
research, 23 management captures), and month of capture. Researchers in the Greater
Yellowstone and Northern Continental Divide Ecosystems have noted that body fat content of
grizzly bears varies by month, exhibiting a trend that is presumably dependent on denning (i.e.,
inactive) season and availability and quality of foods consumed during the active season
(Schwartz et al. 2014; Teisberg et al. in prep). We similarly partitioned our seasonal data into
categorical bins by month, as follows: May (n = 17), June (n = 39), July (n = 16), August (n =
16), and September–November (n = 1).
        Body fat content of male and female grizzly bears did not differ (P = 0.077; Table 19).
Body fat content of research-captured vs. management-captured grizzly bears also did not differ
(P = 0.525; Table 19), suggesting that management bears do not necessarily obtain a more
nutritionally rich diet than research-captured bears. However, body fat content of CYS grizzly
bears did differ by month (P < 0.0001; Fig. 31). Body fat content in September–November was
significantly higher than those in all other months, and August fat contents were higher than

                                                    63

                                                                                                FWS001507
                                               4-ER-793
                  Case: 23-2882, 03/22/2024, DktEntry: 30.5, Page 135 of 218                               (135 of 218)




those in June (Tukey-HSD contrasts; P<0.05). With all other months, fat content did not differ.
CYS grizzly bears appear to start gaining fat as early as July. These results suggest habitat
and foods available to CYS grizzly bears allow for body fat gain, such that bears can attain
above-average body fat contents in the months preceding den entrance. Reproductive-aged,
female grizzly bears experience 1) delayed implantation of already-fertilized eggs in November
and 2) cub birth in the den (Jan–Feb). Studies suggest adult females must reach a pre-denning
body fat content more than ~20% to support implantation and winter cub production (Robbins et
al. 2012).


Table 19. Mean estimates of percent body fat content (kg fat / kg body mass) and effect size (+/-
standard error, SE) of Cabinet-Yaak and Selkirk grizzly bears, by factors of interest, 2010–2019.



 Factor / Level         Mean     SE
 Capture Type
    Research            17.1    +/-0.8
    Management          18.1    +/-1.3
 Sex
    Female              16.4    +/-1.1
    Male                18.8    +/-0.9
 Month
   May                  17.1    +/-1.6
    June                12.7    +/-1.1
    July                15.3    +/-1.7
    August              18.1    +/-1.6
    Sept-Nov            24.7    +/-1.9




                                                   64

                                                                                               FWS001508
                                              4-ER-794
                Case: 23-2882, 03/22/2024, DktEntry: 30.5, Page 136 of 218                                (136 of 218)




Figure 31. Mean percent body fat content (kg fat / kg body mass) of captured female and male grizzly
bears in the Cabinet-Yaak and Selkirk mountains 2010–2019, by month. Error bars represent 95%
confidence intervals.



ACKNOWLEDGMENTS

         Numerous individuals and agencies have contributed to bear research in the CYE area
since 1983. We are indebted to all of the following that have assisted this study. This study has
been aided with administrative assistance from K. Smith, and K. Marks. We thank field
biologists C. Bechtold, C. Bedson, K. Bertelloti, R. Bicandi, K. Boyd, M. Burcham, H. Carriles, B.
Crowder, K. Cunningham, E. Ducharme, J. Durbin, J. Ellgren, P. Feinberg, M. Finley, J. Frey, J.
Fuller, D. Gatchell, T. Garwood, D. Gay, B. Giddings, M. Gould, T. Graves, S. Greer, M. Grode,
B. Hastings, M. Hooker, M. Jacobs, S. Johnsen, D. Johnson, S. Johnston, A. Kornak, K.
Kunkel, C. Lockerby, C. Lowe, M. Lucid, N. Maag, M. Madel, D. Marsh, T. Manley, E. Maxted,
M. McCollister, G. Miller, M. Miller, C. Miller, E. Morrison, C. Nicks, A. Orlando, H. Palmer, M.
Parker, T. Parks, E. Pfalzer, R. Pisciotta, J. Picton, M. Proctor, N. Rice, M. Robbins, F.
Robbins, C. Roberts, K. Roy, C. Schloeder, C. Schwartzkopf, R. Shoemaker, S. Smith, A.
Snyder, T. Thier, J. Tillery, T. Vecchiolli, T. Vent, R. Vinke, A. Welander, C. Whitman, R.
Williamson, S. T. Wong, M. Wright, D. Wrobleski, C. Wultsch, R. Yates, and K. Yeager. M.
Proctor and D. Paetkau provided genetic analysis and interpretation.
         Montana Department of Fish, Wildlife and Parks personnel K. Annis, T. Chilton, T.
Manley, B. Sterling, T. Thier, and J. Williams provided field and administrative assistance. Idaho
Fish and Game personnel W. Wakkinen and B. Johnson provided field support. D. Bennett, N.
Cheshire, B. Groom, K. Kinden, D. Parker, and T. Wisberg provided exceptional services as
aircraft pilots. Numerous individuals from the U.S. Forest Service have provided agency support
and contributed their assistance to this project including: J. Anderson, L. Allen, and J. Carlson.
                                                  65

                                                                                              FWS001509
                                              4-ER-795
               Case: 23-2882, 03/22/2024, DktEntry: 30.5, Page 137 of 218                           (137 of 218)




B. McLellan (B.C. Forest Service), M. Proctor (Birchdale Ecological), and G. Mowat (B.C. Fish
and Wildlife Branch) provided invaluable assistance in planning, permitting, and trapping.
        The BC Fish Wildlife Compensation Program, BC Habitat Trust Foundation, Columbia
Basin Trust, Claiborne-Ortenberg Foundation, Mr. E.O. Smith, Federal Highway Administration,
Great Northern Landscape Conservation Cooperative, National Fish and Wildlife Foundation,
Idaho Panhandle National Forest, Kootenai National Forest, Montana Department of Fish,
Wildlife, and Parks, Nature Conservancy Canada, Northern Lights Incorporated, Turner
Endangered Species Fund, U.S. Borax and Chemical Corp., Wilburforce Foundation,
Yellowstone to Yukon Conservation Initiative, and the U.S. Fish and Wildlife Service provided
funding and support for this project. We wish to extend a special thanks to the citizens of the
province of British Columbia for allowing us to remove grizzly bears from the Flathead River
drainage to augment populations in the Cabinet Mountains.


LITERATURE CITED

Alt, G. L. 1984. Cub adoption in the black bear. Journal of Mammalogy 65:511-512.

Alt, G. L. and J. J. Beecham. 1984. Reintroduction of orphaned black bear cubs into the wild.
        Wildlife Society Bulletin 12:169-174.

Brenna, J. T., T.N. Corso, H.J. Tobias, and R.J. Caimi. 1997. High-precision continuous-flow
      isotope ratio mass spectrometry. Mass Spectrometry Reviews. 16:227–258.

Caughley, G. 1977. Analysis of vertebrate populations. John Wiley and Sons, New York.

Cherry, S., M.A. Haroldson, J. Robison-Cox, and C.C. Schwartz. 2002. Estimating total
       human-caused mortality from reported mortality using data from radio-instrumented
       grizzly bears. Ursus 13:175-184.

Erickson, A. W. 1978. Grizzly bear management in the Cabinet Mountains of western Montana.
       U.S. Forest Service Contract 242-46, Kootenai National Forest.

Farley, S.D., and C.T. Robbins. 1994. Development of two methods to estimate body
        composition of bears. Canadian Journal of Zoology 72:220–226.

Hayne, D. W. 1959. Calculation of size of home range. Journal of Mammalogy 30:1-18.

Hellgren, E. C., D. W. Carney, N. P. Garner, and M. R. Vaughn. 1988. Use of breakaway cotton
       spacers on radio collars. Wildlife Society Bulletin 16:216-218.

Hewitt, D. G., and C. T. Robbins. 1996. Estimating grizzly bear food habits from fecal analysis.
        Wildlife Society Bulletin 24:547–550.

Holden, Z. A., W. F. Kasworm, C. Servheen, B. Hahn, and S. Dobrowski. 2012. Sensitivity of
      berry productivity to climatic variation in the Cabinet-Yaak grizzly bear recovery zone,
      northwest United States, 1989–2010. Wildlife Society Bulletin 36:226–231.

Hovey, F. W. and B. N. McLellan. 1996. Estimating growth of grizzly bears from the Flathead
       River drainage using computer simulations of reproductive and survival rates. Canadian
       Journal of Zoology 74:1409-1416.
                                               66

                                                                                        FWS001510
                                           4-ER-796
               Case: 23-2882, 03/22/2024, DktEntry: 30.5, Page 138 of 218                            (138 of 218)




Johnson, K. G. and M. R. Pelton. 1980. Prebaiting and snaring techniques for black bears.
      Wildlife Society Bulletin 8:46-54.

Jones, E. S., D. C. Heard, and M. P. Gillingham. 2006.Temporal variation in stable carbon and
       nitrogen isotopes of grizzly bear guardhair and underfur. Wildlife Society Bulletin
       34:1320–1325.

Jonkel, J. J. 1993. A manual for handling bears for managers and researchers. Edited by T.J.
       Thier, U.S. Fish and Wildlife Service, Missoula, Montana.

Kasworm, W. F. and T. Manley. 1988. Grizzly bear and black bear ecology in the Cabinet
      Mountains of northwest Montana. Montana Department of Fish, Wildlife, and Parks,
      Helena.

Kasworm, W. F. and T. J. Thier. 1993. Cabinet-Yaak ecosystem grizzly bear and black bear
      research, 1992 progress report. U.S. Fish and Wildlife Service, Missoula, Montana.

Kasworm, W. F., M. F. Proctor, C. Servheen, and D. Paetkau. 2007. Success of grizzly bear
      population augmentation in northwest Montana. Journal of Wildlife Management
      71:1261-1266.

Kendall, K. C. 1986. Grizzly and black bear feeding ecology in Glacier National Park, Montana.
       National Park Service Progress Report. 42 pp.

Kendall, K. C., A. C. Macleod, K. L. Boyd, J. Boulanger, J. A. Royle, W. F. Kasworm, D.
       Paetkau, M. F. Proctor, K. Annis, and T. A. Graves. 2016. Density, distribution, and
       genetic structure of grizzly bears in the Cabinet-Yaak ecosystem. Journal of Wildlife
       Management. 80:314-331.

Lewis, J. S. 2007. Effects of human influences on black bear habitat selection and movement
       patterns within a highway corridor. MS Thesis University of Idaho, Moscow. 152 pp

McLellan, B. N. 1989. Dynamics of a grizzly bear population during a period of industrial
       resource extraction. III Natality and rate of increase. Canadian Journal of Zoology
       67:1861-1864.

Paetkau, D., R. Slade, M. Burden, and A. Estoup. 2004. Genetic assignment methods for the
      direct, real-time estimation of migration rate: a simulation-based exploration of accuracy
      and power. Molecular Ecology 13, 55-65.

Piry, S., A. Alapetite, J.-M. Cornuet, D. Paetkau, L. Baudouin, and A. Estoup. 2004.
        GeneClass2: A software for genetic assignment and first-generation migrant detection.
        Journal of Heredity 95:536-539.

Pollock, K. H., S. R. Winterstein, C. M. Bunck, P. D. Curtis. 1989. Survival analysis in telemetry
       studies: the staggered entry design. Journal of Wildlife Management 53:7-15.

Proctor, M.F., 2003. Genetic analysis of movement, dispersal, and population fragmentation of
       grizzly bears in southwestern Canada. PhD Thesis. University of Calgary. 147 pp.


                                                67

                                                                                         FWS001511
                                            4-ER-797
               Case: 23-2882, 03/22/2024, DktEntry: 30.5, Page 139 of 218                            (139 of 218)




Proctor, M.F., C. Servheen, S.D. Miller, W.F. Kasworm, and W.L. Wakkinen. 2004. A
    comparative analysis of management options for grizzly bear conservation in the U.S.-
    Canada trans-border area. Ursus 15:145-160.

Proctor, M., B.N. McLellan, C. Strobeck, and R. Barclay. 2005. Genetic analysis reveals
       demographic fragmentation of grizzly bears yielding vulnerably small populations.
       Proceedings of the Royal Society, London 272:2409-2416.

Proctor, M.F., D. Paetkau, B.N. McLellan, G.B. Stenhouse, K.C. Kendall, R.D. Mace, W.F.
       Kasworm, C. Servheen, C.L. Lausen, M.L. Gibeau, W.L. Wakkinen, M.A. Haroldson, G.
       Mowat, C.D. Apps, L.M. Ciarniello, R.M.R. Barclay, M.S. Boyce, C.C. Schwartz, and C.
       Strobeck. 2012. Population Fragmentation and Inter-Ecosystem Movements of Grizzly
       Bears in Western Canada and the Northern United States. Wildlife Monographs 180:1-
       46.

Proctor, M. F., W. F. Kasworm, K. M. Annis, A. G. MacHutchon, J. E. Teisberg, T. G. Radandt,
       C. Servheen. 2018. Conservation of threatened Canada-USA trans-border grizzly bears
       linked to comprehensive conflict reduction. Human Wildlife Interactions 12:248-272.

Qi, H., Coplen, T.B., Geilmann, H., Brand, W.A. and Böhlke, J.K. 2003. Two new organic
        reference materials for δ13C and δ15N measurements and a new value for the δ13C of
        NBS 22 oil. Rapid Communications in Mass Spectrometry. 17:2483–2487.

Robbins, C. T., M. Ben-David, J. K. Fortin, and O. L. Nelson. 2012. Maternal condition
      determines birth date and growth of newborn bear cubs. Journal of Mammalogy 93:540–
      546.

Schwartz, C. C., J. K. Fortin, J. E. Teisberg, M. A. Haroldson, C. Servheen, C. T. Robbins, and
      F. T. van Manen. 2014. Body and diet composition of sympatric black and grizzly bears
      in the Greater Yellowstone Ecosystem. Journal of Wildlife Management 78:68–78.

Schwartz, C. C., K. A. Keating, H. V. Reynolds III, V. G. Barnes, Jr., R. A. Sellars, J. E.
      Swenson, S. D. Miller, B. N. McLellan, J. Keay, R. McCann, M. Gibeau, W. L. Wakkinen,
      R. D. Mace, W. Kasworm, R. Smith, and S. Herrero. 2003. Reproductive maturation and
      senescence in the female brown/grizzly bear. Ursus. 14:109-119.

Stoneberg, R. and C. Jonkel. 1966. Age determination in black bears by cementum layers.
      Journal of Wildlife Management 30:411-414.

Thier, T. J. 1981. Cabinet Mountains grizzly bear studies, 1979-1980. Border Grizzly Project
        Special Report 50. University of Montana, Missoula.

Thier, T. J. 1990. Population characteristics and the effects of hunting on black bears in a
        portion of northwestern Montana. M.S. Thesis. University of Montana, Missoula.

U.S. Fish and Wildlife Service. 1993. Grizzly bear recovery plan. U.S. Fish and Wildlife Service,
       Missoula, Montana.

U.S. Forest Service. 1989. Upper Yaak draft environmental impact statement. U.S. Forest
       Service, Kootenai National Forest.

                                                68

                                                                                         FWS001512
                                            4-ER-798
               Case: 23-2882, 03/22/2024, DktEntry: 30.5, Page 140 of 218                           (140 of 218)




Wakkinen, W. L. and W. F. Kasworm. 2004. Demographics and population trends of grizzly
      bears in the Cabinet-Yaak and Selkirk ecosystems of British Columbia, Idaho, Montana,
      and Washington. Ursus 15 65-75.

Welch, C.A., J. Keay, K.C. Kendall, and C.T. Robbins. 1997. Constraints on frugivory by bears.
       Ecology 78:1105–1119.

Woods, J.G., D. Paetkau, D. Lewis, B.N. McLellan, M. Proctor, and C. Strobeck. 1999. Genetic
      tagging of free-ranging black and brown bears. Wildlife Society Bulletin. 27:616-627.


PUBLICATIONS OR REPORTS INVOLVING THIS RESEARCH PROGRAM

Canepa, S., K. Annis, and W. Kasworm. 2008. Public opinion and knowledge survey of grizzly
      bears in the Cabinet-Yaak Ecosystem. Cabinet-Yaak and Selkirk Mountains
      Subcommittee of the Interagency Grizzly bear Committee, Missoula, Montana. 88 pp.

Holden, Z. A., W. F. Kasworm, C. Servheen, B. Hahn, and S. Dobrowski. 2012. Sensitivity of
      berry productivity to climatic variation in the Cabinet-Yaak grizzly bear recovery zone,
      northwest United States, 1989–2010. Wildlife Society Bulletin 36:226–231.

Jansen, H.T., T. Leise, G. Stenhouse, K. Pigeon, W. Kasworm, J. Teisberg, T. Radandt, R.
      Dallmann, S. Brown and C T. Robbins. 2016. The bear circadian clock doesn’t ‘sleep’
      during winter dormancy. Frontiers in Zoology 13:42 15 pages.
Kasworm, W. F. and T. L. Manley. 1988. Grizzly bear and black bear ecology in the Cabinet
      Mountains of Northwest Montana. Montana Department Fish, Wildlife, Parks, Helena.

Kasworm, W. F. 1989. Telling the difference. Wyoming Wildlife. Volume 53, No. 8, pages 28-33.

Kasworm, W. F. and T. L. Manley. 1990. Influences of roads and trails on grizzly bears and
      black bears in Northwest Montana. International Conference on Bear Research and
      Management 8:79-84.

Kasworm, W. F. and T. J. Thier. 1994. Adult black bear reproduction, survival, and mortality
      sources in northwest Montana. International Conference on Bear Research and
      Management 9:223-230.

Kasworm, W. F., T. J. Thier, and C. Servheen. 1998. Grizzly bear recovery efforts in the
      Cabinet-Yaak ecosystem. Ursus 10:147-153.

Kasworm, W. F., M. F. Proctor, C. Servheen, and D. Paetkau. 2007. Success of grizzly bear
      population augmentation in northwest Montana. Journal of Wildlife Management
      71:1261-1266.

Kendall, K. C., A. C. Macleod, K. L. Boyd, J. Boulanger, J. A. Royle, W. F. Kasworm, D.
       Paetkau, M. F. Proctor, K. Annis, and T. A. Graves. 2016. Density, distribution, and
       genetic structure of grizzly bears in the Cabinet-Yaak ecosystem. Journal of Wildlife
       Management. 80:314-331.

Knick, S. T. and W. Kasworm. 1989. Shooting mortality in small populations of grizzly bears.
       Wildlife Society Bulletin 17:11-15.
                                               69

                                                                                        FWS001513
                                           4-ER-799
               Case: 23-2882, 03/22/2024, DktEntry: 30.5, Page 141 of 218                          (141 of 218)




Mace, R., K. Aune, W. Kasworm, R. Klaver, and J. Claar. 1987. Incidence of Human Conflicts
      by Research Grizzly Bears. Wildlife Society Bulletin 15:170-173.

McCall, B. S., M.S. Mitchell, M.K. Schwartz, J. Hayden, S.A. Cushman, P. Zager, W.F.
       Kasworm. 2013. Combined use of mark-recapture and genetic analyses reveals
       response of a black bear population to changes in food productivity. Journal of Wildlife
       Management 77:1572-1582.

McLellan, B. N., F. W. Hovey, R. D. Mace, J. G. Woods, D. W. Carney, M. L. Gibeau, W. L.
       Wakkinen, and W. F. Kasworm. 1999. Rates and causes of grizzly bear mortality in the
       interior mountains of British Columbia, Alberta, Montana, Washington, and Idaho.
       Journal of Wildlife Management 63:911-920.

Proctor, M.F., C. Servheen, S.D. Miller, W.F. Kasworm, and W.L. Wakkinen. 2004. A
    comparative analysis of management options for grizzly bear conservation in the U.S.-
    Canada trans-border area. Ursus 15:145-160.

Proctor, M. P., D. Paetkau, B. N. Mclellan, G. B. Stenhouse, K. C. Kendall, R. D. Mace, W. F.
       Kasworm, C. Servheen, C. L. Lausen, M. L. Gibeau, W. L. Wakkinen, M. A. Haroldson,
       G. Mowat, C. Apps, L. M. Ciarniello, R. M. R. Barclay, M. S. Boyce, C. C. Schwartz, and
       C. Strobeck. 2012. Population fragmentation and inter-ecosystem movements of grizzly
       bears in Western Canada and Northern United States. Wildlife Monographs 180:1-46.

Proctor, M. P., Nielson, S. E., W. F. Kasworm, C. Servheen, T. G. Radandt, A. G. Machutchon,
       and M. S. Boyce. 2015. Grizzly bear connectivity mapping in the Canada–United States
       trans-border region. Journal of Wildlife Management 79:544-558.

Proctor, M. P., W. F. Kasworm, K. M. Annis, A. G. Machutchon , J. E. Teisberg, T. G. Radandt, ,
       and C. Servheen. 2018. Conservation of threatened Canada-USA trans-border grizzly
       bears linked to comprehensive conflict reduction. Human–Wildlife Interactions
       12(3):348–372.

Romain-Bondi, K.A., R. B. Wielgus, L. Waits, W.F. Kasworm, M. Austin, and W. Wakkinen.
      2004. Density and population size estimates for North Cascade grizzly bears using DNA
      hair-sampling techniques. Biological Conservation 117:417-428.

Schwartz, C. C., K. A. Keating, H. V. Reynolds III, V. G. Barnes, Jr., R. A. Sellers, J. E.
      Swenson, S. D. Miller, B. N. McLellan, J. Keay, R. McCann, M. Gibeau, W. L. Wakkinen,
      R. D. Mace, W. F. Kasworm, R. Smith and S. Herrero. 2003. Reproductive maturation
      and senescence in the female brown bear. Ursus 14:109-119.

Servheen, C., W. Kasworm, and A. Christensen. 1987. Approaches to augmenting grizzly bear
      populations in the Cabinet Mountains of Montana. International Conference on Bear
      Research and Management 7:363-367.

Servheen, C., W. F. Kasworm, and T. J. Thier. 1995. Transplanting grizzly bears Ursus arctos
      horribilis as a management tool - results from the Cabinet Mountains, Montana, USA.
      Biological Conservation 71:261-268.


                                               70

                                                                                       FWS001514
                                           4-ER-800
               Case: 23-2882, 03/22/2024, DktEntry: 30.5, Page 142 of 218                            (142 of 218)




Servheen, C., J. Waller and W. Kasworm. 1998. Fragmentation effects of high-speed highways
      on grizzly bear populations shared between the United States and Canada. 1998
      International Conference on Wildlife Ecology and Transportation, Pages 97-103.

Swensen, J. E., W. F. Kasworm, S. T. Stewart, C. A. Simmons, and K. Aune. 1987.
     Interpopulation applicability of equations to predict live weight in black bears.
     International Conference on Bear Research and Management 7:359-362.

Thier, T. J. and W. F. Kasworm. 1992. Recovery of a Grizzly Bear from a Serious Gunshot
        Wound. The Montana Game Warden 4(1):24-25.

U.S. Fish and Wildlife Service. 1990. Final environmental assessment - grizzly bear population
       augmentation test, Cabinet-Yaak ecosystem. U.S. Fish and Wildlife Service, Missoula.

Wakkinen, W. L. and W. F. Kasworm. 1997. Grizzly bear and road density relationships in the
      Selkirk and Cabinet-Yaak recovery zones. U.S. Fish and Wildlife Service, Missoula, MT.

Wakkinen, W. L. and W. F. Kasworm. 2004. Demographics and population trends of grizzly bears
      in the Cabinet-Yaak and Selkirk ecosystems of British Columbia, Idaho, Montana, and
      Washington. Ursus 15 65-75.




                                                71

                                                                                         FWS001515
                                           4-ER-801
                   Case: 23-2882, 03/22/2024, DktEntry: 30.5, Page 143 of 218                                              (143 of 218)




APPENDIX Table 1. Mortality assignment of augmentation bears removed from one
recovery area and released in another target recovery area.

   #                           Scenario                  Where Mortality Credited and Year 1
                                                             Source             Target
 1      Bear stays in Target recovery area2 past Year Mortality           No mortality
        1.                                              removal year
 2      Bear dies in Target recovery area2 during       Mortality         No mortality
        Year 1.                                         removal year
 3      Bear dies in Target recovery area2 after Year Mortality removal Mortality, Year 2 or
        1.                                              year              later
 4      Bear returns to Source area2 and dies within    Mortality year of No mortality
        Year 1.                                         death
 5      Bear returns to Source area2 and is alive in    No mortality      No mortality
        Year 1.
 6      Bear returns to Source area2 and is alive after No mortality      No mortality
        Year 1.
 7      Bear returns to Source area2 and dies there     Mortality year of No mortality
        after Year 1.                                   death
 8      Bear dies outside both Target and Source        Mortality         No mortality
        areas2 within Year 1.                           removal year
 9      Bear dies outside both Target and Source        Mortality removal No mortality
        areas2 after Year 1.                            year
 10     Collar failure/lost bear in Target area within
                                               2
                                                        Mortality         No mortality
        Year 1.                                         removal year
 11     Collar failure/lost bear in Target area2 after  Mortality         No mortality
        Year 1.                                         removal year
 12     Collar failure/lost bear outside both Target    Mortality         No mortality
        and Source areas within Year 1.
                            2
                                                        removal year
 13     Collar failure/lost bear outside both Target    Mortality         No mortality
        and Source areas2 after Year 1.                 removal year




1 Year 1 begins on the day the bear is released in the target area and ends after 365 days.       One year was chosen to
give the animal an opportunity to locate and use all seasonal habitats. This rule set may conditionally require a
bookkeeping correction to remove the mortality in the source area in the year of removal.
2 Target and Source areas include 10-mile buffer around Recovery Zones. Bears dying in Canada only count against

mortality limits in the Selkirk Mountains, where the Recovery Plan defines a Recovery Zone that includes Canada. If
an augmentation bear leaves the target recovery area and dies, it counts as source area mortality in the removal
year, but it does not count as target area mortality. If an augmentation bear leaves the target recovery area in year 2
or later, it counts as source area mortality in year 1 and target area mortality in year 2 or later if the mortality was
human caused. While this approach counts a bear as dead twice, the second mortality represents a human caused
mortality issue outside of a bear learning a new area and should be counted in the target area. (Mortalities in Canada
only count inside the Selkirk recovery zone inside Canada and the 10-mile buffer will not apply to that portion of the
Selkirk recovery area in Canada. Areas adjacent to the Canadian Selkirks have more robust, contiguous populations,
several of which are hunted, and mortality should not be counted against the Selkirk recovery area. The 10-mile
buffer was promoted inside the US because this area was believed to contain animals that spent a portion of their
time outside the recovery area but were believed to be part of that recovery area population.)
                                                          72

                                                                                                            FWS001516
                                                     4-ER-802
                   Case: 23-2882, 03/22/2024, DktEntry: 30.5, Page 144 of 218                                   (144 of 218)




APPENDIX Table 2. Known historic grizzly bear mortality pre-dating project monitoring,
in or near the Cabinet-Yaak recovery zone and the Yahk grizzly bear population unit in
British Columbia, 1949–1978.
YEAR    LOCATION               TOTAL   SEX / AGE                       MORTALITY CAUSE
 1949   COPPER CR, MT             1    ADULT FEMALE                    HUMAN, LEGAL HUNTER KILL
 1950   SQUAW CR, MT              1    SUBADULT                        UNKNOWN
 1951   PETE CR, MT               1    ADULT MALE                      HUMAN, MANAGEMENT REMOVAL
 1951   PAPOOSE CR, MT            2    SUBADULTS                       UNKNOWN
 1951   GOAT CR, MT               1    SUBADULT MALE                   UNKNOWN
 1952   FELIX CR, MT              6    2 ADULT FEMALES, 4 YEARLINGS    HUMAN, MANAGEMENT REMOVAL
 1953   OBRIEN CR, MT             1    SUBADULT MALE                   HUMAN, LEGAL HUNTER KILL
 1953   KENELTY MT, MT            1    UNKNOWN                         HUMAN, LEGAL HUNTER KILL
 1953   20-ODD MT, MT             1    UNKNOWN                         HUMAN, LEGAL HUNTER KILL
 1953   BURNT CR, MT              1    UNKNOWN                         HUMAN, LEGAL HUNTER KILL
 1953   17-MILE CR, MT            1    UNKNOWN                         HUMAN, LEGAL HUNTER KILL
 1954   N F BULL R, MT            1    UNKNOWN                         HUMAN, LEGAL HUNTER KILL
 1954   S F BULL R, MT            1    UNKNOWN                         HUMAN, LEGAL HUNTER KILL
 1954   CEDAR LK, MT              1    UNKNOWN                         HUMAN, LEGAL HUNTER KILL
 1954   CEDAR LK, MT              1    UNKNOWN                         HUMAN, LEGAL HUNTER KILL
 1954   TAYLOR PK, MT             1    UNKNOWN                         HUMAN, LEGAL HUNTER KILL
 1954   SILVERBUTTE CR, MT        1    UNKNOWN                         HUMAN, LEGAL HUNTER KILL
 1954   SILVERBOW CR, MT          1    ADULT FEMALE                    HUMAN, LEGAL HUNTER KILL
 1955   WOLF CR, MT               1    ADULT MALE                      HUMAN, MANAGEMENT REMOVAL
 1955   MT HEADLEY, MT            1    SUBADULT                        HUMAN, MANAGEMENT REMOVAL
 1955   BAREE LK, MT              1    ADULT MALE                      UNKNOWN
 1955   BAREE LK, MT              1    ADULT FEMALE                    UNKNOWN
 1955   BEAR CR, MT               1    SUBADULT MALE                   HUMAN, LEGAL HUNTER KILL
 1958   SQUAW CR, MT              1    ADULT FEMALE                    HUMAN, MANAGEMENT REMOVAL
 1959   E F ROCK CR, MT           2    ADULT FEMALE, 1 CUB             HUMAN, LEGAL HUNTER KILL
 1959   W F THOMPSON R, MT        4    ADULT FEMALE, 3 CUBS            UNKNOWN
 1959   CLIFF CR, MT              1    UNKNOWN                         UNKNOWN
 1960   PROSPECT CR, MT           2    ADULT FEMALE, 1 CUB             UNKNOWN
 1964   GRAVES CR, MT             2    SUBADULTS                       UNKNOWN
 1964   WANLESS LK, MT            3    SUBADULTS (ADULT WOUNDED)       UNKNOWN
 1965   SNOWSHOE CR, MT           2    SUBADULTS                       UNKNOWN
 1965   PINKHAM CR, MT            1    UNKNOWN                         UNKNOWN
 1967   SOPHIE LK, MT             1    UNKNOWN                         UNKNOWN
 1968   BEAR CR, MT               1    ADULT FEMALE                    HUMAN, ILLEGAL KILL
 1968   GRANITE CR, MT            1    SUBADULT MALE                   HUMAN, MANAGEMENT REMOVAL
 1969   PRISCILLA PK, MT          1    ADULT FEMALE                    UNKNOWN
 1970   THOMPSON R, MT            1    UNKNOWN                         UNKNOWN
 1970   CAMERON CR, MT            1    SUBADULT MALE                   UNKNOWN
 1970   SQUAW CR, MT              2    ADULT FEMALE, SUBADULT FEMALE   HUMAN, MANAGEMENT REMOVAL
 1971   MURR CR, MT               1    ADULT FEMALE                    UNKNOWN
 1972   ROCK CR, MT               1    SUBADULT                        HUMAN, MISTAKEN IDENTITY (Black Bear)
 1974   SWAMP CR, MT              1    ADULT MALE                      HUMAN, LEGAL HUNTER KILL
 1977   RABBIT CR, MT             1    ADULT MALE                      HUMAN, DEFENSE OF LIFE BY HUNTER
 1978   MOYIE LAKE, BC            1    SUBADULT MALE                   HUMAN, MANAGEMENT




                                                   73

                                                                                                    FWS001517
                                              4-ER-803
                   Case: 23-2882, 03/22/2024, DktEntry: 30.5, Page 145 of 218                                           (145 of 218)




APPENDIX Table 3. Movement and gene flow to or from the Cabinet-Yaak recovery area.

Area1 Start /
Finish           Action      Bear ID     Sex Age      Year       Basis        Comments
                                                                              Captured Marion, MT 2006 NCDE, traveled to
                                                                 Telemetry,   Whitefish, relocated to Whitefish Range. Train
 Cabs / NCDE     Movement      C403M     M    2-3       2007      Genetics                       kill 2007
                                                                              Captured and monitored 2010-15. Parentage
 NCDE / SPur     Movement    YGB737M     M     4        2010      Genetics                  in NCDE by USGS.
                                                                              Management bear relocated at least twice in
                                                                  Capture,      NCDE. Traveld to SPur, shot after Killing
 NCDE / SPur     Movement      43-44     F     3        2013      Mortality               chickens by landowner.
 NPur / SPur     Movement     P9183M     M    Unk      2004-05    Genetics           DNA captured NPur and SPur.
                                                                              Radio collared June 2004, Travels from NPur
 NPur / SPur     Movement     PKiddM     M     7        2004      Telemetry            to SPur, offspring in SPur.
                                                                 Telemetry,     Radio collared July 2005 in SPur, Genetic
                                                                   Genetic       assignment to the NPur. Management
 NPur / SPur     Movement      YMarilF   F    4-5      2005-06   assignment                  removal 2006.
                                                                              Born in NPur and Traveled to SPur. Mortality
 NPur / SPur     Movement      Y732M     M     3        2011      Genetics                        2011.
                                                                               Father SPur YVernM, Mother NPur PIrishF,
                                                        2005,     Genetics,    DNA capture NPur 2005, Mortality with cub
 NPur / SPur     Movement      10569F    F     6        2012      Mortality                    SPur 2012
                                                                  Genetics,
 NPur / SPur     Gene flow    Y90479M    M    0.5       2012      Mortality   Father Y576M Mother 10569F Mortality 2012
                                                                                Hair snagged 1999 in SPur. Hair snagged
                                                                              NCDE USGS 1998-2006. USGS assigned to
 SPur / NCDE     Movement      N323M     M    Unk       1999      Genetics                          SPur.
                                                                               Capture 1987. Monitored 1987-92 and 1997
                                                                                SPur. Recaptured August 2001 in Salish,
 SPur / Salish   Movement      Y128M     M    18        2001      Mortality                   Mortality 2001.
                                                                               Capture May 1987 SPur. Monitored 1987-92
                                                      1987-92,                  and 1997. Monitored NPur and produced
 SPur / NPur     Movement      Y128M     M    4-14      1997     Telemetry                        offspring.
                                                       1997,     Telemetry,    Radio collared SPur 1997. Hair snag NPur
 SPur / NPur     Movement     YVernM     M    7-12      2002      Genetics         2002.Sired offspring NPur and SPur.
                                                                              Captured and collared SPur 2002. Recapture
 SPur / NPur     Movement     YRockyM    M    8-12     2002-06    Telemetry           2006. Traveled NPur in 2006.
                                                                               Radio collar in SPur 1987. Hunter kill 1988
 SPur / NPur     Movement       134      M    8-9      1987-88    Telemetry                         NPur
                                                                               Radio collared June 2006 SPur. Traveled to
 SPur / NPur     Movement     P9190M     M    4-5      2006-07   Telemetry                          NPur
                                                                 Telemetry,      Father SPS Y178M, Mother SPS Y538F
 SPur / NPur     Movement     PTerryM    M     3        2005      Genetics              Travel to NPur from SPur.
                                                                              Captured in SPur Yaak 2006. Bear traveled to
 SPur / SSelK    Movement     YHydeM     M     3       2006-07    Telemetry                   SSelk 2006-07
                                                                                Hair snagged 2001 SPur. Captured SSelk
 SPur / SSelK    Gene flow     SOsoM     M    Unk       2009      Genetics                          2009.
                                                                                  Father SSelk S9058aM, Mother SSelk
SSelk / Cabs /                                                                SBettyF, Hair snagged USGS 2012 Cabs and
   SSelk         Movement      928442    M     5        2012      Genetics                     in SSelk 2015
                                                                               Father SSelk SS3KM, Mother SSelk S1MF,
                                                                 Telemetry,     Management capture 2003 and Relocated.
 SSelk / SPur    Movement      S31M      M     6       2004-05    Mortality               Hunter kill 2005 SPur
 SPur / Cabs /
    SPur         Movement      Y726M     M     6       2015-16    Telemetry        Travel from SPur to Cabs and back
                                                                              Travel north from SPur across Kootenay in BC
 SPur / SRock    Movement      922947    M     5        2013      Telemetry                 to SRock and return
                                                                              Travel north from SPur across Kootenay in BC
 SPur / SRock    Movement      928196    M    20       2015-16   Telemetry                  to SRock and return
                                                                 Telemetry,
 SSelk / Cabs    Movement     S1001M     M     6        2015      Mortality     Travel from SSelk to Cabs. Mortality 2015
 Cabs / NCDE     Movement      900932    M     4       2015-16    Telemetry          Travel east from Cabs to NCDE
                                                       74

                                                                                                          FWS001518
                                                    4-ER-804
                       Case: 23-2882, 03/22/2024, DktEntry: 30.5, Page 146 of 218                                              (146 of 218)




    Area1 Start /
    Finish           Action       Bear ID    Sex Age       Year        Basis         Comments
     SPur / NPur     Movement       958729   M      12        2016      Telemetry            Travel north from SPur to NPur
                                                                        Telemetry,      Travel west from SPur to SSelk. Mortality
     SPur / SSelk    Movement      Y11048M   M       4        2017       Mortality                         2017
     SPur / SSelk    Movement     YGB807M    M       5      2015-17      Telemetry          Travel west from SPur to SSelk.
     SPur / Cabs     Movement       Y821M    M       3        2017       Telemetry              Travel from SPur to Cabs
                                                                                        Parents both NPur, Father NPur PKiddM,
     NPur / SPur     Gene flow    YGB837M    M       6        2014       Genetics                 Mother NPur PIrishF
                                                                                       Father SPur Y128M, Mother NPur P9127F,
     SPur / NPur     Gene flow     P9194F    F      Unk     2004-05      Genetics            Origin of father probably NPur
                                                                                       Father SPurYVernM, Mother SPur Y354F,
     NPur / SPur     Gene flow      Y787M    M       3        2003       Genetics            Origin of father probably NPur
                                                                                       Father SPurYVernM, Mother SPur Y354F,
     NPur / SPur     Gene flow      YU37F    F       1        2001       Genetics            Origin of father probably NPur
                                                                                        Father C134B2V2, Mother JillS226F Both
     SSelk / SPur    Movement       16749    M      Unk       2015       Genetics          SSelk. Male offspring 16749 SPur
                                                                         Genetics,      Management bear from NCDE traveled to
    NCDE / Cabs      Movement      C90467M   M       6        2014       Mortality                Cabs, mortality 2014
                                                                         Genetics,     NCDE Management bear traveled to Cabs
    NCDE / Cabs      Movement      C30604M   M       4        2017       Mortality     2017 and returned to NCDE mortality 2017
                                                                                     Genetics identified parents in NCDE, captured
    NCDE / Cabs      Movement       C866M    M       3        2019       Genetics                      in Cabinets
                                                                         Genetics,   Hair snag as cub in 2008 NPur? Management
     NPur / SPur     Movement      P1374M    M       2        2010       Mortality    capture SPur 2010, relocated, Mortality 2010
                                                                                     Father NPur SCptHM, Mother SSelk S11675F,
    NPur / SSelk /   Gene flow,                                          Genetics,      S21285M traveled to Cabs in 2018, then
     Cabs / Bitt     Movement      S21285M   M     0.5-2    2016-18      Telemetry      dropped collar, hair snagged in Bitterroot
                                                                         Genetics,   Travel north from SPur across Kootenay in BC
    SPur / SRock     Movement       18986    M       4        2018       Telemetry            to SRock (BC mgmt. capture)
                                                                                     Father P9101M, Mother PMaeveF, both NPur.
     NPur / SPur     Movement      Y29761M   M      Unk       2017       Genetics            Male offspring Y29761M SPur
Cabs – Cabinet Mountains, NCDE – Northern Continental Divide, NPur – Purcell Mountains north of Highway 3, SPur – Purcell
1

Mountains south of Highway 3, SSelk – South Selkirk Mountains south of Nelson, BC




APPENDIX 4. Grizzly Bear Home Ranges




                                                             75

                                                                                                                  FWS001519
                                                         4-ER-805
                 Case: 23-2882, 03/22/2024, DktEntry: 30.5, Page 147 of 218                                     (147 of 218)




Figure A1. Radio locations and minimum convex             Figure A2. Radio locations and minimum convex
(shaded) life range of female grizzly bear 678 in         (shaded) life range of male grizzly bear 680 in the
the Cabinet Mountains, 1983–1989.                         Cabinet Mountains, 1984–1985.




Figure A3. Radio locations and minimum convex             Figure A4. Radio locations and minimum convex
(shaded) life range of male grizzly bear 14 in the        (shaded) life range of male grizzly bear 101 in the
Cabinet Mountains, 1985.                                  Yaak River, 1986–1987.


                                                     76

                                                                                                   FWS001520
                                               4-ER-806
                Case: 23-2882, 03/22/2024, DktEntry: 30.5, Page 148 of 218                                     (148 of 218)




Figure A5. Radio locations and minimum convex            Figure A6. Radio locations and minimum convex
(shaded) life range of female grizzly bear 106 in        (shaded) life range of male grizzly bear 128 in the
the Yaak River, 1986–1999.                               Yaak River, 1987–1997.




Figure A7. Radio locations and minimum convex            Figure A8. Radio locations and minimum convex
(shaded) life range of female grizzly bear 129 in        (shaded) life range of male grizzly bear 134 in
the Yaak River, 1987–1989.                               the Yaak River, 1987–1988.


                                                    77

                                                                                                  FWS001521
                                              4-ER-807
                 Case: 23-2882, 03/22/2024, DktEntry: 30.5, Page 149 of 218                                      (149 of 218)




Figure A9. Radio locations and minimum convex              Figure A10. Radio locations and minimum convex
(shaded) life range of male grizzly bear 192 in the        (shaded) life range of male grizzly bear 193 in the
Yaak River, 1990.                                          Yaak River, 1990.




Figure A11. Radio locations and minimum convex             Figure A12. Radio locations and minimum
(shaded) life range of female grizzly bear 206 in          convex (shaded) life range of female
the Yaak River, 1991–1994.                                 augmentation grizzly bear 218 in the Cabinet
                                                           Mountains, 1990–1991.

                                                      78

                                                                                                   FWS001522
                                                4-ER-808
                Case: 23-2882, 03/22/2024, DktEntry: 30.5, Page 150 of 218                                     (150 of 218)




Figure A13. Radio locations and minimum                   Figure A14. Radio locations and minimum convex
convex (shaded) life range of male grizzly bear           (shaded) life range of female augmentation grizzly
244 in the Yaak River, 1992–2003.                         bear 258 in the Cabinet Mountains, 1992–1993.




Figure A15. Radio locations and minimum                   Figure A16. Radio locations and minimum convex
convex (shaded) life range of female                      (shaded) life range of female augmentation grizzly
augmentation grizzly bear 286 in the Cabinet              bear 311 in the Cabinet Mountains, 1994–1995.
Mountains, 1993–1995.

                                                     79

                                                                                                  FWS001523
                                                  4-ER-809
                Case: 23-2882, 03/22/2024, DktEntry: 30.5, Page 151 of 218                                       (151 of 218)




Figure A17. Radio locations and minimum convex             Figure A18. Radio locations and minimum convex
(shaded) life range of male grizzly bear 302 in the        (shaded) life range of female grizzly bear 303 in
Yaak River, 1994–1996.                                     the Yaak River, 1994–2001 and 2011–2016.




Figure A19. Radio locations and minimum convex             Figure A20. Radio locations and minimum convex
(shaded) life range of male grizzly bear 342 in the        (shaded) life range of male grizzly bear 358 in the
Yaak River, 1995–2001.                                     Yaak River, 1996–1998.


                                                      80

                                                                                                   FWS001524
                                               4-ER-810
                Case: 23-2882, 03/22/2024, DktEntry: 30.5, Page 152 of 218                                       (152 of 218)




Figure A21. Radio locations and minimum convex             Figure A22. Radio locations and minimum convex
(shaded) life range of male grizzly bear 363 in the        (shaded) life range of male grizzly bear 386 in the
Yaak River, 1996–1999.                                     Yaak River, 1997–1999.




Figure A23. Radio locations and minimum convex             Figure A24. Radio locations and minimum convex
(shaded) life range of female grizzly bear 354 in          (shaded) life range of female grizzly bear 538 in
the Yaak River, 1997–1999.                                 the Yaak River, 1997–2002.


                                                      81

                                                                                                   FWS001525
                                               4-ER-811
                Case: 23-2882, 03/22/2024, DktEntry: 30.5, Page 153 of 218                                     (153 of 218)




Figure A25. Radio locations and minimum convex           Figure A26. Radio locations and minimum convex
(shaded) life range of female grizzly bear 592 in        (shaded) life range of female grizzly bear 596 in
the Yaak River, 1999–2000.                               the Yaak River, 1999.




Figure A27. Radio locations and minimum convex           Figure A28. Radio locations and minimum convex
(shaded) life range of female grizzly bear 577 in        (shaded) life range of male grizzly bear 579 in the
the Cabinet Mountains, 2002.                             Cabinet Mountains, 2002.


                                                    82

                                                                                                 FWS001526
                                             4-ER-812
                Case: 23-2882, 03/22/2024, DktEntry: 30.5, Page 154 of 218                                       (154 of 218)




Figure A29. Radio locations and minimum convex             Figure A30. Radio locations and minimum convex
(shaded) life range of female grizzly bear 353 in          (shaded) life range of male grizzly bear 651 in the
the Yaak River, 2002.                                      Yaak River, 2002–2006.




Figure A31. Radio locations and minimum convex             Figure A32. Radio locations and minimum convex
(shaded) life range of male grizzly bear 787 in the        (shaded) life range of female grizzly bear 648 in
Yaak River, 2003–2004.                                     the Salish Mountains, 2003–2005.


                                                      83

                                                                                                   FWS001527
                                               4-ER-813
                 Case: 23-2882, 03/22/2024, DktEntry: 30.5, Page 155 of 218                                      (155 of 218)




Figure A33. Radio locations and minimum convex              Figure A34. Radio locations and minimum convex
(shaded) life range of male grizzly bear 576 in the         (shaded) life range of female grizzly bear 675 in
Yaak River, 2004–2006.                                      the Yaak River, 2004–2010.




Figure A35. Radio locations and minimum convex              Figure A36. Radio locations and minimum convex
(shaded) life range of female grizzly bear 10 in the        (shaded) life range of male grizzly bear 11 in the
Purcell Mountains, 2004.                                    Purcell Mountains, 2004.


                                                       84

                                                                                                    FWS001528
                                                4-ER-814
               Case: 23-2882, 03/22/2024, DktEntry: 30.5, Page 156 of 218                                  (156 of 218)




Figure A37. Radio locations and minimum                Figure A38. Radio locations and minimum
convex (shaded) life range of female grizzly           convex (shaded) life range of male grizzly bear
bear 12 in the Purcell Mountains, 2004.                17 in the Purcell Mountains, 2004.




Figure A39. Radio locations and minimum             Figure A40. Radio locations and minimum
convex (shaded) life range of male grizzly bear     convex (shaded) life range of male grizzly bear
677 in the Purcell Mountains, 2005.                 688 in the Purcell Mountains, 2005–2006.



                                                  85
                                                                                               FWS001529
                                               4-ER-815
                Case: 23-2882, 03/22/2024, DktEntry: 30.5, Page 157 of 218                                      (157 of 218)




 Figure A41. Radio locations and minimum                   Figure A42. Radio locations and minimum
 convex (shaded) life range of female grizzly              convex (shaded) life range of female grizzly
 bear 694 in the Yaak River, 2005.                         bear 292 in the Purcell Mountains, 2005.




Figure A43. Radio locations and minimum convex             Figure A44. Radio locations and minimum convex
(shaded) life range of male grizzly bear 770 in the        (shaded) life ranges of male grizzly bear 2 in the
Cabinet Mountains, 2005–2006, 2019.                        Purcell Mountains, 2005.



                                                      86
                                                                                                   FWS001530
                                                4-ER-816
                Case: 23-2882, 03/22/2024, DktEntry: 30.5, Page 158 of 218                                       (158 of 218)




Figure A45. Radio locations and minimum convex             Figure A46. Radio locations and minimum convex
(shaded) life range of augmentation female grizzly         (shaded) life range of augmentation female grizzly
bear A1 in the Cabinet Mountains, 2005–2007.               bear 782 in the Cabinet Mountains, 2006–2007.




Figure A47. Radio locations and minimum convex             Figure A48. Radio locations and minimum convex
(shaded) life range of male grizzly bear 780 in the        (shaded) life range of male grizzly bear 103 in the
Cabinet Mountains, 2006–2008.                              Yaak River, 2006–2007.



                                                      87
                                                                                                   FWS001531
                                               4-ER-817
                Case: 23-2882, 03/22/2024, DktEntry: 30.5, Page 159 of 218                                   (159 of 218)




Figure A49. Radio locations and minimum convex           Figure A50. Radio locations and minimum convex
(shaded) life range of male grizzly bear 5381 in         (shaded) life range of female grizzly bear 130 in
the Purcell Mountains, 2006–2007.                        the Purcell Mountains, 2007–2008.




Figure A51. Radio locations and minimum convex           Figure A52. Radio locations and minimum convex
(shaded) life range of female grizzly bear 131 in        (shaded) life range of female grizzly bear 784 in
the Purcell Mountains, 2007–2008.                        the Yaak River, 2007–2009, 2020.



                                                    88
                                                                                                FWS001532
                                             4-ER-818
                Case: 23-2882, 03/22/2024, DktEntry: 30.5, Page 160 of 218                                     (160 of 218)




Figure A53. Radio locations and minimum convex        Figure A54. Radio locations and minimum convex
(shaded) life range of female grizzly bear 785 in     (shaded) life range of female grizzly bear 772 in
the Yaak River, 2007–2008.                            the Cabinet Mountains, 2007.




Figure A55. Radio locations and minimum convex            Figure A56. Radio locations and minimum convex
(shaded) life range of augmentation female grizzly        (shaded) life range of augmentation female grizzly
bear 635 in the Cabinet Mountains, 2008.                  bear 790 in the Cabinet Mountains, 2008.



                                                     89
                                                                                                  FWS001533
                                              4-ER-819
                Case: 23-2882, 03/22/2024, DktEntry: 30.5, Page 161 of 218                                 (161 of 218)




Figure A57. Radio locations and minimum convex         Figure A58. Radio locations and minimum convex
(shaded) life range of augmentation female grizzly     (shaded) life range of female grizzly bear 731 in
bear 715 in the Cabinet Mountains, 2009–2010.          the Yaak River, 2009–2011.




Figure A59. Radio locations and minimum convex         Figure A60. Radio locations and minimum convex
(shaded) life range of male grizzly bear 799 in the    (shaded) life range of augmentation male grizzly
Cabinet Mountains, 2009–2010.                          bear 713 in the Cabinet Mountains, 2010–2011.



                                                      90
                                                                                               FWS001534
                                               4-ER-820
                Case: 23-2882, 03/22/2024, DktEntry: 30.5, Page 162 of 218                                       (162 of 218)




Figure A61. Radio locations and minimum convex         Figure A62. Radio locations and minimum convex
(shaded) life range of augmentation female grizzly     (shaded) life range of male grizzly bear 1374 in
bear 714 in the Cabinet Mountains, 2010–2012.          the Yaak River, 2010.




Figure A63. Radio locations and minimum convex             Figure A64. Radio locations and minimum convex
(shaded) life range of male grizzly bear 726 in the        (shaded) life range of male grizzly bear 722 in the
Yaak River, 2011–2012, 2015–2017.                          Yaak River, 2011–2012, 2014, 2016–2019.



                                                      91
                                                                                                    FWS001535
                                               4-ER-821
                Case: 23-2882, 03/22/2024, DktEntry: 30.5, Page 163 of 218                                 (163 of 218)




Figure A65. Radio locations and minimum convex        Figure A66. Radio locations and minimum convex
(shaded) life range of management male grizzly        (shaded) life range of augmentation male grizzly
bear 724 in the Cabinet Mountains, 2011–2012.         bear 723 in the Cabinet Mountains, 2011–2012.




Figure A67. Radio locations and minimum convex            Figure A68. Radio locations and minimum convex
(shaded) life range of augmentation female grizzly        (shaded) life range of management male grizzly
bear 725 in the Cabinet Mountains, 2011–2013.             bear 732 in the Yaak River, 2011.



                                                     92
                                                                                              FWS001536
                                              4-ER-822
                Case: 23-2882, 03/22/2024, DktEntry: 30.5, Page 164 of 218                                     (164 of 218)




Figure A69. Radio locations and minimum convex             Figure A70. Radio locations and minimum convex
(shaded) life range of augmentation male grizzly           (shaded) life range of female grizzly bear 552 in
bear 918 in the Cabinet Mountains, 2012–2014.              the Yaak River, 2012–2015.




Figure A71. Radio locations and minimum convex         Figure A72. Radio locations and minimum convex
(shaded) life range of male grizzly bear 737 in the    (shaded) life range of female grizzly bear 729 in
Yaak River, 2010–2013.                                 the Yaak River, 2013–2017, 2020.



                                                      93
                                                                                                   FWS001537
                                               4-ER-823
                Case: 23-2882, 03/22/2024, DktEntry: 30.5, Page 165 of 218                                   (165 of 218)




Figure A73. Radio locations and minimum convex         Figure A74. Radio locations and minimum convex
(shaded) life range of male grizzly bear 826 in the    (shaded) life range of augmentation male grizzly
Yaak River, 2013.                                      bear 919 in the Cabinet Mountains, 2013–2014.




Figure A75. Radio locations and minimum convex         Figure A76. Radio locations and minimum convex
(shaded) life range of female grizzly bear 831 in      (shaded) life range of male grizzly bear 835 in the
the Cabinet Mountains, 2014.                           Yaak River, 2014–2016, 2019–2020.


                                                      94
                                                                                                 FWS001538
                                               4-ER-824
                Case: 23-2882, 03/22/2024, DktEntry: 30.5, Page 166 of 218                                     (166 of 218)




Figure A77. Radio locations and minimum convex         Figure A78. Radio locations and minimum convex
(shaded) life range of male grizzly bear 837 in the    (shaded) life range of augmentation female grizzly
Cabinet Mountains, 2014–2016.                          bear 920 in the Cabinet Mountains, 2014–2016.




Figure A79. Radio locations and minimum convex             Figure A80. Radio locations and minimum convex
(shaded) life range of augmentation female grizzly         (shaded) life range of female grizzly bear 836 in
bear 921 in the Cabinet Mountains, 2014–2015.              the Yaak River, 2014–2017.



                                                      95
                                                                                                  FWS001539
                                               4-ER-825
                Case: 23-2882, 03/22/2024, DktEntry: 30.5, Page 167 of 218                                   (167 of 218)




Figure A81. Radio locations and minimum convex         Figure A82. Radio locations and minimum convex
(shaded) life range of male grizzly bear 808 in the    (shaded) life range of male grizzly bear 807 in the
Yaak River, 2014–2015.                                 Yaak River and Selkirk Mountains, 2014–2017.




Figure A83. Radio locations and minimum convex         Figure A84. Radio locations and minimum convex
(shaded) life range of female grizzly bear 810 in      (shaded) life range of male grizzly bear 818 in the
the Yaak River, 2015–2018.                             Yaak River, 2015.



                                                      96
                                                                                                 FWS001540
                                               4-ER-826
                Case: 23-2882, 03/22/2024, DktEntry: 30.5, Page 168 of 218                                      (168 of 218)




Figure A85. Radio locations and minimum convex       Figure A86. Radio locations and minimum convex
(shaded) life range of female grizzly bear 820 in    (shaded) life range of male grizzly bear 839 in the
the Yaak River, 2015–2018.                           Cabinet Mountains, 2015–2016.




Figure A87. Radio locations and minimum convex           Figure A88. Radio locations and minimum convex
(shaded) life range of augmentation male grizzly         (shaded) life range of male grizzly bear 1001 in the
bear 924 in the Cabinet Mountains, 2015.                 Selkirk and Cabinet Mountains, 2015.


.
                                                    97
                                                                                                  FWS001541
                                             4-ER-827
                Case: 23-2882, 03/22/2024, DktEntry: 30.5, Page 169 of 218                                   (169 of 218)




Figure A89. Radio locations and minimum convex         Figure A90. Radio locations and minimum convex
(shaded) life range of male grizzly bear 821 in the    (shaded) life range of male grizzly bear 822 in the
Yaak River, 2016–2017.                                 Yaak River, 2016, 2019–2020.




Figure A91. Radio locations and minimum convex         Figure A92. Radio locations and minimum convex
(shaded) life range of male grizzly bear 824 in the    (shaded) life range of male grizzly bear 853 in the
Yaak River, 2016–2017.                                 Yaak River, 2016–2017.



                                                      98
                                                                                                 FWS001542
                                               4-ER-828
               Case: 23-2882, 03/22/2024, DktEntry: 30.5, Page 170 of 218                                   (170 of 218)




Figure A93. Radio locations and minimum convex      Figure A94. Radio locations and minimum convex
(shaded) life range of male grizzly bear 9811 in    (shaded) life range of male grizzly bear 922 in the
the Yaak River, 2016–2018.                          Yaak River, 2016–2017.




Figure A95. Radio locations and minimum convex          Figure A96. Radio locations and minimum convex
(shaded) life range of augmentation male grizzly        (shaded) life range of female grizzly bear 840 in
bear 926 in the Cabinet Mountains, 2016–2017.           the Yaak River, 2016–2019.



                                                   99
                                                                                               FWS001543
                                            4-ER-829
                 Case: 23-2882, 03/22/2024, DktEntry: 30.5, Page 171 of 218                                 (171 of 218)




Figure A97. Radio locations and minimum convex        Figure A98. Radio locations and minimum convex
(shaded) life range of female grizzly bear 842 in     (shaded) life range of male grizzly bear 861 in the
the Yaak River, 2017–2019.                            Cabinet Mountains, 2017–2019.




 Figure A99. Radio locations and minimum convex       Figure A100. Radio locations and minimum convex
 (shaded) life range of management female grizzly     (shaded) life range of management female grizzly
 bear 1026 in the Yaak River, 2017.                   bear 1028 in the Yaak River, 2017.



                                                    100
                                                                                                FWS001544
                                              4-ER-830
                Case: 23-2882, 03/22/2024, DktEntry: 30.5, Page 172 of 218                                (172 of 218)




Figure A101. Radio locations and minimum           Figure A102. Radio locations and minimum convex
convex (shaded) life range of augmentaiton male    (shaded) life range of male grizzly bear 1006 in the
grizzly bear 927 in the Cabinet Mountains, 2018–   Selkirk, Purcell, and Cabinet Mountains, 2017–
2020                                               2018.




Figure A103. Radio locations and minimum            Figure A104. Radio locations and minimum convex
convex (shaded) life range of management male       (shaded) life range of management male grizzly
grizzly bear 9077 in the Yaak River, 2018.          bear 865 in the Kootenai and Yaak River, 2018–
                                                    2019.

                                                   101
                                                                                              FWS001545
                                             4-ER-831
                Case: 23-2882, 03/22/2024, DktEntry: 30.5, Page 173 of 218                                 (173 of 218)




Figure A105. Radio locations and minimum            Figure A106. Radio locations and minimum convex
convex (shaded) life range of augmentaiton male     (shaded) life range of male grizzly bear 866 in the
grizzly bear 844 in the Yaak River, 2019–2020.      Cabinet Mountains, 2019–2020.




Figure A107. Radio locations and minimum             Figure A108. Radio locations and minimum convex
convex (shaded) life range of augmentation           (shaded) life range of augmentation male grizzly
female grizzly bear 923 in the Cabinet Mountains,    bear 892 in the Cabinet Mountains, 2019–2020.
2019–2020.


                                                    102
                                                                                               FWS001546
                                              4-ER-832
               Case: 23-2882, 03/22/2024, DktEntry: 30.5, Page 174 of 218                              (174 of 218)




APPENDIX 5. Fine scale habitat modeling for the South Selkirk and Cabinet-Yaak
ecosystems

Trans-border Grizzly Bear Project and the US Fish & Wildlife Service
Michael Proctor TBGBP and Wayne Kasworm USFWS

BACKGROUND
This document describes the methods and appropriate interpretation for fine scale habitat
modeling of sex-, season- and ecosystem-specific habitat use modeling for grizzly bears. We
modeled habitat use for females and males, in each of 3 seasons (spring, summer, fall) in each
of 4 ecosystems, S Purcells in Canada, the international South Selkirks and Yaak, and the US
Cabinets. Here we present the female results. Females receive priority in grizzly bear
conservation management because they are the reproductive engine of a population, they tend
to have smaller home ranges and move significantly less than males. Management that
secures important female habitat and food resources may be most efficient for conservation
purposes. Males are important as well and, in some instances, can dominate the very best of
food resources.

METHODS
We assessed habitat use for female and male bears separately at the scale of each of several
ecosystems, including the South Selkirk (international), the Yaak (international), the Cabinets
(USA) and the South Purcell (north of Hwy 3 in Canada). We modelled habitat in each of the 3
non-denning seasons (Spring, den emergence – July 14; Summer berry season, July 15 – Sept
15; and Fall, Sept 16 – October 30). Methods below are very similar to those employed by
Proctor et al. 2015.

        Grizzly bear GPS location data
        We deployed GPS-telemetry collars on 38 female grizzly bears in 2004–2015 (22 in the
international S Selkirks, 10 in the International Yaak and 6 in the Canadian South Purcells).
Bears were captured with Aldrich foot snares and occasionally with culvert traps. We used
Telonics Inc. (Mesa, Arizona, USA) Spread Spectrum radio-collars (and occasionally store-on-
board collars) and remotely downloaded bear locations on a periodic basis.
        Most bears were collared in May or June and were monitored for 1–3 years but usually
monitoring spanned at least 2 non-denning periods (i.e., spring summer, fall). Locations were
attempted every 1–4 hours depending on collar size (smaller bears carried smaller collars with
less battery life), and age of bears (subadult bears carried collars designed to drop off earlier so
as to not interfere with neck growth). Because we used only 2D and 3D fixes, overall fix
success (the proportion of 2D and 3D fixes relative to fix attempts) was 84%. We also assessed
potential location bias for canopy closure, which was the variable with the most potential for low
fix success rate (Frair et al. 2004). We placed 13 GPS radio collars at ground level in conifer
forest with canopy cover from 0 to 75% canopy and found no relationship between fix rate and
canopy closure (R2 = 0.07; regression significance, P = 0.64).
        Because unequal observations among animals can lead to biased population level
estimates (Gillies et al. 2006) and most bears had 1500–2000 locations, we used a maximum of
1600 locations from most bears by removing every nth location from any one bear with > 1600
locations.

       Grizzly Bear Habitat Modeling
       Female grizzly bear GPS telemetry data were divided into 2 groups for each season and
ecosystem. An 80% random sample was used for model training, while the remaining 20%
random samples of bear locations were withheld for model evaluation (Boyce et al. 2002,

                                                103
                                                                                          FWS001547
                                            4-ER-833
               Case: 23-2882, 03/22/2024, DktEntry: 30.5, Page 175 of 218                              (175 of 218)




Nielsen et al. 2002). We used the GPS telemetry locations and a similar number of available
(random) locations from within the composite home ranges of all grizzly bears to develop a
resource selection function (RSF, Boyce and McDonald 1999, Manly et al. 2002, Nielsen et al.
2002). We estimated the parameters of the exponential RSF using logistic regression (Manly et
al. 2002) and predictions from the RSF were transformed using the logistic function to normalize
the right skewing of exponential RSF values and then mapped at a 100-m scale in ArcGIS 10.1
(ESRI, Redlands, CA). Logistic regression was performed using the statistical software
package STATA (Intercooled 9.2, College Station, Texas, USA).
         Model building was based on the principles of Hosmer and Lemeshow (1989) and more
recently referred to as purposeful selection of variables (Bursac et al. 2008). We did not use an
Information Theoretic approach (Burhnam and Anderson 1998) because our goal was predictive
ability of grizzly bear habitat use and not testing of broader competing hypotheses (Nielsen et
al. 2010). All predictor variables were tested for pairwise correlations (Chatterjee et al. 2000)
and only terrain ruggedness and compound topographic index were correlated. All variables
and their quadratic relationships were fit individually (uni-variable analyses) and ranked for their
significance and explanatory power (pseudo R2). Multi-variable models were then built by
adding non-correlated variables in a forward stepwise fashion starting from higher to lower
pseudo R2. Models were compared sequentially after each variable addition; variable
significance and explanatory power (pseudo R2) were used to compare models and decide if a
variable improved model predictability. When a variable increased the pseudo R2 by at least
5%, we retained that variable in the model; when a variable increased the pseudo R2 < 5% we
did not retain it to favor a parsimonious model.
         We used the Huber-White sandwich estimator in the robust cluster option in Stata to
calculate standard errors because non-independent locations can lead to biased standard errors
and overestimated significance of model parameters (White 1980, Nielsen et al. 2002, 2004b).
Because the bears were the unit of replication, they were used to denote the cluster thus
avoiding autocorrelation and/or pseudoreplication of locations within individual bears. We
assessed the Receiver Operator Characteristic (ROC), a standard technique for summarizing
classifier performance (i.e., how well did the model predict habitat and non-habitat correctly) for
our most parsimonious models.

        Environmental Variables
        We used variables that were most consistently measured across the study area and
between Canada and the USA including human-use, terrain, forest cover, and other ecological
variables (Table 1). Ecosystem characteristics and human uses in the adjacent south Selkirk
and south Purcell Mountains are similar (Meidinger and Pojar 1991) allowing development and
prediction of models to these areas. Lowlands are dominated by Cedar-Hemlock (Thuja plicata
- Tsuga heterophylla) forests and upland forests are dominated by Engelmann Spruce - Sub
Alpine Fir (Picea engelmanni – Abies lasiocarpa). Douglas fir (Psuedotsuga mensiezii) forests
are somewhat more common in the southern portions of the Purcell range (Meidinger and Pojar
1991). Human uses are relatively similar across the region and include timber harvest, some
mining, ungulate hunting, and other forms of recreation.
        Baseline Thematic Mapping land-cover variables (recently logged, alpine, avalanche,
and riparian), Vegetation Resource Inventory variables (dominant tree species forest cover
types, canopy cover), and backcountry resource roads (i.e., associated with timber harvest,
mining) were obtained from the BC Ministry of Forests, Lands, and Natural Resource
Operations in Canada. Land-cover information for the USA was from the US Forest Service.
Alpine, avalanche, burned, and riparian habitats contain a variety of grizzly bear food resources
(Mace et al. 1996, McLellan and Hovey 1995, McLellan and Hovey 2001b). Forest cover
variables (Table 1) were used because they often have been found to influence grizzly bear
habitat selection (Zager et al. 1983, Waller and Mace 1997, Apps et al. 2004, Nielsen et al.

                                                104
                                                                                          FWS001548
                                            4-ER-834
               Case: 23-2882, 03/22/2024, DktEntry: 30.5, Page 176 of 218                             (176 of 218)




2004a). Greenness, an index of leafy green productivity, correlates with a diverse set of bear
food resources and is often found to be a good predictor of grizzly bear habitat use (Mace et al.
1996, Nielsen et al. 2002). Greenness was derived from 2005 Landsat imagery using a Tassled
Cap transformation (Crist and Ciccone 1984, Manley et al. 1992). Terrain variables of elevation,
compound topographic index (CTI), solar radiation, and terrain ruggedness were derived from a
digital elevation model (DEM) in ArcGIS. CTI is an index of soil wetness estimated from a DEM
in a GIS using the script from Rho (2002). Solar radiation was estimated for the summer
solstice (day 172), again using a DEM, and in this case the ArcInfo AML from Kumar (1997) that
was modified by Zimmerman (2000) called shortwavc.aml. Finally, terrain ruggedness was
estimated from the DEM based on methods from Riley et al. (1999) and scripted as an ArcInfo
AML called TRI.aml (terrain ruggedness index) by Evans (2004). These terrain variables have
been shown to influence the distribution of grizzly bear foods (Apps et al. 2004, Nielsen et al.
2004a, 2010) and also affect local human use. We included elevation as a variable because
grizzly bears in our region use high country extensively, which may be for a variety of reasons
(e.g., high elevation habitat types, thinner forest cover with more edible ground-based
vegetation, human avoidance). Highway and human developments were digitized from
1:50,000 topographic maps and ortho-photos. Highway, human developments, and
backcountry roads were buffered by 500 m on either side to reflect their influence on grizzly
bear habitat use (Mace et al. 1996). The human-use variables have been demonstrated
repeatedly to correlate with habitat selection by grizzly bears (Mace et al. 1996, 1999, Nielsen et
al. 2002, Apps et al. 2004). Although none of the predictors were direct measures of food
resources or human activities, each factor was thought to correlate with resources and
behaviors used by bears or activity of humans (Mace et al. 1996, Nielsen et al. 2002, 2006,
2009, Apps et al. 2004).

RESULTS
         Best models for each season and ecosystem were dominated by greater than expected
use for canopy openness and high level of greenness and less than expected use of high road
densities (Table 1). Model predictive ability was greatest in the International South Selkirk area
in all 3 seasons, as predictions of habitat use and non-use were all > 0.8 (ROC, Receiver
Operator Characteristic measures how well the model predicts habitat use (GPS Locations that
were in model predicted use areas vs non-used areas). Because we had very few resident
females in the Cabinet population, most were augmented bears from the Rocky Mt region, and
the ecology is similar to the S Selkirk region (Proctor et al. 2015), we applied our South Selkirk
model to the Cabinet area. These models are similar to the all-season both-sex Resource
Selection Function model derived to predict linkage habitat within Proctor et al. (2015). That
model was dominated by canopy openness, greenness, riparian, alpine, and elevation.
         In the S Selkirk, S Purcell, and Cabinet area, our models were the most predictive with
ROC scores usually > 0.75 and even > 0.80 (0.7 is considered a good predictive model).
Models for the international Yaak were less predictive, especially in spring and fall (ROC scores
were 0.66 and 0.59 respectively).
         Where we had a huckleberry patch model available in the South Purcell area of Canada,
it dominated the model along with greenness. We have a huckleberry patch model throughout
this region within Canada. Therefore, we did not include it in international models in the S
Selkirk, Yaak, or Cabinet areas. Canopy openness is a powerful predictor of huckleberry
patches and in models without huckleberry patches, canopy openness plays a similar predictive
role.

DISCUSSION
        We envision the usefulness of these habitat models for planning timber harvest, road
building, road closing, road decommissioning, and prescribed burns. As canopy openness and

                                               105
                                                                                         FWS001549
                                           4-ER-835
               Case: 23-2882, 03/22/2024, DktEntry: 30.5, Page 177 of 218                              (177 of 218)




greenness are two of the better predictors of female habitat use (Mace et al. 1996, Nielsen et al.
2002), certain timber harvest and prescribed burning practices may have some potential to
improve grizzly bear habitat through opening canopy and promoting deciduous and herbaceous
bear foods. In contrast, it might be desirable to plan access controls in areas where habitat
quality and use is high, to provide security for female grizzly bears. In that regard, these models
may be used to decide where roads might be closed, decommissioned, or left open.
         It must also be kept in mind that grizzly bear habitat is dynamic spatially and temporally.
Some open-canopy habitats that resulted from past timber harvest may change over time as
those canopies fill in with forest regrowth. The same applies to habitat created from past burns.
Also, some habitat may have a longer-term state of canopy openness (some higher elevation
forests) that may remain desirable over longer time periods. Foresters’ on-the-ground
knowledge may be able to differentiate these types of habitats and their dynamic potential.
Future iterations of these models can be run with updated canopy cover and greenness layers
as they are derived from remote sensing.
         Note that Riparian habitat was a strong predictor in the South Selkirk (and Cabinet)
model. This result was driven by the heavy use of female grizzly bears in the Kootenay River
Valley just north of the Canada-US border in the Creston Valley in all 3 seasons. If populations
continue to grow, the Kootenay River Valley or other main river valleys may see some increased
habitat use by female grizzly bears at least seasonally within the US. We also think that the
bears in the Creston Valley are getting a measure of agricultural foods that might be holding
them in the valley even in the summer. In Canada and the US, there are developing programs
to secure many of these agricultural products from the bears, but it may never all be secured
and there will tend to be some bears spending time in these valley bottoms. On the other hand,
this is somewhat desirable from the standpoint of female connectivity between the Selkirk and
Purcell and Cabinet ranges (Proctor et al. 2012, 2015). Subadult female dispersal is usually of
a short distance (McLellan and Hovey 2001, Proctor et al. 2004) so for female connectivity to
develop, it is likely necessary that female grizzly bears spend a portion of their lives in valley
bottoms. Conflict reduction efforts become especially important in that regard.
         As we modeled each ecosystem separately, thresholds between ecosystems varied.
Model outputs have ecosystem-specific thresholds for greater than expected use of specific
habitats vs. less than expected use built in. For most planning we would expect use of the
summer models or occasionally the spring models. Fall modeling probably represents a time
when berry feeding has passed, and bears may be preparing for denning by looking for protein
in the form of wounded animals and gut piles from hunters.




                                                106
                                                                                          FWS001550
                                            4-ER-836
                                              Case: 23-2882, 03/22/2024, DktEntry: 30.5, Page 178 of 218                                                                (178 of 218)


Table 1. Best female grizzly bear seasonal habitat use models for the Selkirk, S Purcell, Yaak, and Cabinet ecosystems. Huckleberry patch
models were only available in the S Purcell area.

                       Female    Female    Female    Female   Female   Female    Female    Female    Female    Female    Female    Female    Female   Female   Female
                       Selkirk   Selkirk   Selkirk   Yaak      Yaak    Yaak      Cabinet   Cabinet   Cabinet   Purcell   Purcell   Purcell   Canada   Canada   Canada
       VARIABLES       Spring    Summer     Fall     Spring   Summer    Fall     Spring    Summer     Fall     Spring    Summer     Fall     Spring   Summer     Fall
  canopy cover            -        +         +         -        +        +          -        +         +         +                             -
  canopy cover2                    -         -                  -        -                   -         -
  greenness              +         +         +                  +                  +         +         +         +         +         +         +        +         +
  road density           -         -         -         -                           -         -         -                                       -        -         -
  riparian               +         +         +                                     +         +         +                                                +
  forest age 100-250                                                                                                        -         -
  forest age 1-20                                               +
  forest age 20-60                                                       -
  forest age 60-80                                                                                                         +
  alpine                                                        +        +                                                           +                  +         +
  avalanche              +                                                         +                                                           +
  deciduous forest                                     +        +        +                                       +
  elevation                        +         +         +        +                            +         +
  elevation2                                  -        -        -                                       -
  Douglas fir forest                          -        +                                                -                                                         -
  distance to road                                                                                                         +
  buildings                                            -        -
  distance to
  HuckPatch                                                                                                                 -                           -         -
  HuckPatch X
  Dist2Road                                                                                                                                                       +
  highway                                     -                          -                              -                                                         -
  mortality risk                                       -                                                                              -                           +
  recently logged                             -                                                         -                   -        -
  solar radiation                                                                                                +                   +
  terrain ruggedness                                                                                             +                                      -         -


  Pseudo R2             0.20      0.25      0.26      0.06     0.18     0.03      0.20      0.25      0.26      0.20      0.32      0.11      0.13     0.25     0.15
  ROC AUC               0.80      0.82      0.83      0.66     0.78     0.59      0.80      0.82      0.83      0.79      0.86      0.73      0.75     0.82     0.80
  Correct classified   73%        74%      80%       61%       70%     56%        73%       74%       80%      72%        78%      65%        74%      75%      76%



                                                                                   107
                                                                                                                                                            FWS001551
                                                                                4-ER-837
                       Case: 23-2882, 03/22/2024, DktEntry: 30.5, Page 179 of 218                 (179 of 218)




Figure 1a) Spring, b) Summer, and c) Fall female grizzly bear Habitat Use map.
a) S Selkirks Spring                  b) S Selkirks Summer       c) S Selkirks Fall




a) Yaak Spring                      b) Yaak Summer                c) Yaak Fall




a) Cabinets Spring                  b) Cabinets Summer            c) Cabinets Fall




                                                         108
                                                                                      FWS001552
                                                   4-ER-838
                      Case: 23-2882, 03/22/2024, DktEntry: 30.5, Page 180 of 218                                                            (180 of 218)


                SELKIRK / CABINET-YAAK GRIZZLY BEAR RECOVERY ZONES
                       2019 ANNUAL MONITORING SUMMARY REPORT
                Colville, Idaho Panhandle, Kootenai, and Lolo National Forests
                                                           04-17-2020

Introduction
In 2011 the U. S. Fish and Wildlife Service issued their Biological Opinion for the Grizzly Bear Access
Amendment of the Kootenai, Idaho Panhandle, and Lolo National Forest Plans (USDI 2011). This
document directed the Forest Service to report annually on their progress made towards achieving
Interagency Grizzly Bear Committee (IGBC) access management standards for the Selkirk and
Cabinet-Yaak Recovery Zones (USDI 2011). These standards include open and total motorized route
densities (OMRD & TMRD), and core areas for each bear management unit (BMU) in the two
recovery zones. There are also standards for allowable administrative use of restricted access
(gated) roads, and road closure monitoring effort. Lastly, the Forest Service was to meet annually
with other agency biologists to update the Bears Outside of Recovery Zones (BORZ) database (ibid).

Each grizzly bear recovery zone is divided into individual bear management units (BMUs) which
biologists use for habitat evaluation and population monitoring. An individual BMU is roughly 100
square miles in size; the approximate area required for supporting an adult sow with cubs.

Roads provide access for people into grizzly bear habitat. In areas of high road densities, grizzly
bears are prone to being disturbed by vehicle traffic or people on foot. A bear may learn to avoid
areas near open roads, forgoing access to any suitable habitats within the road corridor. The risk of a
grizzly being shot is higher in areas with high road densities, than in areas with few or no roads. Each
BMU has its own set of standards for open and total motorized route densities. Areas influenced by
high road densities should not exceed a defined maximum percentage of each BMU. A minimum
percent of each BMU should be providing core habitat, defined as lands lying further than 500 meters
from open or restricted access roads.
2019 Access Parameter Status
Tables 1 and 2 summarize the habitat parameters related to roads within the two recovery zones for
the 2019 “bear year”.

Table 1. BMU summary for the 2019 bear year [April 1 through November 30] in the Cabinet-Yaak Recovery Zone. Values in
blue reflect existing BMU standards (USDA 2011). Values in red indicate parameters that did not meet standards in 2019.

                                                                                             %
           Bear                         Open Roads                Total Roads
                                                                                                                                 Priority

                                                                                           Federal
        Management                         >1 mi/mi2                 >2 mi/mi2                                % Core
                                                                                            Land
           Unit*                              (%)                       (%)


                                         CABINET-YAAK RECOVERY ZONE
  1-Cedar                                   16 (15)                   10 (15)                  99              84 (80)              2
  2-Snowshoe                                16 (20)                   14 (18)                  94              77 (75)              2
  3-Spar                                    29 (33)                   26 (26)                  95              62 (59)              3
  4-Bull                                    38 (36)                   30 (26)                  84              61 (63)              2
  5-St. Paul                                28 (30)                   23 (23)                  97              58 (60)              1
  6-Wanless                                 32 (34)                   34 (32)                  85              53 (55)              1
  7-Silver Butte                            24 (26)                   23 (23)                  92              65 (63)              2
  8-Vermilion                               32 (32)                   22 (21)                  93              58 (55)              3
  9-Callahan                                29 (33)                   29 (26)                  90              57 (55)              2
        SELKIRK / CABINET-YAAK GRIZZLY BEAR RECOVERY ZONES - 2019 ANNUAL COMPLIANCE MONITORING FINAL SUMMARY REPORT 04-17-2020
                                                                        Page 1
                                                                                                                       FWS001741
                                                           4-ER-839
                       Case: 23-2882, 03/22/2024, DktEntry: 30.5, Page 181 of 218                                                            (181 of 218)



                                                                                              %
            Bear                         Open Roads                Total Roads




                                                                                                                                  Priority
                                                                                            Federal
         Management                         >1 mi/mi2                 >2 mi/mi2                                % Core
                                                                                             Land
            Unit*                              (%)                       (%)

  10-Pulpit                                  45 (44)                   28 (34)                  95              54 (52)               2
  11-Roderick                                29 (28)                   26 (26)                  96              56 (55)               1
  12-Newton                                  43 (45)                   32 (31)                  92              54 (55)               1
  13-Keno                                    34 (33)                   24 (26)                 99+              59 (59)               1
  14-NW Peak                                 29 (31)                   24 (26)                 99+              56 (55)               1
  15-Garver                                  32 (33)                   27 (26)                  94              54 (55)               1
  16-EF Yaak                                 30 (33)                   25 (26)                  96              54 (55)               1
  17-Big Creek                               30 (33)                   15 (26)                  99              58 (55)               2
  18-Boulder                                 32 (33)                   31 (29)                  92              52 (55)               3
  19-Grouse                                  64 (59)                   61 (55)                  54              30 (37)               3
  20-North Lightning                         35 (35)                   18 (20)                  94              64 (61)               1
  21-Scotchman                               34 (34)                   24 (26)                  81              65 (62)               2
  22-Mt. Headley                             35 (33)                   37 (35)                  89              53 (55)               3
*BMUs 1-17 parameters reported by the Kootenai NF, BMUs 18, 19, 20, & 21 parameters reported by the Idaho Panhandle NFs, BMU
22 parameters reported by the Lolo NF

Table 2. BMU summary for the 2019 bear year [April 1 through November 15] in the Selkirk Recovery Zone. Values in blue
reflect existing BMU standards (USDA 2011). Values in red indicate parameters that did not meet standards in 2019.


                                                                                              %
            Bear                         Open Roads                Total Roads




                                                                                                                                  Priority
                                                                                            Federal
         Management                         >1 mi/mi2                >2 mi/mi2                                 % Core
                                                                                             Land
            Unit*                              (%)                      (%)


                                               SELKIRK RECOVERY ZONE
  Blue Grass                                 30 (33)                   29 (26)                  96              48 (55)               1
  Long-Smith                                 24 (25)                   16 (15)                  92              71 (67)               1
  Kalispell-Granite                          33 (33)                   24 (26)                  96              55 (55)               1
  Salmo-Priest                               27 (33)                   23 (26)                  99              68 (64)               2
  Sullivan-Hughes                            23 (23)                   18 (18)                  99              63 (61)               1
  Myrtle                                     32 (33)                   23 (24)                  85              58 (56)               2
  Ball-Trout                                 16 (20)                   11 (13)                  94              72 (69)               2
  Lakeshore                                  80 (82)                   44 (56)                  86              22 (20)               3
  LeClerc                                    44 (48)                   56 (60)                  64              27 (27)               3
*Salmo-Priest, Sullivan-Hughes, and LeClerc BMU parameters reported by the Colville NF. All other BMU parameters reported by the
Idaho Panhandle NFs.

Tables 3 and 4 summarize the specific management actions that resulted in changes to access
parameters in each BMU from 2018 to 2019.




         SELKIRK / CABINET-YAAK GRIZZLY BEAR RECOVERY ZONES - 2019 ANNUAL COMPLIANCE MONITORING FINAL SUMMARY REPORT 04-17-2020
                                                                         Page 2
                                                                                                                        FWS001742
                                                            4-ER-840
                      Case: 23-2882, 03/22/2024, DktEntry: 30.5, Page 182 of 218                                                   (182 of 218)



Table 3. Management actions that resulted in changes to OMRD, TMRD or Core habitat from 2018 to 2019 in the
Cabinet-Yaak Recovery Zone on the Idaho Panhandle, Kootenai, and Lolo National Forests.

    Bear                                                  Cabinet-Yaak Recovery Zone
 Management                                                  Management Actions
    Unit
                      OMRD increased 2% to 16%, and TMRD increased 2% to 10%. No change to Core at 84%.
                      At the end of bear year (BY) 2019, BMU 1 either meets (OMRD) or is better than its
                      individual standards (TMRD and core).
                      On the Libby RD, administrative use on Flower Cr Ridge E FR 4729E, accessed via gate on
                      4729, exceeded allowable use levels during the summer period and contributed to open
                      route densities within the BMU. This administrative use of FR 4729E was analyzed and
1-Cedar               approved for sale prep activities under the Flower Creek Project. Public use did not occur.
                      Outside the BMU boundary, but within the BMU buffer, a motorized breach by dirt bikes
                      getting around the gate on Flower Creek F FR 128F occurred, and the road was modeled as
                      open for the bear year.
                      On the Three Rivers RD portion of BMU1, all administrative use was within allowable levels
                      and there was no unauthorized motorized or emergency fire access.
                      Also affecting route densities in 2019 were database updates (no change on the ground) to
                      include the existing Burlington Northern Railroad tracks and railroad access roads.
                      OMRD decreased by 3% to 16%, TMRD decreased by 1% to 14%, and core remained at
                      77%. BMU 2 is 4% lower and better than its standard for OMRD (20%) and TMRD (18%)
                      and 2 percent higher and better than its core standard (75%). At the end of BY 2019, BMU 2
                      is better than its individual standards in all habitat parameters.
                      Contributing to the decrease in open motorized route densities were 2018 repairs to
                      breached or damaged gates. These repairs included gates on the Deep Creek Roads (FRs
                      7716 and 7716A) and Smearl Creek Road FR 4790 and the associated Stimson spur road
                      #99775. These repairs resulted in these roads being restricted to unauthorized motorized
                      use. Other routes identified in 2017 and 2018 as open, Lower Granite T Road (FR 4791T)
                      and FR 5140, were bermed in fall of 2018 and remained effectively closed to motorized use
                      in 2019. In addition the remaining segment of the old Luken Hazel Development Road (FR
                      8646) on the private land and the segments of FR 8646A on the private land have been
                      gated.
                      Several other changes, including repairs to contributed to changes in core acres, including a
                      database update for Road #5145 Officer Lake – Old Snowshoe, located on private and NFS
                      land which contributed to an increase in core acres. This road is impassable on both the
2-Snowshoe            private and NFS land. Based on visitor use records, the determination was made to include
                      the Leigh Lake Trail as a high-use non-motorized trail, which contributed to a decrease in
                      403 acres of core. These changes did not result in a change the percentage of core.
                      Several roads contributed to open motorized route density in bear year 2019. Normally
                      gated road (4791N) was reported to have vehicles driving around the gate in August of 2019
                      and a new berm was installed along side of the gate in September of 2019. The road was
                      considered open for the 2019 bear year. As first documented in BY 2018, the segment of
                      Cherry Creek Road (FR 867) across the private land remained open and drivable through
                      2019 and contributed to open route densities. Also contributing to route densities was
                      unauthorized motorized use which occurred on a user-created route connecting the end of
                      stored undetermined open road #5135 across Deep Creek to private Weyerhauser Little
                      Hoodoo Road #99468. The berm installed at the end of undetermined road #5135 during
                      2018 was breached by motorized vehicles during 2019.
                      Just outside the BMU boundary, the previously impassable road #6203C was opened during
                      2018 and any portion located within the BMU moving window buffer would contribute to
                      route densities within the BMU. This road remained open during bear year 2019. Please
                      see the Cabinet Face BORZ discussion for additional information on road #6203C.

        SELKIRK / CABINET-YAAK GRIZZLY BEAR RECOVERY ZONES - 2019 ANNUAL COMPLIANCE MONITORING FINAL SUMMARY REPORT 04-17-2020
                                                                        Page 3
                                                                                                                       FWS001743
                                                           4-ER-841
                       Case: 23-2882, 03/22/2024, DktEntry: 30.5, Page 183 of 218                                                   (183 of 218)


    Bear                                                   Cabinet-Yaak Recovery Zone
 Management                                                   Management Actions
    Unit
                       No Change to OMRD (29%), TMRD (26%) or core (62%). At the end of BY 2019, BMU 3 is
                       3% less and better than its OMRD standard of 33%, meets its OMRD standard of 26%, and
                       is 3% greater and better than its core standard of 59%. BMU 3 complies with its individual
                       standards.
3-Spar                 No federal activities in this BMU that changed core or road densities. Based on visitor use
                       records, the determination was made to include the Ross Creek Cedars Nature Trail as a
                       high-use non-motorized trail which slightly decreased core acres by 183 acres, but did not
                       change the percentage of core. Evidence of unauthorized motorized use behind gated road
                       #404A contributed to OMRD but did not change the percentage. The restriction device was
                       repaired.
                       No Change to TMRD (30%), OMRD (38%) or core (61%). At the end of BY 2019, BMU 4
                       remains 4% greater than its TMRD standard of 26%, remains 2% greater than its OMRD
                       standard of 36%, and 2% less than its core standard of 63%. BMU4 does not meet its
                       individual BMU standards.
4-Bull                 Additional database corrections due to continued development on private land resulted in a
                       decrease of 282 acres of core and slight increases in OMRD route densities of > 1
                       mi/square mile and in TMRD route densities >2 mi/square mile but not enough to change the
                       percentages. No federal activities occurred in this BMU that changed percentages of core
                       or road densities.
                       No Change to percentages of OMRD (28%), TMRD (23%) or core (58%). At the end of BY
                       2019 BMU 5 is better (lower) than it OMRD standard of 30%, meets TMRD standard of 23%,
                       and is 2% less (worse) than the core standard of 60 percent. BMU 5 does not comply with its
                       individual core standard.
                       Within the BMU, public breaches on gated FR roads 6212L (Little Cherry Loop L) and
                       6212M (Little Cherry Loop M) temporarily contributed to open route densities. Database
5-St. Paul             updates to FR 5185 (S Bear Little Cherry)and 5181 (L Cherry Loop H Cowpatch) from open
                       to their legal gated status and the county jurisdiction road #1408 Libby Creek bottom from
                       open to gated contributed to decrease in open route densities, but did not change
                       percentages.
                       Outside of the BMU and within the Cabinet Face BORZ two changes contributed to changes
                       within the BMU. FR 5193 (Swamp Ridge Units) went from open to barriered and resulted in
                       a slight increase in core acres (23 acres) within the BMU, and the repair to the gate on FR
                       4776C (Horse Mtn Lookout C) contributed to a decrease in open route densities.




         SELKIRK / CABINET-YAAK GRIZZLY BEAR RECOVERY ZONES - 2019 ANNUAL COMPLIANCE MONITORING FINAL SUMMARY REPORT 04-17-2020
                                                                         Page 4
                                                                                                                        FWS001744
                                                            4-ER-842
                    Case: 23-2882, 03/22/2024, DktEntry: 30.5, Page 184 of 218                                                   (184 of 218)


   Bear                                                 Cabinet-Yaak Recovery Zone
Management                                                 Management Actions
   Unit
                    OMRD dropped 1% to 32%, TMRD remained at 34%, while core dropped 1% to 53%. BMU
                    6 is lower (better) than its 34% OMRD standard, and is 2% higher (worse) than its 32%
                    TMRD standard and 2% less or worse than its 55% core standard.
                    Several routes contributed to open route densities. Gated FR 4725 (North Fork Miller Cr)
                    was considered open for the BY due to a damaged gate. In addition, the gate on FR 2314
                    (Corral Secondary Road), which was repaired and locked in September of 2018, was
                    checked in October of 2019 and found again to have the lock cut and the gate opened. As a
                    result FR 2314, and one of its spurs located within BMU 6 were considered opened for BY
                    2019. In BY 2018 it was inferred that all the associated spurs (FRs 2314M, 99808, 99809,
                    99809A, 99809B, 99809C, 99810) were located within BMU 6 when they are actually
                    located within BMU 7. Please see BMU 7. All were considered opened for 2019.
                    Decreases in route density resulted from BY 2018 breaches being repaired in fall of 2018
                    (gate repaired on FR 2332 and FR 5111) and from database updates on several routes.
                    This included the update to code the entire FR 2332 (Bramlet Cr Road) as gated from the
                    intersection with FR 231 (Libby Cr). This route is actually open on the ground until the gate
6-Wanless           located at the Trailhead parking lot. This database correction contributed to a slight
                    decrease in open route densities for BY 2019 that did not reflect ground conditions and this
                    will be corrected in the road layer for BY 2020. Two barriered routes being open during BY
                    2019 contributed to the 1% decrease in core.
                    The berm on the Miller Creek / West Fisher Creek Road (FR 385) which was originally
                    breached with ATV’s in 2018 was not repaired in 2019, maintaining a 143 acre decrease in
                    core for BY 2019. The Libby District is expected to repair this berm in Spring 2020 as soon
                    as conditions allow. Also during BY 2019, road work associated with the Miller West Fisher
                    Project opened a portion of the barriered segment of FR 4724 (S Fork Miller Cr) affecting
                    134 acres of core., As per the MWF 2009 BA, FEIS, and ROD, the Supplemental 2013 BA,
                    and the MWF FSEIS and ROD 2017, this portion was to remain barriered during activity of
                    the Miller West Fisher Project the and harvest of unit #26 (required winter harvest). This was
                    not reflected in the 2009 engineering road package, which authorized brushing of the 4724
                    to the end of unit #26. . A barrier was not re-installed in 2019 after the road work. Libby
                    District will re-install the barrier in the Spring of 2020 as soon as conditions allow. The route
                    will be modeled as open until it is re-barriered.




      SELKIRK / CABINET-YAAK GRIZZLY BEAR RECOVERY ZONES - 2019 ANNUAL COMPLIANCE MONITORING FINAL SUMMARY REPORT 04-17-2020
                                                                      Page 5
                                                                                                                     FWS001745
                                                         4-ER-843
                     Case: 23-2882, 03/22/2024, DktEntry: 30.5, Page 185 of 218                                                   (185 of 218)


    Bear                                                 Cabinet-Yaak Recovery Zone
 Management                                                 Management Actions
    Unit
                     OMRD decreased by 5% to 24%. TMRD increased by 1% to 23%. No change in Core
                     (65%). At the end of BY 2019, BMU 7 is 2% better (lower) than its OMRD standard (26%), is
                     at TMRD standard (23%) and is 2% greater (better) than its core standard of 63%
                     Contributing to a decrease in open route densities were the gates/locks being repaired in fall
                     of 2018 on the Silver Butte Power Line Road (FR 594) on the Libby Ranger District and the
                     Power Line Road (FR 2220) on the Cabinet Ranger District.
                     On the Libby District, a breach on the main access road 2314 as described under BMU 6,
                     extends into BMU 7 and it and its remaining spurs (FRs 2314M, 99808, 99809, 99809A,
                     99809B, 99809C, 99810) were considered opened for 2019.
                     On the Cabinet Ranger District, barriers being placed on private roads previously open to
                     public motorized use on Stimson land (Vermillion E Fisher 8834 and spurs 8834A, 8834B,
                     and 8834C, 7593A, and portions of Vermillion Willow #8835, and all of #8835A) contributed
                     to decrease in open and total route densities. Some of the changes (8834, 8834B, and
7-Silver Butte-      8834C) also resulted in slight increases in core acres.
Fisher               TMRD shows a 1% increase compared to BY 2018, but returns to 23%. TMRD remained at
                     23% from 2010 through 2017. An NRM coding error in 2018 resulted in the gated segment
                     of FR 20 Odd 2211 not being considered. A correction in BY 2019 to NRM resulted the road
                     again being considered as gated. This was not a change on the ground. This segment of FR
                     2211 remains gated at the intersection with the motorized trail FR 2211A 20 Odd ATV.
                     No percentage change to core occurred but NRM database corrections and updates
                     resulted in slight increases and decreases to core acres. The correction to FR 20 Odd 2211
                     resulted in a slight decrease of core acres that was shown in BY 2018, but 2019 reflects the
                     core that has existed from 2010 through 2017 due to the gated segment of FR 20 Odd 2211
                     being included in the road layer. Another segment of FR 20 Odd 2211 was erroneously
                     shown as open in BY 2018, but this segment of road is not drivable due to a washout and no
                     motorized use on this segment occurs. This resulted in slight increase in core acres. Re-
                     routing of portions of the motorized trail 20 Odd Peak #898 from private land to NFS land
                     and county ownership also resulted in a slight decrease of core acres.
                     No change to OMRD (32%), TMRD at 22%, or core at 58%. At the end of BY 2019, BMU 8
                     complies with its 32% OMRD standard, is 3% above (better) than its 55% core standard, but
                     is 1% greater (worse) and does not comply with its 21% TMRD standard.
                     During BY 2019, on-the-ground verification of a user-created motorized trail near the Elk
                     Lake hiking and motorized trail occurred and the route was digitized and added to the route
                     layer. The additional user created motorized route contributed to open and total route
                     densities and a slight decrease to core acres.
                     The Spring Gulch Timber sale barriered previously gated roads FR2271 (Bear Creek), FR
                     2271A, and FR 38123. These changes also contributed towards improvements in total route
                     density and core acres.
                     Other NRM updates reflected corporate timberland owner Stimson installing berms on roads
8-Vermillion         previously open to public motorized traffic after fire salvage. Berms placed on Vermillion
                     East Fisher 8834 and its spurs 8834B, 8834C slightly increased core acres.
                     For the bear year 2019 effort, NRM updates were made to ensure all the existing roads on
                     the Lolo National Forest were accounted for and spatially correct within the KNF buffer. Lolo
                     NF existing routes that have existed on the ground, but not previously considered in the KNF
                     buffer include year-round open roads ManTrap FR 7562 and Stony Lake FR 7675, gated
                     road WomanTrap FR 18467. Status and spatial location was also updated for gated road
                     Vermillion Pass East FR 7680 and year-round open road Graves Vermilion FR 367. These
                     were not changes on the ground, only a database updates. Considering these existing
                     routes affected open and total route densities and core, but did not change the percentages.
                     Other spatial corrections to the Lolo FR 7680 also slightly adjusted core acres but there was
                     no change on the ground.


       SELKIRK / CABINET-YAAK GRIZZLY BEAR RECOVERY ZONES - 2019 ANNUAL COMPLIANCE MONITORING FINAL SUMMARY REPORT 04-17-2020
                                                                       Page 6
                                                                                                                      FWS001746
                                                          4-ER-844
                     Case: 23-2882, 03/22/2024, DktEntry: 30.5, Page 186 of 218                                                   (186 of 218)


    Bear                                                 Cabinet-Yaak Recovery Zone
 Management                                                 Management Actions
    Unit
                     Correction for Bear Year 2018 monitoring report: In the BY 2018 report it was said there
                     were no activities in this BMU that changed core or road densities. This was in error
                     however, and did not account for the temporary 4% increase in OMRD from 27% (OMRD
                     remained at 27% from Bear Year 2013 through BY 2017) to 31& in BY 2018. This temporary
                     increase in BY18 was due to administrative use being exceeded on two gated roads: NFSR
                     4618 (Three Mile) and NFSR 1055: (North Fork Ruby Creek) for timber administration, and
                     additional use by the Montana DNRC on NFSR 4618 for access to a State-owned section.
                     This timber sale prep work was approved and analyzed under the Starry Goat Project.
                     For Bear Year 2019, OMRD decreased 2 percent to 29%, TMRD increased 3 percent to
                     29%, and core decreased 2 percent to 57%. At the end of BY 2019, BMU 9 is 4% lower
                     (better) than the OMRD standard of 33%, is 3% higher (worse) than the TMRD standard of
                     26%, and 2% better (higher) than the core standard of 55%. During 2019, administrative use
                     of gated routes was not exceeded, including all gated roads analyzed and approved under
                     the Starry Goat Project; access changes approved and analyzed under that project are
9-Callahan           temporary adjustments for project implementation. In-kind replacement of core and impacted
                     core from project access occurred concurrently in Bear Year 2019. Temporally, the road
                     storage work occurred first, and when this was completed, project approved routes that had
                     been barriered were opened.
                     The following roads were barriered for in-kind replacement of core: NFSRs 14373 and 4456.
                     After securing replacement core, the following roads were opened for project access (new
                     construction or barrier removed, and gate restricted): NFSRs 4405, 4418C, 4418D, 4455B,
                     1055F, 14377, 582, 582D, 582G, 4476D, and 414B.
                     Unauthorized use occurred on two routes: NFSRs barriered road 427A (Callahan Creek A)
                     and gated road 4479 (Blackbear). Use of these roads temporarily affected route density
                     and/or core during Bear Year 2019.
                     The State of Montana DNRC utilized NFSR 4479 to access a section of state-managed
                     land, thus affecting open route densities.
                     Also affecting route densities and core in 2019 were database updates (no change on the
                     ground) to include the existing Burlington Northern Railroad tracks and access roads.
                     No change in percentage to OMRD (45%). TMRD increased by 2 percent to 28%. No
                     change in core percentage (54%). BMU 10 is 1% greater (worse) than its OMRD standard
                     of 44%, is 6% better (less than) its TMRD standard of 34%, and 2% better (higher) than its
                     core standard (52%). The temporary increase in route density in BY 2019 is related
                     primarily with ongoing, authorized activities associated with the OLY project (Oly Moly TS
                     and some small sales).
                     Slight improvements to core acres resulted from repairing BY 2018 breaches on NFSR
10-Pulpit            4690F (West Fork Quartz Creek F Road).
                     Barriered NFSR 4433 had been breached and contributed to a temporary decrease in 360
                     acres of core and increase in route densities and was repaired in 2019. Therefore, it was
                     considered open in BY 2019 and will be considered barriered going in to BY 2020.
                     Database updates for the existing Burlington Northern Railroad tracks and associated
                     railroad access routes, and existing Powerline access routes resulted in slight decreases to
                     core acres and route densities.
                     OMRD decreased by 1 percent to 29%. TMRD decreased 1 percent to 26%. Core
                     increased 2% to 56%. During BY 2019, BMU 11 was worse than its OMRD standard of 28%,
11-Roderick          met its TMRD standard of 26%, and was 1% better (higher) than its core standard of 55%.
                     Unauthorized access occurred on gated NFSRs 8021 and 6814A, however there is no
                     indication administrative trip limits were exceeded. Nonetheless, we attributed the
                     unauthorized use to a temporary increase in OMRD.

       SELKIRK / CABINET-YAAK GRIZZLY BEAR RECOVERY ZONES - 2019 ANNUAL COMPLIANCE MONITORING FINAL SUMMARY REPORT 04-17-2020
                                                                       Page 7
                                                                                                                      FWS001747
                                                          4-ER-845
                    Case: 23-2882, 03/22/2024, DktEntry: 30.5, Page 187 of 218                                                   (187 of 218)


   Bear                                                 Cabinet-Yaak Recovery Zone
Management                                                 Management Actions
   Unit
                    OMRD temporarily increased 1 percent to 43%, No change to percentage of TMRD (32%)
                    while core temporarily decreased 1 percent (54%). OMRD remained 2% better (lower) than
                    its OMRD standard (45%), TMRD remained 1% higher than its standard of 31%, and core
                    remained 1% lower (less) than its standard of 55%). Therefore, the BMU temporarily did not
                    meet all standards during BY 2019.
                    Emergency (fire) access occurred on two barriered roads in BY 2019: NFSR 2531 (Teepee
                    Mountain) and NFSR 393 (Redtop Cyclone), but not the entire length of the affected
                    segments. The access on NFSR 393 also occurred in adjacent BMU 13. Both route
12-Newton           densities and core were temporarily affected.
                    Unauthorized motorized use occurred on several routes (barriered NFSRs 14328 and 4438
                    which contributed to temporary increase in route densities; and impassable NFSR 2351D
                    which temporarily decreased 32 acres of core and contributed to route densities).
                    Emplacement of barriers on NFSR 749B and 749D as indicated in the Rocky Pine decision
                    and NFSR 2379 as indicated in the MVUM will meet the direction of those decisions. All
                    repairs to the above routes were completed by the fall of 2019. Because repairs were made
                    in the active bear year, improvements to decreased route density and increased core will not
                    be shown until BY 2020. These repair activities will bring the BMU to standards going in the
                    BY 2020.
                    OMRD decreased 1 percent to 34%, TMRD decreased by 1 percent to 24%, and core
                    remained at 59%. At the end of BY 2019, BMU13 remained 1% worse (above) than its
                    standard for OMRD (33%), 2% better (lower) than its TMRD standard (26%), and met its
                    core standard (59%).
                    On the Kootenai NF, emplacement of barriers under the Buckhorn Project decision occurred
                    in BY 2019 and will improve the TMRD and core conditions going into BY 2020. Barriers
                    were placed on NFSRs 524 and 5971. In BY 2019, emergency (fire) use occurred on the
13-Keno             barriered portion of NFSR 393 (RedTop Cyclone) to access a fire in BMU 12 to the south
                    and temporarily affected core and route density. On the Kootenai NF, there was no
                    unauthorized use or administrative use exceedance, and one route (NFSR 393) was used
                    for emergency fire access.
                    On the Idaho Panhandle NF, temporary project-related increases related to the Deer Creek
                    Project. Most timber harvest within the BMU has been completed, but final road
                    maintenance still needs to be completed. The BMU will comply with Forest Plan standards
                    once the Deer Creek Project is completed.
                    OMRD decreased 1% to 29%, and no change to TMRD (24%) or core (56%). At the end of
                    BY 2019, BMU 14 was 2% lower (better) than its standards for OMRD (31%) and TMRD
                    (26%), and 1% better (higher) than its core standard (55%).

14-NW Peaks         On the Kootenai NF, there was no unauthorized use, emergency access, or administrative
                    use exceedance.

                    No activities were reported for BY19 by the Idaho Panhandle Forest for their portion of this
                    BMU.




      SELKIRK / CABINET-YAAK GRIZZLY BEAR RECOVERY ZONES - 2019 ANNUAL COMPLIANCE MONITORING FINAL SUMMARY REPORT 04-17-2020
                                                                      Page 8
                                                                                                                     FWS001748
                                                         4-ER-846
                    Case: 23-2882, 03/22/2024, DktEntry: 30.5, Page 188 of 218                                                   (188 of 218)


    Bear                                                Cabinet-Yaak Recovery Zone
 Management                                                Management Actions
    Unit
                    OMRD increased by 2 percent to 32%. TMRD remained at 27%, and core remained at 54%.
                    BMU 15 was 1% better (lower) than the standard for OMRD, 1% greater (worse) than the
                    standard for TMRD (26%), and 1% less (worse) than the standard for core (55%). The BMU
                    did not comply within its individual standards for TMRD and Core in BY 2019.
                    Unauthorized use occurred on the following NFSRs: 5853 (impassable) and 5856A
                    (barriered) which temporarily affected both core and route densities; and 5890 (barriered,
                    Gun Club; we list this as open anyway because of historic unauthorized use) which
15-Garver           contributes to route densities. Database updates were made to reflect the continuing
                    subdivisions and road construction on private land, as well as updates to the NFS road
                    database. Construction of new roads on private land in several locations across the BMU
                    and in the Yaak River valley contributes to the route density condition and decrease in core.
                    Some improvements in condition resulted from reassessments of route conditions on NFS
                    roads. Restriction devices were repaired during the fall on all unauthorized routes.
                    Therefore, the BMU will be in compliance with the standards going in to BY 2020.
                    No emergency access or administrative use limit exceedance on any routes beginning in
                    this BMU.
                    OMRD remained at 30% and TMRD at 25%, while core decreased 1 percent to 54%. For
                    bear year 2019, BMU 16 was 3% better (lower) than its standard for OMRD of 33%, 1%
                    better (lower) than its standard for TMRD (26%), and 1% less (worse) than its core standard
                    of 55%.
16-East Fork        Unauthorized use occurred on the following NFSRs: barriered routes 746B, 6061, and gated
Yaak                route 6062. The breach on FR 6061 temporarily affected core and route densities while the
                    breaches on 746B and 6062 temporarily affected route densities. Actual use was likely
                    infrequent. All restrictions were repaired and will be considered barriered and gated going in
                    to 2020.
                    No emergency access or administrative use limit exceedance on any routes beginning in
                    this BMU.
                    OMRD decreased 4% to 30%, TMRD decreased by 1% to 16%, and core increased 3
                    percent to 58%. For bear year 2019, BMU 17 was 3 percent better (lower) than its OMRD
                    standard (33%), 11 percent better (lower) than its TMRD standard (26%) and 3 percent
                    better (higher) than its core standard of 55%.
17-Big Creek        Unauthorized access occurred on one route in BMU17: NFSRs 6061. NFSR 6061 access
                    temporarily affected core (826 acres) in primarily BMU 16 and only incidentally affected BMU
                    17 core (13 acres). Actual use was likely infrequent and did not affect standards.
                    No emergency access or administrative use limit exceedance on any routes beginning in
                    this BMU.
                    No percentage change to Core, TMRD, or OMRD.
                    The temporary road used for Leonia TS beginning on restricted FSR 2111 was
                    decommissioned in 2018, resulting in a small core increase and TMRD decrease. This road
18-Boulder
                    and the 2111 were counted as open for the decommissioning activity in 2018, but not 2019
                    (small OMRD decrease).
                    Trip limits were exceeded for several miles of restricted FSR 1304 for timber sale prep.
                    The portion of FSR 2260 within the neighboring Grouse BMU used for log haul activities
                    associated with the Twentymile TS did not have haul activities in 2019 (small OMRD
                    decrease).
                    The end result is a small core increase/TMRD decrease from temp road decommissioning,
                    and a small OMRD increase from FSR 1309 use offsetting lack of use of 2260 and 2111.




      SELKIRK / CABINET-YAAK GRIZZLY BEAR RECOVERY ZONES - 2019 ANNUAL COMPLIANCE MONITORING FINAL SUMMARY REPORT 04-17-2020
                                                                      Page 9
                                                                                                                     FWS001749
                                                         4-ER-847
                       Case: 23-2882, 03/22/2024, DktEntry: 30.5, Page 189 of 218                                                   (189 of 218)


    Bear                                                   Cabinet-Yaak Recovery Zone
 Management                                                   Management Actions
    Unit
                       OMRD decrease*, no change to Core or TMRD.
                       *The IPNF identified four road systems in close proximity to NFS lands (that had been
                       contributing to OMRD) actually had gates in place to restrict public access. Starting in 2019,
                       the IPNF will model these roads as “restricted” and not count individual segments toward
19-Grouse
                       OMRD unless the landowner conducts active management (usually timber harvest) on the
                       lands accessed by them. Including these closures reduces OMRD by several percent.

                       The following factors influence OMRD in 2019 for the Grouse BMU:
                       The portion of FSR 2260 within the Grouse BMU (5.2 miles) used for log haul activities
                       associated with the Twentymile TS in 2018 was not hauled on in 2019. FSR 2260E (~1.1
                       miles) and 2260F (~1 mile) are still counting toward TMRD.
                       Continued unauthorized ATV trail and use of a closed road in the South Fork Grouse area
                       adding to OMRD and TMRD, and reduction in core. Under contract to be closed in 2020.
                       FSR 215 exceeded administrative use trips in 2018 for wildfire suppression. This road was
                       not used and reverted to restricted status for 2019 reporting.
                       The gate restricting FSR 2260A was destroyed, leaving approximately 0.7 mile available to
                       illegal use. Since this portion of road is scheduled for storage once post-harvest activities
                       are complete, the gate has not been repaired.
                       Private land logging required timber haul on the restricted portion of FSR 404 and
                       approximately 2.2 miles of associated road on private land (one of the closures discussed in
                       the * above). These roads were modeled as open for the 2019 Bear Year.
                       The gate restricting FSR 2625 (another of the roads discussed in the * above) was left open
                       by unknown parties and locked upon discovery in June. Additionally, there was evidence of
                       ATVs circumventing the gate in previous years. The path around the gate was blocked in
                       early summer, and it appeared that use behind the gate was very light despite the missing
                       lock and illegal route around the gate for a portion of the season. Since it did not appear
                       that illegal use exceeded trip limits, the road was modeled as restricted for 2019.
20-North               No Change. No activities in this BMU that changed core or road densities.
Lightning
                       No percentage change to Core or TMRD, OMRD increase of 1%.
21-Scotchman           Road building on private land resulted in an increase in OMRD, but changes to TMRD and
                       Core did not result in a full percentage change.
                       In the last 2 years we have been preparing for our ongoing BMU 22 Compliance project to
22-Mt.                 bring the BMU up to standard. The limited projects occurring in the BMU that affected roads
                       (Copper King Fire salvage, 2018) moved toward standards in OMRD, TMRD, and core (See
Headley
                       Copper King Fire Salvage BA). All other changes have resulted from intensive road/closure
                       monitoring to insure correct data, and changes to roads on non-FS jurisdiction roads
                       (Weyerhauser/State/Private). The amount of private timber company lands in the BMU, and
                       the rate at which roads are constructed, blocked, and reconstructed is faster than we are
                       able to record the data. Note – there is no data exchange between Private timber lands and
                       USFS for road data, changes are either observed during on-the-ground surveys, or through
                       examination of aerial photos, both of which do not cover the entire BMU at once.

                         Note- several roads exceeding admin use requirements but those were consulted on in the
                         Copper King Salvage BA, they are not listed below in the admin use table.
Note: On-going field validation of road status and road database cleanup may contribute to some change each year. Conditions on the
ground do not necessarily change from the previous year.




         SELKIRK / CABINET-YAAK GRIZZLY BEAR RECOVERY ZONES - 2019 ANNUAL COMPLIANCE MONITORING FINAL SUMMARY REPORT 04-17-2020
                                                                         Page 10
                                                                                                                        FWS001750
                                                            4-ER-848
                      Case: 23-2882, 03/22/2024, DktEntry: 30.5, Page 190 of 218                                                   (190 of 218)




Table 4. Management actions that resulted in changes to OMRD, TMRD or Core habitat from 2018 to 2019 in the
Selkirk Recovery Zone on the Idaho Panhandle and Colville National Forests.

     Bear
                                                               Selkirk Recovery Zone
 Management
                                                                Management Actions
     Unit
Long-Smith              No percentage change to Core, OMRD increase, TMRD decrease.
                        FSR 655 modeled as open to account for management of grazing allotments (same as
                        previous years).
                        A gate on private land in the upper Smith Creek drainage was destroyed in the recent past,
                        and ATVs have been using several miles of the formerly restricted road. The ATV-able
                        section of the road was modeled as open for the 2019 Bear Year. Conversations with the
                        landowner about securing the closure are ongoing.
                        There were several mapping errors from previous years that were discovered and
                        corrected for the Bear Year 2019 reporting:
                          • FSR 655 (Cow Creek) – the drivable portion of this restricted road extends
                              approximately 1.3 miles further than previously modeled.
                          • FSR 2443 (Cutoff Peak) - approximately 1.1 miles of stored road was mistakenly
                              modeled as restricted.
                          • Beaver Creek (upper Smith Creek) – approximately 0.3 mile of an unclassified road
                              was modeled as open, but clearly has not been drivable for a very long time.
                        The end result of these changes was an OMRD increase (due to use behind the damaged
                        gate on private land), and small improvements to core and TMRD (additional miles of FSR
                        655 being outweighed by fewer miles elsewhere).
Ball-Trout              No Change. No activities in this BMU that changed core or road densities.




        SELKIRK / CABINET-YAAK GRIZZLY BEAR RECOVERY ZONES - 2019 ANNUAL COMPLIANCE MONITORING FINAL SUMMARY REPORT 04-17-2020
                                                                        Page 11
                                                                                                                       FWS001751
                                                           4-ER-849
                       Case: 23-2882, 03/22/2024, DktEntry: 30.5, Page 191 of 218                                                   (191 of 218)


    Bear
                                                                Selkirk Recovery Zone
 Management
                                                                 Management Actions
    Unit
                         No percentage change to OMRD; Core decrease, TMRD increase
                         IPNF post-harvest activity (grapple piling) for Mini Mack TS exceeded trip limits on FSR
Myrtle                   1309.
                         A gated road in the upper Myrtle Creek drainage (Peak Creek) on private lands had been
                         modeled as open in 2018 (fire suppression access) and 2017 (road reconstruction and
                         logging). There were no activities behind this gate in 2019, and the road was modeled as
                         restricted.
                         A portion of restricted FSR 2400 on private land was used for log haul.
                         Activities on private lands accessed by restricted FSR 2405 (Mack Creek) likely exceeded
                         trip limits, and the road was modeled as open in 2019.
                         A historic (non-motorized) trail on Apache Ridge has been accessed by OHVs in recent
                         years from adjacent private and IDL lands. Vehicles have apparently been traveling nearly
                         to the site of the former Roman Nose lookout (about 2 miles). A core deduction and
                         OMRD/TMRD addition were taken in 2019. The route was shut off by the private
                         landowner in fall, 2019. We will work with the landowner to ensure a permanent solution.
                         There were also several mapping errors or changes from previous reporting that were
                         discovered in 2019, and corrections made:
                               • FSR 231 (Pack River) - approximately 0.5 miles of barriered (inaccessible) road
                                   was mistakenly modeled as open.
                               • FSR 2566 (Snow Ridge) - approximately 0.7 miles of stored road was mistakenly
                                   modeled as restricted.
                               • FSR 1309 the stored section of this road was found to be approximately 1/3 mile
                                   longer than previously reported.
                               • FSR 2220 (upper Caribou Creek) – approximately 1 mile of road straddling IPNF
                                   and private lands behind a gate had been modeled as impassable, but showed
                                   evidence of having been used for private timber harvest several years ago, and is
                                   officially restricted in the INFRA database. Road is now modeled as restricted.
                               • Several new or reconstructed road systems on private lands off West Side Road
                                   on the extreme east end of the BMU were added upon discovery.
                         Core decreased and TMRD/OMRD increased as a result of the Apache Ridge trail use and
                         newly discovered roads on private lands. Other changes discussed above effectively
                         canceled out changes to OMRD (no percentage change).
Lakeshore                No Change. No activities in this BMU that changed core or road densities.
                         No change in TMRD or Core, OMRD increase of 3%.
                         The 311A network of roads on Hancock land were considered open for the MW analysis.
Kalispell -              Hancock conducted logging activity on their land during the summer and fall bear seasons
Granite                  in 2019. 3.2 miles of FSR 311 that provide access to the Hancock land was also
                         considered open for analysis.
                         Multiple private roads off of FSR 308 on Stimson land in sections 5 and 9 were considered
                         open due to logging activity.
                         The network of private roads off of FSR 311 in section 3 on Stimson land were considered
                         closed for analysis, as reported use on these roads did not exceed allowable limits in 2019.
                         In all these changes resulted in a 3% increase in OMRD.
                         In late August gates were violated on the north and south end of FSR 311. The gates were
                         open for only 5 days. During the summer season there were only 7 administrative use trips
                         taken on the 311 road. It is unlikely that more than 16 additional trips were taken during
                         the 5 day window that the gates were open, so the section of 311 south from the junction of
                         311A was modeled as restricted.
                         FSR 401, FSR1341, FSR1015 and FSR1362H were analyzed as open roads since they
                         are always open during a portion of July, August and September (same as previous years).
                         In 2019 there were no activities in this BMU that resulted in a change to Core Habitat or
Salmo-Priest             road densities



         SELKIRK / CABINET-YAAK GRIZZLY BEAR RECOVERY ZONES - 2019 ANNUAL COMPLIANCE MONITORING FINAL SUMMARY REPORT 04-17-2020
                                                                         Page 12
                                                                                                                        FWS001752
                                                            4-ER-850
                       Case: 23-2882, 03/22/2024, DktEntry: 30.5, Page 192 of 218                                                   (192 of 218)


     Bear
                                                                Selkirk Recovery Zone
  Management
                                                                 Management Actions
     Unit
                         No change to OMRD, TMRD or Core.
                         In the fall of 2019 the CNF completed Phase 1 of the Sullivan Creek Large Woody Debris
                         Enhancement Project. Trees were felled in a timber stand located adjacent to Forest Road
                         2200394 and stockpiled on site. These trees were then flown by helicopter to locations in
                         nearby Sullivan Creek. The pilot carefully placed the log pieces in an interlocking fashion
Sullivan-Hughes          at 8 pre-selected sites on the creek. The intent was to improve in-stream habitats for fish
                         and other aquatic organisms. Aerial operations occurred over a 7 consecutive day period
                         in the month of October. Helicopter use occurred outside the critical spring period for bears
                         and was confined to flights directly over open road corridors, in order to avoid impacts to
                         core habitat.
                         OMRD decrease, no percentage change to Core or TMRD
                         Route used by Continental Mine owners to their inholding in Blue Joe Creek modeled as
                         open, including FSR 1009, 636, 1011 and 2546. Vehicular use likely to have exceeded
                         administrative use limits.
                         Numerous dump trucks traversed FSR 1009 and FSR 636 accessing gravel pits to haul fill
Blue Grass               for repairs on FSR 2455 adjacent to Saddle Creek. Both 1009 (discussed above) and the
                         southern approximately 3 miles of FSR 636 modeled as open.
                          FR1388 gate 117 (Lime Creek) was monitored with a camera and traffic counter. No
                         evidence of illegal ATV use in 2019. Road modeled as restricted (open in 2018). OMRD
                         decrease from this change more than offsets increase from FSR 636 use.
                         In 2019 there was a 3 percent increase in OMRD, no change to TMRD in this BMU.
                         Decrease in Core (no percentage change).

                         In the fall of 2019 the Colville NF completed the West Branch LeClerc Creek Stream
                         Restoration Project in this BMU. For this project, a helicopter was used to fly cut trees from
                         a stockpile area to locations on the creek between the old Diamond City Mill site and Forest
                         Road 1935 where it crosses the creek. The pilot carefully placed log pieces in an
LeClerc                  interlocking fashion at 42 pre-selected sites in the creek. Because the project required
                         helicopter use over an area of core habitat, it resulted in a short-term (3 day) reduction in
                         core (less than 1 percent of the total core area in the BMU).

                          Seco Sorts Timber Sale (WADNR) was active from July 22 to December 11 in the Fourth of
                          July Peak area. This caused us to class the Seco Creek Road (FR 1934070) as active
                          (open) in 2019. Stimson Lumber Company timber sales caused us to class 6 restricted
                          road segments as active (open) in 2019.
Note: On-going field validation of road status and road database cleanup may contribute to some change each year. Conditions on the
ground do not necessarily change from the previous year.



Seasonal Administrative Use
During the 2019 bear year in the Cabinet-Yaak and Selkirk Recovery Zones, there were some
instances where administrative vehicle entries on restricted access roads exceeded standards.
Restricted roads that received administrative use in excess of the allowable trips (either seasonally or
over the entire bear year) were considered “open” roads for the purpose of calculating OMRD for
2019. Additional instances of public trespass behind closed gates were documented in several
BMUs, but the level of use could not be determined. Other barriered roads may have been breached.
Where those situations were known, those roads were considered to be “open” for the purposes of
calculating OMRD, TMRD, and core acres above, but are not considered “administrative use”.

Tables 5 and 6 summarize seasonal administrative use on restricted roads by BMU over the 2019
bear year. Unauthorized use by the public (breached roads) is not considered administrative use in
the tables.
         SELKIRK / CABINET-YAAK GRIZZLY BEAR RECOVERY ZONES - 2019 ANNUAL COMPLIANCE MONITORING FINAL SUMMARY REPORT 04-17-2020
                                                                         Page 13
                                                                                                                        FWS001753
                                                            4-ER-851
                        Case: 23-2882, 03/22/2024, DktEntry: 30.5, Page 193 of 218                                                    (193 of 218)


Table 5. Seasonal administrative use within the Cabinet-Yaak Recovery Zone by bear management unit (BMU) in 2019.

                             Number of                      Number of Restricted Roads Exceeding
                              Restricted                Seasonal and Total Administrative Use Levels
                               Roads                              During “Bear Year” 2019
       Bear                     With                 Spring        Summer            Fall
    Management              Administrative         Use Period    Use Period       Use Period    Total Use
       Unit                      Use                4/1-6/15      6/16-9/15       9/16-11/30    4/1-11/30
                             During Bear           (≥18 trips)    (≥23 trips)     (≥19 trips)   (≥60 trips)
                             Year 2019
 1-Cedar1                           6                     0                     1                     0                   0
 2-Snowshoe                         3                     0                     0                     0                   0
 3-Spar                             4                     0                     0                     0                   0
 4-Bull                             1                     0                     0                     0                   0
 5-St. Paul                         8                     0                     0                     0                   0
 6-Wanless                          7                     0                     0                     0                   0
 7-Silver Butte-
                                    2                     0                     0                     0                   0
 Fisher
 8-Vermillion                        2                    0                     0                     0                   0
 9-Callahan                          9                    0                     0                     0                   0
 10-Pulpit                           7                    0                     0                     0                   0
 11-Roderick                         4                    0                     0                     0                   0
 12-Newton2                         10                    0                     2                     0                   2
 13-Keno3                            1                    0                     1                     0                   1
 14-NW Peaks                         8                    0                     0                     0                   0
 15-Garver                           5                    0                     0                     0                   0
 16-East Fork Yaak4                  5                    1                     1                     1                   1
 17-Big Creek                        0                    0                     0                     0                   0
 18-Boulder 5                        7                    0                     1                     0                   1
 19-Grouse 5                         6                    0                     3                     0                   3
 20 -North Lightning                 0                    0                     0                     0                   0
 21-Scotchman                        0                    0                     0                     0                   0
 22-Mount Headley                    2                    0                     0                     0                   0
                  Total             97                    1                     8                     1                   7
1 BMU 1 – Libby RD administrative use exceeded on FR 4729E – accessed via gate on FR 4729, exceeded allowable use levels during

summer. Use of FR 4729E was modeled as open for the Flower Creek Project for sale prep activities. Public use did not occur.
2 BMU 12 – Three Rivers RD emergency (fire) access occurred on two barriered roads in BY 2019: FR 2531 (Teepee Mountain) and FR

393 (Redtop Cyclone), but not the entire length of the affected segments. Access on NFSR 393 also occurred in adjacent BMU 13.
3 BMU 13- Three Rivers RD emergency (fire) use occurred on the barriered portion of FR 393 (RedTop Cyclone) to access a fire in BMU

12 to the south and temporarily affected core and route density.
4 BMU 16 – Ksanka (aka Rexford) RD -FR 999 Plum Bob considered open for “Young Fork” timber sale activities, administrative use

only. Activities approved under Caribou Fire Salvage Project. So one road that exceeded administrative use accessing BMU 16.
6 BMU 18 and 19 – Idaho Panhandle NF – both BMUs include FR 2260

7BMU 22 – Copper King Salvage Timber Sale, carried into 2019 and used several roads associated with FS 894, and FS 875.       These
roads were accounted for as open in the Project BA. Note, admin use reporting (for 2020) was discussed with the district on 3/23/20
(staff meeting) and on 4/15/20 (email to entire district).


During Bear Year 2019 in the SRZ, there were some instances where administrative use levels
exceeded allowable seasonal use levels (Table 6). Roads that experienced administrative use in
         SELKIRK / CABINET-YAAK GRIZZLY BEAR RECOVERY ZONES - 2019 ANNUAL COMPLIANCE MONITORING FINAL SUMMARY REPORT 04-17-2020
                                                                         Page 14
                                                                                                                        FWS001754
                                                              4-ER-852
                       Case: 23-2882, 03/22/2024, DktEntry: 30.5, Page 194 of 218                                                   (194 of 218)


excess of the allowable trips—either seasonally or for the entire bear year—were considered “open”
when determining the existing condition displayed in Table 1.

Table 6. Seasonal administrative use within the Selkirk Recovery Zone by bear management unit in 2019. Once roads
exceeded allowable round trips, they were considered “open” for analysis purposes for the remainder of the bear year.

                                                                    Number of Restricted Roads Exceeding
                                  Number of
                                                                         Administrative Use Levels
                                  Restricted
         Bear                                                            During “Bear Year” 2019
                                  Roads with
      Management                                            Spring       Summer             Fall      Total Use
                                 Administrative
         Unit                                              4/1-6/15      6/16-9/15      9/16-11/15    4/1-11/15
                                  Use During
                                                          (≥19 round    (≥23 round      (≥15 round   (≥57 round
                                Bear Year 2019
                                                             trips)         trips)         trips)       trips)
 Blue Grass1                              7                     0                   2                   1                    2
 Long Smith                               1                     0                   1                   0                    1
 Kalispell Granite                        5                     0                   1                   2                    1
 Salmo Priest2                            7                     0                   0                   0                    0
 Sullivan Hughes2                         6                     0                   0                   0                    0
 Myrtle                                   4                     0                   2                   0                    2
 Ball Trout                               1                     0                   0                   0                   0
 LeClerc3                                23                     0                   1                   6                    6
 Lakeshore                                0                     0                   0                   0                    0
                 Total                   54                     0                   7                   9                   12
1 Forest Roads 1009, 636, 1011 and 2546 form essentially one route to access a private inholding. These routes are also used

extensively by the Border Patrol.
2 All restricted road use on the Idaho Panhandle NF was reported to Colville NF, who reported figures for both forests.
3 Stimson Lumber Company administrative entries and timber sales (FR 1934080, 1934200, 1935011, 1935024) and Colville NF in-

stream habitat work on FR 1933110


Road Closure Monitoring
The Forest Service monitors closed roads in the recovery zones as time and budgets allow. Agency
personnel attempt to repair or replace any vandalized gates and locks as soon as possible. Where
road closures have been driven around, steps are taken to block this illegal access as soon as
possible using boulders, earthen berms, cement posts, plantings, root wads, or other means.
Beginning in 2012, the forests were required to ensure that at least 30 percent of all gates and
barriers within the recovery zones were monitored annually (USDI 2011). Tables 7 and 8 display the
numbers of gated and barriered roads that were monitored during the 2019 bear year.

Table 7. Summary of closed road monitoring within the Cabinet-Yaak Recovery Zone in 2019. Data on file at the district offices.
  Grizzly Bear                                                                             2019
   Recovery               National      Closure                   Number of               Number                Percent
     Zone                  Forest        Type                  Closure Devices           Monitored             Monitored
                                            Gate                      54                     51                   94
                           Idaho           Barrier                    33                      0                    0
    Cabinet-             Panhandle          Total                     87                     51                   59
     Yaak                                   Gate                     268                    202                   75
                         Kootenai1         Barrier                   663                    417                   63
                                            Total                    931                    619                   66
                                            Gate                      82                     24                   20
                            Lolo            Total                    197                     40                   27
                              Recovery Zone Total                   1,215                   710                   58
         SELKIRK / CABINET-YAAK GRIZZLY BEAR RECOVERY ZONES - 2019 ANNUAL COMPLIANCE MONITORING FINAL SUMMARY REPORT 04-17-2020
                                                                         Page 15
                                                                                                                        FWS001755
                                                            4-ER-853
                        Case: 23-2882, 03/22/2024, DktEntry: 30.5, Page 195 of 218                                                     (195 of 218)


1 As of 2019, the total number of devices has been updated to reflect conditions on the ground due to data collected during 2018 and

2019 on the Libby RD. This has further refined the number of impassible roads (due to vegetation) that actually had a barrier in place. On
the Rexford RD slight adjustments were made for a gated road that was bermed. On the Three Rivers RD due to ongoing approved
project activities, including creation of in-kind-core and harvest and watershed improvement work, barriers have been installed on roads
previously impassible due to vegetation, or previously gated roads, while some previously barriered roads are now gated, and the total
number of closure devices and the number of routes being gated, barriered, or impassible due to vegetation have fluctuated over time,
and this is true for 2019.



Table 8. Summary of closed road monitoring within the Selkirk Recovery Zone in 2019. Data on file at the district offices.
  Grizzly Bear                                                                                   2019
   Recovery               National            Closure Type               Number of                Number              Percent
     Zone                  Forest                                     Closure Devices            Monitored           Monitored
                                     Gate or Guardrail                       73                      58                 79
                          Colville         Impassable                        50                      43                 86
     Selkirk                                    Total                       123                     101                 82
                                     Gate or Guardrail                       87                      74                 85
                          Idaho                Barrier                       27                       0                  0
                        Panhandle               Total                       114                      74                 65
                                  Recovery Zone Total                       237                     175                 74


In 2019, a total of 58 percent and 74 percent of all gates and barriers were monitored in the Cabinet-
Yaak and Selkirk Ecosystems, respectively.

Table 9 lists the ongoing locations, dates, duration, and circumstances for invoking the allowance for
entering core area for the purposes of road decommissioning or stabilizations in the Cabinet-Yaak
Recovery Zone.

Table 9. List of ongoing locations, dates, duration, and circumstances for invoking the allowance for entering core area for the
purposes of road decommissioning or stabilizations in the Cabinet-Yaak Recovery Zone.
   BMU                          Location                        Date         Duration                 Circumstances
1-Cedar         Southwestern corner of the BMU               Summer         ~ 2 wks         Combination of storage and
                in the Madge Creek area.                     2017                           decommissioning of roads
                                                                                            691, 691E, and 14705,
                                                                                            Sparring Bulls Project
9-              In finger of core between north              July-16-                       Road 4521 – combination of
Callahan        and south Callahan creeks, east              August         ~3 ½ wks        decommissioning and storage
                of Smith Patrol (mountain).                  10, 2012                       work under West Troy Project


Bears Outside Recovery Zones (BORZ)
There are seven discrete areas of recurring grizzly bear use within proximity to the Selkirk and
Cabinet-Yaak Recovery Zones (Allen 2011). These areas are referred to as Bears Outside Recovery
Zones (BORZ). According to the forest plan amendments signed in November of 2011, the forests
are required to ensure “no permanent increases in the total linear miles of “open roads” and “total
roads” above baseline conditions on National Forest System lands in any individual BORZ area,
except in cases where the Forest Service lacks discretion to prevent road building across National
Forest System lands due to legal or other obligations (USDA Forest Service 2011; USDI Fish and
Wildlife Service 2011). Any potential increases in linear miles of open or total roads must be
compensated for with in-kind reductions concurrently or prior to such increases (ibid).


          SELKIRK / CABINET-YAAK GRIZZLY BEAR RECOVERY ZONES - 2019 ANNUAL COMPLIANCE MONITORING FINAL SUMMARY REPORT 04-17-2020
                                                                          Page 16
                                                                                                                         FWS001756
                                                             4-ER-854
                         Case: 23-2882, 03/22/2024, DktEntry: 30.5, Page 196 of 218                                                   (196 of 218)


Table 10 displays the size, land ownership, and linear miles of open and total roads for the BORZ
areas as of 2019. Recurring Use Areas (RUA’s) added since 2011 are displayed as individual RUA’s
and as combined with the existing adjacent BORZ.

Table 10. Bear Year 2019 motorized access conditions for Bears Outside of Recovery Zones (BORZ) areas and additional areas
identified as Recurring Use Areas (RUA’s| since 2011.

    Bears Outside                                                                    National Forest System Lands
                        Grizzly Bear                      Total
                                          National                        Total            Total Routes         Open Routes
    Recovery Zone        Recovery                          Size
                                           Forest                       Area NFS              (Miles)             (Miles)
      And RUA’s            Zone                          (Acres)
                                                                         (Acres)          Baseline/2019        Baseline/2019
    Priest Lake        Selkirk               IPNF       80,733            75,793            319.2 (373.3)           317.2 (373.3)
    Pack River         Selkirk               IPNF       33,869            28,097             41.9 (37.7)             37.9 (34.9)
    Caribou-Snow
                       Selkirk               IPNF        10,603           10,603              14.2/14.2               11.3/11.3
    RUA
    Mission- Moyie     Cabinet-Yaak          IPNF       71,545            58,472            200.3/243.6    1
                                                                                                                    167.3/213.61
    Mission-Moyie
                        Cabinet-Yaak         IPNF        28,530           28,530            102.1/102.12            100.1/100.12
    II RUA
    Mission-Moyie
                        Cabinet-Yaak         IPNF         3,631           3,631               25.5/25.5               25.2/25.2
    III RUA
    Cabinet Face 3     Cabinet-Yaak          KNF          28,052          27,083            165.0 (166.2)           133.6 (134.7)
    Clark Fork4        Cabinet-Yaak          KNF         101,899         100,209            267.4 (257.4)           186.4 (185.0)
    2011 West
                        Cabinet-Yaak         KNF         173,318         169,693            616.8 (608.6)           331.6 (336.4)
    Kootenai5
        Bobtail RUA6   Cabinet-Yaak          KNF         13,975           10,189             44.6 (45.5)              29.1 (31.4)
           Cedar Cr-
      Kootenai River    Cabinet-Yaak         KNF         19,039           14,498             44.6 (45.5)              32.4 (33.3)
               RU A7
    Lower Pipe RUA     Cabinet-Yaak          KNF         11,263           6,175              87.5 (87.5)              63.8 (63.8)
    8

  West Kootenai
                     Cabinet-Yaak       KNF      217,595        200,555         790.1 (785.3)         456.9 (464.9)
  and RUA’s 9
  Tobacco 10         Cabinet-Yaak       KNF      287,240        266,992       1,192.7 (1,204.9)      936.4 (976.9)
“Baseline: See USDA FS 2012, BY 2011 Table 9, footnote #2, stating 2011 AA ROD baseline numbers represents the 2010
existing condition identified in the amendments to the Forest Plan (USDA Forest Service 2011) and incorporated into the
KNF Forest Plan (USDA Forest Service 2015).
1
 Mission-Moyie - 2010 open/total roads + 50.5 motorized trail miles (previously not reported) + 4.4 mi railroad miles
(previously not reported).
2
  Mission-Moyie II RUA - 2016 open/total roads + 16.7 motorized trail miles (previously not reported). No railroad miles
in this RUA.
3
    Cabinet Face BORZ – No existing railroad tracks, or railroad or powerline access routes within this BORZ boundary
4
 Clark Fork BORZ: The KNF updated the database for total routes from 256.1 miles to 267.4 miles to account for 1.84
miles of gated Avista Powerline Access, plus 9.5 miles of existing routes not previously reported (1.7 miles of railroad
tracks, 0.1 miles of Railroad access roads and 7.7 miles of powerline access). The KNF updated the database for open
routes from 176.9 miles to 186.4 miles to account for the 9.5 miles of existing routes not previously reported. The 9.5
miles are existing routes and not a change on the ground.
5
 2011 West Kootenai BORZ: Numbers displayed in Table 10 reflect the 2011 AA acreages and updates to the database
that have been reported in the Bear Year monitoring reports, and separated out for just what occurred within the 2011
AA boundary. The KNF updated the database for total routes from 331.5 to 331.6 miles with a database correction &
update of 0.08 miles on FR 4604 from gated to open. No change occurred on the ground. No existing railroad tracks,
railroad or powerline access routes occur within the 2011 boundary.
           SELKIRK / CABINET-YAAK GRIZZLY BEAR RECOVERY ZONES - 2019 ANNUAL COMPLIANCE MONITORING FINAL SUMMARY REPORT 04-17-2020
                                                                           Page 17
                                                                                                                          FWS001757
                                                              4-ER-855
                       Case: 23-2882, 03/22/2024, DktEntry: 30.5, Page 197 of 218                                                   (197 of 218)


6
 Bobtail RUA: The Bobtail RUA was analyzed as an addition to the West Kootenai BORZ from 2012 through 2018. For BY
2019 it is shown as a separate RUA. In BY 2019 the KNF updated the database for total routes from 40.5 miles to 41.2
miles to account for 0.7 miles of existing powerline access routes not previously reported. The 0.7 miles of power line
access route is existing and no change on the ground. The KNF updated the database for open routes from 28.2 miles to
29.1 miles to include the 0.7 miles of existing powerline route not previously reported and database updates on FR 6144D
(0.1 mi) and FR 4698A (0.1 mi) (no change on the ground).
7
 Cedar Creek- Kootenai River RUA: The existing condition established in 2019 for this new RUA are 44.6 miles of total
routes (33.1 total miles of KNF roads and 11.5 miles of other routes (consisting of 9.1 miles of long-term illegal user-
created routes, 0.8 miles of railroad tracks, and 1.6 miles of existing powerline access routes). Existing condition for open
routes are established at 32.4 miles (20.9 miles of open KNF roads and the 11.5 miles of other routes described for total
routes).
8
 Lower Pipe RUA: The existing condition established in 2019 for this new RUA are 87.5 miles of total routes (86.4 miles of
total KNF roads and 1.1 miles of long-term illegal user-created routes). Existing condition for open Routes are established
at 63.8 miles (62.7 miles of open KNF roads, and 1.1 miles of illegal user-created routes. No existing railroad tracks or
powerline access routes exist.
9
 West Kootenai BORZ 2019 (2011 boundary with the expansion of Bobtail, Cedar Creek-Kootenai River and Lower Pipe
RUAs) - The updated combined 2019 West Kootenai BORZ database established for total routes is 790.1 miles and open
routes is 456.9 miles.
10
  Tobacco BORZ: For BY 2019, the KNF updated the database for total routes from 1,127.4 miles to 1,192.7 miles. This
increase reflects database corrections on 1.4 miles of KNF routes (either ANILCA or corrections to database and no change
on ground), and updates for 63.9 miles of existing routes not previously recorded (22.4 miles of existing railroad tracks,
2.9 miles of railroad access roads, 26.9 miles of railroad dozerbladed firelines, and 11.7 miles of powerline access routes).
The KNF updated the database for open routes from 872.0 miles to 936. 4 miles. This increase reflects database updates
on 0.5 miles of KNF routes (ANILCA access) and the database updates for 63.9 miles of existing routes not previously
recorded as described for total roads. The 63.9 miles are existing routes and no change occurred on the ground.


Priest Lake BORZ
Total roads in the Priest BORZ have increased to 373.3 miles, and open roads have increased to
373.3 miles. These increases reflect unauthorized use and GIS inaccuracies identified by direct
monitoring within the BORZ, IGBC coding that did not accurately represent road status as defined by
the 2015 Kaniksu Zone IPNF Motor Vehicle Use Map, as well as the addition of motorized trails not
previously reported.
As part of the Hanna Flats Project, 30.7 miles of road will be secured against unauthorized motorized
use by various methods. Some of this work was completed in the fall of 2019, the remainder to be
implemented in spring of 2020. The IPNF will continue to identify additional unauthorized use and will
take steps to curtail any use found as well as make any database corrections needed.
There are approximately 20.7 miles of existing linear motorized trail miles that have been in place
since 2010, but not accounted for in the 2010 BORZ baseline. Previously the IPNF excluded
motorized trails from the baseline and annual condition reporting using the IGBC and Access
Amendment definition of roads: “All created or evolved routes that are greater than 500 feet long
(minimum inventory standard for the Forest Service Route Management System), which are
reasonably and prudently drivable with a conventional passenger car or pickup.” In an effort to: 1)
maintain consistency calculating linear route miles across Forests; 2) acknowledge the potential
biological impacts of ALL motorized use on grizzly bears; and 3) adhere to the 1998 IGBC direction
related to quantifying motorized access effects on grizzly bears in recovery zones and the apparent
intent of the 2010 BA and 2011 FEIS; ALL motorized routes (roads and trails) will now be included in
the environmental baseline.




         SELKIRK / CABINET-YAAK GRIZZLY BEAR RECOVERY ZONES - 2019 ANNUAL COMPLIANCE MONITORING FINAL SUMMARY REPORT 04-17-2020
                                                                         Page 18
                                                                                                                        FWS001758
                                                            4-ER-856
                     Case: 23-2882, 03/22/2024, DktEntry: 30.5, Page 198 of 218                                                   (198 of 218)


Pack River BORZ
A few corrections were made to bring the Pack River BORZ 2019 condition up to date:
    • A 0.4 mi segment of FSR 2558 was incorrectly classified as closed yearlong, and was
       previously counted in the total miles for the BORZ. It is in fact open, and that mileage has
       been added to the open road miles. An additional 0.3 miles of FSR 2558 was not counted at
       all, but is an open road.
    • FSR 2558B (0.9 miles) was counted in total road miles, but appears undrivable.
    • FSR 776UA (Middle Pack River) provides access to private lands, and has been added as an
       open road (0.4 miles).
    • FSR 239UI showed signs of ATV use, so that 0.3 mi segment was included in the open road
       miles.
These changes increase open road miles to 34.9, and decrease total linear road miles to 37.7 from
those reported for the 2018 Bear Year (compared to the original 2010 baseline of 37.9 and 41.9 miles,
respectively).
Motorized trails: There are 10.2 miles of motorized trails in the Pack River BORZ. This includes
approximately 0.9 miles of converted road 2558 that was previously included in total road miles.
These trails have been in place and unchanged since prior to 2010.
2019 addition (“Caribou-Snow RUA”): after of review of verified grizzly bear sightings, it was
determined that the Caribou Creek/Deep Creek watershed would be added to the BORZ area.
Additionally, small portions of Snow Creek and Myrtle Creek watersheds – completely surrounded by
either the Myrtle BMU or the new BORZ addition – would be added as well. The West Side RUA
totals approximately 10,603 acres and contains 11.3 miles of open roads, and 14.2 miles of total
roads (there are no motorized trails or railroads in this area).

Mission-Moyie BORZ
The condition of the Mission-Moyie BORZ area is essentially unchanged since 2018. However, in
order to better demonstrate consistency with Forest Plan standards, conditions are reported
separately for the original (2011) BORZ polygon and the 2016 expansion polygon. Additionally,
motorized trails and railroads have not been reported for this BORZ in past reports, but are being
reported for 2019.
The 2011 BORZ polygon currently contains 155.3 miles of open roads, and 185.2 miles of total roads
(compared to 167.3 open miles and 200.3 total miles reported in 2011). This area also contains 54.0
miles of motorized trail, compared to 50.5 miles of motorized trail in the area in 2011. The additional
3.5 miles of trail are a result of relocation of trail 225 (adding approximately 1 mile) and road-to-trail
conversions adding miles to trails 32 and 415 (and concurrently reducing open road miles). The
BORZ also contains 4.4 miles of railroads (unchanged since 2011).
The expanded (2016) area contains 83.4 miles of open road, 85.4 miles of total road, and 16.7 miles
of motorized trail. These values are unchanged since 2016.
The combined areas contain 238.7 miles of open roads and 270.6 miles of total roads (plus 70.7 miles
of motorized trail), compared to 239.7 miles open roads and 271.7 miles of total roads reported in
2018. The loss of approximately one mile of road is due to small database corrections.
Since 2016, additional observations from multiple bears (including an adult female) have been
documented adjacent to the CYRZ, south of the 2016 BORZ addition. Observations were
documented in the Skin Creek-Moyie River, Dobson Creek-Kootenai River, Sand Creek-Kootenai
River, and Curley Creek subwatersheds. It is recommended that the following portions of these be
incorporated into the BORZ area: NFS lands north of the Kootenai River (lands south of the Kootenai
are within the CYRZ), and east of the Moyie River (for similar reasons discussed in 2016). This adds
approximately 3,631 acres to the BORZ area. In 2019, there were 25.2 miles of open roads, and 25.5
miles of total roads within this area. There are no railroads or motorized trails in the 2019 addition.

       SELKIRK / CABINET-YAAK GRIZZLY BEAR RECOVERY ZONES - 2019 ANNUAL COMPLIANCE MONITORING FINAL SUMMARY REPORT 04-17-2020
                                                                       Page 19
                                                                                                                      FWS001759
                                                          4-ER-857
                     Case: 23-2882, 03/22/2024, DktEntry: 30.5, Page 199 of 218                                                   (199 of 218)




Cabinet-Face BORZ
The KNF access amendment (AA) baseline for total and open linear miles of roads for the Cabinet
Face BORZ did not account for existing railroads or railroad access routes or existing powerline
access routes. Currently none are identified within the boundaries of the Cabinet Face BORZ.
Contributing to the BY 2019 linear miles of total road temporarily being over the total road database
are impassible road FR 5045A Schreiber Jump up A (0.17 miles), barriered FR 5095 Lower Deep
Creek (0.44 mi), and the FRTA authorized gated FR 4400C (0.39 miles) being open in bear year
2019. As described in BY17 report, a temporary increase in linear miles resulting from temporary road
construction (0.4 miles) at the end of 4400C Hoodoo Creek C (North Swamp FRTA) to access
Weyerhauser land, and set to be barriered post use. In BY18 report it was clarified that the segment
remained gated during 2018, and that Weyerhauser anticipated leaving the road gated through BY19,
with the 0.4 miles on NFS land still scheduled to be bermed following Weyerhaeuser’s activity on their
land. During BY19, the gate was found to be missing when inspected on 10/15/2019 and currently
due to the seasonal restriction on 4400C, the 0.4 miles on NFS is also seasonally restricted. The
district will determine in 2020 when the 0.4 miles will be barriered per the FRTA in 2020.
Contributing to the BY 2019 linear miles of open road being temporarily over the open database
include FR 5174 Getner Creek A unit (0.2 mi), FR 4400C, 5045A, and 5095. In addition, the 6203C, a
road opened in 2018 due to discrepancy in MVUM was re-barriered in 2019, and this reduction will be
reflected in 2020. Other database updates and corrections slightly adjusted the bear year total and
open linear miles of routes.

Clark Fork BORZ
The Forest ownership GIS layers calculates the federal ownership in the Clark Fork BORZ at 100,209
acres and this is reported in the BY 2019 report, It has been determined clerical error resulted in the
AA reporting 100,421 acres. The boundary of the Clark Fork BORZ has not changed since being
established in the Access Amendment. No change occurred on the ground.
The KNF AA baseline total and open linear miles of routes did not account for existing railroads or
railroad access routes or existing powerline access routes within the Clark Fork BORZ. Previously
reported bear year mileages also did not account for these routes. The 9.5 miles are existing routes
and not a change on the ground. The KNF has no authority over the existing routes documented in
2019 due to easements or other agreements.
As documented in BY 2017, a barriered road #14622 (0.35 miles) was opened by Avista Corporation
to access a power pole, and in BY 2018, the route was gated. In addition in BY 2019, Avisita opened
two previously bermed NFSR routes #1944 (0.81 miles) and #2229N (0.68) for access to their
powerline, and installed two gates. An additional two gates are planned to be installed in 2020 to
effectively restrict the roads, so both were modeled as open for 2019.
In BY 2019 the KNF updated the database and reset existing conditions for total routes from 256.1
miles to 267.4 miles to reflect updates and corrections. These include FR 14622, FR 1944, and FR
2229N that will be managed as gated for Avista powerline access, plus 9.5 miles of routes not
previously recorded (consisting of 1.7 miles of railroad tracks and 0.1 miles railroad access roads and
7.7 miles of powerline access routes).
In BY 2019, the KNF updated the database and reset existing conditions for open routes from 176.9
miles to 186.4 miles to account for the 9.5 miles of routes not previously recorded.
A discrepancy for a road has been recently found in the NRM layer by the Kootenai Forest
Transportation Engineer during a review with the IPNF. The mileage of this route, which crosses back
and forth across the KNF and IPNF forest boundaries, is not reflected in the 2019 adjusted existing
conditions as the database error was found after the BY 2019 calculations were completed. This
route is identified in the KNF database as NFSR 3332A and was coded as impassible in the 2010
       SELKIRK / CABINET-YAAK GRIZZLY BEAR RECOVERY ZONES - 2019 ANNUAL COMPLIANCE MONITORING FINAL SUMMARY REPORT 04-17-2020
                                                                       Page 20
                                                                                                                      FWS001760
                                                          4-ER-858
                     Case: 23-2882, 03/22/2024, DktEntry: 30.5, Page 200 of 218                                                   (200 of 218)


existing condition, and has remained coded as impassible. However the route is under the Idaho
Panhandle National Forest jurisdiction and management where it is identified as NFSR 332A and the
route is an open road, and has been an existing open road since before 2010. The KNF MVUM map
also identifies the route as year-round open because the IPNF database was used to generate this
portion of the MVUM. The database correction in the KNF NRM from impassible to open and the
effect to the Clark Fork total and open database will be reflected in the Bear Year 2020 report. This
will be a database correction, no change will have occurred on the ground.
Contributing to temporary increases during BY 2019 were 1.1 miles of unauthorized user created
motorized routes. In error, an additional existing 0.2 miles of user created routes near Triangle Pond
were omitted from the BY 2019 route layer and are not reflected in the BY 2019 mileages displayed in
Table 10. If these routes had been included in the BY19 road layer the bear year 2019 total routes
would have increased to 257.6 miles, and BY 2019 open routes to 185.2 miles. Both bear year 2019
total and total open miles, and would remain below, and better than the updated 2019 reset existing
condition. The Cabinet Ranger District is in the process of addressing these 0.2 miles. The Triangle
Pond Day-Use Area Project proposes that three barriers will be installed to prevent use of a 720-foot
(0.14 miles) unauthorized motorized route and a short connector (0.02) between the shoreline and the
NFSR 2234. On the ground work is expected to be implemented in 2020.
No breaches of legally restricted routes were documented in BY 2019.

West Kootenai BORZ (2011 Boundary)
The condition of the West Kootenai BORZ area is essentially unchanged since 2018. However, in
order to better demonstrate consistency with Forest Plan standards, conditions are reported
separately for the original (2011) BORZ polygon, the 2012 expansion with the Bobtail RUA, and the
2019 expansions with the Cedar Creek-Kootenai River RUA, and the Lower Pipe RUA.
No existing railroad tracks, railroad or powerline access routes occur within the 2011 boundary of the
West Kootenai BORZ.
Within the West Kootenai BORZ 2011 boundary, the KNF updated the database and reset existing
conditions for total routes from 331.5 miles to 331.6 miles for database corrections and updates. FR
4604 (0.08 miles) was updated to an existing open road due to more accurate mapping, no change
occurred on the ground. FR92Z was updated to a gated road, it was identified in the 2010 AA baseline
as a gated road but in 2011 it was incorrectly coded as barriered due to clerical error. This route has
always been gated. BY 2019 total reflects this update.
Also contributing to a temporary increase in total roads were previously barriered or impassible routes
being used for timber sale projects (under the Caribou or West Fork Fire Salvage projects (FRs 7197,
7164B, 7168F, 7164A, 7173C, 4613E, 4613F, 4613G, 6145, 754 and 754 temp). In addition,
temporary breaches on gated FRs 4851, 8000L, 751, 4724E, 863 and barriered FR 309Z contributed
to the temporary increase.
To better demonstrate consistency with Forest Plan standards, conditions are reported separately for
the original (2011) West Kootenai BORZ polygon, the 2012 Bobtail RUA expansion polygon, and the
2019 expansion polygons for Cedar Creek – Kootenai River RUA and Lower Pipe RUA.
Conditions are also reported for the 2019 combined West Kootenai BORZ with the original 2011
boundary and all additional RUAs

Bobtail RUA
The Bobtail RUA was analyzed as an addition to the West Kootenai BORZ from 2012 through 2018.
For BY 2019 it is also shown as a separate RUA. The Bobtail RUA database for total and open linear
miles of routes did not account for existing railroads or railroad access routes, or existing powerline
access routes. Previously reported bear year mileages did not account for these routes. For BY 2019,
0.7 miles of existing open routes associated with the Bonneville Power line for access and
       SELKIRK / CABINET-YAAK GRIZZLY BEAR RECOVERY ZONES - 2019 ANNUAL COMPLIANCE MONITORING FINAL SUMMARY REPORT 04-17-2020
                                                                       Page 21
                                                                                                                      FWS001761
                                                          4-ER-859
                     Case: 23-2882, 03/22/2024, DktEntry: 30.5, Page 201 of 218                                                   (201 of 218)


maintenance were documented. This is an existing route and no change on the ground. The KNF has
no authority over this route due to easements or other agreements.
The KNF updated the database and reset existing conditions for total linear routes from 40.5 miles to
41.2 miles to account for 0.7 miles of powerline access route not previously reported. During BY 2019
total roads of 43.7 miles temporarily exceeded the baseline of 41.2 miles due to an unauthorized user-
created motorized trail (1.2 miles) and that the FR 5090 (1.3 miles) continued to be gated while the D5
engineers determined drainage work. Installation of a barrier on the user-created route is anticipated
to be completed in 2020. FR 5090 Bobtail Valley (1.3 miles) when the Bobtail RUA was established,
was a barriered road with legally no administrative motorized use (it had been placed into intermittent
stored service and closed with an earthern berm in 1999). As reported in the bear year 2017 report,
there was a temporary increase in total and open linear miles of roads due to impassable road #5090
(1.33 mi) being opened for fire (dozer/machine line) and not restricted again due to log decks
remaining on the road. The route was then utilized for the West Fork Fire salvage and was considered
opened through BY18 due to public use, although a temporary gate was installed. During BY19, the
road remained gated. Timber harvest was completed in January of 2019, and most of the storage
work by the purchaser was completed in 2019, but work was not completed during 2019 as the Libby
District Engineers had not yet decided on the drainage work on a segment of the road. The road
remained gated during bear year 2019 and work is expected to be completed in 2020 with the berm
replaced.
The KNF updated the database and reset existing conditions for open routes from 28.2 miles to 29.1
miles due to database corrections on FR 6144D Bobtail Face D (0.1 mi) to reflect where the gate is
located, and on FR 4698A (0.1 mi) to reflect where the berm is located, (no changes occurred on the
ground), and the update to document the existing 0.7 miles of open route associated with powerline
access not previously reported. BY 2019 open linear miles of road (31.4 miles) temporarily exceeds
the BY 2019 baseline of 29.1 miles due to the user created motorized trail (1.21 miles) and breach on
gated FR 14485 (1.09 miles).

RUA’s established for Bear Year 2019
On January 25, 2020 an interagency group of biologists met to review credible grizzly bear sightings
and update the existing BORZ database and BORZ areas (See Attachment 1). As a result of their
review, it was determined that the Cedar Creek-Kootenai River and the Lower Pipe Creek 12th order
HUC (formerly described as 6th order HUCS) met the recurring use criteria used in delineating the
BORZ for the Access Amendment and were added as Recurring Use Areas (RUA’s).

Cedar Creek – Kootenai River RUA
The existing condition established for total routes are 44.6 miles (consisting of 33.1 miles of KNF
roads, 9.1 miles of long-term illegal user-created motorized routes, 0.8 miles of railroad tracks, and
1.6 miles of existing powerline access).
The 2019 BY total routes of 45.5 is temporarily 0.9 miles over the current database due to a breach
on 0.3 miles of the non-motorized Whoop it up Trail, and 0.6 miles of an illegal user-created route to
access the 567D spur). The barriers on these unauthorized trails will be reinforced in 2020.
The existing condition established for open routes are 32.4 miles (20.9 miles of open KNF roads in
addition to the long-term illegal user-created motorized routes, railroad tracks and powerline access).
The 2019 BY open routes of 33.3 miles is temporarily 0.9 miles over the current existing condition due
the increases described for total routes
The 1.6 miles of existing Bonneville Powerline access road that has received long-term illegal
motorized use, and the 9.1 miles of existing long-term unauthorized illegal motorized user created
trails out on the flats off of Pipe Creek Road are displayed in Table 10 as part of the existing


       SELKIRK / CABINET-YAAK GRIZZLY BEAR RECOVERY ZONES - 2019 ANNUAL COMPLIANCE MONITORING FINAL SUMMARY REPORT 04-17-2020
                                                                       Page 22
                                                                                                                      FWS001762
                                                          4-ER-860
                     Case: 23-2882, 03/22/2024, DktEntry: 30.5, Page 202 of 218                                                   (202 of 218)


conditions for both open and total routes. The Libby Ranger District will be assessing the illegal routes
in future analysis.


Lower Pipe RUA
The existing condition established for total routes are 87.5 miles (consisting of 86.4 miles of total KNF
roads and 1.1 miles of long-term illegal user-created routes).
The existing condition established for open routes are 63.8 miles (62.7 miles of open KNF roads, and
the 1.1 miles of long-term illegal user-created routes)
The 1.1 miles of long-term illegal unauthorized user-created motorized routes located on the flat area
adjacent to Pipe Creek Road are displayed in Table 10 as part of the existing conditions for both open
and total routes. The Libby Ranger District will be assessing these illegal routes in future analysis.


West Kootenai BORZ 2019 (2011 boundary and all additional RUA’s)
The updated combined 2019 West Kootenai BORZ existing condition established for total routes are
790.1 miles and open routes are 456.9 miles.
The BY 2019 miles of open roads at 464.9 miles temporarily exceeds the 2019 456.9 miles as due to
previously barriered or impassible routes being used for timber sale projects (under the Caribou or
West Fork Fire Salvage projects or temporary breaches.
Specifics are as described above for the West Kootenai BORZ 2011 boundary, the additional Bobtail
RUA (added 2012) and the Cedar Creek- Kootenai River and Lower Pipe RUA’s added in 2019.


Tobacco BORZ
The KNF AA baseline of total and open linear miles of routes did not account for existing railroads or
railroad access routes or existing powerline access routes. Previously reported bear year mileages
also did not account for these routes. The KNF has no authority over these routes associated with the
railroads and powerlines due to easements or other agreements. Unauthorized illegal motorized use
is occurring on these routes. The 63.9 miles documented in 2019 are existing routes and no change
on the ground.
The KNF updated the database and reset the Tobacco BORZ existing condition for total routes from
1,127.4 miles (BY2018) to 1,192.7 miles. This increase reflects database updates/corrections. FR
3668Y (0.3 mi) which reflects a change to an open road to access private driveway (falls under
ANILCA). Database updates to FRs 7193A, 7976A, and 14940 to reflect ground condition of year-
round gated roads – no access to public and no change on the ground. Database update to FR 7276
to reflect now gated access off highway to gravel pit. Road 4885I shows update in miles with better
data from aerial photos, no change on ground. This also reflects the database updates for 63.9 miles
of routes not previously considered (consisting of 22.4 miles of existing railroad tracks, 2.9 miles of
railroad access roads, 26.9 miles of railroad dozerbladed firelines, and 11.7 miles of powerline access
routes).
The KNF updated the database and reset the Tobacco BORZ existing condition for open routes from
872.0 miles (BY2018) to 936.4 miles. This increase reflects database updates/corrections. FR 3668Y
(0.3 mi) changed to an open road to access private driveway (falls under ANILCA). FR 7981 (0.43)
reflects a database correction that updates the gate location – no change occurred on the ground, and
FR 7978 is a database correction for 0.05 miles to private driveway (ANILCA) that has always been
open. Also included were database updates do document the 63.9 miles of open routes not previously
considered (consisting of 22.4 miles of existing railroad tracks, 2.9 miles of railroad access roads,
26.9 miles of railroad dozerbladed firelines, and 11.7 miles of powerline access routes).


       SELKIRK / CABINET-YAAK GRIZZLY BEAR RECOVERY ZONES - 2019 ANNUAL COMPLIANCE MONITORING FINAL SUMMARY REPORT 04-17-2020
                                                                       Page 23
                                                                                                                      FWS001763
                                                          4-ER-861
                     Case: 23-2882, 03/22/2024, DktEntry: 30.5, Page 203 of 218                                                   (203 of 218)


Updating the BORZ database utilizing 2019 data
Wayne Kasworm, Grizzly Bear Biologist with the US Fish and Wildlife Service, compiles agency data
on potential sightings of grizzly bears and their sign, as well as known captures and mortalities in the
Cabinet-Yaak and Selkirk Recovery Zones. This information is used to update the sightings records
database and to determine BORZ areas. Review of data through 2019 data for the BORZ areas was
completed January 15, 2020, with the meeting notes included as Attachment 1.
Contributors
Jeremy Anderson           Shelly Anderson               Linda Bernhardt                Mike Borysewicz
Susan Chin                Jennifer Durbin               Heather Fuller                 Kris Hennings
Sean Hill                 Jenny Holifield               Kent Johnson                   Lynn Johnson
Brett Lyndaker            Ed Morgan                     Annora Nelson                  Diane Probasco
Ray Vinkey                Dave Wrobleski                Barb Young



Literature Cited
Allen, L. 2011. A review of grizzly bear recurring use areas associated with the Selkirk and Cabinet-
Yaak recovery zones. Unpublished USDA Forest Service report. 20 pp.

Borysewicz, M. 2020. 2019 Road Densities, Core Habitat in the Colville National Forest’s portion of
the Selkirk Mountains Grizzly Bear Recovery Area. Unpublished USDA Forest Service. Dated
February 24, 2020. 10 pp.

Durbin, J. 2020. Bear Year 2019 Monitoring Summary Report for the Idaho Panhandle National
Forest portion of the Cabinet-Yaak/Selkirk Grizzly Bear Recovery Zone. Unpublished USDA Forest
Service. Dated March 30th 2020. 11 pp.

USDA, Kootenai National Forest. 2020. Bear Year 2019 Monitoring Summary Report for the Kootenai
National Forest portion of the Cabinet-Yaak Grizzly Bear Recovery Zone. Unpublished USDA Forest
Service. Dated April 16, 2020.

USDI Fish and Wildlife Service. 2011. Biological opinion on the Forest Plan amendments for
motorized access management within the Selkirk and Cabinet-Yaak grizzly bear recovery zones on
the Kootenai, Idaho Panhandle, and Lolo National Forests. Helena-Montana and Spokane-Northern
Idaho Field Offices. Dated October 18, 2011. 227 pp.

USDA Forest Service. 2011. Record of Decision – Forest Plan Amendments for Motorized Access
Management within the Selkirk and Cabinet-Yaak Grizzly Bear Recovery Zones. Kootenai, Lolo, and
Idaho Panhandle National Forests. Signed November 11, 2011. 68 pp.

Wrobleski, D. 2020. Response to request for information for 2019 bear year monitoring. April 15,
2020.




       SELKIRK / CABINET-YAAK GRIZZLY BEAR RECOVERY ZONES - 2019 ANNUAL COMPLIANCE MONITORING FINAL SUMMARY REPORT 04-17-2020
                                                                       Page 24
                                                                                                                      FWS001764
                                                          4-ER-862
                 Case: 23-2882, 03/22/2024, DktEntry: 30.5, Page 204 of 218                                                   (204 of 218)




                                                   Attachment 1:
Annual Review of Grizzly Bear sightings outside the Selkirk and Cabinet-Yaak Recovery
                                        Zone,
                          Idaho Panhandle NF, Kootenai NF, and Lolo NF




   SELKIRK / CABINET-YAAK GRIZZLY BEAR RECOVERY ZONES - 2019 ANNUAL COMPLIANCE MONITORING FINAL SUMMARY REPORT 04-17-2020
                                                                   Page 25
                                                                                                                  FWS001765
                                                      4-ER-863
                        Case: 23-2882, 03/22/2024, DktEntry: 30.5, Page 205 of 218                                  (205 of 218)



        Annual Review of Grizzly Bear sightings outside the Selkirk and Cabinet-Yaak Recovery Zones
                                   Idaho Panhandle NF, Kootenai NF, and Lolo NF


Meeting Date: Wednesday, January 15, 2020, notes updated with follow-up information 02142020
Time: 11:00 to 1400
Facilitator: Jeremy Anderson, Kootenai NF Wildlife Biologist
Notetakers: J. Anderson, J. Holifield, E. Morgan
Location: KNF SO Conference Room
Participants:
USFWS: Wayne Kasworm (MT FWS, CYE Program Grizzly Bear Biologist)

Idaho Panhandle NF: Diane Probasco (Forest Wildlife Biologist) Brett Lyndaker (Bonners Ferry RD WiBio),
Heather Fuller (Sandpoint RD WiBio)

Lolo NF: Dave Wrobleski (Plains/Thompson Falls RD WiBio)

Kootenai NF: Chad Benson (Forest Supervisor), Jeremy Anderson (Forest WiBio), Kenny Kendall (KNF Acting
Resources Staff), John Carlson (KNF Forest Fish/Wildlife Program Manager), Jenny Holifield (KNF Minerals
WiBio), Bryan Donner (Ksanka RD District Ranger), Lynn Johnson (Ksanka RD WiBio), Sean Hill (Troy RD
WiBio), Ed Morgan (Libby RD WiBio) Barb Young (GIS Coordinator), Kent Johnson (Data Services Specialist
GIS-Web); Steve Snell, Staff Officer, Cabinet RD Acting District Ranger; Gary Kedesh (Timber/Minerals Staff
Officer SO); Janis Bouma (SO NEPA/Objections/Litigation).

Introduction
Jeremy Anderson, KNF Forest Biologist gave an overview of the objectives of the meeting to review Wayne
Kasworm’s data to see if any additional HUCs met the recurring use criteria.
Review of Criteria (see Appendix A, pg.12 from Allen 2011 for complete list and details of criteria used)
    •    Delineation
             o 6th order Hydrological Unit Codes (HUCs) located around Recovery Zone boundaries used to
                 objectively delineate a boundary around a given set of bear observation data.
             o       The current HUC dataset used in 2020 represents the hydrologic unit boundaries to the 12-digit
                     (6th level) as identified by NRCS in 2013 and although the identifying number may have
                     changed from those used in 2010, the majority of the HUCs have retained a similar boundary.
                     The exception being some very small HUC’s that were combined, or very large HUCs that were
                     divided into two.
             o       For this review, mistakes in HUC#s provided in 2010 are noted and corrected


    •    Grizzly Bear Data used for Classification
                 o    Types of observations (all grizzly bear data, regardless of the population source of individual
                      bears, Observations of females with cubs weighted more heavily, generally three or more
                      credible observations within the last 16 years (Allen 2011:pg 2), thus for the January 15, 2020
                      meeting, this would be within the range of 2004 through 2019 in individual HUC’s
                 o    Some personal judgment is utilized when considering use, such as if the locations resulted
                      from an augmentation bear only moving through the area heading home.
                                                                                                                     1
                                                                                                        FWS001766
                                                      4-ER-864
                        Case: 23-2882, 03/22/2024, DktEntry: 30.5, Page 206 of 218                                                      (206 of 218)




Datasets Considered for both the Cabinet Yaak and Selkirk Recovery Zones January 2020 Review
     •    U.S. Fish and Wildlife Service (USFWS) credible sightings (category 4 1 and 5 2) for the last 48 years
          (1960-2019) 3.
     •    USFWS known mortality data (1950’s – 2019)
     •    USFWS radio collared, VHF, and GPS data, and IDF&G radio collared and VHF information (1999-
          2009) for Selkirks3.
     •    USFWS hair samples, corrals, rub trees, DNA
     •    Photos from various sources (USFWS, FS, private trail cam photo’s submitted to FWS)




Dataset not available at the time of the meeting, but follow-up completed as of 02132020.
Montana Fish, Wildlife and Parks data for NCDE (radio telemetry and sightings) from the existing Tobacco
BORZ west to Highway 2 was not available at the time of the meeting but.Lynn Johnson followed up with FWP
Lori Roberts.
     •    A shapefile of all HUCs south of the Tobacco BORZ extending to Highway 2, bordered on the north by
          the Kootenai River was sent to FWP. FWP reviewed their data and provided information.
     •    1 male used the area in 2012. He used HUCs: Thomson Lake/Thompson River; Pearson
          Reservoir/Pleasant Valley/Fisher River; Barnum Creek/Pleasant Valley/Fisher River; and Pleasant
          Valley Creek.
     •    The 2nd male used the area in 2006, but only used the Barnum Creek HUC and the Pleasant Valley
          Creek HUC.
     •    Both males are dead now.
     •    No other bear locations are in the HUCs we sent her except the augmentation bears, which data Wayne
          Kasworm has.
     •    And there were some locations on the edge of but not in the Upper Wolf creek HUC.
     •




1
  Credible sighting where the researcher talked with the observer and had a relatively high level of confidence that it was a grizzly bear
2
  Documented sighting (e.g. trapping location, observation, photograph, video, or track—most often by USFWS, USFS, or MTFWP
biologists)
3
  U.S. Fish and Wildlife Service data and IDFG data reviewed on site courtesy of W. Kasworm. Data is not on file with the Kootenai or Idaho
Panhandle NFs.
                                                                                                                                          2
                                                                                                                           FWS001767
                                                              4-ER-865
                                              Case: 23-2882, 03/22/2024, DktEntry: 30.5, Page 207 of 218                                                                               (207 of 218)




CABINET-YAAK Recovery Zone
Table 1. Occupied 6th level HUCs (BORZ) surrounding the Cabinet-Yaak Grizzly Bear Recovery Zone on the KNF, January 15, 2020
 BORZ and                               6th Order HUC                                                        Grizzly Bear Use Criteria Met?                            Recurring
                                                                             12-digit to the 6th Level
 Bear Year                               12/10/2010                                                          Yes or No?                                                Use Area
                                                                                       HUC
 HUC Added                              (Allen 2011)*                                                        (as of data through 2019)                                 Yes or
                                                                                      2020*
                                                                                                                                                                       No?
                  Name                                   Number           Name                Number
 Area west of Lake Koocanusa and north of Highway 2
 West
 Kootenai
                                                         170101010402                                        Yes (incorrect HUC# provided in 2010, 170101010402 was       Yes
 2010            Sink Creek                              170101010202     Sink Creek          170101010901   Lower Grave Creek)
                                                         170101010403                                        Yes (incoorect HUC# provided in 2010, 170101010403 was       Yes
 2010            Young Creek                             170101010203     Young Creek         170101010902   Therriault Creek)
                                                         170101010405                                        Yes (incorrect HUC# provided in 2010 170101010405 was        Yes
 2010            Dodge Creek                             170101010204     Dodge Creek         170101010904   Indian Creek)
                                                         170101010406                                        Yes (incorrect HUC# provided in 2010, 170101010406 was       Yes
 2010            Sullivan Creek                          170101010206     Sullivan            170101010905   Tobacco River)
                                                         170101010409     Poverty Creek-                                                                                Yes & No
 2010            Lake Koocanusa-Poverty Creek            170101010209     Lake Koocanusa      170101010908   Yes (Incorrect HUC# provided in 2010)
                                                         170101010601                                        Yes (Incorrect HUC# provided in 2010, 170101010601 was       Yes
 2010            Boulder Creek                           170101010501     Boulder             170101011101   Fivemile Cr)
                                                                                                             Yes (Incorrect HUC# provided in 2010, 170101010501 was       Yes
                                                         170101010501     Upper South Fork                   Boulder Creek)
 2010            Upper South Fork Big Creek              170101010503     Big Creek           170101011001
                                                         170101010502     Lower South Fork                   Yes (incorrect HUC# provided in 2010, 170101010502 was       Yes
 2010            Lower South Fork Big Creek              170101010504     Big Creek           170101011002   Sutton Creek)
                                                         170101010503                                        Yes (incorrect HUC# provided in 2010, 170101010503 was       Yes
 2010            Big Creek                               170101010505     Big Creek           170101011003   Upper South Fork Big Creek)
                 Lake Koocanusa-                         170101010604     Gold Creek – Lake                  Yes (Incorrect HUC# in 2010 170101010604 was Warland         Yes
 2010            Gold Creek                              170101010507     Koocanusa           170101011104   Cr)
                                                         170101010605                                        Yes (Incorrect HUC# provided in 2010, 170101010605 was
 2010            Parsnip Creek                           (170101010508)    Geibler Creek –                   Cripple Horse Creek, and 170101010607 was Canyon             Yes
                                                                                              170101011106
                                                         170101010607      Lake Koocanusa                    Creek)
 2010            Lake Koocanusa                          (170101010510)
                                                         170101010702                                        Yes (Incorrect HUC # provided in 2010, 170101010702 was      Yes
 2010            Bristow Creek                           (170101010602)   Bristow Creek       170101011202   Swamp Creek)
                                                         170101010901     East Fork Pipe                     Yes (incorrect HUC# provided in 2010, 170101010901 was       Yes
 2010            East Fork Pipe Creek                    (170101010803    Creek               170101011401   Ross Cr)
                                                         170101010902                                        Yes (incorrect HUC# provided in 2010, 170101010902 was       Yes
 2010            Upper Pipe Creek                        (170101010804    Upper Pipe Creek    170101011402   Stanley Cr)
                                                                          Upper                                                                                           Yes
                                                                          Seventeenmile
 2010            Upper Seventeenmile Creek               170101030303     Creek               170101030503   Yes,

                                                                                                                                                                                   3
                                                                                                                                                                       FWS001768
                                                                             4-ER-866
                                      Case: 23-2882, 03/22/2024, DktEntry: 30.5, Page 208 of 218                                                                            (208 of 218)




BORZ and                           6th Order HUC                                                  Grizzly Bear Use Criteria Met?                            Recurring
                                                                     12-digit to the 6th Level
Bear Year                           12/10/2010                                                    Yes or No?                                                Use Area
                                                                               HUC
HUC Added                          (Allen 2011)*                                                  (as of data through 2019)                                 Yes or
                                                                              2020*
                                                                                                                                                            No?
            Name                                   Number         Name             Number
                                                   170101011003                                   Yes (incorrect HUC# provided in 2010,
2012        Bobtail Creek                          170101010806   Bobtail Creek    170101011503   170101011003 was North Callahan Creek)                       Yes
                                                                                                  Yes; Coming 5 year-old radio collared female, at
                                                                                                  least 4 different males using HUC in last several
                                                                                                                                                               Yes
                                                                  Lower Pipe                      years, 3 males in recent times, and 3 other bears, 2
2019        Lower Pipe Creek                       170101010903   Creek            170101011403   management and 1 augmentation bear.
                                                                                                  Yes, but will truncate the HUC. See conclusion. At
                                                                                                  least 3 different males in last 15 years, use of the
                                                                                                  area to cross Kootenai River by 2 males (#726, 722).
                                                                                                  In area of HUC identified as potential linkage, HUC is
                                                                                                  located both sides of Kootenai River- with portions in
                                                                                                  RZ in BMU10 on north side, and in BMU1 south side.
                                                                                                  The HUC south of the River, including the portion in
                                                                                                  the Recovery Zone to western edge of HUC outside
                                                                                                  RZ: record of use by 2 native males, and 4
                                                                                                  augmentation bears, 2 males and 4 females, two of
                                                                                                  which stayed, 2 of which left. North of the River
                                                                  Cedar Creek-                    record of 3 males that have used the area, 1
2019        Kootenai River                         170101010808                    170101011505                                                                Yes
                                                                  Kootenai River                  peripherally and 2 that have spent time.
                                                                                                  Private land J Neils and south- no data on the private
                                                                                                  land J neils park and south to River.
                                                                                                  Portions of HUC to be Truncated: There are three
                                                                                                  small “arms” of the HUC south of the Kootenai River
                                                                                                  toward the eastern southern extent that will be
                                                                                                  truncated using the Kootenai River and not
                                                                                                  considered as part of the NFS ownership within the
                                                                                                  BORZ due to no data or Private (“arm” with KNF
                                                                                                  Skidale area, “arm” with town of Libby, and “arm”
                                                                                                  with the small island of KNF ownership in the middle
                                                                                                  of the Kootenai River.
                                                   170101010704                                   No, 1 or 2 males recent peripheral use, (Incorrect HUC#      No
            Barron Creek                           170101010603   Barron Creek     170101011204   provided in 2010, 170101010704 was Big Cherry Creek)
                                                   170101010706                                                                                                No
            Jackson Creek                          170101010606   Jackson Creek    170101011206   No (incorrect HUC# provided in 2010)
                                                                  Little Jackson
            Lake Koocanusa-                        170101010708   Creek-Lake
            Little Jackson Creek                   170101010608   Koocanusa        170101011208   No (Incorrect HUC# provided in 2010)                         No
                                                                                                  No, 2003 sighting, more recent use of bear crossing KNF
            Rainy Creek                            170101010710   Rainy Creek      170101011210   but not enough to meet criteria                              No


                                                                                                                                                                        4
                                                                                                                                                            FWS001769
                                                                     4-ER-867
                                              Case: 23-2882, 03/22/2024, DktEntry: 30.5, Page 209 of 218                                                                                   (209 of 218)




BORZ and                                6th Order HUC                                                         Grizzly Bear Use Criteria Met?                               Recurring
                                                                             12-digit to the 6th Level
Bear Year                                12/10/2010                                                           Yes or No?                                                   Use Area
                                                                                       HUC
HUC Added                               (Allen 2011)*                                                         (as of data through 2019)                                    Yes or
                                                                                      2020*
                                                                                                                                                                           No?
                Name                                       Number         Name                 Number
                                                                                                              No, More recently use or travel by augmentation
                                                                          Mitchell Creek-                     bear, male bear #726, and #726 resident male. Not
                Upper Kootenai River                       170101010711   Kootenai River       170101011211   enough of criteria met                                          No
General Area located East of Lake Koocanusa
Tobacco
                                                                          Lake Creek-
2010            Swamp Creek-Lake Creek                     170101010201   Swamp Creek          170101010701   Yes                                                             Yes
                                                                          Upper Fortine
2010            Upper Fortine Creek                        170101010202   Creek                170101010702   Yes                                                             Yes
2010            Sunday Creek                               170102100102   Sunday Creek         170102100102   Yes                                                             Yes
                                                                          Hellroaring Creek-
2010            Upper Stillwater River-Hellroaring Creek   170102100103   Stillwater River     170102100103   Yes                                                             Yes
2010            Edna Creek                                 170101010203   Edna Creek           170101010703   Yes                                                             Yes
                                                                          Middle Fortine
2010            Middle Fortine Creek                       170101010204   Creek                170101010704   Yes                                                             Yes
                Deep Creek                                 170101010205   Deep Creek           170101010705   HUC is all PVT land outside of recovery area.                   No
2010            Meadow Creek                               170101010206   Meadow Creek         170101010706   Yes                                                             Yes
                                                                          Lower Fortine
2010            Lower Fortine Creek                        170101010207   Creek                170101010707   yes                                                             Yes
                                                                          Lower Grave                         Two-thirds of HUC in Recovery; only 5% of rest in FS in-
                Lower Grave Creek                          170101010302   Creek                170101010802   holdings.                                                       No
                                                                                                              One third of HUC in RZ; FS has small in-holdings
                Therriault Creek                           170101010303   Therriault Creek     170101010803   surrounded by PVT                                               No
                                                                                                              One-half of HUC is in RZ; half in PVT, except for small FS
                Sinclair Creek                             170101010304   Sinclair Creek       170101010804   in-holdings                                                     No
                Indian Creek                               170101010305   Indian Creek         170101010805   HUC is all PVT land outside of recovery area.                   No
2010            Tobacco River                              170101010306   Tobacco River        170101010806   Yes                                                             Yes
                                                                                                              85-90% of HUC is PVT. Small portion of FS along                 No
                                                                                                              reservoir/border in PPine habitat. FS portion in unroaded
                Phillips Creek                             170101010404   Phillips Creek       170101010903   mgmt.
                                                                          Upper Pinkham                                                                                       Yes
2010            Upper Pinkham Creek                        170101010407   Creek                170101010906   Yes
                                                                          Lower Pinkham                                                                                       Yes
2010            Lower Pinkham Creek                        170101010408   Creek                170101010907   Yes
2010            Sutton Creek                               170101010602   Sutton Creek         170101011102   Yes                                                             Yes
2010            McGuire Creek                              170101010603   McGuire Creek        170101011103   Yes                                                             Yes
2010            Tenmile Creek                              170101010606   Tenmile Creek        170101011105   Yes                                                             Yes
                                                           170101010701                                       Yes, also linkage (incorrect HUC in 2010 meeting notes          Yes
2010            Fivemile Creek                             170101010601   Fivemile Creek       170101011201   170101010701 was Upper Libby Creek
                Warland Creek                              170101010703   Warland Creek        170101011203   No                                                              No



                                                                                                                                                                                       5
                                                                                                                                                                           FWS001770
                                                                             4-ER-868
                                           Case: 23-2882, 03/22/2024, DktEntry: 30.5, Page 210 of 218                                                                                  (210 of 218)




BORZ and                              6th Order HUC                                                     Grizzly Bear Use Criteria Met?                                 Recurring
                                                                        12-digit to the 6th Level
Bear Year                              12/10/2010                                                       Yes or No?                                                     Use Area
                                                                                  HUC
HUC Added                             (Allen 2011)*                                                     (as of data through 2019)                                      Yes or
                                                                                 2020*
                                                                                                                                                                       No?
                Name                                  Number         Name                Number
                                                                                                        Recently have had a young CYE bear that spent time                No
                                                                     Cripple Horse                      in Cripple Horse and Upper Sunday but not enough
                Cripple Horse Creek                   170101010705   Creek               170101011205   recent occurrences to meet all criteria
                Canyon Creek                          170101010707   Canyon Creek        170101011207   No                                                                No
                Weigel Creek                          170101020301   Weigel Creek        170101020301   No                                                                No
                Upper Wolf Creek                      170101020302   Upper Wolf Creek    170101020302   No                                                                No
                Dry Fork Creek                        170101020303   Dry Fork Creek      170101020303   No                                                                No
Area south and West of Highway 2
Cabinet Face
                                                                                                        Yes, No use west of Hwy 2—cut HUC off at highway due to           Yes
                                                      170101010802   Cowell Creek-                      lack of sightings and lack of habitat.(HUC# incorrectly
2010            Swamp Creek-Cowell Creek              170101010702   Swamp Creek         170101011302   identified in 2010 as 170101010802, Parmenter Cr)
                                                      170101010802   Granite Creek                      No (HUC# previously provided 170101010802 was
                Granite Creek                         170101010703                       170101011303   incorrect)                                                        No
2010                                                  170101010804                                      Yes also attractants and sanitation issues (HUC# incorrectly      Yes
                Big Cherry Creek                      170101010704   Big Cherry Creek    170101011304   identified in 2010 as 170101010804 was Upper Pipe Creek)
2010                                                  170101010801                                      Yes (HUC# incorrectly identified in 2010 as 170101010801          Yes
                Upper Libby Creek                     170101010701   Upper Libby Creek   170101011301   which was Flower Creek)
2010                                                                                                    Yes. (HUC# incorrectly identified in 2010 as                      Yes1
                                                                                                        170101010805 Lower Pipe Creek). 2020 Discussion                  And No
                                                                                                        centered on remaining portion of the HUC east of the
                                                                                                        highway. Historic use by female #258, 1992
                                                                                                        augmented female, 3 different males all in last 5-7
                                                                                                        years using it as part of home range or on periphery
                                                                                                        of their range, from linkage standpoint HUC is along
                                                                                                        highway, value for connectivity, # of males cross
                                                                                                        here, one is traveling peripheral. Much of use on
                                                                                                        private land, seasonality with spring getting down
                                                                                                        low, fall use is getting into carcasses dumped in
                                                                                                        woods. Bear #770 got into a building with elk
                                                                                                        carcass. Selkirk bear crossed and hung out here on
                                                                                                        a carcass by Fish Hatchery Multiple use of bears in
                                                                                                        last 5-7 years, radio collared data, have recurring use
                                                                                                        in adjacent hucs. But if take away private land, very
                                                                                                        scattered use on NFS. Not sure if corridor activity is
                                                                                                        increasing on private land, or are attractants bringing
                                                                                                        bears into private land. Will closely monitor HUC east
                                                                                                        of Highway 2 to see if more use is occurring on NFS,
                                                      170101010805   Lower Libby                        currently recurring use on NFS land east of highway
                Lower Libby Creek                     170101010705   Creek               170101011305   2 does not meet criteria, so will not add that portion

                                                                                                                                                                                   6
                                                                                                                                                                       FWS001771
                                                                        4-ER-869
                                            Case: 23-2882, 03/22/2024, DktEntry: 30.5, Page 211 of 218                                                                                      (211 of 218)




BORZ and                                6th Order HUC                                                             Grizzly Bear Use Criteria Met?                            Recurring
                                                                                12-digit to the 6th Level
Bear Year                                12/10/2010                                                               Yes or No?                                                Use Area
                                                                                          HUC
HUC Added                               (Allen 2011)*                                                             (as of data through 2019)                                 Yes or
                                                                                         2020*
                                                                                                                                                                            No?
            Name                                              Number         Name                  Number
                                                                                                                  of the HUC in at this point in time. Relook closely end
                                                                                                                  of 2020.
                                                                                                                  No, relook at HUC closely in 2020 due to recent use          No
                                                                                                                  (male bear #726)
                                                              170101011001                                        (HUC# incorrectly identified in 2010 as
            Flower Creek                                      170101010801   Flower Creek          170101011501   170101011001 Obrien Creek
                                                              170101011002                                        No (HUC# incorrectly identified in 2010 as 170101011002      No
            Parmenter Creek                                   170101010802   Parmenter             170101011502   which was South Callahan Creek)
                                                                                                                  Yes, Most of HUC in RZ. (HUC# incorrectly                    Yes
                                                                                                                  identified as #170101011005 in 2010, which was
                                                                                                                  Ruby Creek). HUC also listed under West Kootenai
                                                                                                                  Borz. HUC not adjacent to active HUC in Cabinet
                                                              170101011005   Cedar Creek-                         Face, but is adjacent to HUCs in West Kootenai
2019        Middle Kootenai River                             170101010808   Kootenai River        170101011505   Borz.
            Island Creek                                      170101020102   Island Creek          170101020102   No                                                           No
            Pleasant Valley Creek                             170101020103   Pleasant Valley Cr    170101020103   No                                                           No
                                                                             Pearson                                                                                           No
                                                                             Reservoir-
                                                                             Pleasant Valley
            Pleasant Valley Fisher River-Pearsons Reservoir   170101020104   Fisher River          170101020104   No
                                                                             Barnum Creek-                                                                                     No
                                                                             Pleasant Valley
            Pleasant Valley Fisher River-Barnum Creek         170101020105   Fisher River          170101020105   No
                                                                                                                  No (HUC# provided in 2010 would have been                    No
            Elk Creek                                         170101020106   Elk Creek             170101020106   #170101020201 if was reflecting 2010 6th code HUC)
                                                                                                                  No (HUC # provided in 2010 would have been                   No
            McGinnis Creek                                    170101020107   McGinnis Creek        170101020107   #170101020202 t if using 2010 6th code HUC)
                                                                             Loon Lake-                                                                                        No
                                                                             Pleasant Valley                      No (HUC# provided in 2010 would have been
            Pleasant Valley Fisher River-                     170101020108   Fisher River          170101020108   #170101020401 if was reflecting 2010 6th code HUC)
                                                                                                                  No (HUC# provided in 2010 would have been                    No
            East Fisher Creek                                 170101020201   East Fisher Creek     170101020201   #170101020203 if was reflecting 2010 6th code HUC )
                                                              170101020202   Silver Butte Fisher                  No (HUC # provided in 2010 was incorrect, 170101020202       No
            Silver Butte Fisher River                         170101020204   River                 170101020202   was for McGinnis Creek in 2010)
            Little Wolf Creek                                 170101020304   Little Wolf Creek     170101020304   No                                                           No
            Middle Wolf Creek                                 170101020305   Middle Wolf Creek     170101020305   No                                                           No
            Lower Wolf Creek                                  170101020306   Lower Wolf Creek      170101020306   No                                                           No
                                                              170101010709                                        No (HUC # provided in 2010 Level 1 meeting notes was         No
            Dunn Creek                                        170101010609   Dunn Creek            170101011209   incorrect)
2010                                                                                               170101020401   Yes (Most of HUC in RZ where historic and recent use is      Yes
            West Fisher Creek                                 170101020401                                        documented) (HUC # provided in 2010 was incorrect as
                                                              170101020205   West Fisher Creek                    170101020401 was for Pleasant Valley Fisher River)

                                                                                                                                                                                        7
                                                                                                                                                                            FWS001772
                                                                                4-ER-870
                                             Case: 23-2882, 03/22/2024, DktEntry: 30.5, Page 212 of 218                                                                                   (212 of 218)




BORZ and                                 6th Order HUC                                                      Grizzly Bear Use Criteria Met?                                Recurring
                                                                           12-digit to the 6th Level
Bear Year                                 12/10/2010                                                        Yes or No?                                                    Use Area
                                                                                     HUC
HUC Added                                (Allen 2011)*                                                      (as of data through 2019)                                     Yes or
                                                                                    2020*
                                                                                                                                                                          No?
                Name                                     Number         Name                 Number
2010                                                                                                        Yes, HUC cut off at Hwy 2 due to lack of sightings and           Yes
                Fisher River                             170101020402   Upper Fisher River   170101020402   habitat on east side of Hwy
                McKillop Creek                           170101020403   McKillop Creek       170101020403   No                                                               No
                Cow Creek                                170101020404   Cow Creek            170101020404   No                                                               No
                                                                                                            No, observations in 1993, 2007, 2009, and 2018.                  No
                                                                                                            Augmentation make mostly, but 2 males spending a portion
                                                                                                            of their time here. The male who went to Sunday Creek and
                                                                                                            back to Cabinets used this HUC, so a couple of male bears
                                                                        Middle Fisher                       that are going back and forth, criteria not quite met as of
                Fisher River                             170101020405   River                170101020405   bear year 2019
                Lower Fisher River                       170101020406   Lower Fisher River   170101020406   No                                                               No
                McGregor Creek                           170102130101   McGregor Creek       170102130101   No                                                               No
                                                                        Thompson Lakes-                                                                                      No
                Thompson Lakes                           170102130102   Thompson River       170102130102   No
                                                         170101011207   Brush Creek-                                                                                         No
                Lower Kootenai River                     170101011007   Kootenai River       170101011707   No (HUC# provided in 2010 was incorrect)
                Radio Creek                              170102130401                                       Lolo NF
                Upper Fishtrap Creek                     170102130402                                       Lolo NF
                Upper
                Vermillion                               170102130801                                       Lolo NF
Area located to the southwest of Highway 200 and the Recovery Zone
Clark Fork
                                                                        Upper Big Beaver                                                                                     No
                Upper Big Beaver Creek                   170102130701   Creek                170102130701   No (HUC# in 2010 was actually HUC6 170102130801)
                                                                        Little Beaver                                                                                        No
                Little Beaver Creek                      170102130702   Creek                170102130702   No (HUC# in 2010 was actually HUC 6 170102130802
                White Pine Creek                         170102130703   White Pine Creek     170102130703   No (HUC# in 2010 was actually HUC6 170102130803)                 No
                                                                        Lower Big Beaver                                                                                     No
                Lower Big Beaver Creek                   170102130704   Creek                170102130704   No (HUC# in 2010 was actually HUC6 170102130804)
                                                                        Lower Vermilion
                Lower Vermilion River                    170102130803   River                170102130803   No                                                               No
                Graves Creek                             170102130701   Graves Creek         170102130901   No, Lolo NF,                                                     No
                                                                                                            No sightings outside RZ (HUC # in 2010 was actually              No
                Deep Creek                               170102130903   Deep Creek           170102130903   #170102130703
                                                                        Mosquito Creek-
                Noxon Reservoir-Mosquito Creek           170102130904   Noxon Reservoir      170102130904   No (HUC # in 2010 was actually HUC6 170102130704)
                                                                        Bear Creek Noxon                    No sightings outside RZ (HUC# in 2010 was actually HUC6          No
                Noxon Reservior-Bear Creek               170102130905   Reservior            170102130905               170102130705 and was called Clark Fork River
                Upper Trout Creek                        170102131001   Upper Trout Creek    170102131001   No (HUC# in 2010 was actually HUC6 170102130901)                 No
                Lower Trout Creek                        170102131002   Lower Trout Creek    170102131002   No (HUC# in 2010 was actually HUC6 170102130902                  No
                                                                        Belgian Gulch-                      No (HUC# in 2010 was HUC6 170102130807 for Noxon
                Noxon Reservoir-Belgian Gulch            170102131003   Noxon Reservoir      170102131003   Reservoir)                                                       No

                                                                                                                                                                                      8
                                                                                                                                                                          FWS001773
                                                                           4-ER-871
                                                 Case: 23-2882, 03/22/2024, DktEntry: 30.5, Page 213 of 218                                                                                   (213 of 218)




    BORZ and                               6th Order HUC                                                               Grizzly Bear Use Criteria Met?                        Recurring
                                                                                          12-digit to the 6th Level
    Bear Year                               12/10/2010                                                                 Yes or No?                                            Use Area
                                                                                                    HUC
    HUC Added                              (Allen 2011)*                                                               (as of data through 2019)                             Yes or
                                                                                                   2020*
                                                                                                                                                                             No?
                     Name                                           Number           Name               Number
    2010             Marten Creek                                   170102131004     Marten Creek       170102131004   Yes (HUC# in 2010 was actually HUC6 170102130903)         Yes
                                                                                     Stevens Creek-                    Yes (HUC# in 2010 was HUC6 170102130905 for Noxon
    2010             Noxon Reservoir-Stevens Creek                  170102131006     Noxon Reservoir    170102131006   Reservoir                                                 Yes
    2010             Pilgrim Creek                                  170102131302     Pilgrim Creek      170102131302   Yes (HUC # in 2010 was actually HUC6 170102131102         Yes
                                                                                     Upper Cabinet                     Yes (HUC# in 2010 was HUC6 170102131108 for Cabinet
    2010             Upper Cabinet Gorge Reservoir                  170102131303     Gorge Reservoir    170102131303   Gorge Reservoir                                           Yes
                                                                                     East Fork Elk
    2010             East Fork Elk Creek                            170102131304     Creek              170102131304   Yes (HUC# in 2010 was HUC6      170102131103              Yes
    2010             Elk Creek                                      170102131305     Elk Creek          170102131305   Yes                                                       Yes
                                                                                     Lower Cabinet
    2010             Lower Cabinet Gorge Reservoir                  170102131306     Gorge Reservoir    170102131306   Yes                                                       Yes
                                                                                     Cabinet Gorge
                     Clark Fork River Cabinet Gorge Dam             17010213309      Dam-Clark Fork     170102131309   No, IPNF                                                  No
    Area located around Troy – Troy Polygon
                                                                                     Obrien Creek       170101011701
                                                                                     Brush Creek        170101011707

Areas east of Highway 2 within these HUCs have issues related to a higher level of private property and residences with sanitation issues
1




Table 2. Occupied 6th level HUCs (BORZ) surrounding the Cabinet-Yaak Grizzly Bear Recovery Zone on the IPNF, January 15, 2020
    BORZ                                                                                     Grizzly Bear                                                                    Recurring
                           6th Order HUC                       12-digit to the 6th
    And Bear                                                                                 Use Criteria Met?                                                               Use Area
                            12/10/2010                            Level HUC
    Year HUC                                                                                 (as of data through 2019)                                                       Yes or No?
                           (Allen 2011)*                            2020**
    added
                  Name             Number          Name           Number
    Area northwest of the Recovery zone that is located north and east of Kootenai River
    Mission
    Moyie
    2010           Mission Creek       170101040508       Mission Creek    170101040707      Yes                                                                                 Yes
                                                          Hall Creek –
    2010           Kootenai Valley     170101040501       Kootenai River   170101040711      Yes                                                                                 Yes
                   Round Meadows                          Round Meadows
    2010           Creek               170101050303       Creek            170101050501      Yes                                                                                 Yes



                                                                                                                                                                                          9
                                                                                                                                                                              FWS001774
                                                                                          4-ER-872
                                            Case: 23-2882, 03/22/2024, DktEntry: 30.5, Page 214 of 218                                                                                  (214 of 218)




BORZ                                                                                Grizzly Bear                                                                         Recurring
                        6th Order HUC                  12-digit to the 6th
And Bear                                                                            Use Criteria Met?                                                                    Use Area
                         12/10/2010                       Level HUC
Year HUC                                                                            (as of data through 2019)                                                            Yes or No?
                        (Allen 2011)*                       2020**
added
               Name                Number         Name             Number
2010           Moyie River above                  Copper Creek-
               Feist Creek         170101050203   Moyie River      170101050403     Yes                                                                                      Yes
               Moyie River above                  Kreist Creek-
2010           Placer Creek        170101050301   Moyie River      170101050502     Yes                                                                                      Yes
                                                  Whiskey Creek-
2010           Kootenai Valley     170101040501   Kootenai River   170101040712     Yes, Small portion of this HUC in the United States                                      Yes
                                                  Brush Creek-
2016           Kootenai Valley     170101040501   Kootenai River   170101040708     Yes, Truncated at Hwy 95                                                                Yes
                                                  Rock Creek-
2016           Kootenai Valley     170101040501   Kootenai River   170101040706     Yes, Truncated at Hwy 95                                                                Yes
                                                  Meadow                            Yes, truncated at roughly Meadow Creek using Meadow Cr Road and NFS
2016           Meadow Creek        170101050304   Creek            170101050503     boundary,                                                                               Yes
                                                                                    No data in 2010, in 2016 met criteria and truncated where the HUC6 intersects the
                                                                                    Moyie River at the mouth of Deer Creek. For BY 2019 IPNF proposes to turn on
       2016;     Lower Moyie                       Skin Creek-
                                   170101050306                    170101050505     the remainder of the HUC EAST of the Moyie River only. Portions of the HUC have
       2019         River                          Moyie River
                                                                                    provided adult female with young, Female from Canuck Creek mortality, additional
                                                                                    males, and another 2 bears not known to be dead.                                     Yes, and no

2016           Deer Creek          170101050308   Deer Creek       170101050504     2010 did not meet criteria; 2016 met Criteria                                           Yes
2019           Curley Creek        170101040103   Curley Creek     170101040202     Yes, turn on IPNF-administrated lands north of the Kootenai River.                      Yes
               Pine Creek          170101040102   Pine Creek       170101040201     No                                                                                      No
               Kootenai River                                                       Incorrect code listed in 2010 notes, this is HUC61701010403 in 2010, which was
               above Bonners                                                        also described separately and now split into Dawson Lake, cabin Cr-Cow, Dobson
               Ferry               170101040101                                     Creek and Sand Creek Kootenai River described below
               Kootenai R                         Sand Creek –
2019           above Sand Cr       170101040301   Kootenai River   170101040301     Yes, turn on IPNF-administrated lands north of the Kootenai River.                      Yes
               Kootenai R                         Dobson
               above Dobson                       Creek-                            Yes, turn on IPNF-administrated lands north of the Kootenai River, (use of area by
2019           Cr                  170101040302   Kootenai Rver    170101040302     female bear is on private).                                                             Yes
               Kootenai River                     Cabin Creek-
               above Cow Cr        170101040303   Cow Creek        170101040303     No                                                                                       No
               Kootenai River
               above Bonners                      Dawson Lake-
               Ferry               170101040304   Kootenai River   170101040304     No                                                                                       No
               Brown Creek
               including
               Twentymile                         Twentymile
               Creek               170101040406   Creek            170101040404     No                                                                                       No


                                                                                                                                                                                   10
                                                                                                                                                                          FWS001775
                                                                                  4-ER-873
                                     Case: 23-2882, 03/22/2024, DktEntry: 30.5, Page 215 of 218                                                                                 (215 of 218)




BORZ                                                                       Grizzly Bear                                                                           Recurring
                   6th Order HUC                 12-digit to the 6th
And Bear                                                                   Use Criteria Met?                                                                      Use Area
                    12/10/2010                      Level HUC
Year HUC                                                                   (as of data through 2019)                                                              Yes or No?
                   (Allen 2011)*                      2020**
added
           Name              Number         Name            Number
           Deep Creek
           above Brown                      Trail Creek-
           Creek             170101040402   Deep Creek      170101040403   No                                                                                         No
                                            Rapid
           Rapid Lightning                  Lightning                      Most of this HUC is in the RZ; no other sightings at lower elevations outside of the
           Creek             170102140506   Creek           170102140105   RZ boundary                                                                                No
                                                                           Most of this HUC is in the RZ; no other sightings at lower elevations outside of the
           Grouse Creek      170102140505   Grouse          170102140104   RZ boundary                                                                                No
           Lower Pack                       Lower Pack                     Portions of this HUC is in the RZ; no other sightings at lower elevations outside of       No
           River             170102140504   River           170102140106   the RZ boundary.
                                            Lake Pend                      Most of this HUC is in the RZ; no other sightings at lower elevations outside of the       No
           Strong Creek      170102140401   Oreille         170102140206   RZ boundary.
           Lightning Cr                     Lower                                                                                                                     No
           below EF                         Lightning                      Most of this HUC is in the RZ; no other sightings at lower elevations outside of the
           Lightning Creek   170102131304   Creek           170102131204   RZ boundary.
                                            Johnson                                                                                                                   No
           Lower Clark                      Creek Clark                    Portion of this HUC is in the RZ; no other sightings at lower elevations outside of
           Fork at mouth     170102131204   Fork River      170102131310   the RZ boundary.
                                            Johnson         170102131310                                                                                              No
                                            Creek-Clark                    Most of this HUC is in the RZ; no other sightings at lower elevations outside of the
           Lower Clark                      Fork River                     RZ boundary.
           Fork below        170102131201   Cabinet Gorge   170102131309                                                                                              No
           Cabinet Gorge                    Dam-Clark
                                            Fork                           Most of this HUC is in the RZ
                                            Twin Creek      170102131308   Outside of RZ                                                                              No




                                                                                                                                                                           11
                                                                                                                                                                   FWS001776
                                                                       4-ER-874
                                             Case: 23-2882, 03/22/2024, DktEntry: 30.5, Page 216 of 218                                                                             (216 of 218)




SELKIRK Recovery Zone
Table 3. Occupied 6th order HUCs (BORZ) surrounding the Selkirk Grizzly Bear Recovery Zone, IPNF, Updated January 15, 2020
 BORZ                                                                                              Grizzly Bear                                                  Recurring
 and Bear                    6th Order HUC                          12-digit to the 6th            Use Criteria Met?                                             Use Area
 Year                         12/10/2010                               Level HUC                   (as of data through 2019)                                     Yes or No?
 HUC                         (Allen 2011)*                               2020**
 added
              Name                     Number           Name                     Number
 Area to the west of Priest Lake and Priest River and south of KalispellGranite, LeClerc, and Lakeshore BMUS
 Priest
             Lower Granite               170102150303   Blacktail Creek-Granite     170102150203
                                                        Creek                                                                                                        No
             Reeder                      170102150206   Reeder                      170102150303                                                                     No
 2010        Reeder (Reynolds Cr)        170102150206   Reeder                      170102150303                                                                    Yes*
 2010        Kalispell                   107102150208   Kalispell                   170102150306   Truncated Hwy 57                                                 Yes*
 2010        Priest Lake Riparian        170102150201   Priest Lake                 170102150309   Truncated at hwy 57                                              Yes
 2010        Lamb Creek                  170102150401   Lamb                        170102150308   Truncated Hwy 57                                                 Yes*
             Priest River below Outlet                                                             As of 2019, 2 different males (5 years of data) using,
             Bay including Binarch                      Binarch Creek-Priest                       would truncate at hwy 57, Current use not meeting criteria,
             Creek                       170102140402   River                       170102150701   relook at closely after 2020                                      No
             Upper W. Branch below                      Mission Falls-Upper
 2010        Solo Creek                  170102150502   West Branch Priest River    170102150403   Yes                                                              Yes
             Priest Lake East Face
             (NFS)                       170102150502                                              2020 note is this # from 2010 is same as one above                No
             Upper W. Branch above                      Headwaters Upper West
 2010        Solo Creek                  170102150501   Branch Priest River         170102150401   Yes                                                              Yes
 2010        Goose Creek                 170102150503   Goose Creek                 170102150402   Yes                                                              Yes
             Lower W. Branch above                      Flat Creek-Lower West                      Yes, in part. Based on observations through 2019, current
 2010        Flat Cr                     170102150701   Branch Priest River         170102150602   HUC boundary truncated just north of Mosquito Creek,          Yes, and No
             Upper W. Branch below                      Pine Creek-Lower West
             Flat Cr                     170102150702   Branch Priest River         170102150603   No                                                                No
             Priest River above East                    Murray Creek-Priest
             River                       170102150403   River                       170102150702   No                                                                No
                                                                                                   2 bears, both males, one from a bear that maybe just
                                                                                                   passing through from almost ten years ago, one more
                                                                                                   recent, multiple and maybe peripheral use to its home
             Moore’s Creek               170102150703   Moores Creek                170102150601   range, one mortality from back in 1982. Adjacent HUC Flat
                                                                                                   Creek-lower west branch #170102150602turned on in
                                                                                                   2010. Currently Moores HUC not meeting criteria, relook
                                                                                                   closely in 2020.                                                  No

                                                                                                                                                                               12
                                                                                                                                                                      FWS001777
                                                                                  4-ER-875
                                           Case: 23-2882, 03/22/2024, DktEntry: 30.5, Page 217 of 218                                                                              (217 of 218)




BORZ                                                                                                 Grizzly Bear                                                Recurring
and Bear                 6th Order HUC                               12-digit to the 6th             Use Criteria Met?                                           Use Area
Year                      12/10/2010                                    Level HUC                    (as of data through 2019)                                   Yes or No?
HUC                      (Allen 2011)*                                    2020**
added
           Name                          Number          Name                         Number
           Lower Pend Oreille River      170102150406                                                See HUC below                                                   No
                                                         Sanborn Creek-Priest
           Lower Priest River            170102150406    River                        170102150705   No                                                              No
           Big Creek                     170102150404    Big Creek-Priest River       170102150703   No                                                              No
           Priest River below Big                        Quartz Creek-Priest
           Creek                         170102150405    River                        170102150704   No                                                              No
           Priest Lake East Face
           (NFS)                         170102150502                                                                                                                No
                                                         Middle Fork East River-
           Middle Fork East River        170102150601    East River                   170102150502   No                                                              No
           North Fork East River
           (NFS)                         170102150603    North Fork East River        170102150501   No                                                              No
Area located between the south eastern corner of the Recovery Zone and Highway 95
Pack
River
           Pack River above Caribou      170102140201                                                                                                                Yes
2010       Creek                                         Headwaters Pack River        170102140101   Yes
2010       Pack River above Jeru Creek   170102140201                                                Yes                                                             Yes
           Deep Creek above McArthur     170101040401                                                                                                                Yes
2010       Lake outlet                                   Deep Creek-McArthur Lake     170101040401   Yes
2010       Fall Creek                    170101040403    Fall Creek                   170101040402   Yes                                                             Yes
2010       Soldier Creek (NFS lands)     170102150210    Soldier Creek                170102150307   Yes                                                             Yes
                                                         Upper Pack River             170102140102   No                                                              No
           Pack River above Sand Creek    170102140503
                                                         Middle Pack River            170102140103   No                                                              No
           Deep Cr abov Brown Creek      170101040402    Trail Creek-Deep Creek       170101040403   No                                                              NO
2019       Myrtle Cr                     170101040502    Myrtle Creek                 170101040701   Yes, Most in RZ, small bit outside,                            Yes
           Deep Cr below Brown           170101040405                                                Yes, Upper in RZ. Ruby Creek mostly private, locations on      Yes
2019       Creek                                         Caribou Creek-Deep                          private. As of 2019 Caribou HUC radio collared female
                                                                                      170101040406
2019       Caribou Cr                    170101040407    Creek                                       use, # of different males, DNA hits, photos of bears and
2019       Ruby Cr                       170101040404                                                females with cubs.
                                                                                                     Yes, Upper end in RZ where have observations, (females,        Yes
                                                                                                     multiple bears) and most data within the RZ. HUC is
2019       Snow Creek                    170101040408    Snow Creek                   170101040405   surrounded by active HUCs in the BORZ.




                                                                                                                                                                              13
                                                                                                                                                                      FWS001778
                                                                                    4-ER-876
                                    Case: 23-2882, 03/22/2024, DktEntry: 30.5, Page 218 of 218                                                      (218 of 218)




January 2020
GIS SOURCES
*For 2010 HUC number verification
T:\FS\NFS\R01\Collaboration\KIPZForestPlan\GIS\FPR00\coverages\ipnf\water\huc6 to Correct the 2010 HUC Numbers
T:\FS\NFS\Kootenai\Program\2600Wildlife\GIS\SO\Data\BORZ\KNF_BORZ_2010\knf_borz_0710.mdb\Feature Class: knf_huc_6
**For 2020 HUC Number and Name
T:\FS\Reference\EDW\Hydrology_WBD_WatershedBoundaryDatabase_USGS_EDW.lyr.
\(Hydrology_USGS_WatershdBoundaryDatabase_WBDHU12




Additional Brief Summary of Notes from the Meeting in addition to what is contained in the previous Tables

Lolo NF
Thompson River
Two male bears and two sightings.
One of the bears was a young male from the Selkirks, spent the summer -3 months in the Thompson River, and back and forth to the Fisher until
he lost his collar.
The other bear is peripheral use.
Other sighting can tie in to radio collar. Are not sure all the dots constitute 2 male bears and some peripheral use. Use scattered from Chain of
Lakes down to Thompson River. No collared female use. A couple of dots on the screen are augmentation bears heading north toward home. At
the south end some of the dots on the screen are Selway bear coming home.

Are seeing more use in BMU22, but not enough use yet to justify turning on the Thompson River HUC

KNF
Tobacco BORZ
Some of what we see on the screen are augmented bears heading home. Some are not augmentation bears, are spending time. Really only 2
male bears that currently fit the criteria. Based on follow-up with NCDE, currently not enough recurring use to turn on additional HUCS.




                                                                                                                                              14
                                                                                                                                       FWS001779
                                                                  4-ER-877
